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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                               Judge M. Casey Rodgers
 This Document Relates to the Cases            Magistrate Judge Gary R. Jones
 Identified on Exhibit A


                                       ORDER

      This Order addresses plaintiffs who failed to submit answers to the Initial

Census Questions as required by Pretrial Order No. 81 and the Court’s March 9,

2022 Order. On July 28, 2021, Pretrial Order No. 81 reinstated the Initial Census

Questions requirement set forth in Pretrial Order No. 18 for all plaintiffs who had

not yet submitted census forms. ECF No. 1848. Depending on the number of cases

per plaintiffs’ law firm missing census forms, plaintiffs’ counsel had between 60 and

270 days to submit the census forms. Id.

      On March 9, 2022, the Court identified plaintiffs who failed to comply with

Pretrial Order No. 81 and gave them one last opportunity to submit their census

forms. ECF No. 2851 at 1. The Court warned that if “plaintiffs fail to submit census

forms to MDL Centrality in accordance with this Order, they will have violated at

least two of the Court’s Orders . . . and their cases will be dismissed with prejudice.”

Id. at 2. BrownGreer PLC has notified the Court that the plaintiffs identified on
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Exhibit A failed to submit a census form within the applicable deadlines set forth in

the Court’s March 9, 2022 Order.1

       Rules 16(f) and 37(b)(2)(A)(ii)-(vii) of the Federal Rules of Civil Procedure

authorize a court to sanction a party, up to and including dismissal of a case, for

failing to comply with pretrial orders. This authority has particular significance in

the MDL context.          An MDL judge bears the “enormous” task of “mov[ing]

thousands of cases toward resolution on the merits while at the same time respecting

their individuality.” In re Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d

1217, 1231 (9th Cir. 2006). To carry out this task in an organized and efficient

manner, an MDL court must define and strictly adhere to case management rules.

See id. at 1232 (“[T]he district judge must establish schedules with firm cutoff dates

if the coordinated cases are to move in a diligent fashion toward resolution by

motion, settlement, or trial.”); see also Fed. R. Civ. P. 1 (stating that the Federal

Rules of Civil Procedure “should be construed, administered, and employed by the

court and the parties to secure the just, speedy, and inexpensive determination of

every action and proceeding”). In turn, counsel must collaborate with the court “in

fashioning workable programmatic procedures” and cooperate with those



       1
         The deadline to submit a census form for plaintiffs listed on Exhibit A was May 9, 2022.
Certain plaintiffs subject to the census form deadline (and who are not listed on Exhibit A) filed a
Request for Dismissal from Administrative Docket (RFD). As provided on the RFD, the request
for dismissal will be construed as a notice of voluntary dismissal and the plaintiffs’ administrative
cases will be automatically dismissed without prejudice pursuant to the RFD.
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procedures thereafter. In re PPA, 460 F.3d at 1231-32. Pretrial orders—and the

parties’ compliance with those orders and their deadlines— “are the engine that

drives disposition on the merits.” Id. at 1232. “A [court’s] willingness to resort to

sanctions in the event of noncompliance can ensure that that the engine remains in

tune, resulting in better administration of the vehicle of multidistrict litigation.” In

re Cook Medical, Inc. Pelvic Repair Sys. Prof. Liab. Litig., 2018 WL 4698953, at *2

(S.D. W. Va. Sept. 28, 2018) (citing Freeman v. Wyeth, 764 F.3d 806, 810 (8th Cir.

2014) (“The MDL judge must be given ‘greater discretion’ to create and enforce

deadlines in order to administrate the litigation effectively. This necessarily includes

the power to dismiss cases where litigants do not follow the court’s orders.”)).

      The Court concludes that dismissal with prejudice is appropriate. Plaintiffs

have twice disregarded the Court’s orders to submit a census form within the court-

imposed deadlines, even after they were warned that failure to comply would result

in dismissal of their claims with prejudice. This sort of noncompliance is

unacceptable in any case, but particularly so in the MDL context—when parties fail

to comply with deadlines set in pretrial orders, a domino effect develops, resulting

in the disruption of other MDL cases. Indeed, the Court has already had to evaluate

and dispose of a significant number of other instances of noncompliance, thereby

directing its time and resources to noncompliant plaintiffs at the expense of plaintiffs

who are fully participating in the MDL. This disrupts the efficiency and fairness
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objectives of the MDL process. In light of plaintiffs’ failure to comply with court

orders, the Court finds that dismissal with prejudice is appropriate.

      1.     The plaintiffs’ cases identified on Exhibit A are hereby DISMISSED
             WITH PREJUDICE for failure to comply with Court orders.

      2.     The Clerk is directed to enter a copy of this Order on the individual
             dockets only, and then to close the cases in their entirety for all
             purposes.

      DONE AND ORDERED, on this 23rd day of May, 2022.



                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE
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EXHIBIT A


  Row     Plaintiff ID                Plaintiff Name            Law Firm Name   Admin Docket Case Number   Active Docket Case Number
   1        69410        Abdullah, Amir                Danziger & De Llano       8:20-cv-22023-MCR-GRJ
   2        69411        Abernathy, Kenneth            Danziger & De Llano       8:20-cv-22025-MCR-GRJ
   3        69413        Abramovitch, Halion           Danziger & De Llano       8:20-cv-22028-MCR-GRJ
   4        69418        Acklam, David                 Danziger & De Llano       8:20-cv-22037-MCR-GRJ
   5        69427        Adams, James                  Danziger & De Llano       8:20-cv-22053-MCR-GRJ
   6        69428        Adams, James                  Danziger & De Llano       8:20-cv-22056-MCR-GRJ
   7        69438        Adamson, Corey                Danziger & De Llano       8:20-cv-22073-MCR-GRJ
   8        69439        Adamson, Dylan                Danziger & De Llano       8:20-cv-22075-MCR-GRJ
   9        69441        Adkins, Ryan                  Danziger & De Llano       8:20-cv-22081-MCR-GRJ
   10       69448        Aguilar, Mark                 Danziger & De Llano       8:20-cv-22094-MCR-GRJ
   11       69449        Aguirre, Ryan                 Danziger & De Llano       8:20-cv-22097-MCR-GRJ
   12       69450        Ahearn, Trever                Danziger & De Llano       8:20-cv-22099-MCR-GRJ
   13       69453        Ainsworth, Lance              Danziger & De Llano       8:20-cv-22107-MCR-GRJ
   14       69454        Airington, Austin             Danziger & De Llano       8:20-cv-22110-MCR-GRJ
   15       69457        Aksamit, Scott                Danziger & De Llano       8:20-cv-22118-MCR-GRJ
   16       69460        Albee, Chad                   Danziger & De Llano       8:20-cv-22126-MCR-GRJ
   17       69466        Alden, David                  Danziger & De Llano       8:20-cv-22142-MCR-GRJ
   18       69483        Allen, David                  Danziger & De Llano       8:20-cv-22186-MCR-GRJ
   19       69485        Allen, Destra                 Danziger & De Llano       8:20-cv-22192-MCR-GRJ
   20       69486        Allen, Jacob                  Danziger & De Llano       8:20-cv-22196-MCR-GRJ
   21       69488        ALLEN, MATTHEW                Danziger & De Llano       8:20-cv-22203-MCR-GRJ
   22       69492        Allen, Rickey                 Danziger & De Llano       8:20-cv-22217-MCR-GRJ
   23       69496        Allen, Shawn                  Danziger & De Llano       8:20-cv-22229-MCR-GRJ
   24       69502        Almeida, Keenan               Danziger & De Llano       8:20-cv-22250-MCR-GRJ
   25       69503        Aloisio, Marquos              Danziger & De Llano       8:20-cv-22253-MCR-GRJ
   26       69505        Altizer, Richard              Danziger & De Llano       8:20-cv-22260-MCR-GRJ
   27       69507        Alva, Michaell                Danziger & De Llano       8:20-cv-22267-MCR-GRJ
   28       69509        Alvarado, Joe                 Danziger & De Llano       8:20-cv-22275-MCR-GRJ
   29       69510        Alvarado, Levi                Danziger & De Llano       8:20-cv-22279-MCR-GRJ
   30       69511        Alvarez, Jacobo               Danziger & De Llano       8:20-cv-22282-MCR-GRJ
   31       69513        Alwine, Tommy                 Danziger & De Llano       8:20-cv-22286-MCR-GRJ
   32       69514        Amacker, Robert               Danziger & De Llano       8:20-cv-22290-MCR-GRJ
   33       69516        Amaro, Joshua                 Danziger & De Llano       8:20-cv-22297-MCR-GRJ
   34       69517        Amaya, Shawn                  Danziger & De Llano       8:20-cv-22300-MCR-GRJ
   35       69519        Amerson, Charles              Danziger & De Llano       8:20-cv-22307-MCR-GRJ
   36       69531        Anderson, Chad                Danziger & De Llano       8:20-cv-22353-MCR-GRJ
   37       69538        Anderson, Ryan                Danziger & De Llano       8:20-cv-22378-MCR-GRJ
   38       69539        Anderson, Steven              Danziger & De Llano       8:20-cv-22383-MCR-GRJ
   39       69540        Anderson, Wylie               Danziger & De Llano       8:20-cv-22388-MCR-GRJ
   40       69542        ANDERSON, ZACHARY             Danziger & De Llano       8:20-cv-22395-MCR-GRJ
   41       69543        Andrade, Christopher          Danziger & De Llano       8:20-cv-22399-MCR-GRJ
   42       69548        Andrews, Fred                 Danziger & De Llano       8:20-cv-22422-MCR-GRJ
   43       69549        Andrews, Robert               Danziger & De Llano       8:20-cv-22425-MCR-GRJ
   44       69551        Angel, Leonard                Danziger & De Llano       8:20-cv-22433-MCR-GRJ
   45       69552        Angelucci, Stefano            Danziger & De Llano       8:20-cv-22437-MCR-GRJ
   46       69564        Arce, Luis                    Danziger & De Llano       8:20-cv-22475-MCR-GRJ
   47       69565        Arceo, Francisco              Danziger & De Llano       8:20-cv-22480-MCR-GRJ
   48       69574        Ariana, Joshua                Danziger & De Llano       8:20-cv-22507-MCR-GRJ
   49       69580        Armstrong, Jermaine           Danziger & De Llano       8:20-cv-22523-MCR-GRJ
   50       69582        Arnold, John                  Danziger & De Llano       8:20-cv-22526-MCR-GRJ
   51       69589        Arthur, Jacques               Danziger & De Llano       8:20-cv-22546-MCR-GRJ
   52       69593        Ash, Cody                     Danziger & De Llano       8:20-cv-22561-MCR-GRJ
   53       69603        Atchison, Andrew              Danziger & De Llano       8:20-cv-22054-MCR-GRJ
   54       69610        Atkinson, Jj                  Danziger & De Llano       8:20-cv-22068-MCR-GRJ




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  Row     Plaintiff ID                Plaintiff Name            Law Firm Name   Admin Docket Case Number   Active Docket Case Number
   55       69613        Atwood, Michael               Danziger & De Llano       8:20-cv-22077-MCR-GRJ
   56       69616        Aubuchon, Ryan                Danziger & De Llano       8:20-cv-22085-MCR-GRJ
   57       69620        Aultman, Robert               Danziger & De Llano       8:20-cv-22093-MCR-GRJ
   58       69622        Austin, William               Danziger & De Llano       8:20-cv-22098-MCR-GRJ
   59       69627        Awan, Hamza                   Danziger & De Llano       8:20-cv-22109-MCR-GRJ
   60       69630        Ayalavega, Gilberto           Danziger & De Llano       8:20-cv-22114-MCR-GRJ
   61       69634        Ayotte, Andy                  Danziger & De Llano       8:20-cv-22125-MCR-GRJ
   62       69640        Bacon, Bryan                  Danziger & De Llano       8:20-cv-22138-MCR-GRJ
   63       69641        Bacon, Tyler                  Danziger & De Llano       8:20-cv-22141-MCR-GRJ
   64       69644        Badstuebner, Jordan           Danziger & De Llano       8:20-cv-22149-MCR-GRJ
   65       69645        Baez, Michael                 Danziger & De Llano       8:20-cv-22152-MCR-GRJ
   66       69648        Baglio, Michael               Danziger & De Llano       8:20-cv-22160-MCR-GRJ
   67       69649        Bailey, Brian                 Danziger & De Llano       8:20-cv-22163-MCR-GRJ
   68       69654        Baird, Elisha                 Danziger & De Llano       8:20-cv-22176-MCR-GRJ
   69       69655        Baker, Daniel                 Danziger & De Llano       8:20-cv-22180-MCR-GRJ
   70       69661        Baker, Jb                     Danziger & De Llano       8:20-cv-22197-MCR-GRJ
   71       69673        Baldus, Nicholas              Danziger & De Llano       8:20-cv-22238-MCR-GRJ
   72       69674        Bales, Shawn                  Danziger & De Llano       8:20-cv-22242-MCR-GRJ
   73       69679        Ball, Nathan                  Danziger & De Llano       8:20-cv-22258-MCR-GRJ
   74       69681        Ballesteros, Daniel           Danziger & De Llano       8:20-cv-22266-MCR-GRJ
   75       69684        Balog, Daniel                 Danziger & De Llano       8:20-cv-22277-MCR-GRJ
   76       69685        Balsley, Chris                Danziger & De Llano       8:20-cv-22281-MCR-GRJ
   77       69687        Bambulas, Dakota              Danziger & De Llano       8:20-cv-22289-MCR-GRJ
   78       69691        Banks, Ralph                  Danziger & De Llano       8:20-cv-22299-MCR-GRJ
   79       69693        Bannerman, David              Danziger & De Llano       8:20-cv-22306-MCR-GRJ
   80       69695        Barajas, Mario                Danziger & De Llano       8:20-cv-22314-MCR-GRJ
   81       69696        Barajas, Oswaldo              Danziger & De Llano       8:20-cv-22317-MCR-GRJ
   82       69700        Barbosa, Jeff                 Danziger & De Llano       8:20-cv-22328-MCR-GRJ
   83       69703        Barcomb, Jeremey              Danziger & De Llano       8:20-cv-22335-MCR-GRJ
   84       69712        Barlow, Jeremiah              Danziger & De Llano       8:20-cv-22369-MCR-GRJ
   85       69716        Barnes, Lonnie                Danziger & De Llano       8:20-cv-22377-MCR-GRJ
   86       69717        Barnes, Veronica              Danziger & De Llano       8:20-cv-22382-MCR-GRJ
   87       69720        Barnett, Joshua               Danziger & De Llano       8:20-cv-22394-MCR-GRJ
   88       69723        Barney, Raymond               Danziger & De Llano       8:20-cv-22407-MCR-GRJ
   89       69726        Barnum, Rodney                Danziger & De Llano       8:20-cv-22421-MCR-GRJ
   90       69727        Baron, Jay                    Danziger & De Llano       8:20-cv-22424-MCR-GRJ
   91       69733        Barrere, Jeremy               Danziger & De Llano       8:20-cv-22451-MCR-GRJ
   92       69739        Barrett, Michael              Danziger & De Llano       8:20-cv-22477-MCR-GRJ
   93       69743        Barron, Gerard                Danziger & De Llano       8:20-cv-22494-MCR-GRJ
   94       69747        Bartlett, Daniel              Danziger & De Llano       8:20-cv-22508-MCR-GRJ
   95       69752        Bartolomei, Victor            Danziger & De Llano       8:20-cv-22522-MCR-GRJ
   96       69757        Bassett, Bryant               Danziger & De Llano       8:20-cv-22537-MCR-GRJ
   97       69767        Battaglia, Charles            Danziger & De Llano       8:20-cv-22566-MCR-GRJ
   98       69771        Bauguess, Joshua              Danziger & De Llano       8:20-cv-22581-MCR-GRJ
   99       69772        Baumann, William              Danziger & De Llano       8:20-cv-22584-MCR-GRJ
  100       69774        Baxter, Jordan                Danziger & De Llano       8:20-cv-22589-MCR-GRJ
  101       69775        Baxter, Joshua                Danziger & De Llano       8:20-cv-22592-MCR-GRJ
  102       69776        Bay, Matthew                  Danziger & De Llano       8:20-cv-22595-MCR-GRJ
  103       69780        Beagle, Paul                  Danziger & De Llano       8:20-cv-22601-MCR-GRJ
  104       69781        Beahr, Zachary                Danziger & De Llano       8:20-cv-22605-MCR-GRJ
  105       69782        Beal, John                    Danziger & De Llano       8:20-cv-22609-MCR-GRJ
  106       69783        Beale, William                Danziger & De Llano       8:20-cv-22612-MCR-GRJ
  107       69790        Beardsley, Scott              Danziger & De Llano       8:20-cv-22629-MCR-GRJ
  108       69796        Bebee, Marcus                 Danziger & De Llano       8:20-cv-22645-MCR-GRJ




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  109       69801        Beck, Jack                     Danziger & De Llano       8:20-cv-22656-MCR-GRJ
  110       69802        Beck, Patrick                  Danziger & De Llano       8:20-cv-22658-MCR-GRJ
  111       69803        Beck, Robert                   Danziger & De Llano       8:20-cv-22661-MCR-GRJ
  112       69804        BECK, RUSSELL                  Danziger & De Llano       8:20-cv-22663-MCR-GRJ
  113       69805        Becker, Bradley                Danziger & De Llano       8:20-cv-22665-MCR-GRJ
  114       69808        Beckwith, Jordan               Danziger & De Llano       8:20-cv-22673-MCR-GRJ
  115       69809        Bedrava, Steven                Danziger & De Llano       8:20-cv-22676-MCR-GRJ
  116       69810        Beercook, Derrick              Danziger & De Llano       8:20-cv-22679-MCR-GRJ
  117       69813        Behrends, Eric                 Danziger & De Llano       8:20-cv-22684-MCR-GRJ
  118       69814        Behrens, Justin                Danziger & De Llano       8:20-cv-22687-MCR-GRJ
  119       69815        Beistel, Andrew                Danziger & De Llano       8:20-cv-22691-MCR-GRJ
  120       69821        Bell, Charles                  Danziger & De Llano       8:20-cv-22707-MCR-GRJ
  121       69822        Bell, Gerald                   Danziger & De Llano       8:20-cv-22710-MCR-GRJ
  122       69824        Bell, Westley                  Danziger & De Llano       8:20-cv-22714-MCR-GRJ
  123       69831        Bem, Gregory                   Danziger & De Llano       8:20-cv-22725-MCR-GRJ
  124       69836        Bennett, Jason                 Danziger & De Llano       8:20-cv-22735-MCR-GRJ
  125       69839        Bennett, Philip                Danziger & De Llano       8:20-cv-22743-MCR-GRJ
  126       69844        Benson, Michael                Danziger & De Llano       8:20-cv-22750-MCR-GRJ
  127       69846        Bensyl, Regan                  Danziger & De Llano       8:20-cv-22756-MCR-GRJ
  128       69853        Berk, Brent                    Danziger & De Llano       8:20-cv-22768-MCR-GRJ
  129       69855        Bernard, Christopher           Danziger & De Llano       8:20-cv-22774-MCR-GRJ
  130       69856        Bernard, Hunter                Danziger & De Llano       8:20-cv-22776-MCR-GRJ
  131       69858        Berry, James                   Danziger & De Llano       8:20-cv-22782-MCR-GRJ
  132       69873        Bezzone, Jonathan              Danziger & De Llano       8:20-cv-22814-MCR-GRJ
  133       69886        Biggs, Michael                 Danziger & De Llano       8:20-cv-22844-MCR-GRJ
  134       69891        Billington, Jason              Danziger & De Llano       8:20-cv-22855-MCR-GRJ
  135       69892        Binegar, Levi                  Danziger & De Llano       8:20-cv-22857-MCR-GRJ
  136       69893        Bingham, Destin                Danziger & De Llano       8:20-cv-22860-MCR-GRJ
  137       69913        Blackshear, Clayton            Danziger & De Llano       8:20-cv-22897-MCR-GRJ
  138       69914        Blackstock, Lee                Danziger & De Llano       8:20-cv-22899-MCR-GRJ
  139       69919        Blain, Vincent                 Danziger & De Llano       8:20-cv-20727-MCR-GRJ
  140       69921        Blakely, Lawrence              Danziger & De Llano       8:20-cv-20729-MCR-GRJ
  141       69922        Blanchard, Joseph              Danziger & De Llano       8:20-cv-20730-MCR-GRJ
  142       69924        Blankenship, Brian             Danziger & De Llano       8:20-cv-20732-MCR-GRJ
  143       69937        Boals, Michael                 Danziger & De Llano       8:20-cv-20744-MCR-GRJ
  144       69939        Bobzien, Rustin                Danziger & De Llano       8:20-cv-20746-MCR-GRJ
  145       69941        Bock, Richard                  Danziger & De Llano       8:20-cv-20748-MCR-GRJ
  146       69946        Boldt, Darrien                 Danziger & De Llano       8:20-cv-20753-MCR-GRJ
  147       69947        Bolen, David                   Danziger & De Llano       8:20-cv-20754-MCR-GRJ
  148       69948        Boles, Marcus                  Danziger & De Llano       8:20-cv-20755-MCR-GRJ
  149       69949        Boling, Brandon                Danziger & De Llano       8:20-cv-20756-MCR-GRJ
  150       69963        BOOTH, CHARLES                 Danziger & De Llano       8:20-cv-20766-MCR-GRJ
  151       69968        Borbon, Devin                  Danziger & De Llano       8:20-cv-20770-MCR-GRJ
  152       69970        Border, Thomas                 Danziger & De Llano       8:20-cv-20772-MCR-GRJ
  153       69975        Bosarge, William               Danziger & De Llano       8:20-cv-20777-MCR-GRJ
  154       69987        Bowden, Joshua                 Danziger & De Llano       8:20-cv-20788-MCR-GRJ
  155       69988        Bowen, Christopher             Danziger & De Llano       8:20-cv-20790-MCR-GRJ
  156       69991        Bowers, Clyde                  Danziger & De Llano       8:20-cv-20796-MCR-GRJ
  157       69992        Bowers, Jarrod                 Danziger & De Llano       8:20-cv-20797-MCR-GRJ
  158       69995        Bowley, Justin                 Danziger & De Llano       8:20-cv-20801-MCR-GRJ
  159       69996        Bowman, Bobby                  Danziger & De Llano       8:20-cv-20803-MCR-GRJ
  160       69997        Bowman, Chris                  Danziger & De Llano       8:20-cv-20804-MCR-GRJ
  161       70002        Boyd, Jason                    Danziger & De Llano       8:20-cv-20812-MCR-GRJ
  162       70003        Boyd, John                     Danziger & De Llano       8:20-cv-20813-MCR-GRJ




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  163       70004        Boyd, Lance                   Danziger & De Llano       8:20-cv-20815-MCR-GRJ
  164       70006        Boyer, Logan                  Danziger & De Llano       8:20-cv-20819-MCR-GRJ
  165       70007        Boyett, David                 Danziger & De Llano       8:20-cv-20821-MCR-GRJ
  166       70010        Boyle, Shane                  Danziger & De Llano       8:20-cv-20826-MCR-GRJ
  167       70015        Bradford, Justin              Danziger & De Llano       8:20-cv-20832-MCR-GRJ
  168       70017        Bradley, Randall              Danziger & De Llano       8:20-cv-20835-MCR-GRJ
  169       70020        Bradshaw, Matthew             Danziger & De Llano       8:20-cv-20841-MCR-GRJ
  170       70021        Brady, John                   Danziger & De Llano       8:20-cv-20843-MCR-GRJ
  171       70022        Brady, Mathew                 Danziger & De Llano       8:20-cv-20844-MCR-GRJ
  172       70023        Brady, Micheal                Danziger & De Llano       8:20-cv-20846-MCR-GRJ
  173       70026        Braly, Shawn                  Danziger & De Llano       8:20-cv-20852-MCR-GRJ
  174       70027        Bramer, Steven                Danziger & De Llano       8:20-cv-20854-MCR-GRJ
  175       70028        Bramlett, Mark                Danziger & De Llano       8:20-cv-20856-MCR-GRJ
  176       70032        Branch, Michael               Danziger & De Llano       8:20-cv-20861-MCR-GRJ
  177       70033        Brandenburger, Trapper        Danziger & De Llano       8:20-cv-20863-MCR-GRJ
  178       70035        Brandt, Dylan                 Danziger & De Llano       8:20-cv-20866-MCR-GRJ
  179       70039        Brantley, William             Danziger & De Llano       8:20-cv-20873-MCR-GRJ
  180       70045        Brazell, Brett                Danziger & De Llano       8:20-cv-20884-MCR-GRJ
  181       70046        Brecht, Daniel                Danziger & De Llano       8:20-cv-20886-MCR-GRJ
  182       70048        Breeden, Jason                Danziger & De Llano       8:20-cv-20887-MCR-GRJ
  183       70051        Breher, Jeremy                Danziger & De Llano       8:20-cv-20893-MCR-GRJ
  184       70054        Brenay, Cable                 Danziger & De Llano       8:20-cv-20898-MCR-GRJ
  185       70055        Brenes, Mario                 Danziger & De Llano       8:20-cv-20900-MCR-GRJ
  186       70058        Brennanheffern, Christopher   Danziger & De Llano       8:20-cv-20905-MCR-GRJ
  187       70060        Breunig, Bradley              Danziger & De Llano       8:20-cv-20910-MCR-GRJ
  188       70062        Brewer, Devan                 Danziger & De Llano       8:20-cv-20915-MCR-GRJ
  189       70064        Brewer, Matthew               Danziger & De Llano       8:20-cv-20921-MCR-GRJ
  190       70067        Bribiesca, Eric               Danziger & De Llano       8:20-cv-20927-MCR-GRJ
  191       70073        Bridges, Paul                 Danziger & De Llano       8:20-cv-20945-MCR-GRJ
  192       70080        Brinkley, Wayne               Danziger & De Llano       8:20-cv-20966-MCR-GRJ
  193       70081        Brinkman, Kyle                Danziger & De Llano       8:20-cv-20968-MCR-GRJ
  194       70087        Broadwell, George             Danziger & De Llano       8:20-cv-20986-MCR-GRJ
  195       70088        Brock, Christopher            Danziger & De Llano       8:20-cv-20989-MCR-GRJ
  196       70090        Brockwell, Andrew             Danziger & De Llano       8:20-cv-21065-MCR-GRJ
  197       70091        Broderick, Aaron              Danziger & De Llano       8:20-cv-20999-MCR-GRJ
  198       70093        Brooks, Chris                 Danziger & De Llano       8:20-cv-21005-MCR-GRJ
  199       70100        Broughton, Brandon            Danziger & De Llano       8:20-cv-21021-MCR-GRJ
  200       70101        Broughton, Russell            Danziger & De Llano       8:20-cv-21023-MCR-GRJ
  201       70103        Browell, Matthew              Danziger & De Llano       8:20-cv-21027-MCR-GRJ
  202       70110        Brown, Colton                 Danziger & De Llano       8:20-cv-21039-MCR-GRJ
  203       70111        Brown, Daniel                 Danziger & De Llano       8:20-cv-21041-MCR-GRJ
  204       70122        BROWN, JAMES                  Danziger & De Llano       8:20-cv-21058-MCR-GRJ
  205       70126        Brown, Jesse                  Danziger & De Llano       8:20-cv-21063-MCR-GRJ
  206       70130        Brown, Josh                   Danziger & De Llano       8:20-cv-21066-MCR-GRJ
  207       70131        BROWN, JOSHUA                 Danziger & De Llano       8:20-cv-21068-MCR-GRJ
  208       70135        Brown, Kurtis                 Danziger & De Llano       8:20-cv-21077-MCR-GRJ
  209       70137        BROWN, MATT                   Danziger & De Llano       8:20-cv-21081-MCR-GRJ
  210       70141        Brown, Nicholas               Danziger & De Llano       8:20-cv-21090-MCR-GRJ
  211       70148        Brown, Thomas                 Danziger & De Llano       8:20-cv-21274-MCR-GRJ
  212       70151        Brown, Zackery                Danziger & De Llano       8:20-cv-21280-MCR-GRJ
  213       70152        Brown-hayling, Daniel         Danziger & De Llano       8:20-cv-21282-MCR-GRJ
  214       70154        Brubaker, Randy               Danziger & De Llano       8:20-cv-21286-MCR-GRJ
  215       70159        Brunswick, Micheal            Danziger & De Llano       8:20-cv-21295-MCR-GRJ
  216       70160        Bruscas, Jason                Danziger & De Llano       8:20-cv-21297-MCR-GRJ




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  217       70163        Bryant, Eric                   Danziger & De Llano       8:20-cv-21301-MCR-GRJ
  218       70167        Bryson, Maurice                Danziger & De Llano       8:20-cv-21303-MCR-GRJ
  219       70174        Buffington, Travis             Danziger & De Llano       8:20-cv-21310-MCR-GRJ
  220       70179        Bullock, Charles               Danziger & De Llano       8:20-cv-21318-MCR-GRJ
  221       70184        Burbach, Catherine             Danziger & De Llano       8:20-cv-21324-MCR-GRJ
  222       70187        Burg, Ryan                     Danziger & De Llano       8:20-cv-21330-MCR-GRJ
  223       70188        Burge, Howard                  Danziger & De Llano       8:20-cv-21332-MCR-GRJ
  224       70192        Burgess, Daniel                Danziger & De Llano       8:20-cv-21337-MCR-GRJ
  225       70197        Burke, James                   Danziger & De Llano       8:20-cv-21345-MCR-GRJ
  226       70202        Burkman, Matthew               Danziger & De Llano       8:20-cv-21352-MCR-GRJ
  227       70203        Burnett, Kenneth               Danziger & De Llano       8:20-cv-21354-MCR-GRJ
  228       70205        Burnham, Joshua                Danziger & De Llano       8:20-cv-21357-MCR-GRJ
  229       70206        BURNS, MICHAEL                 Danziger & De Llano       8:20-cv-21358-MCR-GRJ
  230       70210        Burrows, Taje                  Danziger & De Llano       8:20-cv-21364-MCR-GRJ
  231       70213        Busby, Brady                   Danziger & De Llano       8:20-cv-21370-MCR-GRJ
  232       70230        Buttram, Jeremiah              Danziger & De Llano       8:20-cv-21392-MCR-GRJ
  233       70234        Byrnes, Michael                Danziger & De Llano       8:20-cv-21400-MCR-GRJ
  234       70245        Cake, Tyler                    Danziger & De Llano       8:20-cv-21420-MCR-GRJ
  235       70249        Caldwell, Brian                Danziger & De Llano       8:20-cv-21428-MCR-GRJ
  236       70254        Callahan, Richard              Danziger & De Llano       8:20-cv-21436-MCR-GRJ
  237       70257        Camel, Adam                    Danziger & De Llano       8:20-cv-21440-MCR-GRJ
  238       70258        Cameron, Brandon               Danziger & De Llano       8:20-cv-21441-MCR-GRJ
  239       70260        Cameron, Scott                 Danziger & De Llano       8:20-cv-21443-MCR-GRJ
  240       70261        Cameron, William               Danziger & De Llano       8:20-cv-21444-MCR-GRJ
  241       70262        Campbell, Carlos               Danziger & De Llano       8:20-cv-21445-MCR-GRJ
  242       70267        Campbell, Nathaniel            Danziger & De Llano       8:20-cv-21453-MCR-GRJ
  243       70268        Campbell, Shawn                Danziger & De Llano       8:20-cv-21455-MCR-GRJ
  244       70269        Campbell, Zachary              Danziger & De Llano       8:20-cv-21457-MCR-GRJ
  245       70270        Campos, Jorge                  Danziger & De Llano       8:20-cv-21460-MCR-GRJ
  246       70278        Canterbury, Gary               Danziger & De Llano       8:20-cv-21478-MCR-GRJ
  247       70279        Cantlin, James                 Danziger & De Llano       8:20-cv-21480-MCR-GRJ
  248       70283        Cantrell, Michael              Danziger & De Llano       8:20-cv-21488-MCR-GRJ
  249       70288        Caraballo, Angel               Danziger & De Llano       8:20-cv-21499-MCR-GRJ
  250       70292        Cardwell, Aaron                Danziger & De Llano       8:20-cv-21507-MCR-GRJ
  251       70297        Carl, Scott                    Danziger & De Llano       8:20-cv-21515-MCR-GRJ
  252       70298        Carlin, Jonathan               Danziger & De Llano       8:20-cv-21517-MCR-GRJ
  253       70299        Carlisle, Brandon              Danziger & De Llano       8:20-cv-21519-MCR-GRJ
  254       70307        Carlson, Robert                Danziger & De Llano       8:20-cv-21531-MCR-GRJ
  255       70308        Carlson, Shane                 Danziger & De Llano       8:20-cv-21533-MCR-GRJ
  256       70310        Carmona, Alfonso               Danziger & De Llano       8:20-cv-21537-MCR-GRJ
  257       70311        Carpenter, Derek               Danziger & De Llano       8:20-cv-21539-MCR-GRJ
  258       70327        Carson, Steven W.              Danziger & De Llano       8:20-cv-21568-MCR-GRJ
  259       70328        Carter, Allen                  Danziger & De Llano       8:20-cv-21570-MCR-GRJ
  260       70329        Carter, Ben                    Danziger & De Llano       8:20-cv-21572-MCR-GRJ
  261       70330        Carter, Corey                  Danziger & De Llano       8:20-cv-21574-MCR-GRJ
  262       70332        Carter, Jereme                 Danziger & De Llano       8:20-cv-21578-MCR-GRJ
  263       70335        Carter, Justin                 Danziger & De Llano       8:20-cv-21584-MCR-GRJ
  264       70344        Carvalho, Michael              Danziger & De Llano       8:20-cv-21605-MCR-GRJ
  265       70345        Carver, Steven                 Danziger & De Llano       8:20-cv-21607-MCR-GRJ
  266       70347        Case, Eric                     Danziger & De Llano       8:20-cv-21610-MCR-GRJ
  267       70354        Castillo, Dominic              Danziger & De Llano       8:20-cv-21624-MCR-GRJ
  268       70356        Castillo, Ryan                 Danziger & De Llano       8:20-cv-21630-MCR-GRJ
  269       70357        Castle, Jason                  Danziger & De Llano       8:20-cv-21633-MCR-GRJ
  270       70359        Castleberry, Kevin             Danziger & De Llano       8:20-cv-21636-MCR-GRJ




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  271       70362        Castro, Hector              Danziger & De Llano       8:20-cv-21644-MCR-GRJ
  272       70363        Caswell, Mathew             Danziger & De Llano       8:20-cv-21647-MCR-GRJ
  273       70364        Caswell, Paul               Danziger & De Llano       8:20-cv-21650-MCR-GRJ
  274       70365        Catchot, Jason              Danziger & De Llano       8:20-cv-21653-MCR-GRJ
  275       70368        Cativera, Corey             Danziger & De Llano       8:20-cv-21660-MCR-GRJ
  276       70373        Cerrillo, Rodolfo           Danziger & De Llano       8:20-cv-21671-MCR-GRJ
  277       70374        Cervantes, Ruben            Danziger & De Llano       8:20-cv-21674-MCR-GRJ
  278       70377        Cetera, Christopher         Danziger & De Llano       8:20-cv-21682-MCR-GRJ
  279       70378        Chabot, Jesse               Danziger & De Llano       8:20-cv-21685-MCR-GRJ
  280       70382        Chalfant, Christopher       Danziger & De Llano       8:20-cv-21694-MCR-GRJ
  281       70383        Challender, Alex            Danziger & De Llano       8:20-cv-21697-MCR-GRJ
  282       70385        Chamalbide, Daniel          Danziger & De Llano       8:20-cv-21701-MCR-GRJ
  283       70397        Chandler, John              Danziger & De Llano       8:20-cv-21741-MCR-GRJ
  284       70401        Chapman, Carl               Danziger & De Llano       8:20-cv-21753-MCR-GRJ
  285       70402        Chapman, Clayton            Danziger & De Llano       8:20-cv-21757-MCR-GRJ
  286       70405        Charbeneau, James           Danziger & De Llano       8:20-cv-21769-MCR-GRJ
  287       70409        Charpentier, Eric           Danziger & De Llano       8:20-cv-21785-MCR-GRJ
  288       70411        Chase, Joshua               Danziger & De Llano       8:20-cv-21793-MCR-GRJ
  289       70415        Chavez, Joshua              Danziger & De Llano       8:20-cv-21808-MCR-GRJ
  290       70416        Chavez, Kyle                Danziger & De Llano       8:20-cv-21812-MCR-GRJ
  291       70420        Chenier, Korey              Danziger & De Llano       8:20-cv-21825-MCR-GRJ
  292       70424        Chevalier, Jonathan         Danziger & De Llano       8:20-cv-21842-MCR-GRJ
  293       70426        Chiasson, Ryan              Danziger & De Llano       8:20-cv-21850-MCR-GRJ
  294       70430        Childs, John                Danziger & De Llano       8:20-cv-21858-MCR-GRJ
  295       70431        Chitwood, Jeremy            Danziger & De Llano       8:20-cv-21863-MCR-GRJ
  296       70432        Chorrushi, Justin           Danziger & De Llano       8:20-cv-21867-MCR-GRJ
  297       70435        Christian, Bruce            Danziger & De Llano       8:20-cv-22597-MCR-GRJ
  298       70446        Church, James               Danziger & De Llano       8:20-cv-22641-MCR-GRJ
  299       70447        Cialek, John                Danziger & De Llano       8:20-cv-22644-MCR-GRJ
  300       70450        Cintron, Robert             Danziger & De Llano       8:20-cv-22655-MCR-GRJ
  301       70455        Clardy, Austin              Danziger & De Llano       8:20-cv-22674-MCR-GRJ
  302       70464        Clark, Jeremy               Danziger & De Llano       8:20-cv-22708-MCR-GRJ
  303       70466        Clark, Joshua               Danziger & De Llano       8:20-cv-22712-MCR-GRJ
  304       70474        Claus, Jeremy               Danziger & De Llano       8:20-cv-22737-MCR-GRJ
  305       70478        Cleary, Richard             Danziger & De Llano       8:20-cv-22752-MCR-GRJ
  306       70479        Clelland, Mark              Danziger & De Llano       8:20-cv-22755-MCR-GRJ
  307       70482        Clemons, James              Danziger & De Llano       8:20-cv-22767-MCR-GRJ
  308       70483        Clemons, Troy               Danziger & De Llano       8:20-cv-22770-MCR-GRJ
  309       70485        Clevenger, Derek            Danziger & De Llano       8:20-cv-22777-MCR-GRJ
  310       70489        Cline, James                Danziger & De Llano       8:20-cv-22791-MCR-GRJ
  311       70494        Cloninger, Brian            Danziger & De Llano       8:20-cv-22809-MCR-GRJ
  312       70498        Coe, Damon                  Danziger & De Llano       8:20-cv-22817-MCR-GRJ
  313       70501        Coffey, Russell             Danziger & De Llano       8:20-cv-22823-MCR-GRJ
  314       70503        Coffman, John               Danziger & De Llano       8:20-cv-22831-MCR-GRJ
  315       70507        Coil, Michael               Danziger & De Llano       8:20-cv-22838-MCR-GRJ
  316       70513        Colegrove, Timothy          Danziger & De Llano       8:20-cv-22851-MCR-GRJ
  317       70518        Collins, Christopher        Danziger & De Llano       8:20-cv-22869-MCR-GRJ
  318       70519        Collins, Claude             Danziger & De Llano       8:20-cv-22872-MCR-GRJ
  319       70522        Collins, Kirk               Danziger & De Llano       8:20-cv-22883-MCR-GRJ
  320       70523        Collins, Sean               Danziger & De Llano       8:20-cv-22887-MCR-GRJ
  321       70524        Collins, Shawn              Danziger & De Llano       8:20-cv-22890-MCR-GRJ
  322       70525        Collins, William            Danziger & De Llano       8:20-cv-22893-MCR-GRJ
  323       70527        Colonna, Brian              Danziger & De Llano       8:20-cv-22901-MCR-GRJ
  324       70530        Colvin, Donald              Danziger & De Llano       8:20-cv-22906-MCR-GRJ




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  325       70538        Condit, Jack                   Danziger & De Llano       8:20-cv-22919-MCR-GRJ
  326       70541        Confer, Duane                  Danziger & De Llano       8:20-cv-22923-MCR-GRJ
  327       70543        Confer, Paul                   Danziger & De Llano       8:20-cv-22928-MCR-GRJ
  328       70550        Conlon, Christopher            Danziger & De Llano       8:20-cv-22943-MCR-GRJ
  329       70558        Connor, Justin                 Danziger & De Llano       8:20-cv-22958-MCR-GRJ
  330       70561        Conte, Brendan                 Danziger & De Llano       8:20-cv-22964-MCR-GRJ
  331       70566        Cook, Dean                     Danziger & De Llano       8:20-cv-22975-MCR-GRJ
  332       70570        Cook, James                    Danziger & De Llano       8:20-cv-22984-MCR-GRJ
  333       70571        Cook, Jonathan                 Danziger & De Llano       8:20-cv-22986-MCR-GRJ
  334       70576        Cook, Richard                  Danziger & De Llano       8:20-cv-22993-MCR-GRJ
  335       70577        Cook, Robert                   Danziger & De Llano       8:20-cv-22995-MCR-GRJ
  336       70587        Cooper, Laurence               Danziger & De Llano       8:20-cv-23014-MCR-GRJ
  337       70592        Coots, Brian                   Danziger & De Llano       8:20-cv-23022-MCR-GRJ
  338       70596        Corbin, Michael                Danziger & De Llano       8:20-cv-23031-MCR-GRJ
  339       70599        Cordill, Bobby                 Danziger & De Llano       8:20-cv-23037-MCR-GRJ
  340       70601        Cordon, Daniel                 Danziger & De Llano       8:20-cv-23040-MCR-GRJ
  341       70605        Cormier, Seth                  Danziger & De Llano       8:20-cv-23044-MCR-GRJ
  342       70609        Cortes, Hector                 Danziger & De Llano       8:20-cv-23048-MCR-GRJ
  343       70610        Cortese, Louis                 Danziger & De Llano       8:20-cv-23049-MCR-GRJ
  344       70612        Corwin, Shawn                  Danziger & De Llano       8:20-cv-23051-MCR-GRJ
  345       70613        Coss, Anthony                  Danziger & De Llano       8:20-cv-23052-MCR-GRJ
  346       70614        Cossette, Thomas               Danziger & De Llano       8:20-cv-23053-MCR-GRJ
  347       70615        Costantinidis, Anthony         Danziger & De Llano       8:20-cv-23054-MCR-GRJ
  348       70619        Coughlin, Alex                 Danziger & De Llano       8:20-cv-23058-MCR-GRJ
  349       70625        Cowan, Devin                   Danziger & De Llano       8:20-cv-23063-MCR-GRJ
  350       70626        Cowles, Brandon                Danziger & De Llano       8:20-cv-23064-MCR-GRJ
  351       70633        Cox, Joshua                    Danziger & De Llano       8:20-cv-23070-MCR-GRJ
  352       70634        Cox, Justin                    Danziger & De Llano       8:20-cv-23071-MCR-GRJ
  353       70638        Cox, Rikki                     Danziger & De Llano       8:20-cv-23075-MCR-GRJ
  354       70646        Crankfield, Chris              Danziger & De Llano       8:20-cv-23080-MCR-GRJ
  355       70647        Crankshaw, Jimi                Danziger & De Llano       8:20-cv-23081-MCR-GRJ
  356       70652        Crawford, Jeremie              Danziger & De Llano       8:20-cv-23085-MCR-GRJ
  357       70662        Crocker, Shane                 Danziger & De Llano       8:20-cv-23090-MCR-GRJ
  358       70665        Croghan, Scott                 Danziger & De Llano       8:20-cv-23093-MCR-GRJ
  359       70669        Crosby, Eugene                 Danziger & De Llano       8:20-cv-23097-MCR-GRJ
  360       70671        Cross, Andreas                 Danziger & De Llano       8:20-cv-23099-MCR-GRJ
  361       70679        Crouse, Andrew                 Danziger & De Llano       8:20-cv-23107-MCR-GRJ
  362       70688        Cruxz, Toby                    Danziger & De Llano       8:20-cv-23115-MCR-GRJ
  363       70691        CRUZ, JOSE                     Danziger & De Llano       8:20-cv-23117-MCR-GRJ
  364       70699        Cuebas, Jason                  Danziger & De Llano       8:20-cv-23125-MCR-GRJ
  365       70701        Cuesta, Alvaro                 Danziger & De Llano       8:20-cv-23126-MCR-GRJ
  366       70702        Cuevas, Jose                   Danziger & De Llano       8:20-cv-23127-MCR-GRJ
  367       70705        Cufley, Raye                   Danziger & De Llano       8:20-cv-23130-MCR-GRJ
  368       70708        Cumbie, Dustin                 Danziger & De Llano       8:20-cv-23132-MCR-GRJ
  369       70709        Cummings, Alicia               Danziger & De Llano       8:20-cv-23133-MCR-GRJ
  370       70710        Cummings, Eric                 Danziger & De Llano       8:20-cv-23134-MCR-GRJ
  371       70714        Cummins, Chad                  Danziger & De Llano       8:20-cv-23138-MCR-GRJ
  372       70716        Cundiff, Eric                  Danziger & De Llano       8:20-cv-23140-MCR-GRJ
  373       70718        Cupples, Lex                   Danziger & De Llano       8:20-cv-23142-MCR-GRJ
  374       70725        Curtice, Brian                 Danziger & De Llano       8:20-cv-23149-MCR-GRJ
  375       70727        Custer, Blake                  Danziger & De Llano       8:20-cv-23151-MCR-GRJ
  376       70730        Cutlip, Arron                  Danziger & De Llano       8:20-cv-23153-MCR-GRJ
  377       70732        Cutting, Amanda                Danziger & De Llano       8:20-cv-23155-MCR-GRJ
  378       70738        Dahl, Stephen                  Danziger & De Llano       8:20-cv-23161-MCR-GRJ




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  379       70740        Daily, Casey                   Danziger & De Llano       8:20-cv-23163-MCR-GRJ
  380       70741        Dalbey, Aaron                  Danziger & De Llano       8:20-cv-23164-MCR-GRJ
  381       70746        Damron, Brian                  Danziger & De Llano       8:20-cv-23168-MCR-GRJ
  382       70752        Danson, Michael                Danziger & De Llano       8:20-cv-23174-MCR-GRJ
  383       70753        Daoust, Jason                  Danziger & De Llano       8:20-cv-23175-MCR-GRJ
  384       70754        Darley, Scott                  Danziger & De Llano       8:20-cv-23176-MCR-GRJ
  385       70759        Davenport, Joseph              Danziger & De Llano       8:20-cv-23179-MCR-GRJ
  386       70761        David, Christopher             Danziger & De Llano       8:20-cv-23180-MCR-GRJ
  387       70762        David, Richard                 Danziger & De Llano       8:20-cv-23181-MCR-GRJ
  388       70765        Davidson, Paul                 Danziger & De Llano       8:20-cv-23184-MCR-GRJ
  389       70772        Davis, Derick                  Danziger & De Llano       8:20-cv-23190-MCR-GRJ
  390       70776        Davis, Frank                   Danziger & De Llano       8:20-cv-23192-MCR-GRJ
  391       70778        Davis, Graham                  Danziger & De Llano       8:20-cv-23194-MCR-GRJ
  392       70781        Davis, Jay                     Danziger & De Llano       8:20-cv-23196-MCR-GRJ
  393       70782        Davis, Jearl                   Danziger & De Llano       8:20-cv-23197-MCR-GRJ
  394       70784        Davis, Justin                  Danziger & De Llano       8:20-cv-23200-MCR-GRJ
  395       70785        Davis, Kyle                    Danziger & De Llano       8:20-cv-23202-MCR-GRJ
  396       70787        Davis, Mike                    Danziger & De Llano       8:20-cv-23206-MCR-GRJ
  397       70788        Davis, Richard                 Danziger & De Llano       8:20-cv-23208-MCR-GRJ
  398       70793        Davis, Timothy                 Danziger & De Llano       8:20-cv-23216-MCR-GRJ
  399       70803        Dayoc, William                 Danziger & De Llano       8:20-cv-23232-MCR-GRJ
  400       70815        Decker, Mason                  Danziger & De Llano       8:20-cv-23252-MCR-GRJ
  401       70820        Deese, Christopher             Danziger & De Llano       8:20-cv-23260-MCR-GRJ
  402       70825        Degrand, Leroy                 Danziger & De Llano       8:20-cv-23268-MCR-GRJ
  403       70828        Deiter, Stephon                Danziger & De Llano       8:20-cv-23274-MCR-GRJ
  404       70831        Dejesus, Juan                  Danziger & De Llano       8:20-cv-23279-MCR-GRJ
  405       70832        Delay, Daniel                  Danziger & De Llano       8:20-cv-23281-MCR-GRJ
  406       70835        Delia, Thomas                  Danziger & De Llano       8:20-cv-23287-MCR-GRJ
  407       70838        Delude, Charles                Danziger & De Llano       8:20-cv-23311-MCR-GRJ
  408       70839        Demaree, Ralph                 Danziger & De Llano       8:20-cv-23312-MCR-GRJ
  409       70843        Demont, Leon                   Danziger & De Llano       8:20-cv-23316-MCR-GRJ
  410       70844        Dempsey, Kristofer             Danziger & De Llano       8:20-cv-23317-MCR-GRJ
  411       70846        Denault, Shea                  Danziger & De Llano       8:20-cv-23319-MCR-GRJ
  412       70849        Dennard, James                 Danziger & De Llano       8:20-cv-23322-MCR-GRJ
  413       70850        Dequinzio, Anthony             Danziger & De Llano       8:20-cv-23323-MCR-GRJ
  414       70851        DERBY, MICHAEL                 Danziger & De Llano       8:20-cv-23324-MCR-GRJ
  415       70853        Derks, David                   Danziger & De Llano       8:20-cv-23325-MCR-GRJ
  416       70856        Deruyter, Conrad               Danziger & De Llano       8:20-cv-23328-MCR-GRJ
  417       70865        Detwiler, Jason                Danziger & De Llano       8:20-cv-23344-MCR-GRJ
  418       70866        Devault, William               Danziger & De Llano       8:20-cv-23346-MCR-GRJ
  419       70867        Deveau, Deryl                  Danziger & De Llano       8:20-cv-23348-MCR-GRJ
  420       70870        Devilla, Ryan                  Danziger & De Llano       8:20-cv-23354-MCR-GRJ
  421       70871        Devillier, William             Danziger & De Llano       8:20-cv-23356-MCR-GRJ
  422       70874        Dewey, Roy                     Danziger & De Llano       8:20-cv-23360-MCR-GRJ
  423       70876        Dezelake, Dakota               Danziger & De Llano       8:20-cv-23364-MCR-GRJ
  424       70878        Diaz, Cesar                    Danziger & De Llano       8:20-cv-23368-MCR-GRJ
  425       70879        Diaz, Daniel                   Danziger & De Llano       8:20-cv-23370-MCR-GRJ
  426       70880        Diaz, David                    Danziger & De Llano       8:20-cv-23372-MCR-GRJ
  427       70881        Diaz, Esteban                  Danziger & De Llano       8:20-cv-23374-MCR-GRJ
  428       70883        Dibenedetto, Mauro             Danziger & De Llano       8:20-cv-23378-MCR-GRJ
  429       70884        Dibiase, Christopher           Danziger & De Llano       8:20-cv-23380-MCR-GRJ
  430       70885        DICKERSON, JOSHUA              Danziger & De Llano       8:20-cv-23382-MCR-GRJ
  431       70892        Diedrich, Matt                 Danziger & De Llano       8:20-cv-23392-MCR-GRJ
  432       70894        Dieng, Cheikh                  Danziger & De Llano       8:20-cv-23396-MCR-GRJ




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  433       70897        Dill, Charles                   Danziger & De Llano       8:20-cv-23401-MCR-GRJ
  434       70901        Dillon, Bradley                 Danziger & De Llano       8:20-cv-23409-MCR-GRJ
  435       70903        Dilyard, Brett                  Danziger & De Llano       8:20-cv-23413-MCR-GRJ
  436       70908        Dinnius, Mark                   Danziger & De Llano       8:20-cv-23422-MCR-GRJ
  437       70912        Disbrow, James                  Danziger & De Llano       8:20-cv-23430-MCR-GRJ
  438       70913        Disney, Johnathon               Danziger & De Llano       8:20-cv-23432-MCR-GRJ
  439       70914        Dixon, Kirk                     Danziger & De Llano       8:20-cv-23435-MCR-GRJ
  440       70923        Doke, Bradley                   Danziger & De Llano       8:20-cv-23463-MCR-GRJ
  441       70925        Dolson, Nick                    Danziger & De Llano       8:20-cv-23469-MCR-GRJ
  442       70926        Dombrowski, Joseph              Danziger & De Llano       8:20-cv-23471-MCR-GRJ
  443       70927        Dominguez, Jaime                Danziger & De Llano       8:20-cv-23474-MCR-GRJ
  444       70933        Doppstadt, Matthew              Danziger & De Llano       8:20-cv-23493-MCR-GRJ
  445       70934        Dori, Shlomi                    Danziger & De Llano       8:20-cv-23496-MCR-GRJ
  446       70936        Dornath, Robert                 Danziger & De Llano       8:20-cv-23501-MCR-GRJ
  447       70938        Dorswitt, Susan                 Danziger & De Llano       8:20-cv-23505-MCR-GRJ
  448       70940        Dotson, Joshua                  Danziger & De Llano       8:20-cv-23511-MCR-GRJ
  449       70942        Dotterer, Jonathan              Danziger & De Llano       8:20-cv-23517-MCR-GRJ
  450       70946        Dove, Edward                    Danziger & De Llano       8:20-cv-23528-MCR-GRJ
  451       70952        Downes, Matthew                 Danziger & De Llano       8:20-cv-23547-MCR-GRJ
  452       70958        Drake, Randall                  Danziger & De Llano       8:20-cv-23562-MCR-GRJ
  453       70960        Dravecky, Daniel                Danziger & De Llano       8:20-cv-23571-MCR-GRJ
  454       70966        Driver, Brian                   Danziger & De Llano       8:20-cv-23589-MCR-GRJ
  455       70970        Drook, Kyle                     Danziger & De Llano       8:20-cv-23606-MCR-GRJ
  456       70971        Drudge, Michael                 Danziger & De Llano       8:20-cv-23610-MCR-GRJ
  457       70972        Drummond, Michael               Danziger & De Llano       8:20-cv-23614-MCR-GRJ
  458       70976        Drysdale, Charles               Danziger & De Llano       8:20-cv-23631-MCR-GRJ
  459       70978        Dubois, Jeremy                  Danziger & De Llano       8:20-cv-23639-MCR-GRJ
  460       70980        Dudek, Paul                     Danziger & De Llano       8:20-cv-23648-MCR-GRJ
  461       70983        Duenwald, Chad                  Danziger & De Llano       8:20-cv-23661-MCR-GRJ
  462       70988        Dufford, Joshua                 Danziger & De Llano       8:20-cv-23681-MCR-GRJ
  463       70990        Dukes, Bobby                    Danziger & De Llano       8:20-cv-23689-MCR-GRJ
  464       70993        Dunbar, Allen                   Danziger & De Llano       8:20-cv-23701-MCR-GRJ
  465       70997        Dunham, Jeremiah                Danziger & De Llano       8:20-cv-23718-MCR-GRJ
  466       70999        Dunham, Robert                  Danziger & De Llano       8:20-cv-23722-MCR-GRJ
  467       71002        Dunn, Joshua                    Danziger & De Llano       8:20-cv-23734-MCR-GRJ
  468       71011        Durham, Brian                   Danziger & De Llano       8:20-cv-23768-MCR-GRJ
  469       71024        Earley, Wesley                  Danziger & De Llano       8:20-cv-23824-MCR-GRJ
  470       71026        Earnest, Matthew                Danziger & De Llano       8:20-cv-23832-MCR-GRJ
  471       71030        Eaton, Christopher              Danziger & De Llano       8:20-cv-23845-MCR-GRJ
  472       71035        Eby, Benjamin                   Danziger & De Llano       8:20-cv-23860-MCR-GRJ
  473       71036        Eby, Thomas                     Danziger & De Llano       8:20-cv-23864-MCR-GRJ
  474       71038        Echols, Travis                  Danziger & De Llano       8:20-cv-23872-MCR-GRJ
  475       71041        Eckles, Chad                    Danziger & De Llano       8:20-cv-23886-MCR-GRJ
  476       71047        Edlen, Jason                    Danziger & De Llano       8:20-cv-23910-MCR-GRJ
  477       71048        Edmondson, Derrick              Danziger & De Llano       8:20-cv-21889-MCR-GRJ
  478       71052        Edwards, John                   Danziger & De Llano       8:20-cv-21905-MCR-GRJ
  479       71056        Edwards, Zachariah              Danziger & De Llano       8:20-cv-21920-MCR-GRJ
  480       71060        Ehrhart, Ann                    Danziger & De Llano       8:20-cv-21931-MCR-GRJ
  481       71061        Eichhorn, Michael               Danziger & De Llano       8:20-cv-21935-MCR-GRJ
  482       71062        Eichman, Riley                  Danziger & De Llano       8:20-cv-21938-MCR-GRJ
  483       71063        Eide, Justin                    Danziger & De Llano       8:20-cv-21941-MCR-GRJ
  484       71067        Einsel, Jerrod                  Danziger & De Llano       8:20-cv-21952-MCR-GRJ
  485       71070        Eldridge, Evan                  Danziger & De Llano       8:20-cv-21961-MCR-GRJ
  486       71071        Eldridge, Koletin               Danziger & De Llano       8:20-cv-21964-MCR-GRJ




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  487       71075        Ellett, Wesley                 Danziger & De Llano       8:20-cv-21976-MCR-GRJ
  488       71080        Ellis, Martin                  Danziger & De Llano       8:20-cv-21993-MCR-GRJ
  489       71084        Elmore, Julio                  Danziger & De Llano       8:20-cv-22006-MCR-GRJ
  490       71087        Emanuel, Derek                 Danziger & De Llano       8:20-cv-22013-MCR-GRJ
  491       71097        Engelking, James               Danziger & De Llano       8:20-cv-22033-MCR-GRJ
  492       71107        Epps, Timothy                  Danziger & De Llano       8:20-cv-22061-MCR-GRJ
  493       71108        Erickson, Derek                Danziger & De Llano       8:20-cv-22065-MCR-GRJ
  494       71114        Escutia, Pedro                 Danziger & De Llano       8:20-cv-22088-MCR-GRJ
  495       71118        Espinosa, Brandon              Danziger & De Llano       8:20-cv-22104-MCR-GRJ
  496       71119        Espinosa, Eric                 Danziger & De Llano       8:20-cv-22108-MCR-GRJ
  497       71120        ESPINOZA, ARTURO               Danziger & De Llano       8:20-cv-22112-MCR-GRJ
  498       71123        Espling, Devon                 Danziger & De Llano       8:20-cv-22120-MCR-GRJ
  499       71125        Esser, Uwe                     Danziger & De Llano       8:20-cv-22128-MCR-GRJ
  500       71128        Estrada, Zachary               Danziger & De Llano       8:20-cv-22136-MCR-GRJ
  501       71130        Evans, Aaron                   Danziger & De Llano       8:20-cv-22143-MCR-GRJ
  502       71133        Evans, James                   Danziger & De Llano       8:20-cv-22154-MCR-GRJ
  503       71134        Evans, James                   Danziger & De Llano       8:20-cv-22159-MCR-GRJ
  504       71139        Ewton, Zachariah               Danziger & De Llano       8:20-cv-22175-MCR-GRJ
  505       71147        Fadely, Bryan                  Danziger & De Llano       8:20-cv-22205-MCR-GRJ
  506       71148        Faehr, Kyle                    Danziger & De Llano       8:20-cv-22211-MCR-GRJ
  507       71150        Fain, Patrick                  Danziger & De Llano       8:20-cv-22222-MCR-GRJ
  508       71151        Fair, Ryan                     Danziger & De Llano       8:20-cv-22226-MCR-GRJ
  509       71153        Fajardo, Mark                  Danziger & De Llano       8:20-cv-22236-MCR-GRJ
  510       71157        Fanick, Albert                 Danziger & De Llano       8:20-cv-22251-MCR-GRJ
  511       71161        Farsijany, Ramzey              Danziger & De Llano       8:20-cv-22337-MCR-GRJ
  512       71163        Fasching, Aj                   Danziger & De Llano       8:20-cv-22354-MCR-GRJ
  513       71173        Fee, Kevin                     Danziger & De Llano       8:20-cv-22406-MCR-GRJ
  514       71174        Feeney, Donald                 Danziger & De Llano       8:20-cv-22413-MCR-GRJ
  515       71175        Feeney, Jonathan               Danziger & De Llano       8:20-cv-22418-MCR-GRJ
  516       71181        Fennell, Bryan                 Danziger & De Llano       8:20-cv-22445-MCR-GRJ
  517       71182        Ferguson, Chase                Danziger & De Llano       8:20-cv-22452-MCR-GRJ
  518       71183        Ferguson, David                Danziger & De Llano       8:20-cv-22457-MCR-GRJ
  519       71185        Fernandez, Jason               Danziger & De Llano       8:20-cv-22473-MCR-GRJ
  520       71193        Fetick, Raymond                Danziger & De Llano       8:20-cv-22540-MCR-GRJ
  521       71197        Fields, Jonathan               Danziger & De Llano       8:20-cv-22558-MCR-GRJ
  522       71204        Figueroa, German               Danziger & De Llano       8:20-cv-22585-MCR-GRJ
  523       71209        Fine, Chris                    Danziger & De Llano       8:20-cv-22602-MCR-GRJ
  524       71211        Finlay, William                Danziger & De Llano       8:20-cv-22610-MCR-GRJ
  525       71212        Finley, David                  Danziger & De Llano       8:20-cv-22614-MCR-GRJ
  526       71215        Fireshaker, Justin             Danziger & De Llano       8:20-cv-22626-MCR-GRJ
  527       71217        Fischer, Thomas                Danziger & De Llano       8:20-cv-22688-MCR-GRJ
  528       71218        Fish, Brian                    Danziger & De Llano       8:20-cv-24329-MCR-GRJ
  529       71221        Fisher, Ethan                  Danziger & De Llano       8:20-cv-24338-MCR-GRJ
  530       71222        Fisher, Jeremiah               Danziger & De Llano       8:20-cv-24341-MCR-GRJ
  531       71225        Fitzgerald, Matthew            Danziger & De Llano       8:20-cv-24344-MCR-GRJ
  532       71226        Fitzgerrald, Jacob             Danziger & De Llano       8:20-cv-24346-MCR-GRJ
  533       71227        Fitzhenry, Ryan                Danziger & De Llano       8:20-cv-24349-MCR-GRJ
  534       71228        Fitzpatrick, Derek             Danziger & De Llano       8:20-cv-24352-MCR-GRJ
  535       71229        Fitzpatrick, Ryan              Danziger & De Llano       8:20-cv-24355-MCR-GRJ
  536       71232        Flarity, James                 Danziger & De Llano       8:20-cv-24364-MCR-GRJ
  537       71236        Fleming, Jason                 Danziger & De Llano       8:20-cv-24370-MCR-GRJ
  538       71237        Fleming, John                  Danziger & De Llano       8:20-cv-24373-MCR-GRJ
  539       71241        Fleming, Steven                Danziger & De Llano       8:20-cv-24385-MCR-GRJ
  540       71242        Fleming, Timothy               Danziger & De Llano       8:20-cv-24388-MCR-GRJ




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  541       71247        Fletcher, Randall             Danziger & De Llano       8:20-cv-24402-MCR-GRJ
  542       71251        Flores, Juan                  Danziger & De Llano       8:20-cv-24410-MCR-GRJ
  543       71271        Fontanez, Garrett             Danziger & De Llano       8:20-cv-24445-MCR-GRJ
  544       71274        Forbes, Neil                  Danziger & De Llano       8:20-cv-24452-MCR-GRJ
  545       71277        Ford, Brady                   Danziger & De Llano       8:20-cv-24458-MCR-GRJ
  546       71282        Ford, Matthew                 Danziger & De Llano       8:20-cv-24467-MCR-GRJ
  547       71285        Forester, Cody                Danziger & De Llano       8:20-cv-24471-MCR-GRJ
  548       71293        Foster, Charlie               Danziger & De Llano       8:20-cv-24488-MCR-GRJ
  549       71294        Foster, Darrell               Danziger & De Llano       8:20-cv-24492-MCR-GRJ
  550       71295        Foster, Michael               Danziger & De Llano       8:20-cv-24495-MCR-GRJ
  551       71300        Fowler, Al                    Danziger & De Llano       8:20-cv-24502-MCR-GRJ
  552       71310        Francis, Brent                Danziger & De Llano       8:20-cv-24535-MCR-GRJ
  553       71314        Francom, Kyle                 Danziger & De Llano       8:20-cv-24545-MCR-GRJ
  554       71320        Franks, Chadwick              Danziger & De Llano       8:20-cv-24564-MCR-GRJ
  555       71324        Fraser, Todd                  Danziger & De Llano       8:20-cv-24577-MCR-GRJ
  556       71326        Frazier, Eric                 Danziger & De Llano       8:20-cv-24583-MCR-GRJ
  557       71327        Frederick, Kyle               Danziger & De Llano       8:20-cv-24586-MCR-GRJ
  558       71332        Freeman, Christopher          Danziger & De Llano       8:20-cv-24599-MCR-GRJ
  559       71333        Freeman, Darren               Danziger & De Llano       8:20-cv-24602-MCR-GRJ
  560       71337        Freeman, Sadie                Danziger & De Llano       8:20-cv-24610-MCR-GRJ
  561       71340        Freeman, William              Danziger & De Llano       8:20-cv-24616-MCR-GRJ
  562       71341        Freemonweldy, Deangelo        Danziger & De Llano       8:20-cv-24619-MCR-GRJ
  563       71342        Freitas, Dustin               Danziger & De Llano       8:20-cv-24623-MCR-GRJ
  564       71345        French, Shealene              Danziger & De Llano       8:20-cv-24632-MCR-GRJ
  565       71346        Frerichs, Jonathon            Danziger & De Llano       8:20-cv-24635-MCR-GRJ
  566       71348        Frey, Michael                 Danziger & De Llano       8:20-cv-24644-MCR-GRJ
  567       71349        Friberg, Jeffrey              Danziger & De Llano       8:20-cv-24648-MCR-GRJ
  568       71351        Friday, Anthony               Danziger & De Llano       8:20-cv-24656-MCR-GRJ
  569       71354        Frith, Jessup                 Danziger & De Llano       8:20-cv-24669-MCR-GRJ
  570       71360        Frye, Jeffery                 Danziger & De Llano       8:20-cv-24703-MCR-GRJ
  571       71364        Fuentes, Osiel                Danziger & De Llano       8:20-cv-24722-MCR-GRJ
  572       71370        Fulton, Martin                Danziger & De Llano       8:20-cv-24746-MCR-GRJ
  573       71379        Gaddy, Christopher            Danziger & De Llano       8:20-cv-24780-MCR-GRJ
  574       71380        Gaffey, Travis                Danziger & De Llano       8:20-cv-24784-MCR-GRJ
  575       71382        Gaffney, Jeremiah             Danziger & De Llano       8:20-cv-24792-MCR-GRJ
  576       71392        Gallagher, Matt               Danziger & De Llano       8:20-cv-24956-MCR-GRJ
  577       71393        Gallagher, Richard            Danziger & De Llano       8:20-cv-24959-MCR-GRJ
  578       71396        Gallman, Christopher          Danziger & De Llano       8:20-cv-24967-MCR-GRJ
  579       71400        Galvan-hernandez, Ricardo     Danziger & De Llano       8:20-cv-24986-MCR-GRJ
  580       71401        Gamble, Robert                Danziger & De Llano       8:20-cv-24990-MCR-GRJ
  581       71402        Gamble, Scott                 Danziger & De Llano       8:20-cv-24994-MCR-GRJ
  582       71406        Gammons, Chad                 Danziger & De Llano       8:20-cv-25016-MCR-GRJ
  583       71407        Gancarz, Robert               Danziger & De Llano       8:20-cv-25023-MCR-GRJ
  584       71408        Ganogianis, Nicklos           Danziger & De Llano       8:20-cv-25029-MCR-GRJ
  585       71415        Garcia, Matthew               Danziger & De Llano       8:20-cv-25068-MCR-GRJ
  586       71430        Garmon, Bobby                 Danziger & De Llano       8:20-cv-25163-MCR-GRJ
  587       71440        Garrett, Ivan.garrett         Danziger & De Llano       8:20-cv-25211-MCR-GRJ
  588       71441        Garriott, Joshua              Danziger & De Llano       8:20-cv-25218-MCR-GRJ
  589       71442        Garris, Matthew               Danziger & De Llano       8:20-cv-25224-MCR-GRJ
  590       71446        Garrison, Tyler               Danziger & De Llano       8:20-cv-25243-MCR-GRJ
  591       71450        Garza, Francisco              Danziger & De Llano       8:20-cv-25265-MCR-GRJ
  592       71454        Gasho, Zachary                Danziger & De Llano       8:20-cv-25282-MCR-GRJ
  593       71456        Gaspard, Brent                Danziger & De Llano       8:20-cv-25287-MCR-GRJ
  594       71457        Gatewood, Richard             Danziger & De Llano       8:20-cv-25293-MCR-GRJ




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  595       71472        Geiselman, Christopher          Danziger & De Llano       8:20-cv-25365-MCR-GRJ
  596       71473        Genetti, Christopher            Danziger & De Llano       8:20-cv-25369-MCR-GRJ
  597       71483        Geyer, Eric                     Danziger & De Llano       8:20-cv-25415-MCR-GRJ
  598       71488        Gibbs, Mike                     Danziger & De Llano       8:20-cv-25429-MCR-GRJ
  599       71493        Gibson, Michael                 Danziger & De Llano       8:20-cv-25448-MCR-GRJ
  600       71494        Gibson, Skyler                  Danziger & De Llano       8:20-cv-25454-MCR-GRJ
  601       71495        Gifford, Daniel                 Danziger & De Llano       8:20-cv-25457-MCR-GRJ
  602       71496        Gifford, Devin                  Danziger & De Llano       8:20-cv-25460-MCR-GRJ
  603       71500        Gildersleeve, Orlando           Danziger & De Llano       8:20-cv-25471-MCR-GRJ
  604       71503        Giles, Melvin                   Danziger & De Llano       8:20-cv-25483-MCR-GRJ
  605       71508        Gillis, John                    Danziger & De Llano       8:20-cv-25502-MCR-GRJ
  606       71514        Glass, Shawn                    Danziger & De Llano       8:20-cv-25522-MCR-GRJ
  607       71515        Gliksman, Jeffrey               Danziger & De Llano       8:20-cv-25526-MCR-GRJ
  608       71517        Glover, Kody                    Danziger & De Llano       8:20-cv-25534-MCR-GRJ
  609       71520        Godenschwager, Brandon          Danziger & De Llano       8:20-cv-25546-MCR-GRJ
  610       71524        Godwin, Shawn                   Danziger & De Llano       8:20-cv-25558-MCR-GRJ
  611       71527        Goff, Jarrett                   Danziger & De Llano       8:20-cv-25565-MCR-GRJ
  612       71531        Gohn, Daniel                    Danziger & De Llano       8:20-cv-25576-MCR-GRJ
  613       71537        Goldman, Michael                Danziger & De Llano       8:20-cv-25594-MCR-GRJ
  614       71542        Gonzales, Johnathan             Danziger & De Llano       8:20-cv-25611-MCR-GRJ
  615       71544        Gonzalez, Aron                  Danziger & De Llano       8:20-cv-25619-MCR-GRJ
  616       71547        Gonzalez, Jerman                Danziger & De Llano       8:20-cv-25630-MCR-GRJ
  617       71563        Goodman, Steven                 Danziger & De Llano       8:20-cv-26530-MCR-GRJ
  618       71567        GORDON, WILLIAM                 Danziger & De Llano       8:20-cv-26542-MCR-GRJ
  619       71568        Gorgani, Samuel                 Danziger & De Llano       8:20-cv-26546-MCR-GRJ
  620       71569        Gorman, Brandon                 Danziger & De Llano       8:20-cv-26550-MCR-GRJ
  621       71570        Gorman, Shaun                   Danziger & De Llano       8:20-cv-26555-MCR-GRJ
  622       71573        Goss, Vernon                    Danziger & De Llano       8:20-cv-26560-MCR-GRJ
  623       71582        Grady, Donald                   Danziger & De Llano       8:20-cv-26589-MCR-GRJ
  624       71583        Grady, Shaun                    Danziger & De Llano       8:20-cv-26594-MCR-GRJ
  625       71584        Grady, Thomas                   Danziger & De Llano       8:20-cv-26598-MCR-GRJ
  626       71585        Graff, Daniel                   Danziger & De Llano       8:20-cv-26603-MCR-GRJ
  627       71586        Grafton, Jordan                 Danziger & De Llano       8:20-cv-26608-MCR-GRJ
  628       71589        Graham, David                   Danziger & De Llano       8:20-cv-26626-MCR-GRJ
  629       71590        Graham, Jerian                  Danziger & De Llano       8:20-cv-26631-MCR-GRJ
  630       71592        Graham, Nicholas                Danziger & De Llano       8:20-cv-26641-MCR-GRJ
  631       71593        Graham, Seth                    Danziger & De Llano       8:20-cv-26646-MCR-GRJ
  632       71595        Granados, Rene                  Danziger & De Llano       8:20-cv-26659-MCR-GRJ
  633       71599        Grant, Ernest                   Danziger & De Llano       8:20-cv-26683-MCR-GRJ
  634       71600        Grant, Ian                      Danziger & De Llano       8:20-cv-26688-MCR-GRJ
  635       71605        Grauer, Megan                   Danziger & De Llano       8:20-cv-26715-MCR-GRJ
  636       71606        Graves, Corey                   Danziger & De Llano       8:20-cv-26719-MCR-GRJ
  637       71609        Gray, Dustin                    Danziger & De Llano       8:20-cv-26733-MCR-GRJ
  638       71610        Gray, Jamarkus                  Danziger & De Llano       8:20-cv-26737-MCR-GRJ
  639       71611        GRAY, MICHAEL                   Danziger & De Llano       8:20-cv-26743-MCR-GRJ
  640       71614        Greemon, Burney                 Danziger & De Llano       8:20-cv-26752-MCR-GRJ
  641       71618        GREEN, JUSTIN                   Danziger & De Llano       8:20-cv-26773-MCR-GRJ
  642       71620        Green, Tracy                    Danziger & De Llano       8:20-cv-26785-MCR-GRJ
  643       71621        Greene, Scott                   Danziger & De Llano       8:20-cv-26790-MCR-GRJ
  644       71622        Greenlee, James                 Danziger & De Llano       8:20-cv-26796-MCR-GRJ
  645       71623        Greenman, Jameson               Danziger & De Llano       8:20-cv-26802-MCR-GRJ
  646       71624        Greenslade, Jacob               Danziger & De Llano       8:20-cv-26808-MCR-GRJ
  647       71626        Greer, Cory                     Danziger & De Llano       8:20-cv-26819-MCR-GRJ
  648       71631        Gregory, Jason                  Danziger & De Llano       8:20-cv-26842-MCR-GRJ




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  649       71635        Grierjohnson, Shamadavid        Danziger & De Llano       8:20-cv-26858-MCR-GRJ
  650       71640        Griffin, Todd                   Danziger & De Llano       8:20-cv-26882-MCR-GRJ
  651       71643        Griffith, Jacob                 Danziger & De Llano       8:20-cv-26898-MCR-GRJ
  652       71644        Griffith, Jason                 Danziger & De Llano       8:20-cv-26904-MCR-GRJ
  653       71646        Griggs, Daniel                  Danziger & De Llano       8:20-cv-26915-MCR-GRJ
  654       71648        Grimes, Daniel                  Danziger & De Llano       8:20-cv-26927-MCR-GRJ
  655       71649        Grimes, Robert                  Danziger & De Llano       8:20-cv-26934-MCR-GRJ
  656       71653        Grogan, Zachary                 Danziger & De Llano       8:20-cv-26957-MCR-GRJ
  657       71655        Grosenbach, David               Danziger & De Llano       8:20-cv-26970-MCR-GRJ
  658       71657        Gross, Jeremy                   Danziger & De Llano       8:20-cv-26983-MCR-GRJ
  659       71666        Gruman, Gregory                 Danziger & De Llano       8:20-cv-27037-MCR-GRJ
  660       71671        GUERRERO, CHRISTOPHER           Danziger & De Llano       8:20-cv-27067-MCR-GRJ
  661       71674        Guess, Brandon                  Danziger & De Llano       8:20-cv-27086-MCR-GRJ
  662       71683        Gunderson, Edward               Danziger & De Llano       8:20-cv-27127-MCR-GRJ
  663       71688        Gurule, Timothy                 Danziger & De Llano       8:20-cv-27154-MCR-GRJ
  664       71690        Gustavson, Jeffrey              Danziger & De Llano       8:20-cv-27162-MCR-GRJ
  665       71691        Guthrie, Richard                Danziger & De Llano       8:20-cv-27168-MCR-GRJ
  666       71708        Haberman, Phil                  Danziger & De Llano       8:20-cv-27259-MCR-GRJ
  667       71710        Hackathorn, Josh                Danziger & De Llano       8:20-cv-27272-MCR-GRJ
  668       71721        Haines, Adam                    Danziger & De Llano       8:20-cv-27338-MCR-GRJ
  669       71724        Halcomb, Trevor                 Danziger & De Llano       8:20-cv-27355-MCR-GRJ
  670       71728        Hale, Brad                      Danziger & De Llano       8:20-cv-27372-MCR-GRJ
  671       71730        Hall, Aaron                     Danziger & De Llano       8:20-cv-27382-MCR-GRJ
  672       71733        Hall, Dustin                    Danziger & De Llano       8:20-cv-27398-MCR-GRJ
  673       71734        Hall, Jason                     Danziger & De Llano       8:20-cv-27404-MCR-GRJ
  674       71735        Hall, Justin                    Danziger & De Llano       8:20-cv-27408-MCR-GRJ
  675       71736        Hall, Raymon                    Danziger & De Llano       8:20-cv-27413-MCR-GRJ
  676       71739        Hall, Thomas                    Danziger & De Llano       8:20-cv-27426-MCR-GRJ
  677       71743        Hall, William                   Danziger & De Llano       8:20-cv-27440-MCR-GRJ
  678       71744        Hallett, David                  Danziger & De Llano       8:20-cv-27445-MCR-GRJ
  679       71754        Hamilton, Rick                  Danziger & De Llano       8:20-cv-27471-MCR-GRJ
  680       71762        Hammond, Michael                Danziger & De Llano       8:20-cv-27508-MCR-GRJ
  681       71769        Hanel, Christopher              Danziger & De Llano       8:20-cv-27536-MCR-GRJ
  682       71771        Hanlon, Grant                   Danziger & De Llano       8:20-cv-27542-MCR-GRJ
  683       71776        Hannum, Scott                   Danziger & De Llano       8:20-cv-27562-MCR-GRJ
  684       71777        Hansen, Dustin                  Danziger & De Llano       8:20-cv-27565-MCR-GRJ
  685       71778        HANSEN, THOMAS                  Danziger & De Llano       8:20-cv-27570-MCR-GRJ
  686       71780        Hanson, Joseph                  Danziger & De Llano       8:20-cv-27578-MCR-GRJ
  687       71784        Harber, Joshua                  Danziger & De Llano       8:20-cv-27593-MCR-GRJ
  688       71789        Harder, Todd                    Danziger & De Llano       8:20-cv-27957-MCR-GRJ
  689       71793        Hardy, Joshua                   Danziger & De Llano       8:20-cv-27964-MCR-GRJ
  690       71800        Hario, Robert                   Danziger & De Llano       8:20-cv-27978-MCR-GRJ
  691       71801        Harker, Jesse                   Danziger & De Llano       8:20-cv-27980-MCR-GRJ
  692       71802        Harkins, Thomas                 Danziger & De Llano       8:20-cv-27982-MCR-GRJ
  693       71803        Harley, William                 Danziger & De Llano       8:20-cv-27984-MCR-GRJ
  694       71805        Harmon, James                   Danziger & De Llano       8:20-cv-27986-MCR-GRJ
  695       71809        Harney, Brian                   Danziger & De Llano       8:20-cv-27993-MCR-GRJ
  696       71810        Harney, Ryan                    Danziger & De Llano       8:20-cv-27995-MCR-GRJ
  697       71811        Harper, Daniel                  Danziger & De Llano       8:20-cv-27997-MCR-GRJ
  698       71812        HARPER, DAVID                   Danziger & De Llano       8:20-cv-27999-MCR-GRJ
  699       71813        Harper, Dominique               Danziger & De Llano       8:20-cv-28001-MCR-GRJ
  700       71815        Harper, Larry                   Danziger & De Llano       8:20-cv-28003-MCR-GRJ
  701       71821        Harrelson, Brandon              Danziger & De Llano       8:20-cv-28011-MCR-GRJ
  702       71824        Harris, Anthony                 Danziger & De Llano       8:20-cv-28014-MCR-GRJ




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  703       71828        Harris, Cesares               Danziger & De Llano       8:20-cv-28017-MCR-GRJ
  704       71847        Harrison, Thomas              Danziger & De Llano       8:20-cv-28052-MCR-GRJ
  705       71861        Harvey, Justin                Danziger & De Llano       8:20-cv-28077-MCR-GRJ
  706       71867        Hassett, Derrick              Danziger & De Llano       8:20-cv-28082-MCR-GRJ
  707       71868        Hastie, Amy                   Danziger & De Llano       8:20-cv-28083-MCR-GRJ
  708       71869        Hatala, Robert                Danziger & De Llano       8:20-cv-28084-MCR-GRJ
  709       71877        Haugh, Matthew                Danziger & De Llano       8:20-cv-28092-MCR-GRJ
  710       71878        Haun, Chris                   Danziger & De Llano       8:20-cv-28093-MCR-GRJ
  711       71880        Hawes, Jason                  Danziger & De Llano       8:20-cv-28095-MCR-GRJ
  712       71888        Hayden, Scott                 Danziger & De Llano       8:20-cv-28108-MCR-GRJ
  713       71893        Hayes, Rodriquez              Danziger & De Llano       8:20-cv-28118-MCR-GRJ
  714       71897        Hayman, Joseph                Danziger & De Llano       8:20-cv-28127-MCR-GRJ
  715       71898        Haynes, Keeon                 Danziger & De Llano       8:20-cv-28129-MCR-GRJ
  716       71899        Haynes, Nick                  Danziger & De Llano       8:20-cv-28158-MCR-GRJ
  717       71910        Heald, Christopher            Danziger & De Llano       8:20-cv-28179-MCR-GRJ
  718       71913        Heath, Aaron                  Danziger & De Llano       8:20-cv-28188-MCR-GRJ
  719       71930        Hege, Evan                    Danziger & De Llano       8:20-cv-28232-MCR-GRJ
  720       71931        Heighton, Douglas             Danziger & De Llano       8:20-cv-28235-MCR-GRJ
  721       71935        Heinz, Mathew                 Danziger & De Llano       8:20-cv-28248-MCR-GRJ
  722       71939        Heller, Joshua                Danziger & De Llano       8:20-cv-28260-MCR-GRJ
  723       71940        Helm, Christopher             Danziger & De Llano       8:20-cv-28264-MCR-GRJ
  724       71947        Henderson, Donald             Danziger & De Llano       8:20-cv-28282-MCR-GRJ
  725       71948        Henderson, Jeremy             Danziger & De Llano       8:20-cv-28286-MCR-GRJ
  726       71949        Henderson, Terry              Danziger & De Llano       8:20-cv-28291-MCR-GRJ
  727       71951        Hengesteg, Samuel             Danziger & De Llano       8:20-cv-28300-MCR-GRJ
  728       71956        Henley, Scott                 Danziger & De Llano       8:20-cv-28385-MCR-GRJ
  729       71977        Hernandez, Joey               Danziger & De Llano       8:20-cv-28477-MCR-GRJ
  730       71981        Hernandez, Jose Luis          Danziger & De Llano       8:20-cv-28504-MCR-GRJ
  731       71983        Herndon, Hunter               Danziger & De Llano       8:20-cv-28509-MCR-GRJ
  732       71984        Herndon, Jered                Danziger & De Llano       8:20-cv-28513-MCR-GRJ
  733       71986        Herrera, Herman               Danziger & De Llano       8:20-cv-28516-MCR-GRJ
  734       71993        Hershner, Mathew              Danziger & De Llano       8:20-cv-28549-MCR-GRJ
  735       71994        Hertig, Daniel                Danziger & De Llano       8:20-cv-28555-MCR-GRJ
  736       72005        Hicks, Daniel                 Danziger & De Llano       8:20-cv-28629-MCR-GRJ
  737       72010        Hieberr, Michael              Danziger & De Llano       8:20-cv-28663-MCR-GRJ
  738       72019        Hildebrant, Dakota            Danziger & De Llano       8:20-cv-29830-MCR-GRJ
  739       72020        Hildreth, Zechariah           Danziger & De Llano       8:20-cv-29834-MCR-GRJ
  740       72021        Hile, Eric                    Danziger & De Llano       8:20-cv-29838-MCR-GRJ
  741       72022        Hilken, Leo                   Danziger & De Llano       8:20-cv-29843-MCR-GRJ
  742       72025        Hill, Gregory                 Danziger & De Llano       8:20-cv-29850-MCR-GRJ
  743       72029        Hill, Sherwood                Danziger & De Llano       8:20-cv-29867-MCR-GRJ
  744       72034        Hilyard, Robert               Danziger & De Llano       8:20-cv-29882-MCR-GRJ
  745       72035        Himelspach, Steven            Danziger & De Llano       8:20-cv-29885-MCR-GRJ
  746       72038        Hines, Larryjo                Danziger & De Llano       8:20-cv-29897-MCR-GRJ
  747       72041        Hinkle, Matthew               Danziger & De Llano       8:20-cv-29907-MCR-GRJ
  748       72045        Hintz, Michael                Danziger & De Llano       8:20-cv-29917-MCR-GRJ
  749       72046        Hirt, Eric                    Danziger & De Llano       8:20-cv-29920-MCR-GRJ
  750       72050        Hlavka, Cody                  Danziger & De Llano       8:20-cv-29934-MCR-GRJ
  751       72051        Hoag, Clifton                 Danziger & De Llano       8:20-cv-29937-MCR-GRJ
  752       72052        Hoard, John                   Danziger & De Llano       8:20-cv-29941-MCR-GRJ
  753       72058        Hoben, Kyle                   Danziger & De Llano       8:20-cv-29963-MCR-GRJ
  754       72064        Hodges, Seth                  Danziger & De Llano       8:20-cv-29985-MCR-GRJ
  755       72072        Hogue, Richard                Danziger & De Llano       8:20-cv-30015-MCR-GRJ
  756       72075        Holcomb, Jesse                Danziger & De Llano       8:20-cv-30028-MCR-GRJ




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  757       72079        Holder, Marcus              Danziger & De Llano       8:20-cv-30046-MCR-GRJ
  758       72091        Holsclaw, James             Danziger & De Llano       8:20-cv-30095-MCR-GRJ
  759       72092        Holst, Christopher          Danziger & De Llano       8:20-cv-30099-MCR-GRJ
  760       72094        Holyfield-mann, Nicolas     Danziger & De Llano       8:20-cv-30103-MCR-GRJ
  761       72095        Holyoak, Daniel             Danziger & De Llano       8:20-cv-30108-MCR-GRJ
  762       72097        Honaker, Kevin              Danziger & De Llano       8:20-cv-30117-MCR-GRJ
  763       72098        Honer, Charles              Danziger & De Llano       8:20-cv-30122-MCR-GRJ
  764       72100        Hood, Catlin                Danziger & De Llano       8:20-cv-30126-MCR-GRJ
  765       72103        Hook, Edward                Danziger & De Llano       8:20-cv-30138-MCR-GRJ
  766       72106        Hooper, Michael             Danziger & De Llano       8:20-cv-30146-MCR-GRJ
  767       72108        Hoover, William             Danziger & De Llano       8:20-cv-30151-MCR-GRJ
  768       72111        Hopkins, James              Danziger & De Llano       8:20-cv-30161-MCR-GRJ
  769       72121        Horn, Ellery                Danziger & De Llano       8:20-cv-30181-MCR-GRJ
  770       72122        Hornaday, Broc              Danziger & De Llano       8:20-cv-30184-MCR-GRJ
  771       72125        Horsley, Shawn              Danziger & De Llano       8:20-cv-30188-MCR-GRJ
  772       72127        Horton, Glenn               Danziger & De Llano       8:20-cv-30193-MCR-GRJ
  773       72140        Householder, James          Danziger & De Llano       8:20-cv-30217-MCR-GRJ
  774       72141        Howard, Andrew              Danziger & De Llano       8:20-cv-30219-MCR-GRJ
  775       72143        Howard, Jonathan            Danziger & De Llano       8:20-cv-30224-MCR-GRJ
  776       72148        Howerton, Jeff              Danziger & De Llano       8:20-cv-30240-MCR-GRJ
  777       72151        Hoyt, Sheldon               Danziger & De Llano       8:20-cv-30247-MCR-GRJ
  778       72152        Hubbard, Dustin             Danziger & De Llano       8:20-cv-30251-MCR-GRJ
  779       72154        Huber, David                Danziger & De Llano       8:20-cv-30253-MCR-GRJ
  780       72157        Huddleson, William          Danziger & De Llano       8:20-cv-30262-MCR-GRJ
  781       72158        Huddleston, Christopher     Danziger & De Llano       8:20-cv-30266-MCR-GRJ
  782       72159        Huddleston, Nicholas        Danziger & De Llano       8:20-cv-30269-MCR-GRJ
  783       72166        Huerta, Daniel              Danziger & De Llano       8:20-cv-30285-MCR-GRJ
  784       72172        Huffman, Ryan               Danziger & De Llano       8:20-cv-30298-MCR-GRJ
  785       72183        Hughes, Woodrow             Danziger & De Llano       8:20-cv-30311-MCR-GRJ
  786       72186        Hughs, Brian                Danziger & De Llano       8:20-cv-30317-MCR-GRJ
  787       72189        Hulse, Richard              Danziger & De Llano       8:20-cv-30327-MCR-GRJ
  788       72191        Hulsizer, Mathew            Danziger & De Llano       8:20-cv-22268-MCR-GRJ
  789       72192        Humphries, Samuel           Danziger & De Llano       8:20-cv-22272-MCR-GRJ
  790       72193        Hunt, Christopher           Danziger & De Llano       8:20-cv-22276-MCR-GRJ
  791       72205        Huston, Cody                Danziger & De Llano       8:20-cv-22309-MCR-GRJ
  792       72212        Huynh, Loc                  Danziger & De Llano       8:20-cv-22334-MCR-GRJ
  793       72216        Hyre, Benjamin              Danziger & De Llano       8:20-cv-22347-MCR-GRJ
  794       72219        Ibarra, Jaime               Danziger & De Llano       8:20-cv-22357-MCR-GRJ
  795       72220        Ibarra, Jaime               Danziger & De Llano       8:20-cv-22363-MCR-GRJ
  796       72221        Ilgen, Tyler                Danziger & De Llano       8:20-cv-22368-MCR-GRJ
  797       72225        Inbody, Erik                Danziger & De Llano       8:20-cv-22381-MCR-GRJ
  798       72228        Ingram, Austin              Danziger & De Llano       8:20-cv-22396-MCR-GRJ
  799       72234        Inman, Tyson                Danziger & De Llano       8:20-cv-22415-MCR-GRJ
  800       72237        Irby, Donald                Danziger & De Llano       8:20-cv-22430-MCR-GRJ
  801       72238        Ireland, Zachary            Danziger & De Llano       8:20-cv-22435-MCR-GRJ
  802       72243        Irvin, Zachary              Danziger & De Llano       8:20-cv-22459-MCR-GRJ
  803       72251        Isidro, Andres              Danziger & De Llano       8:20-cv-22491-MCR-GRJ
  804       72258        Iwinski, Austin             Danziger & De Llano       8:20-cv-22521-MCR-GRJ
  805       72267        Jackson, Justin             Danziger & De Llano       8:20-cv-22551-MCR-GRJ
  806       72268        Jackson, Kory               Danziger & De Llano       8:20-cv-22555-MCR-GRJ
  807       72272        Jackson, Larry              Danziger & De Llano       8:20-cv-22567-MCR-GRJ
  808       72278        Jackson, Richard            Danziger & De Llano       8:20-cv-22586-MCR-GRJ
  809       72282        Jacobs, Christopher         Danziger & De Llano       8:20-cv-22600-MCR-GRJ
  810       72297        James, William              Danziger & De Llano       8:20-cv-22649-MCR-GRJ




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  811       72301        Jankowski, Eric                Danziger & De Llano       8:20-cv-22660-MCR-GRJ
  812       72302        Jankowski, Timothy             Danziger & De Llano       8:20-cv-22664-MCR-GRJ
  813       72309        Jarred, Jesse                  Danziger & De Llano       8:20-cv-22685-MCR-GRJ
  814       72310        Jarrett, Carl                  Danziger & De Llano       8:20-cv-22689-MCR-GRJ
  815       72311        Jarrett, Quincy                Danziger & De Llano       8:20-cv-22692-MCR-GRJ
  816       72313        Jean, Bildad                   Danziger & De Llano       8:20-cv-22695-MCR-GRJ
  817       72315        Jefferson, Philip              Danziger & De Llano       8:20-cv-22700-MCR-GRJ
  818       72324        Jensen, Chad                   Danziger & De Llano       8:20-cv-22721-MCR-GRJ
  819       72325        Jensen, Gary                   Danziger & De Llano       8:20-cv-22724-MCR-GRJ
  820       72329        Jettinghoff, Erik              Danziger & De Llano       8:20-cv-22733-MCR-GRJ
  821       72333        Jimenez, Ismael                Danziger & De Llano       8:20-cv-22742-MCR-GRJ
  822       72335        Jimenez, Joey                  Danziger & De Llano       8:20-cv-22749-MCR-GRJ
  823       72336        Joaquin, Cayden                Danziger & De Llano       8:20-cv-22751-MCR-GRJ
  824       72337        JOBSON, LLOYD                  Danziger & De Llano       8:20-cv-22754-MCR-GRJ
  825       72339        Johanson, Kyle                 Danziger & De Llano       8:20-cv-22757-MCR-GRJ
  826       72346        Johnson, Alan                  Danziger & De Llano       8:20-cv-22772-MCR-GRJ
  827       72347        Johnson, Alex                  Danziger & De Llano       8:20-cv-22775-MCR-GRJ
  828       72352        Johnson, Brett                 Danziger & De Llano       8:20-cv-22789-MCR-GRJ
  829       72360        Johnson, Dakota                Danziger & De Llano       8:20-cv-22807-MCR-GRJ
  830       72363        JOHNSON, DAVID                 Danziger & De Llano       8:20-cv-22815-MCR-GRJ
  831       72365        Johnson, Gerhardt              Danziger & De Llano       8:20-cv-22822-MCR-GRJ
  832       72372        Johnson, Jonathan              Danziger & De Llano       8:20-cv-22840-MCR-GRJ
  833       72373        JOHNSON, JOSEPH                Danziger & De Llano       8:20-cv-22843-MCR-GRJ
  834       72378        JOHNSON, MARK                  Danziger & De Llano       8:20-cv-22852-MCR-GRJ
  835       72379        Johnson, Matt                  Danziger & De Llano       8:20-cv-22856-MCR-GRJ
  836       72384        Johnson, Quintarus             Danziger & De Llano       8:20-cv-22870-MCR-GRJ
  837       72394        Johnston, William              Danziger & De Llano       8:20-cv-22900-MCR-GRJ
  838       72396        Jolin, Sean                    Danziger & De Llano       8:20-cv-22903-MCR-GRJ
  839       72400        JONES, BRANDON                 Danziger & De Llano       8:20-cv-22911-MCR-GRJ
  840       72401        Jones, Brannon M               Danziger & De Llano       8:20-cv-22912-MCR-GRJ
  841       72402        Jones, Byron                   Danziger & De Llano       8:20-cv-22914-MCR-GRJ
  842       72406        Jones, Chance                  Danziger & De Llano       8:20-cv-22920-MCR-GRJ
  843       72409        Jones, Darcy                   Danziger & De Llano       8:20-cv-22926-MCR-GRJ
  844       72414        Jones, Henry                   Danziger & De Llano       8:20-cv-22933-MCR-GRJ
  845       72417        Jones, James                   Danziger & De Llano       8:20-cv-22939-MCR-GRJ
  846       72419        Jones, Jeremiah                Danziger & De Llano       8:20-cv-22941-MCR-GRJ
  847       72424        Jones, Jonathon                Danziger & De Llano       8:20-cv-22948-MCR-GRJ
  848       72430        Jones, Lonnie                  Danziger & De Llano       8:20-cv-22954-MCR-GRJ
  849       72431        Jones, Matt                    Danziger & De Llano       8:20-cv-22956-MCR-GRJ
  850       72433        Jones, Nick                    Danziger & De Llano       8:20-cv-22959-MCR-GRJ
  851       72434        JONES, PHILLIP                 Danziger & De Llano       8:20-cv-22961-MCR-GRJ
  852       72436        Jones, Tristan                 Danziger & De Llano       8:20-cv-22965-MCR-GRJ
  853       72440        Jordan, Larry                  Danziger & De Llano       8:20-cv-22972-MCR-GRJ
  854       72441        Jordan, Michael                Danziger & De Llano       8:20-cv-22974-MCR-GRJ
  855       72442        Jordan, Michael                Danziger & De Llano       8:20-cv-22976-MCR-GRJ
  856       72445        Jordan, Jerrold                Danziger & De Llano       8:20-cv-22982-MCR-GRJ
  857       72447        Jorgensen, Dane                Danziger & De Llano       8:20-cv-22985-MCR-GRJ
  858       72450        Joyce, Andrew                  Danziger & De Llano       8:20-cv-22991-MCR-GRJ
  859       72455        Judd, Morgon                   Danziger & De Llano       8:20-cv-22998-MCR-GRJ
  860       72457        Judy, Chris                    Danziger & De Llano       8:20-cv-23002-MCR-GRJ
  861       72459        Julun, Anthony                 Danziger & De Llano       8:20-cv-23006-MCR-GRJ
  862       72471        Kahl, Timothy                  Danziger & De Llano       8:20-cv-23026-MCR-GRJ
  863       72476        Kaiser, Reed                   Danziger & De Llano       8:20-cv-23036-MCR-GRJ
  864       72477        Kalgren, Daniel                Danziger & De Llano       8:20-cv-23038-MCR-GRJ




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  865       72479        Kaltner, Michael               Danziger & De Llano       8:20-cv-23333-MCR-GRJ
  866       72481        Kaminski, Gregory              Danziger & De Llano       8:20-cv-23335-MCR-GRJ
  867       72483        Kane, Jesse                    Danziger & De Llano       8:20-cv-23339-MCR-GRJ
  868       72491        Kavanagh, Tony                 Danziger & De Llano       8:20-cv-23353-MCR-GRJ
  869       72492        Kaye, Steven                   Danziger & De Llano       8:20-cv-23355-MCR-GRJ
  870       72494        Keck, Dan                      Danziger & De Llano       8:20-cv-23359-MCR-GRJ
  871       72498        Keene, Aaron                   Danziger & De Llano       8:20-cv-23367-MCR-GRJ
  872       72500        Keeshan, Matthew               Danziger & De Llano       8:20-cv-23369-MCR-GRJ
  873       72506        Keller, Josh                   Danziger & De Llano       8:20-cv-23379-MCR-GRJ
  874       72510        Kelley, Benjamin               Danziger & De Llano       8:20-cv-23387-MCR-GRJ
  875       72512        Kelley, Milton                 Danziger & De Llano       8:20-cv-23389-MCR-GRJ
  876       72520        Kelsey, Christopher            Danziger & De Llano       8:20-cv-23400-MCR-GRJ
  877       72524        Kendall, Brandon               Danziger & De Llano       8:20-cv-23404-MCR-GRJ
  878       72526        Kenneavy, Stephan              Danziger & De Llano       8:20-cv-23408-MCR-GRJ
  879       72529        Kennedy, Joshua                Danziger & De Llano       8:20-cv-23414-MCR-GRJ
  880       72531        Kenyon, Joshua                 Danziger & De Llano       8:20-cv-23418-MCR-GRJ
  881       72532        Kenyon, Westley                Danziger & De Llano       8:20-cv-23420-MCR-GRJ
  882       72533        Keo, Soleummy                  Danziger & De Llano       8:20-cv-23423-MCR-GRJ
  883       72534        Kerley, Royce                  Danziger & De Llano       8:20-cv-23425-MCR-GRJ
  884       72535        Kern, Michael                  Danziger & De Llano       8:20-cv-23427-MCR-GRJ
  885       72539        Kerr, David                    Danziger & De Llano       8:20-cv-23434-MCR-GRJ
  886       72542        Kessel, Ian                    Danziger & De Llano       8:20-cv-23445-MCR-GRJ
  887       72553        Kiesling, Michael              Danziger & De Llano       8:20-cv-23476-MCR-GRJ
  888       72555        Kilgore, James                 Danziger & De Llano       8:20-cv-23482-MCR-GRJ
  889       72558        Kimble, Broderick              Danziger & De Llano       8:20-cv-23489-MCR-GRJ
  890       72560        Kimmich, Kyle                  Danziger & De Llano       8:20-cv-23492-MCR-GRJ
  891       72564        King, Cody                     Danziger & De Llano       8:20-cv-23503-MCR-GRJ
  892       72567        King, Jamar                    Danziger & De Llano       8:20-cv-23512-MCR-GRJ
  893       72569        King, Jordan                   Danziger & De Llano       8:20-cv-23519-MCR-GRJ
  894       72574        KING, MICHAEL                  Danziger & De Llano       8:20-cv-23533-MCR-GRJ
  895       72575        KING, MICHAEL                  Danziger & De Llano       8:20-cv-23536-MCR-GRJ
  896       72579        King, Seth                     Danziger & De Llano       8:20-cv-23546-MCR-GRJ
  897       72581        King, Stephen                  Watts Guerra, LLP         8:20-cv-23552-MCR-GRJ
  898       72585        Kinnett, Sam                   Danziger & De Llano       8:20-cv-23563-MCR-GRJ
  899       72586        Kinney, Dan                    Danziger & De Llano       8:20-cv-23568-MCR-GRJ
  900       72589        Kinsella, John                 Danziger & De Llano       8:20-cv-23580-MCR-GRJ
  901       72590        Kinser, William                Danziger & De Llano       8:20-cv-23584-MCR-GRJ
  902       72591        Kirby, Jordan                  Danziger & De Llano       8:20-cv-23588-MCR-GRJ
  903       72596        Kirkendoll, Jason              Danziger & De Llano       8:20-cv-23611-MCR-GRJ
  904       72617        Kliebert, Joseph               Danziger & De Llano       8:20-cv-23688-MCR-GRJ
  905       72621        Klumpe, Steven                 Danziger & De Llano       8:20-cv-23707-MCR-GRJ
  906       72624        Knerl, Robert                  Danziger & De Llano       8:20-cv-23719-MCR-GRJ
  907       72625        Knight, Ian                    Danziger & De Llano       8:20-cv-23723-MCR-GRJ
  908       72626        Knighten, Gerald               Danziger & De Llano       8:20-cv-23727-MCR-GRJ
  909       72633        Knouse, Todd                   Danziger & De Llano       8:20-cv-23758-MCR-GRJ
  910       72636        Knowlton, Travis               Danziger & De Llano       8:20-cv-23771-MCR-GRJ
  911       72639        Knudson, Matthew               Danziger & De Llano       8:20-cv-23779-MCR-GRJ
  912       72643        Kohler, Kenneth                Danziger & De Llano       8:20-cv-23788-MCR-GRJ
  913       72644        Kohlwes, Jeremy                Danziger & De Llano       8:20-cv-23792-MCR-GRJ
  914       72649        Kolowajtis, Zachary            Danziger & De Llano       8:20-cv-23809-MCR-GRJ
  915       72652        Kontis, Philip                 Danziger & De Llano       8:20-cv-23822-MCR-GRJ
  916       72654        Koons, Lonny                   Danziger & De Llano       8:20-cv-23831-MCR-GRJ
  917       72659        Kozlowski, Brian               Danziger & De Llano       8:20-cv-23848-MCR-GRJ
  918       72662        Kramer, Joshua                 Danziger & De Llano       8:20-cv-23862-MCR-GRJ




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  919       72664        Kramme, Cody                   Danziger & De Llano       8:20-cv-23869-MCR-GRJ
  920       72667        Krebiehl, Tyson                Danziger & De Llano       8:20-cv-23879-MCR-GRJ
  921       72676        Krisle, Justin                 Danziger & De Llano       8:20-cv-23916-MCR-GRJ
  922       72677        Krogmann, Michael              Danziger & De Llano       8:20-cv-23920-MCR-GRJ
  923       72680        Krug, Michael                  Danziger & De Llano       8:20-cv-23930-MCR-GRJ
  924       72682        Kruse, Clayton                 Danziger & De Llano       8:20-cv-23936-MCR-GRJ
  925       72691        Kuhn, Jeffrey                  Danziger & De Llano       8:20-cv-23962-MCR-GRJ
  926       72698        Kurzeja, Tom                   Danziger & De Llano       8:20-cv-23982-MCR-GRJ
  927       72704        Kyander, Matthew               Danziger & De Llano       8:20-cv-23998-MCR-GRJ
  928       72706        Kyllo, Jaecob                  Danziger & De Llano       8:20-cv-24004-MCR-GRJ
  929       72709        Labadie, Tristan               Danziger & De Llano       8:20-cv-24015-MCR-GRJ
  930       72717        Lafrate, Matthew               Danziger & De Llano       8:20-cv-24041-MCR-GRJ
  931       72721        Lake, Bryan                    Danziger & De Llano       8:20-cv-24052-MCR-GRJ
  932       72722        Lake, Eric                     Danziger & De Llano       8:20-cv-24055-MCR-GRJ
  933       72725        Lalonde, Mark                  Danziger & De Llano       8:20-cv-24064-MCR-GRJ
  934       72729        Lambert, Luke                  Danziger & De Llano       8:20-cv-24070-MCR-GRJ
  935       72732        Lambott, Michael               Danziger & De Llano       8:20-cv-24081-MCR-GRJ
  936       72742        Lane, Erik                     Danziger & De Llano       8:20-cv-24107-MCR-GRJ
  937       72744        Lane, Richard                  Danziger & De Llano       8:20-cv-24113-MCR-GRJ
  938       72746        Laney, James                   Danziger & De Llano       8:20-cv-24119-MCR-GRJ
  939       72748        Langdon, Matthew               Danziger & De Llano       8:20-cv-24126-MCR-GRJ
  940       72750        Langevin, Thomas               Danziger & De Llano       8:20-cv-24132-MCR-GRJ
  941       72753        Langley, Chad                  Danziger & De Llano       8:20-cv-24142-MCR-GRJ
  942       72754        Lanier, Jeremy                 Danziger & De Llano       8:20-cv-24146-MCR-GRJ
  943       72760        Large, Troy                    Danziger & De Llano       8:20-cv-24166-MCR-GRJ
  944       72763        Larkin, Joshua                 Danziger & De Llano       8:20-cv-24175-MCR-GRJ
  945       72765        Larned, Geoffrey               Danziger & De Llano       8:20-cv-23436-MCR-GRJ
  946       72769        Larson, Johnathan              Danziger & De Llano       8:20-cv-23440-MCR-GRJ
  947       72770        LARSON, MATTHEW                Danziger & De Llano       8:20-cv-23443-MCR-GRJ
  948       72771        LARSON, MATTHEW                Danziger & De Llano       8:20-cv-23446-MCR-GRJ
  949       72772        Larson, Thomas                 Danziger & De Llano       8:20-cv-23449-MCR-GRJ
  950       72777        Laskoskie, Joshua              Danziger & De Llano       8:20-cv-23461-MCR-GRJ
  951       72779        Laspisa, Giovanni              Danziger & De Llano       8:20-cv-23464-MCR-GRJ
  952       72784        Lauder, Shane                  Danziger & De Llano       8:20-cv-23475-MCR-GRJ
  953       72792        Lawrance, Derek                Danziger & De Llano       8:20-cv-23494-MCR-GRJ
  954       72797        Lawson, Andrew                 Danziger & De Llano       8:20-cv-23507-MCR-GRJ
  955       72798        Lawson, Kyle                   Danziger & De Llano       8:20-cv-23510-MCR-GRJ
  956       72804        Lazaro, Leal                   Danziger & De Llano       8:20-cv-23524-MCR-GRJ
  957       72806        Leach, Jaime                   Danziger & De Llano       8:20-cv-23529-MCR-GRJ
  958       72807        Leahey, Timothy                Danziger & De Llano       8:20-cv-23532-MCR-GRJ
  959       72811        Leath, Tommy                   Danziger & De Llano       8:20-cv-23543-MCR-GRJ
  960       72813        Leaver, Joseph                 Danziger & De Llano       8:20-cv-23545-MCR-GRJ
  961       72814        Leavines, Tommy                Danziger & De Llano       8:20-cv-23548-MCR-GRJ
  962       72816        Lebo, David                    Danziger & De Llano       8:20-cv-23554-MCR-GRJ
  963       72820        Lecuyer, Michael               Danziger & De Llano       8:20-cv-23566-MCR-GRJ
  964       72823        Ledlow, Jeremy                 Danziger & De Llano       8:20-cv-23574-MCR-GRJ
  965       72827        Lee, Gregory                   Danziger & De Llano       8:20-cv-23586-MCR-GRJ
  966       72828        Lee, Jayson                    Danziger & De Llano       8:20-cv-23590-MCR-GRJ
  967       72829        Lee, Justin                    Danziger & De Llano       8:20-cv-23592-MCR-GRJ
  968       72837        Leeney, Travis                 Danziger & De Llano       8:20-cv-23619-MCR-GRJ
  969       72844        Legg, Christopher              Danziger & De Llano       8:20-cv-23642-MCR-GRJ
  970       72845        Lehman, Daniel                 Danziger & De Llano       8:20-cv-23646-MCR-GRJ
  971       72850        Leitzen, Patrick               Danziger & De Llano       8:20-cv-23664-MCR-GRJ
  972       72852        Lemaire, Jeremy                Danziger & De Llano       8:20-cv-23668-MCR-GRJ




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  973       72858        Lent, Raymond                   Danziger & De Llano       8:20-cv-23691-MCR-GRJ
  974       72859        Lenz, Hal                       Danziger & De Llano       8:20-cv-23695-MCR-GRJ
  975       72865        Lesser, Robert                  Danziger & De Llano       8:20-cv-23712-MCR-GRJ
  976       72869        Leuenhagen, Jeremiah            Danziger & De Llano       8:20-cv-23728-MCR-GRJ
  977       72871        Levenhagen, Jeremy              Danziger & De Llano       8:20-cv-23735-MCR-GRJ
  978       72882        Lewis, Derick                   Danziger & De Llano       8:20-cv-23769-MCR-GRJ
  979       72890        Li, Weiming                     Danziger & De Llano       8:20-cv-23795-MCR-GRJ
  980       72891        Liang, Qiwan                    Danziger & De Llano       8:20-cv-23799-MCR-GRJ
  981       72893        Licari, Frank                   Danziger & De Llano       8:20-cv-23806-MCR-GRJ
  982       72895        Liebel, Tyrell                  Danziger & De Llano       8:20-cv-23813-MCR-GRJ
  983       72899        Lillard, Andrew                 Danziger & De Llano       8:20-cv-23825-MCR-GRJ
  984       72903        Linder, Joshua                  Danziger & De Llano       8:20-cv-23841-MCR-GRJ
  985       72904        Linder, Stephen                 Danziger & De Llano       8:20-cv-23844-MCR-GRJ
  986       72905        Lindsay, Curtiss                Danziger & De Llano       8:20-cv-23847-MCR-GRJ
  987       72907        Lindsay, Thomas                 Danziger & De Llano       8:20-cv-23855-MCR-GRJ
  988       72908        Lindsay, Tim                    Danziger & De Llano       8:20-cv-23859-MCR-GRJ
  989       72909        Lindsey, Albert                 Danziger & De Llano       8:20-cv-23863-MCR-GRJ
  990       72912        Link, Erik                      Danziger & De Llano       8:20-cv-23874-MCR-GRJ
  991       72913        Link, Justin                    Danziger & De Llano       8:20-cv-23878-MCR-GRJ
  992       72914        Linsenbach, Richard             Danziger & De Llano       8:20-cv-23881-MCR-GRJ
  993       72920        Litteken, Christopher           Danziger & De Llano       8:20-cv-23904-MCR-GRJ
  994       72922        Little, Hank                    Danziger & De Llano       8:20-cv-23908-MCR-GRJ
  995       72923        Litts, George                   Danziger & De Llano       8:20-cv-23912-MCR-GRJ
  996       72924        Litzenberger, Kyle              Danziger & De Llano       8:20-cv-23915-MCR-GRJ
  997       72928        Livingston, Larry               Danziger & De Llano       8:20-cv-23923-MCR-GRJ
  998       72930        Lloyd, David                    Danziger & De Llano       8:20-cv-23929-MCR-GRJ
  999       72934        Lockard, Tyler                  Danziger & De Llano       8:20-cv-23938-MCR-GRJ
  1000      72935        Lockett, Jaunci                 Danziger & De Llano       8:20-cv-23941-MCR-GRJ
  1001      72936        Locklear, Helsup                Danziger & De Llano       8:20-cv-23944-MCR-GRJ
  1002      72941        Loganbill, Robert               Danziger & De Llano       8:20-cv-23954-MCR-GRJ
  1003      72944        Lollis, James                   Danziger & De Llano       8:20-cv-23963-MCR-GRJ
  1004      72947        Lonergan, Damian                Danziger & De Llano       8:20-cv-23971-MCR-GRJ
  1005      72952        Long, Marty                     Danziger & De Llano       8:20-cv-23986-MCR-GRJ
  1006      72956        Loomis, Robert                  Danziger & De Llano       8:20-cv-23997-MCR-GRJ
  1007      72962        Lopez, Jose                     Danziger & De Llano       8:20-cv-24006-MCR-GRJ
  1008      72964        Lopez, Mark                     Danziger & De Llano       8:20-cv-24009-MCR-GRJ
  1009      72965        Lopez, Michael                  Danziger & De Llano       8:20-cv-24011-MCR-GRJ
  1010      72966        Lopez, Ramon                    Danziger & De Llano       8:20-cv-24014-MCR-GRJ
  1011      72973        Lott, Steven                    Danziger & De Llano       8:20-cv-24028-MCR-GRJ
  1012      72976        Loudin, David                   Danziger & De Llano       8:20-cv-24037-MCR-GRJ
  1013      72988        Lowe, Matthew                   Danziger & De Llano       8:20-cv-24068-MCR-GRJ
  1014      72991        LOWERY, JOHN                    Danziger & De Llano       8:20-cv-24076-MCR-GRJ
  1015      72994        Lowing, Joshua                  Danziger & De Llano       8:20-cv-24085-MCR-GRJ
  1016      72996        Lozano, Isaac                   Danziger & De Llano       8:20-cv-24091-MCR-GRJ
  1017      72997        Lozano, John                    Danziger & De Llano       8:20-cv-24094-MCR-GRJ
  1018      72999        Luc, Zacherie                   Danziger & De Llano       8:20-cv-24100-MCR-GRJ
  1019      73003        Lucas, Jessie                   Danziger & De Llano       8:20-cv-24108-MCR-GRJ
  1020      73009        Ludwick, Andrew                 Danziger & De Llano       8:20-cv-24120-MCR-GRJ
  1021      73013        Luna, Alfred                    Danziger & De Llano       8:20-cv-24131-MCR-GRJ
  1022      73015        Luna, Jason                     Danziger & De Llano       8:20-cv-24137-MCR-GRJ
  1023      73016        Luna, Jeremy                    Danziger & De Llano       8:20-cv-24140-MCR-GRJ
  1024      73019        Luneke, Anthony                 Danziger & De Llano       8:20-cv-24143-MCR-GRJ
  1025      73021        Luschen, Michael                Danziger & De Llano       8:20-cv-24145-MCR-GRJ
  1026      73026        Lutz, Ross                      Danziger & De Llano       8:20-cv-24157-MCR-GRJ




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  1027      73027        Luxton, Bryan                 Danziger & De Llano       8:20-cv-24160-MCR-GRJ
  1028      73029        Ly, Wilson                    Danziger & De Llano       8:20-cv-24163-MCR-GRJ
  1029      73032        Lykins, Jason                 Danziger & De Llano       8:20-cv-24171-MCR-GRJ
  1030      73033        Lyman, Anthony                Danziger & De Llano       8:20-cv-24174-MCR-GRJ
  1031      73036        Lyne, Nathan                  Danziger & De Llano       8:20-cv-24177-MCR-GRJ
  1032      73038        Lyons, Anthony                Danziger & De Llano       8:20-cv-24181-MCR-GRJ
  1033      73039        Lyons, Jeffrey                Danziger & De Llano       8:20-cv-24183-MCR-GRJ
  1034      73045        Maclean, Brian                Danziger & De Llano       8:20-cv-24193-MCR-GRJ
  1035      73046        Macready, Christopher         Danziger & De Llano       8:20-cv-24195-MCR-GRJ
  1036      73051        Madison, Mason                Danziger & De Llano       8:20-cv-24205-MCR-GRJ
  1037      73052        Madrid, Christian             Danziger & De Llano       8:20-cv-24207-MCR-GRJ
  1038      73054        Maez, Manuel                  Danziger & De Llano       8:20-cv-23565-MCR-GRJ
  1039      73056        Maggio, Anthony               Danziger & De Llano       8:20-cv-23572-MCR-GRJ
  1040      73057        Magoon, Adam                  Danziger & De Llano       8:20-cv-23575-MCR-GRJ
  1041      73064        Mailhiot, Christopher         Danziger & De Llano       8:20-cv-23599-MCR-GRJ
  1042      73067        Main, Herman                  Danziger & De Llano       8:20-cv-23609-MCR-GRJ
  1043      73069        Majors, Eric                  Danziger & De Llano       8:20-cv-23613-MCR-GRJ
  1044      73071        Makuch, Josiah                Danziger & De Llano       8:20-cv-23621-MCR-GRJ
  1045      73072        Maldonado, Anthony            Danziger & De Llano       8:20-cv-23625-MCR-GRJ
  1046      73078        Malinowski, James             Danziger & De Llano       8:20-cv-23647-MCR-GRJ
  1047      73087        Malone, Jared                 Danziger & De Llano       8:20-cv-23674-MCR-GRJ
  1048      73088        Malone, Joseph                Danziger & De Llano       8:20-cv-23678-MCR-GRJ
  1049      73091        Maluga, Ben                   Danziger & De Llano       8:20-cv-23686-MCR-GRJ
  1050      73094        Maneth, Chad                  Danziger & De Llano       8:20-cv-23696-MCR-GRJ
  1051      73104        Manning, Austin               Danziger & De Llano       8:20-cv-23721-MCR-GRJ
  1052      73106        Manning, Terrance             Danziger & De Llano       8:20-cv-23725-MCR-GRJ
  1053      73113        Marcum, Daniel                Danziger & De Llano       8:20-cv-23740-MCR-GRJ
  1054      73114        Marcus, Cy                    Danziger & De Llano       8:20-cv-23743-MCR-GRJ
  1055      73118        Margelofsky, Brock            Danziger & De Llano       8:20-cv-23755-MCR-GRJ
  1056      73119        Marhefka, Lawrence            Danziger & De Llano       8:20-cv-23759-MCR-GRJ
  1057      73138        Marta, Daniel                 Danziger & De Llano       8:20-cv-23823-MCR-GRJ
  1058      73142        Martin, Branson               Danziger & De Llano       8:20-cv-23834-MCR-GRJ
  1059      73148        Martin, Glenn                 Danziger & De Llano       8:20-cv-23858-MCR-GRJ
  1060      73151        Martin, Landon                Danziger & De Llano       8:20-cv-23870-MCR-GRJ
  1061      73154        Martin, Ryan                  Danziger & De Llano       8:20-cv-23880-MCR-GRJ
  1062      73155        Martin, Stephen               Danziger & De Llano       8:20-cv-23884-MCR-GRJ
  1063      73163        Martinez, Fernando            Danziger & De Llano       8:20-cv-23914-MCR-GRJ
  1064      73168        Martinez, Loren               Danziger & De Llano       8:20-cv-23925-MCR-GRJ
  1065      73169        Martinez, Michael             Danziger & De Llano       8:20-cv-23928-MCR-GRJ
  1066      73170        Martinez Estrada, Alfredo     Danziger & De Llano       8:20-cv-23931-MCR-GRJ
  1067      73174        Marzic, Christopher           Danziger & De Llano       8:20-cv-23940-MCR-GRJ
  1068      73180        Mason, Ryan                   Danziger & De Llano       8:20-cv-23955-MCR-GRJ
  1069      73183        Masten, Justin                Danziger & De Llano       8:20-cv-23961-MCR-GRJ
  1070      73187        Mathews, Dennis               Danziger & De Llano       8:20-cv-23969-MCR-GRJ
  1071      73195        Matthews, Charles             Danziger & De Llano       8:20-cv-23990-MCR-GRJ
  1072      73197        Matthews, Jon                 Danziger & De Llano       8:20-cv-23993-MCR-GRJ
  1073      73204        Matute, Adrian                Danziger & De Llano       8:20-cv-24007-MCR-GRJ
  1074      73208        May, Michael                  Danziger & De Llano       8:20-cv-24019-MCR-GRJ
  1075      73211        Maynard, Jessy                Danziger & De Llano       8:20-cv-24024-MCR-GRJ
  1076      73215        Mays, Jeffrey                 Danziger & De Llano       8:20-cv-24036-MCR-GRJ
  1077      73217        Maza, Michael                 Danziger & De Llano       8:20-cv-24042-MCR-GRJ
  1078      73221        Mcalhany, James               Danziger & De Llano       8:20-cv-24054-MCR-GRJ
  1079      73222        Mcarver, Jeremiah             Danziger & De Llano       8:20-cv-24057-MCR-GRJ
  1080      73223        Mcbean, John                  Danziger & De Llano       8:20-cv-24060-MCR-GRJ




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  1081      73227        Mccallum, Christopher       Danziger & De Llano       8:20-cv-24072-MCR-GRJ
  1082      73236        Mccarty, Tyler              Danziger & De Llano       8:20-cv-24092-MCR-GRJ
  1083      73238        Mccarver, Justin            Danziger & De Llano       8:20-cv-24095-MCR-GRJ
  1084      73243        Mcclellan, Christopher      Danziger & De Llano       8:20-cv-24106-MCR-GRJ
  1085      73248        Mcclintic, Colby            Danziger & De Llano       8:20-cv-24118-MCR-GRJ
  1086      73251        Mccollough, Richard         Danziger & De Llano       8:20-cv-24127-MCR-GRJ
  1087      73263        Mccoy, Holden               Danziger & De Llano       8:20-cv-24156-MCR-GRJ
  1088      73265        Mccoy, Kevin                Danziger & De Llano       8:20-cv-24158-MCR-GRJ
  1089      73268        Mccoy, Nicholas             Danziger & De Llano       8:20-cv-24167-MCR-GRJ
  1090      73269        Mccoy, Ronald               Danziger & De Llano       8:20-cv-24170-MCR-GRJ
  1091      73270        Mccrory, Jonathan           Danziger & De Llano       8:20-cv-24173-MCR-GRJ
  1092      73274        McCullough, Michael         Danziger & De Llano       8:20-cv-24182-MCR-GRJ
  1093      73278        Mcdermott, William          Danziger & De Llano       8:20-cv-24188-MCR-GRJ
  1094      73280        Mcdonald, Christopher       Danziger & De Llano       8:20-cv-24192-MCR-GRJ
  1095      73290        Mcginty, Eric               Danziger & De Llano       8:20-cv-24208-MCR-GRJ
  1096      73292        Mcgowan, Sean               Danziger & De Llano       8:20-cv-24210-MCR-GRJ
  1097      73294        Mcgreevey, Jacob            Danziger & De Llano       8:20-cv-24212-MCR-GRJ
  1098      73296        Mcgrew, Steven              Danziger & De Llano       8:20-cv-24214-MCR-GRJ
  1099      73298        Mcguckian, Christopher      Danziger & De Llano       8:20-cv-24216-MCR-GRJ
  1100      73305        Mcintosh, David             Danziger & De Llano       8:20-cv-24221-MCR-GRJ
  1101      73312        Mckenney, Philip            Danziger & De Llano       8:20-cv-24226-MCR-GRJ
  1102      73315        Mckinney, Adam              Danziger & De Llano       8:20-cv-24229-MCR-GRJ
  1103      73322        Mclaughlin, Jeremy          Danziger & De Llano       8:20-cv-24236-MCR-GRJ
  1104      73324        Mclelland, Dexter           Danziger & De Llano       8:20-cv-24237-MCR-GRJ
  1105      73328        Mcmahon, Gary               Danziger & De Llano       8:20-cv-24241-MCR-GRJ
  1106      73330        Mcmannen, Rashaad           Danziger & De Llano       8:20-cv-24243-MCR-GRJ
  1107      73331        Mcmaster, Michel            Danziger & De Llano       8:20-cv-24244-MCR-GRJ
  1108      73335        Mcnabb, John                Danziger & De Llano       8:20-cv-24248-MCR-GRJ
  1109      73337        Mcnulty, Corey              Danziger & De Llano       8:20-cv-24250-MCR-GRJ
  1110      73339        Mcphetridge, Steven         Danziger & De Llano       8:20-cv-24252-MCR-GRJ
  1111      73345        Mcvey, Kaleb                Danziger & De Llano       8:20-cv-24255-MCR-GRJ
  1112      73348        Mead, Bobby                 Danziger & De Llano       8:20-cv-24258-MCR-GRJ
  1113      73349        Meador, Christian           Danziger & De Llano       8:20-cv-24484-MCR-GRJ
  1114      73351        Meadows, Christopher        Danziger & De Llano       8:20-cv-24486-MCR-GRJ
  1115      73353        Mecham, Blaine              Danziger & De Llano       8:20-cv-24491-MCR-GRJ
  1116      73355        Medellin, Ivan              Danziger & De Llano       8:20-cv-24496-MCR-GRJ
  1117      73360        Medrano, Victor             Danziger & De Llano       8:20-cv-24504-MCR-GRJ
  1118      73366        Meidl, James                Danziger & De Llano       8:20-cv-24518-MCR-GRJ
  1119      73367        Meier, James                Danziger & De Llano       8:20-cv-24521-MCR-GRJ
  1120      73380        Melvin, Christopher         Danziger & De Llano       8:20-cv-24552-MCR-GRJ
  1121      73384        MENDOZA, JESUS              Danziger & De Llano       8:20-cv-24560-MCR-GRJ
  1122      73387        Menefee, Bryan              Danziger & De Llano       8:20-cv-24566-MCR-GRJ
  1123      73392        Menzies, Ryan               Danziger & De Llano       8:20-cv-24579-MCR-GRJ
  1124      73395        Merryman, Michael           Danziger & De Llano       8:20-cv-24587-MCR-GRJ
  1125      73397        Mesnard, Brian              Danziger & De Llano       8:20-cv-24592-MCR-GRJ
  1126      73404        Meuchel, Joshua             Danziger & De Llano       8:20-cv-24607-MCR-GRJ
  1127      73406        Meuser, Matthew             Danziger & De Llano       8:20-cv-24609-MCR-GRJ
  1128      73407        Meyer, John                 Danziger & De Llano       8:20-cv-24612-MCR-GRJ
  1129      73408        Meyer, Nathan               Danziger & De Llano       8:20-cv-24615-MCR-GRJ
  1130      73410        Meyers, Christopher         Danziger & De Llano       8:20-cv-24620-MCR-GRJ
  1131      73411        Meyers, Christopher         Danziger & De Llano       8:20-cv-24622-MCR-GRJ
  1132      73412        Meyers, Conner              Danziger & De Llano       8:20-cv-24625-MCR-GRJ
  1133      73418        Michulka, Brian             Danziger & De Llano       8:20-cv-24639-MCR-GRJ
  1134      73422        Miguel, Sean                Danziger & De Llano       8:20-cv-24653-MCR-GRJ




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  1135      73430        Miles, Clifford             Danziger & De Llano       8:20-cv-24671-MCR-GRJ
  1136      73440        Miller, Cortney             Danziger & De Llano       8:20-cv-24716-MCR-GRJ
  1137      73443        Miller, David               Danziger & De Llano       8:20-cv-24727-MCR-GRJ
  1138      73449        Miller, Jeremy              Danziger & De Llano       8:20-cv-24744-MCR-GRJ
  1139      73453        Miller, Kendal              Danziger & De Llano       8:20-cv-24754-MCR-GRJ
  1140      73459        Miller, Shawn               Danziger & De Llano       8:20-cv-24775-MCR-GRJ
  1141      73461        Miller, Stewart             Danziger & De Llano       8:20-cv-24782-MCR-GRJ
  1142      73467        Milligan, Henry             Danziger & De Llano       8:20-cv-24799-MCR-GRJ
  1143      73478        Minner, Michael             Danziger & De Llano       8:20-cv-24826-MCR-GRJ
  1144      73481        Miranda, Oscar              Danziger & De Llano       8:20-cv-24836-MCR-GRJ
  1145      73482        Miranda, Reynaldo           Danziger & De Llano       8:20-cv-24842-MCR-GRJ
  1146      73488        MITCHELL, DAVID             Danziger & De Llano       8:20-cv-24857-MCR-GRJ
  1147      73490        Mitchell, Donavan           Danziger & De Llano       8:20-cv-24865-MCR-GRJ
  1148      73495        Mitchell, Leston            Danziger & De Llano       8:20-cv-24883-MCR-GRJ
  1149      73497        Mitchell, Scott             Danziger & De Llano       8:20-cv-24887-MCR-GRJ
  1150      73500        Mitchell, Tyler             Danziger & De Llano       8:20-cv-24895-MCR-GRJ
  1151      73503        Mitten, Matthew             Danziger & De Llano       8:20-cv-24905-MCR-GRJ
  1152      73504        Mixon, Ryan                 Danziger & De Llano       8:20-cv-24910-MCR-GRJ
  1153      73510        Mobley, Lance               Danziger & De Llano       8:20-cv-24931-MCR-GRJ
  1154      73511        Modic, Glynn                Danziger & De Llano       8:20-cv-24936-MCR-GRJ
  1155      73522        Molnar, Joseph              Danziger & De Llano       8:20-cv-24966-MCR-GRJ
  1156      73524        Monday, Derek               Danziger & De Llano       8:20-cv-24973-MCR-GRJ
  1157      73526        Money, Phillip              Danziger & De Llano       8:20-cv-24980-MCR-GRJ
  1158      73529        Montalvo, Derek             Danziger & De Llano       8:20-cv-24989-MCR-GRJ
  1159      73531        Monteagudo, Ramon           Danziger & De Llano       8:20-cv-24996-MCR-GRJ
  1160      73539        Montville, Troy             Danziger & De Llano       8:20-cv-25032-MCR-GRJ
  1161      73544        Mooney, Thomas              Danziger & De Llano       8:20-cv-25062-MCR-GRJ
  1162      73545        Mooradian, James            Danziger & De Llano       8:20-cv-25067-MCR-GRJ
  1163      73547        Moore, Antwoin              Danziger & De Llano       8:20-cv-25079-MCR-GRJ
  1164      73548        Moore, Bradley              Danziger & De Llano       8:20-cv-25086-MCR-GRJ
  1165      73553        MOORE, DANIEL               Danziger & De Llano       8:20-cv-25114-MCR-GRJ
  1166      73557        Moore, Eric                 Danziger & De Llano       8:20-cv-25137-MCR-GRJ
  1167      73559        Moore, Gregory              Danziger & De Llano       8:20-cv-25149-MCR-GRJ
  1168      73562        Moore, Jason                Danziger & De Llano       8:20-cv-25165-MCR-GRJ
  1169      73563        Moore, Jeremy               Danziger & De Llano       8:20-cv-25171-MCR-GRJ
  1170      73566        Moore, Martin               Danziger & De Llano       8:20-cv-25187-MCR-GRJ
  1171      73574        Moore, Tracy                Danziger & De Llano       8:20-cv-25221-MCR-GRJ
  1172      73577        Moore, Trevor               Danziger & De Llano       8:20-cv-25239-MCR-GRJ
  1173      73581        Moorehouse, Leila           Danziger & De Llano       8:20-cv-25257-MCR-GRJ
  1174      73582        Moorman, Jason              Danziger & De Llano       8:20-cv-25262-MCR-GRJ
  1175      73587        Morelli, Matthew            Danziger & De Llano       8:20-cv-25280-MCR-GRJ
  1176      73588        Moreno, Asuncion            Danziger & De Llano       8:20-cv-25285-MCR-GRJ
  1177      73591        Moreta, Isaac               Danziger & De Llano       8:20-cv-25299-MCR-GRJ
  1178      73594        Morgan, Charles             Danziger & De Llano       8:20-cv-25312-MCR-GRJ
  1179      73600        Morgan, Scott               Danziger & De Llano       8:20-cv-25336-MCR-GRJ
  1180      73601        Morin, Andrew               Danziger & De Llano       8:20-cv-25340-MCR-GRJ
  1181      73602        Morin, Jonathan             Danziger & De Llano       8:20-cv-25344-MCR-GRJ
  1182      73603        Moronta, Juan               Danziger & De Llano       8:20-cv-25349-MCR-GRJ
  1183      73608        Morris, Scott               Danziger & De Llano       8:20-cv-25368-MCR-GRJ
  1184      73609        Morris, Thomas              Danziger & De Llano       8:20-cv-25372-MCR-GRJ
  1185      73615        Morrow, Billy               Danziger & De Llano       8:20-cv-25393-MCR-GRJ
  1186      73617        Morrow, Nathanial           Danziger & De Llano       8:20-cv-25401-MCR-GRJ
  1187      73620        MOSELEY, JASON              Danziger & De Llano       8:20-cv-25414-MCR-GRJ
  1188      73623        Motes, Jason                Danziger & De Llano       8:20-cv-25426-MCR-GRJ




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  1190      73630        Mower, Kevin                  Danziger & De Llano       8:20-cv-25451-MCR-GRJ
  1191      73632        Mowles, Jacob                 Danziger & De Llano       8:20-cv-24834-MCR-GRJ
  1192      73633        Moyer, Jonathan               Danziger & De Llano       8:20-cv-24838-MCR-GRJ
  1193      73637        Mueller, William              Danziger & De Llano       8:20-cv-24851-MCR-GRJ
  1194      73648        Munday, Phillip               Danziger & De Llano       8:20-cv-24873-MCR-GRJ
  1195      73649        Mundy, Richard                Danziger & De Llano       8:20-cv-24877-MCR-GRJ
  1196      73650        Munitz, Michael               Danziger & De Llano       8:20-cv-24880-MCR-GRJ
  1197      73652        Munn, Ryan                    Danziger & De Llano       8:20-cv-24886-MCR-GRJ
  1198      73653        Munoz, Francisco              Danziger & De Llano       8:20-cv-24890-MCR-GRJ
  1199      73658        Murphy, Alexander             Danziger & De Llano       8:20-cv-24906-MCR-GRJ
  1200      73659        Murphy, Brian                 Danziger & De Llano       8:20-cv-24908-MCR-GRJ
  1201      73660        Murphy, Ernest                Danziger & De Llano       8:20-cv-24912-MCR-GRJ
  1202      73663        Murphy, Matthew               Danziger & De Llano       8:20-cv-24915-MCR-GRJ
  1203      73664        MURPHY, MICHAEL               Danziger & De Llano       8:20-cv-24919-MCR-GRJ
  1204      73669        Musso, Daniel                 Danziger & De Llano       8:20-cv-24932-MCR-GRJ
  1205      73671        Muzzy, Jonathon               Danziger & De Llano       8:20-cv-24938-MCR-GRJ
  1206      73676        Myers, James                  Danziger & De Llano       8:20-cv-24948-MCR-GRJ
  1207      73680        Myers, Mark                   Danziger & De Llano       8:20-cv-24962-MCR-GRJ
  1208      73681        Myers, Richard                Danziger & De Llano       8:20-cv-24965-MCR-GRJ
  1209      73686        Nacianceno, Cesar             Danziger & De Llano       8:20-cv-24982-MCR-GRJ
  1210      73687        Nacin, Jesse                  Danziger & De Llano       8:20-cv-24985-MCR-GRJ
  1211      73691        Nahalewski, Gregory           Danziger & De Llano       8:20-cv-24998-MCR-GRJ
  1212      73693        Naillon, Julie                Danziger & De Llano       8:20-cv-25006-MCR-GRJ
  1213      73695        Nance, Michael                Danziger & De Llano       8:20-cv-25014-MCR-GRJ
  1214      73697        Nash, Aaron                   Danziger & De Llano       8:20-cv-25024-MCR-GRJ
  1215      73698        Nash, Johnathon               Danziger & De Llano       8:20-cv-25030-MCR-GRJ
  1216      73700        Nash, Kasey                   Danziger & De Llano       8:20-cv-25034-MCR-GRJ
  1217      73704        Nathaniel, Kevin              Danziger & De Llano       8:20-cv-25053-MCR-GRJ
  1218      73707        Navarro, Steven               Danziger & De Llano       8:20-cv-25069-MCR-GRJ
  1219      73714        Nee, Paul                     Danziger & De Llano       8:20-cv-25089-MCR-GRJ
  1220      73716        Negron, Antonio               Danziger & De Llano       8:20-cv-25100-MCR-GRJ
  1221      73720        Nelms, Justin                 Danziger & De Llano       8:20-cv-25116-MCR-GRJ
  1222      73721        Nelsob, William               Danziger & De Llano       8:20-cv-25121-MCR-GRJ
  1223      73722        Nelson, Albert                Danziger & De Llano       8:20-cv-25124-MCR-GRJ
  1224      73726        Nelson, Jason                 Danziger & De Llano       8:20-cv-25147-MCR-GRJ
  1225      73731        Nelson, Ricky                 Danziger & De Llano       8:20-cv-25166-MCR-GRJ
  1226      73737        Nestor, Sam                   Danziger & De Llano       8:20-cv-25196-MCR-GRJ
  1227      73753        Nicely, Mike                  Danziger & De Llano       8:20-cv-25251-MCR-GRJ
  1228      73759        Nicosia, Jonathan             Danziger & De Llano       8:20-cv-25272-MCR-GRJ
  1229      73760        Niedjelski, Beau              Danziger & De Llano       8:20-cv-25275-MCR-GRJ
  1230      73762        Nielsen, Jedediah             Danziger & De Llano       8:20-cv-25283-MCR-GRJ
  1231      73766        Niemeyer, Michael             Danziger & De Llano       8:20-cv-25291-MCR-GRJ
  1232      73767        Nieto, Francisco              Danziger & De Llano       8:20-cv-25295-MCR-GRJ
  1233      73775        Noble, Codie                  Danziger & De Llano       8:20-cv-25307-MCR-GRJ
  1234      73779        Nolin, Randall                Danziger & De Llano       8:20-cv-25319-MCR-GRJ
  1235      73781        Norman, Clinton               Danziger & De Llano       8:20-cv-25328-MCR-GRJ
  1236      73787        Norris, Jeremy                Danziger & De Llano       8:20-cv-25346-MCR-GRJ
  1237      73792        Nowell, Noah                  Danziger & De Llano       8:20-cv-25363-MCR-GRJ
  1238      73794        Nowlin, Joshua                Danziger & De Llano       8:20-cv-25371-MCR-GRJ
  1239      73804        O’rourke, Sean                Danziger & De Llano       7:21-cv-44002-MCR-GRJ
  1240      73805        Oakley, Jacob                 Danziger & De Llano       8:20-cv-25396-MCR-GRJ
  1241      73807        Oberholser, Blaine            Danziger & De Llano       8:20-cv-25403-MCR-GRJ
  1242      73808        Obrien, Ed                    Danziger & De Llano       8:20-cv-25407-MCR-GRJ




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  1243      73811        Oconnor, Leonard                Danziger & De Llano       8:20-cv-25417-MCR-GRJ
  1244      73816        Odonnell, Kevin                 Danziger & De Llano       8:20-cv-25431-MCR-GRJ
  1245      73817        O'donnell, Jonathan             Danziger & De Llano       8:20-cv-25435-MCR-GRJ
  1246      73819        Offenbacker, Jacob              Danziger & De Llano       8:20-cv-25441-MCR-GRJ
  1247      73823        Ogaldez, Leighton               Danziger & De Llano       8:20-cv-25452-MCR-GRJ
  1248      73824        Ogari, Geoffrey                 Danziger & De Llano       8:20-cv-25455-MCR-GRJ
  1249      73828        Oglesby, Chance                 Danziger & De Llano       8:20-cv-25467-MCR-GRJ
  1250      73830        Ohara, Michael                  Danziger & De Llano       8:20-cv-25472-MCR-GRJ
  1251      73839        Oliver, Chadwick                Danziger & De Llano       8:20-cv-25491-MCR-GRJ
  1252      73845        Olney, Shane                    Danziger & De Llano       8:20-cv-25504-MCR-GRJ
  1253      73849        O'neill, Myles                  Danziger & De Llano       8:20-cv-25513-MCR-GRJ
  1254      73851        Oney, Jeremy                    Danziger & De Llano       8:20-cv-25516-MCR-GRJ
  1255      73855        Oquendo, Jose                   Danziger & De Llano       8:20-cv-25523-MCR-GRJ
  1256      73860        Orgill, Bryan                   Danziger & De Llano       8:20-cv-25532-MCR-GRJ
  1257      73863        ORTIZ, CARLOS                   Danziger & De Llano       8:20-cv-25541-MCR-GRJ
  1258      73864        ORTIZ, DAVID                    Danziger & De Llano       8:20-cv-25544-MCR-GRJ
  1259      73867        Ortiz, Ricardo                  Danziger & De Llano       8:20-cv-25552-MCR-GRJ
  1260      73871        Osborne, Kevin                  Danziger & De Llano       8:20-cv-25560-MCR-GRJ
  1261      73873        Osborne, Ryan                   Danziger & De Llano       8:20-cv-25566-MCR-GRJ
  1262      73880        Outman, Sam                     Danziger & De Llano       8:20-cv-25582-MCR-GRJ
  1263      73887        Overton, Christopher            Danziger & De Llano       8:20-cv-25599-MCR-GRJ
  1264      73890        Owen, James                     Danziger & De Llano       8:20-cv-25604-MCR-GRJ
  1265      73893        Owens, Christopher              Danziger & De Llano       8:20-cv-25613-MCR-GRJ
  1266      73896        Owens, Nathan                   Danziger & De Llano       8:20-cv-25620-MCR-GRJ
  1267      73900        Oxendine, Jason                 Danziger & De Llano       8:20-cv-25631-MCR-GRJ
  1268      73914        Page, Troy                      Danziger & De Llano       8:20-cv-25658-MCR-GRJ
  1269      73916        Palazzo, Christopher            Danziger & De Llano       8:20-cv-25664-MCR-GRJ
  1270      73918        Palmatier, Brian                Danziger & De Llano       8:20-cv-25666-MCR-GRJ
  1271      73920        Palmer, Darrin                  Danziger & De Llano       8:20-cv-25670-MCR-GRJ
  1272      73922        Palmer, Lee                     Danziger & De Llano       8:20-cv-25674-MCR-GRJ
  1273      73923        Palmer, Robert                  Danziger & De Llano       8:20-cv-25676-MCR-GRJ
  1274      73929        Pantohan, Daven                 Danziger & De Llano       8:20-cv-25688-MCR-GRJ
  1275      73932        Paradis, Richard                Danziger & De Llano       8:20-cv-25692-MCR-GRJ
  1276      73933        Pardi, Brad                     Danziger & De Llano       8:20-cv-25694-MCR-GRJ
  1277      73934        Paredes Collado, Josue          Danziger & De Llano       8:20-cv-25696-MCR-GRJ
  1278      73937        Paris, Michael                  Danziger & De Llano       8:20-cv-25700-MCR-GRJ
  1279      73941        Parker, Dustin                  Danziger & De Llano       8:20-cv-25704-MCR-GRJ
  1280      73950        Parlier, Dustin                 Danziger & De Llano       8:20-cv-25717-MCR-GRJ
  1281      73954        Parr, Tym                       Danziger & De Llano       8:20-cv-25725-MCR-GRJ
  1282      73955        Parrish, Jeremy                 Danziger & De Llano       8:20-cv-25727-MCR-GRJ
  1283      73958        Parteko, Corey                  Danziger & De Llano       8:20-cv-25731-MCR-GRJ
  1284      73959        Partsch, Erich                  Danziger & De Llano       8:20-cv-25733-MCR-GRJ
  1285      73960        Paschal, Michael                Danziger & De Llano       8:20-cv-25735-MCR-GRJ
  1286      73964        Pastis, Jack                    Danziger & De Llano       8:20-cv-25743-MCR-GRJ
  1287      73971        Patterson, Duste                Danziger & De Llano       8:20-cv-25753-MCR-GRJ
  1288      73973        Patterson, Jesse                Danziger & De Llano       8:20-cv-25757-MCR-GRJ
  1289      73974        Patterson, Joey                 Danziger & De Llano       8:20-cv-25759-MCR-GRJ
  1290      73979        Patton, Jonathan                Danziger & De Llano       8:20-cv-25767-MCR-GRJ
  1291      73987        Pauley, Douglas                 Danziger & De Llano       8:20-cv-25779-MCR-GRJ
  1292      73989        Pauly, James                    Danziger & De Llano       8:20-cv-25783-MCR-GRJ
  1293      73990        Pavan, Zachary                  Danziger & De Llano       8:20-cv-25785-MCR-GRJ
  1294      73993        Payne, Jonathan                 Danziger & De Llano       8:20-cv-25789-MCR-GRJ
  1295      73998        Pearson, Joseph                 Danziger & De Llano       8:20-cv-25797-MCR-GRJ
  1296      74000        Pearson, Steven                 Danziger & De Llano       8:20-cv-25801-MCR-GRJ




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  1297      74001        Pecha, Chad                     Danziger & De Llano       8:20-cv-25803-MCR-GRJ
  1298      74003        Pederson, Aaron                 Danziger & De Llano       8:20-cv-25805-MCR-GRJ
  1299      74004        Pedraza, Emanuel                Danziger & De Llano       8:20-cv-25807-MCR-GRJ
  1300      74007        Peeples, Anthony                Danziger & De Llano       8:20-cv-25811-MCR-GRJ
  1301      74011        Pelletier, David                Danziger & De Llano       8:20-cv-25819-MCR-GRJ
  1302      74016        Pena, Michael                   Danziger & De Llano       8:20-cv-25829-MCR-GRJ
  1303      74020        Perales, Charles                Danziger & De Llano       8:20-cv-25835-MCR-GRJ
  1304      74022        Perdue, Lucas                   Danziger & De Llano       8:20-cv-25837-MCR-GRJ
  1305      74023        Perdue, Michael                 Danziger & De Llano       8:20-cv-25839-MCR-GRJ
  1306      74030        PEREZ, JAIME                    Danziger & De Llano       8:20-cv-25853-MCR-GRJ
  1307      74031        Perez, Jesus                    Danziger & De Llano       8:20-cv-25855-MCR-GRJ
  1308      74034        Perez, Matthew                  Danziger & De Llano       8:20-cv-25861-MCR-GRJ
  1309      74041        Perlacia-monzon, Victor         Danziger & De Llano       8:20-cv-25872-MCR-GRJ
  1310      74049        Perry, Jonathan                 Danziger & De Llano       8:20-cv-25888-MCR-GRJ
  1311      74050        Perry, Luke                     Danziger & De Llano       8:20-cv-25890-MCR-GRJ
  1312      74051        Perry, Matthew                  Danziger & De Llano       8:20-cv-25892-MCR-GRJ
  1313      74053        Perry, Robert                   Danziger & De Llano       8:20-cv-25896-MCR-GRJ
  1314      74056        Petarra, Timothy                Danziger & De Llano       8:20-cv-25900-MCR-GRJ
  1315      74061        Peters, Mark                    Danziger & De Llano       8:20-cv-25908-MCR-GRJ
  1316      74065        Peterson, Matthew               Danziger & De Llano       8:20-cv-25914-MCR-GRJ
  1317      74066        Peterson, William               Danziger & De Llano       8:20-cv-25916-MCR-GRJ
  1318      74075        Pfaff, Anthony                  Danziger & De Llano       8:20-cv-25934-MCR-GRJ
  1319      74076        Pfeifer, Darren                 Danziger & De Llano       8:20-cv-25936-MCR-GRJ
  1320      74084        Phillips, Douglas               Danziger & De Llano       8:20-cv-25946-MCR-GRJ
  1321      74086        Phillips, Kent                  Danziger & De Llano       8:20-cv-25004-MCR-GRJ
  1322      74087        Phillips, Randy                 Danziger & De Llano       8:20-cv-25008-MCR-GRJ
  1323      74088        Phillips, Steven                Danziger & De Llano       8:20-cv-25013-MCR-GRJ
  1324      74091        Pichaj, Justin                  Danziger & De Llano       8:20-cv-25025-MCR-GRJ
  1325      74093        Pickens, Willie                 Danziger & De Llano       8:20-cv-25031-MCR-GRJ
  1326      74094        Pickering, Andrew               Danziger & De Llano       8:20-cv-25037-MCR-GRJ
  1327      74097        Pierce, Ernest                  Danziger & De Llano       8:20-cv-25052-MCR-GRJ
  1328      74101        Pierre, Michael                 Danziger & De Llano       8:20-cv-25072-MCR-GRJ
  1329      74104        Pilaczynski, Maxwell            Danziger & De Llano       8:20-cv-25087-MCR-GRJ
  1330      74107        Pinto, Justin                   Danziger & De Llano       8:20-cv-25097-MCR-GRJ
  1331      74115        Plaza, Jose                     Danziger & De Llano       8:20-cv-25138-MCR-GRJ
  1332      74120        Plowman, Jonathan               Danziger & De Llano       8:20-cv-25164-MCR-GRJ
  1333      74123        Poe, Aaron                      Danziger & De Llano       8:20-cv-25179-MCR-GRJ
  1334      74124        Poe, Shay                       Danziger & De Llano       8:20-cv-25185-MCR-GRJ
  1335      74125        Poff, Justin                    Danziger & De Llano       8:20-cv-25189-MCR-GRJ
  1336      74147        Popkin, Anthony                 Danziger & De Llano       8:20-cv-25273-MCR-GRJ
  1337      74150        Porter, Charles                 Danziger & De Llano       8:20-cv-25281-MCR-GRJ
  1338      74151        Porter, Clarence                Danziger & De Llano       8:20-cv-25284-MCR-GRJ
  1339      74153        Porter, Joseph                  Danziger & De Llano       8:20-cv-25292-MCR-GRJ
  1340      74155        Porter, Joseph                  Danziger & De Llano       8:20-cv-25301-MCR-GRJ
  1341      74158        Posey, Marcutio                 Danziger & De Llano       8:20-cv-25313-MCR-GRJ
  1342      74161        Postell, Calvin                 Danziger & De Llano       8:20-cv-25325-MCR-GRJ
  1343      74164        Poudrier, Corey                 Danziger & De Llano       8:20-cv-25334-MCR-GRJ
  1344      74166        Poulin, Nathan                  Danziger & De Llano       8:20-cv-25341-MCR-GRJ
  1345      74174        Powell, Cody                    Danziger & De Llano       8:20-cv-25366-MCR-GRJ
  1346      74176        Powell, Jeremy                  Danziger & De Llano       8:20-cv-25375-MCR-GRJ
  1347      74184        Press, Cody                     Danziger & De Llano       8:20-cv-25402-MCR-GRJ
  1348      74187        Price, Christopher              Danziger & De Llano       8:20-cv-25410-MCR-GRJ
  1349      74188        Price, David                    Danziger & De Llano       8:20-cv-25412-MCR-GRJ
  1350      74192        Price-picon, Jeremiah           Danziger & De Llano       8:20-cv-25428-MCR-GRJ




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  1351      74193        Pridemore, Brandon              Danziger & De Llano       8:20-cv-25432-MCR-GRJ
  1352      74194        Pridemore, Jamison              Danziger & De Llano       8:20-cv-25436-MCR-GRJ
  1353      74195        Pries, Chad                     Danziger & De Llano       8:20-cv-25439-MCR-GRJ
  1354      74198        Prince, Cameron                 Danziger & De Llano       8:20-cv-25446-MCR-GRJ
  1355      74200        Prine, Matthew                  Danziger & De Llano       8:20-cv-25453-MCR-GRJ
  1356      74201        Pritchett, Travis               Danziger & De Llano       8:20-cv-25456-MCR-GRJ
  1357      74202        Pritt, Jacob                    Danziger & De Llano       8:20-cv-25459-MCR-GRJ
  1358      74204        Proepper, Mathew                Danziger & De Llano       8:20-cv-25463-MCR-GRJ
  1359      74217        Pryor, Josh                     Danziger & De Llano       8:20-cv-25497-MCR-GRJ
  1360      74218        Pulido, Jesus                   Danziger & De Llano       8:20-cv-25500-MCR-GRJ
  1361      74219        Pullum, Terry                   Danziger & De Llano       8:20-cv-25503-MCR-GRJ
  1362      74222        Purvis, Chester                 Danziger & De Llano       8:20-cv-25512-MCR-GRJ
  1363      74224        Putman, Christopher             Danziger & De Llano       8:20-cv-25518-MCR-GRJ
  1364      74227        Putney, Jonathan                Danziger & De Llano       8:20-cv-25527-MCR-GRJ
  1365      74230        Pyles, Jeremy                   Danziger & De Llano       8:20-cv-25536-MCR-GRJ
  1366      74234        Quesada, Rafael                 Danziger & De Llano       8:20-cv-25543-MCR-GRJ
  1367      74238        Quinn, Chance                   Danziger & De Llano       8:20-cv-25554-MCR-GRJ
  1368      74239        Quinn, Jonathan                 Danziger & De Llano       8:20-cv-25556-MCR-GRJ
  1369      74244        Quinton, Damon                  Danziger & De Llano       8:20-cv-25567-MCR-GRJ
  1370      74247        Quiroz, Alberto                 Danziger & De Llano       8:20-cv-25575-MCR-GRJ
  1371      74248        Quitlong, Florenz               Danziger & De Llano       8:20-cv-25578-MCR-GRJ
  1372      74250        Raboin, Travis                  Danziger & De Llano       8:20-cv-25584-MCR-GRJ
  1373      74251        Radcliff, Arel                  Danziger & De Llano       8:20-cv-25587-MCR-GRJ
  1374      74254        Radford, Willard                Danziger & De Llano       8:20-cv-25595-MCR-GRJ
  1375      74255        Radici, Breno                   Danziger & De Llano       8:20-cv-25598-MCR-GRJ
  1376      74256        Ragland, Demarco                Danziger & De Llano       8:20-cv-25600-MCR-GRJ
  1377      74258        Rahming, Cedric                 Danziger & De Llano       8:20-cv-25606-MCR-GRJ
  1378      74262        Rakes, Dustin                   Danziger & De Llano       8:20-cv-25618-MCR-GRJ
  1379      74264        Ralston, Kevin                  Danziger & De Llano       8:20-cv-25624-MCR-GRJ
  1380      74266        Ramirez, Felix                  Danziger & De Llano       8:20-cv-25627-MCR-GRJ
  1381      74267        Ramirez, Perry                  Danziger & De Llano       8:20-cv-25629-MCR-GRJ
  1382      74268        Ramos, Daniel                   Danziger & De Llano       8:20-cv-25632-MCR-GRJ
  1383      74275        Randol, Zachery Jacob           Danziger & De Llano       8:20-cv-25651-MCR-GRJ
  1384      74278        Ransom, Tommy                   Danziger & De Llano       8:20-cv-25660-MCR-GRJ
  1385      74281        Rapier, Joshua                  Danziger & De Llano       8:20-cv-25667-MCR-GRJ
  1386      74286        Rather, Adam                    Danziger & De Llano       8:20-cv-25675-MCR-GRJ
  1387      74288        Ray, Chase                      Danziger & De Llano       8:20-cv-25679-MCR-GRJ
  1388      74289        Ray, Dennis                     Danziger & De Llano       8:20-cv-25681-MCR-GRJ
  1389      74293        Ray, Timothy                    Danziger & De Llano       8:20-cv-25689-MCR-GRJ
  1390      74295        Reams, Travis                   Danziger & De Llano       8:20-cv-25691-MCR-GRJ
  1391      74298        Rechcygl, Joshua                Danziger & De Llano       8:20-cv-25697-MCR-GRJ
  1392      74303        Reed, Andrew                    Danziger & De Llano       8:20-cv-25703-MCR-GRJ
  1393      74305        Reed, Cody                      Danziger & De Llano       8:20-cv-25707-MCR-GRJ
  1394      74310        Reed, Sean                      Danziger & De Llano       8:20-cv-25718-MCR-GRJ
  1395      74314        Reese, David                    Danziger & De Llano       8:20-cv-25726-MCR-GRJ
  1396      74317        Reeves, Christopher             Danziger & De Llano       8:20-cv-25732-MCR-GRJ
  1397      74320        Reid, Eric                      Danziger & De Llano       8:20-cv-25736-MCR-GRJ
  1398      74321        Reid, Gerald                    Danziger & De Llano       8:20-cv-25738-MCR-GRJ
  1399      74323        Reily, Michael                  Danziger & De Llano       8:20-cv-25742-MCR-GRJ
  1400      74325        Reischman, Michael              Danziger & De Llano       8:20-cv-25746-MCR-GRJ
  1401      74329        Rembacki, Nathan                Danziger & De Llano       8:20-cv-25754-MCR-GRJ
  1402      74331        Renegar, Timothy                Danziger & De Llano       8:20-cv-25756-MCR-GRJ
  1403      74336        Renz, Tanner                    Danziger & De Llano       8:20-cv-25764-MCR-GRJ
  1404      74337        Reseburg, Shaun                 Danziger & De Llano       8:20-cv-25766-MCR-GRJ




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  1405      74352        Reynolds, Danny                 Danziger & De Llano       8:20-cv-25796-MCR-GRJ
  1406      74354        Reynolds, Jeffrey               Danziger & De Llano       8:20-cv-25800-MCR-GRJ
  1407      74359        Reynoso, Vincent                Danziger & De Llano       8:20-cv-25806-MCR-GRJ
  1408      74361        Rhodes, Grady                   Danziger & De Llano       8:20-cv-25810-MCR-GRJ
  1409      74362        Rhodes, Jonathan                Danziger & De Llano       8:20-cv-25812-MCR-GRJ
  1410      74366        Ribeiro, Joseph                 Danziger & De Llano       8:20-cv-25818-MCR-GRJ
  1411      74368        Rice, George                    Danziger & De Llano       8:20-cv-25822-MCR-GRJ
  1412      74372        Richards, Andrew                Danziger & De Llano       8:20-cv-25830-MCR-GRJ
  1413      74379        Richardson, Daniel              Danziger & De Llano       8:20-cv-25844-MCR-GRJ
  1414      74382        Richardson, Keith               Danziger & De Llano       8:20-cv-25850-MCR-GRJ
  1415      74387        Richins, Jake                   Danziger & De Llano       8:20-cv-25858-MCR-GRJ
  1416      74390        Richmond, Ryan                  Danziger & De Llano       8:20-cv-25864-MCR-GRJ
  1417      74393        Rickett, Levi                   Danziger & De Llano       8:20-cv-25871-MCR-GRJ
  1418      74395        Riddick, Thomas                 Danziger & De Llano       8:20-cv-25873-MCR-GRJ
  1419      74396        Riddle, Matthew                 Danziger & De Llano       8:20-cv-25875-MCR-GRJ
  1420      74400        Riech, Theodore                 Danziger & De Llano       8:20-cv-25881-MCR-GRJ
  1421      74404        Rieland, Dave                   Danziger & De Llano       8:20-cv-25887-MCR-GRJ
  1422      74405        Rife, Aaron                     Danziger & De Llano       8:20-cv-25889-MCR-GRJ
  1423      74406        Rife, Nyles                     Danziger & De Llano       8:20-cv-25891-MCR-GRJ
  1424      74410        Riha, Matthew                   Danziger & De Llano       8:20-cv-25897-MCR-GRJ
  1425      74422        Rinehart, Robert                Danziger & De Llano       8:20-cv-25915-MCR-GRJ
  1426      74425        Rios, Eduardo                   Danziger & De Llano       8:20-cv-25919-MCR-GRJ
  1427      74426        Rios, Israel                    Danziger & De Llano       8:20-cv-25921-MCR-GRJ
  1428      74428        Rios, Justin                    Danziger & De Llano       8:20-cv-25925-MCR-GRJ
  1429      74430        Rios, Samuel                    Danziger & De Llano       8:20-cv-25929-MCR-GRJ
  1430      74431        Ripley, Damion                  Danziger & De Llano       8:20-cv-25931-MCR-GRJ
  1431      74439        Rivera, Enrique                 Danziger & De Llano       8:20-cv-25943-MCR-GRJ
  1432      74444        Roach, George                   Danziger & De Llano       8:20-cv-25949-MCR-GRJ
  1433      74445        Roach, Jeremy                   Danziger & De Llano       8:20-cv-25950-MCR-GRJ
  1434      74447        Roan, Joseph                    Danziger & De Llano       8:20-cv-25952-MCR-GRJ
  1435      74450        Roberts, Brian                  Danziger & De Llano       8:20-cv-25955-MCR-GRJ
  1436      74457        Roberts, Ryan                   Danziger & De Llano       8:20-cv-25960-MCR-GRJ
  1437      74458        Roberts, Shawn                  Danziger & De Llano       8:20-cv-25961-MCR-GRJ
  1438      74459        Roberts, Terry                  Danziger & De Llano       8:20-cv-25962-MCR-GRJ
  1439      74461        Robertson, Colby                Danziger & De Llano       8:20-cv-25964-MCR-GRJ
  1440      74463        Robertson, Thomas               Danziger & De Llano       8:20-cv-25966-MCR-GRJ
  1441      74466        Robichaud, Joseph               Danziger & De Llano       8:20-cv-25969-MCR-GRJ
  1442      74473        Robinson, Josh                  Danziger & De Llano       8:20-cv-25974-MCR-GRJ
  1443      74476        Robinson, Steve                 Danziger & De Llano       8:20-cv-25977-MCR-GRJ
  1444      74482        Rochelle, Christopher           Danziger & De Llano       8:20-cv-25982-MCR-GRJ
  1445      74486        Rodewald, Matthew               Danziger & De Llano       8:20-cv-25985-MCR-GRJ
  1446      74487        Rodgers, April                  Danziger & De Llano       8:20-cv-25986-MCR-GRJ
  1447      74491        Rodgers, Robert                 Danziger & De Llano       8:20-cv-25990-MCR-GRJ
  1448      74496        Rodriguez, Eliseo               Danziger & De Llano       8:20-cv-25995-MCR-GRJ
  1449      74498        Rodriguez, Erick                Danziger & De Llano       8:20-cv-25997-MCR-GRJ
  1450      74502        Rodriguez, Jesus                Danziger & De Llano       8:20-cv-26001-MCR-GRJ
  1451      74503        Rodriguez, Jesus                Danziger & De Llano       8:20-cv-26002-MCR-GRJ
  1452      74506        Rodriguez, Raymond              Danziger & De Llano       8:20-cv-24285-MCR-GRJ
  1453      74508        Rodriguez, William              Danziger & De Llano       8:20-cv-24289-MCR-GRJ
  1454      74509        Roellchen, Jonn                 Danziger & De Llano       8:20-cv-24291-MCR-GRJ
  1455      74511        Rogala, Sebastian               Danziger & De Llano       8:20-cv-24295-MCR-GRJ
  1456      74512        Rogers, Alex                    Danziger & De Llano       8:20-cv-24297-MCR-GRJ
  1457      74513        Rogers, Bradley                 Danziger & De Llano       8:20-cv-24299-MCR-GRJ
  1458      74515        Rogers, Derreck                 Danziger & De Llano       8:20-cv-24303-MCR-GRJ




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  1459      74516        Rogers, Ian                    Danziger & De Llano       8:20-cv-24305-MCR-GRJ
  1460      74519        Rogers, Michael                Danziger & De Llano       8:20-cv-24311-MCR-GRJ
  1461      74527        Rollins, Dominique             Danziger & De Llano       8:20-cv-24323-MCR-GRJ
  1462      74528        Rollins, Joey                  Danziger & De Llano       8:20-cv-24325-MCR-GRJ
  1463      74529        Rollins, Somchai               Danziger & De Llano       8:20-cv-24327-MCR-GRJ
  1464      74532        Romano, Robert                 Danziger & De Llano       8:20-cv-24336-MCR-GRJ
  1465      74540        Roper, Ethan                   Danziger & De Llano       8:20-cv-24357-MCR-GRJ
  1466      74542        Rosales, Marcus                Danziger & De Llano       8:20-cv-24363-MCR-GRJ
  1467      74549        Ross, Jason                    Danziger & De Llano       8:20-cv-24381-MCR-GRJ
  1468      74555        Ross, Gary                     Danziger & De Llano       8:20-cv-24396-MCR-GRJ
  1469      74557        Rosskilley, Cody               Danziger & De Llano       8:20-cv-24401-MCR-GRJ
  1470      74563        Rotzien, Roderick              Danziger & De Llano       8:20-cv-24412-MCR-GRJ
  1471      74564        Roukas, Kristen                Danziger & De Llano       8:20-cv-24414-MCR-GRJ
  1472      74570        Rowe, Spencer                  Danziger & De Llano       8:20-cv-24424-MCR-GRJ
  1473      74572        Roy, James                     Danziger & De Llano       8:20-cv-24428-MCR-GRJ
  1474      74577        Rudloff, James                 Danziger & De Llano       8:20-cv-24436-MCR-GRJ
  1475      74581        Ruga, Michael                  Danziger & De Llano       8:20-cv-24442-MCR-GRJ
  1476      74591        Runyan, Tyler                  Danziger & De Llano       8:20-cv-24457-MCR-GRJ
  1477      74595        Ruppelt, Jerald                Danziger & De Llano       8:20-cv-24466-MCR-GRJ
  1478      74596        Rush, Steven                   Danziger & De Llano       8:20-cv-24468-MCR-GRJ
  1479      74597        Rusiecki, Ryan                 Danziger & De Llano       8:20-cv-24470-MCR-GRJ
  1480      74607        Russell, Timothy               Danziger & De Llano       8:20-cv-24490-MCR-GRJ
  1481      74608        Russo, Michael                 Danziger & De Llano       8:20-cv-24494-MCR-GRJ
  1482      74609        Rust, Nathan                   Danziger & De Llano       8:20-cv-24497-MCR-GRJ
  1483      74613        Rutledge, Terence              Danziger & De Llano       8:20-cv-24510-MCR-GRJ
  1484      74615        Ryals, Darrell                 Danziger & De Llano       8:20-cv-24517-MCR-GRJ
  1485      74616        Ryan, Joshua                   Danziger & De Llano       8:20-cv-24520-MCR-GRJ
  1486      74617        Ryan, Michael                  Danziger & De Llano       8:20-cv-24524-MCR-GRJ
  1487      74620        Ryerson, Nathan                Danziger & De Llano       8:20-cv-24533-MCR-GRJ
  1488      74623        Sabatino, Nicholas             Danziger & De Llano       8:20-cv-24540-MCR-GRJ
  1489      74639        Sakamoto, Wesley               Danziger & De Llano       8:20-cv-24572-MCR-GRJ
  1490      74641        Salazar, Brandon               Danziger & De Llano       8:20-cv-24578-MCR-GRJ
  1491      74648        Salsbury, Kevin                Danziger & De Llano       8:20-cv-24600-MCR-GRJ
  1492      74649        Salsman, Cole                  Danziger & De Llano       8:20-cv-24604-MCR-GRJ
  1493      74659        Samuelson, Robert              Danziger & De Llano       8:20-cv-24630-MCR-GRJ
  1494      74662        Sanchez, John                  Danziger & De Llano       8:20-cv-24637-MCR-GRJ
  1495      74670        Sanders, Kyle                  Danziger & De Llano       8:20-cv-24670-MCR-GRJ
  1496      74679        Sanford, Jonathan              Danziger & De Llano       8:20-cv-24717-MCR-GRJ
  1497      74683        Santiago, Christopher          Danziger & De Llano       8:20-cv-24736-MCR-GRJ
  1498      74688        Santiago, Nelson               Danziger & De Llano       8:20-cv-24757-MCR-GRJ
  1499      74689        Santiagorivas, Francisco J     Danziger & De Llano       8:20-cv-24760-MCR-GRJ
  1500      74696        Sarver, Patrick                Danziger & De Llano       8:20-cv-24791-MCR-GRJ
  1501      74713        Schaeffer, Rowdy               Danziger & De Llano       8:20-cv-24850-MCR-GRJ
  1502      74714        Schafer, David                 Danziger & De Llano       8:20-cv-24855-MCR-GRJ
  1503      74719        Schamel, Patrick               Danziger & De Llano       8:20-cv-24874-MCR-GRJ
  1504      74720        Schessl, Brandon               Danziger & De Llano       8:20-cv-24878-MCR-GRJ
  1505      74721        Schible, David                 Danziger & De Llano       8:20-cv-24884-MCR-GRJ
  1506      74724        Schimmel, Alfred               Danziger & De Llano       8:20-cv-24899-MCR-GRJ
  1507      74728        Schlueter, Eli                 Danziger & De Llano       8:20-cv-24916-MCR-GRJ
  1508      74735        Schmitt, Walter                Danziger & De Llano       8:20-cv-24944-MCR-GRJ
  1509      74742        Schoonover, Jason              Danziger & De Llano       8:20-cv-24974-MCR-GRJ
  1510      74744        Schott, Jeffrey                Danziger & De Llano       8:20-cv-24983-MCR-GRJ
  1511      74745        Schott, Marco                  Danziger & De Llano       8:20-cv-24988-MCR-GRJ
  1512      74748        Schreckengost, Andrew          Danziger & De Llano       8:20-cv-25003-MCR-GRJ




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  1513      74750        Schuett, Jeffrey               Danziger & De Llano       8:20-cv-25015-MCR-GRJ
  1514      74751        Schuler, Shane                 Danziger & De Llano       8:20-cv-25021-MCR-GRJ
  1515      74755        Schultz, Douglas               Danziger & De Llano       8:20-cv-25042-MCR-GRJ
  1516      74760        Schuster, Ryan                 Danziger & De Llano       8:20-cv-25077-MCR-GRJ
  1517      74761        Schwark, Kyle                  Danziger & De Llano       8:20-cv-25083-MCR-GRJ
  1518      74763        Schwartz, Bryson               Danziger & De Llano       8:20-cv-25099-MCR-GRJ
  1519      74766        Schwettman, Will               Danziger & De Llano       8:20-cv-25111-MCR-GRJ
  1520      74768        SCOTT, CHRISTOPHER             Danziger & De Llano       8:20-cv-25119-MCR-GRJ
  1521      74770        Scott, Kenneth                 Danziger & De Llano       8:20-cv-25133-MCR-GRJ
  1522      74773        Scott, Robert                  Danziger & De Llano       8:20-cv-25152-MCR-GRJ
  1523      74778        Scroggins, Daniel              Danziger & De Llano       8:20-cv-25183-MCR-GRJ
  1524      74779        Sculley, Joshua                Danziger & De Llano       8:20-cv-25190-MCR-GRJ
  1525      74781        Seabrooks, Justin              Danziger & De Llano       8:20-cv-25198-MCR-GRJ
  1526      74785        Searcy, Brian                  Danziger & De Llano       8:20-cv-25229-MCR-GRJ
  1527      74787        Searles, Tyler                 Danziger & De Llano       8:20-cv-26004-MCR-GRJ
  1528      74795        Segal, Tyler                   Danziger & De Llano       8:20-cv-26012-MCR-GRJ
  1529      74798        Seguritan, Nathan              Danziger & De Llano       8:20-cv-26015-MCR-GRJ
  1530      74799        Sellmeyer, Michael             Danziger & De Llano       8:20-cv-26016-MCR-GRJ
  1531      74801        Senneway, Gregory              Danziger & De Llano       8:20-cv-26017-MCR-GRJ
  1532      74803        Sermersky, Johnny              Danziger & De Llano       8:20-cv-26020-MCR-GRJ
  1533      74809        Sewell, Jeremiah               Danziger & De Llano       8:20-cv-26031-MCR-GRJ
  1534      74818        Shadoan, Jonathan              Danziger & De Llano       8:20-cv-26045-MCR-GRJ
  1535      74825        Shane, Brandon                 Danziger & De Llano       8:20-cv-26059-MCR-GRJ
  1536      74830        Sharpes, Tye                   Danziger & De Llano       8:20-cv-26066-MCR-GRJ
  1537      74836        Shaw, Stephen                  Danziger & De Llano       8:20-cv-26072-MCR-GRJ
  1538      74840        Sheedy, Tyler                  Danziger & De Llano       8:20-cv-26075-MCR-GRJ
  1539      74846        Shepard, Joshua                Danziger & De Llano       8:20-cv-26080-MCR-GRJ
  1540      74849        Shepherd, Jonathon             Danziger & De Llano       8:20-cv-26083-MCR-GRJ
  1541      74850        Shepherd, Joseph               Danziger & De Llano       8:20-cv-26084-MCR-GRJ
  1542      74851        Shepherd, William              Danziger & De Llano       8:20-cv-26085-MCR-GRJ
  1543      74857        Sherrard, Tyler                Danziger & De Llano       8:20-cv-26090-MCR-GRJ
  1544      74858        Sherwood, Franklin             Danziger & De Llano       8:20-cv-26091-MCR-GRJ
  1545      74859        Shields, Tyler                 Danziger & De Llano       8:20-cv-26092-MCR-GRJ
  1546      74862        Shirey, Eric                   Danziger & De Llano       8:20-cv-26095-MCR-GRJ
  1547      74869        Shores, Daniel                 Danziger & De Llano       8:20-cv-26102-MCR-GRJ
  1548      74871        Short, Robert                  Danziger & De Llano       8:20-cv-26104-MCR-GRJ
  1549      74872        Short, Trenten                 Danziger & De Llano       8:20-cv-26105-MCR-GRJ
  1550      74874        Shoup, Abel                    Danziger & De Llano       8:20-cv-26107-MCR-GRJ
  1551      74876        Shubert, Jeffrey               Danziger & De Llano       8:20-cv-26109-MCR-GRJ
  1552      74877        Shubert, Robert                Danziger & De Llano       8:20-cv-26110-MCR-GRJ
  1553      74889        Siegel, Mason                  Danziger & De Llano       8:20-cv-26131-MCR-GRJ
  1554      74891        Siegel, Ryan                   Danziger & De Llano       8:20-cv-26133-MCR-GRJ
  1555      74894        Sierra-osorio, Kevin           Danziger & De Llano       8:20-cv-26137-MCR-GRJ
  1556      74895        Sikes, James                   Danziger & De Llano       8:20-cv-26139-MCR-GRJ
  1557      74897        Siler, Daniel                  Danziger & De Llano       8:20-cv-26143-MCR-GRJ
  1558      74906        Simmons, Nathan                Danziger & De Llano       8:20-cv-26158-MCR-GRJ
  1559      74907        Simon, Clayton                 Danziger & De Llano       8:20-cv-26160-MCR-GRJ
  1560      74910        Simonton, Jeffrey              Danziger & De Llano       8:20-cv-26166-MCR-GRJ
  1561      74913        SIMPSON, MICHAEL               Danziger & De Llano       8:20-cv-26170-MCR-GRJ
  1562      74914        Simpson, Nicholas              Danziger & De Llano       8:20-cv-26172-MCR-GRJ
  1563      74918        Sims, Jerry                    Danziger & De Llano       8:20-cv-26180-MCR-GRJ
  1564      74919        Sims, Justin                   Danziger & De Llano       8:20-cv-26182-MCR-GRJ
  1565      74920        Sims, Juston                   Danziger & De Llano       8:20-cv-26184-MCR-GRJ
  1566      74924        Sinigiani, Michael             Danziger & De Llano       8:20-cv-26193-MCR-GRJ




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  1567      74926        Sipley, Joshua                  Danziger & De Llano       8:20-cv-26197-MCR-GRJ
  1568      74928        Sisk, Robert                    Danziger & De Llano       8:20-cv-26201-MCR-GRJ
  1569      74930        Sisler, Chet                    Danziger & De Llano       8:20-cv-26203-MCR-GRJ
  1570      74933        Sites, John                     Danziger & De Llano       8:20-cv-26209-MCR-GRJ
  1571      74940        Skerik, Robert                  Danziger & De Llano       8:20-cv-26218-MCR-GRJ
  1572      74946        Skrinjorich, Joseph             Danziger & De Llano       8:20-cv-26228-MCR-GRJ
  1573      74950        Slayton, Kenneth                Danziger & De Llano       8:20-cv-26421-MCR-GRJ
  1574      74953        Slomiak, Jason                  Danziger & De Llano       8:20-cv-26240-MCR-GRJ
  1575      74959        Smarr, Matthew                  Danziger & De Llano       8:20-cv-26252-MCR-GRJ
  1576      74964        Smiley, Carlos                  Danziger & De Llano       8:20-cv-26262-MCR-GRJ
  1577      74967        SMITH, BENJAMIN                 Danziger & De Llano       8:20-cv-26267-MCR-GRJ
  1578      74982        Smith, David                    Danziger & De Llano       8:20-cv-26289-MCR-GRJ
  1579      74983        Smith, Derek                    Danziger & De Llano       8:20-cv-26291-MCR-GRJ
  1580      74985        Smith, Desmoine                 Danziger & De Llano       8:20-cv-26295-MCR-GRJ
  1581      74987        Smith, Ethan                    Danziger & De Llano       8:20-cv-26299-MCR-GRJ
  1582      74989        Smith, Howard                   Danziger & De Llano       8:20-cv-26303-MCR-GRJ
  1583      74991        SMITH, JACOB                    Danziger & De Llano       8:20-cv-26305-MCR-GRJ
  1584      74993        Smith, James                    Danziger & De Llano       8:20-cv-26307-MCR-GRJ
  1585      75002        Smith, John                     Danziger & De Llano       8:20-cv-26315-MCR-GRJ
  1586      75004        Smith, John                     Danziger & De Llano       8:20-cv-26317-MCR-GRJ
  1587      75005        Smith, Josh                     Danziger & De Llano       8:20-cv-26318-MCR-GRJ
  1588      75008        Smith, Korie                    Danziger & De Llano       8:20-cv-26322-MCR-GRJ
  1589      75011        Smith, Lloyd                    Danziger & De Llano       8:20-cv-26327-MCR-GRJ
  1590      75020        SMITH, MICHAEL                  Danziger & De Llano       8:20-cv-26346-MCR-GRJ
  1591      75021        SMITH, MICHAEL                  Danziger & De Llano       8:20-cv-26348-MCR-GRJ
  1592      75023        Smith, Renthane                 Danziger & De Llano       8:20-cv-26352-MCR-GRJ
  1593      75024        Smith, Rhynn                    Danziger & De Llano       8:20-cv-26355-MCR-GRJ
  1594      75027        Smith, Robert                   Danziger & De Llano       8:20-cv-26359-MCR-GRJ
  1595      75029        Smith, Roy                      Danziger & De Llano       8:20-cv-26361-MCR-GRJ
  1596      75035        Smith, Smokey                   Danziger & De Llano       8:20-cv-26372-MCR-GRJ
  1597      75038        Smith, William                  Danziger & De Llano       8:20-cv-26378-MCR-GRJ
  1598      75039        SMITH, ZACHARY                  Danziger & De Llano       8:20-cv-26380-MCR-GRJ
  1599      75040        Smith, Jimmy                    Danziger & De Llano       8:20-cv-26384-MCR-GRJ
  1600      75041        Smoot, Daniel                   Danziger & De Llano       8:20-cv-26387-MCR-GRJ
  1601      75046        Snell, William                  Danziger & De Llano       8:20-cv-26401-MCR-GRJ
  1602      75048        Snider, Patrick                 Danziger & De Llano       8:20-cv-26407-MCR-GRJ
  1603      75051        Snow, Jacob                     Danziger & De Llano       8:20-cv-26416-MCR-GRJ
  1604      75054        Snowden, Andrew                 Danziger & De Llano       8:20-cv-26426-MCR-GRJ
  1605      75055        Snyder, Andrew                  Danziger & De Llano       8:20-cv-26429-MCR-GRJ
  1606      75060        Soden, Shawn                    Danziger & De Llano       8:20-cv-26467-MCR-GRJ
  1607      75063        Soloski, Jacob                  Danziger & De Llano       8:20-cv-26604-MCR-GRJ
  1608      75069        Soria, Alex                     Danziger & De Llano       8:20-cv-26623-MCR-GRJ
  1609      75073        Sorrells, Duston                Danziger & De Llano       8:20-cv-26634-MCR-GRJ
  1610      75074        Sotelo, Ismael                  Danziger & De Llano       8:20-cv-26639-MCR-GRJ
  1611      75075        Soto, Gilberto                  Danziger & De Llano       8:20-cv-26644-MCR-GRJ
  1612      75078        Sotomayor, Thomas               Danziger & De Llano       8:20-cv-26658-MCR-GRJ
  1613      75086        Souther, Bradly                 Danziger & De Llano       8:20-cv-26697-MCR-GRJ
  1614      75087        Southern, Beaux                 Danziger & De Llano       8:20-cv-26702-MCR-GRJ
  1615      75088        Southern, Billy                 Danziger & De Llano       8:20-cv-26706-MCR-GRJ
  1616      75089        Souza, Jason                    Danziger & De Llano       8:20-cv-26711-MCR-GRJ
  1617      75092        Spang, Nicholas                 Danziger & De Llano       8:20-cv-26722-MCR-GRJ
  1618      75093        Spangler, Lonnie                Danziger & De Llano       8:20-cv-26726-MCR-GRJ
  1619      75095        Sparks, Chris                   Danziger & De Llano       8:20-cv-26734-MCR-GRJ
  1620      75099        Speaks, Charles                 Danziger & De Llano       8:20-cv-26746-MCR-GRJ




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  1621      75106        Speer, Zackery                 Danziger & De Llano       8:20-cv-26775-MCR-GRJ
  1622      75109        Spencer, Scott                 Danziger & De Llano       8:20-cv-26786-MCR-GRJ
  1623      75112        Spinetta, Jose                 Danziger & De Llano       8:20-cv-26801-MCR-GRJ
  1624      75115        Spirtos, Michael               Danziger & De Llano       8:20-cv-26817-MCR-GRJ
  1625      75129        Stacey, William                Danziger & De Llano       8:20-cv-26874-MCR-GRJ
  1626      75134        Staggs, Alexander              Danziger & De Llano       8:20-cv-26902-MCR-GRJ
  1627      75142        Stancil, Willie                Danziger & De Llano       8:20-cv-26933-MCR-GRJ
  1628      75144        Stanford, Geoffrey             Danziger & De Llano       8:20-cv-26943-MCR-GRJ
  1629      75148        Stanley, Andrew                Danziger & De Llano       8:20-cv-26958-MCR-GRJ
  1630      75152        Staples, David                 Danziger & De Llano       8:20-cv-26979-MCR-GRJ
  1631      75154        Starkowski, Brett              Danziger & De Llano       8:20-cv-26988-MCR-GRJ
  1632      75156        Starwalt, Chris                Danziger & De Llano       8:20-cv-27001-MCR-GRJ
  1633      75169        Steinberg, Jason               Danziger & De Llano       8:20-cv-27055-MCR-GRJ
  1634      75172        Steinmeyer, Nick               Danziger & De Llano       8:20-cv-27071-MCR-GRJ
  1635      75175        Stenzel, Marcus                Danziger & De Llano       8:20-cv-27081-MCR-GRJ
  1636      75179        Stephens, Shad                 Danziger & De Llano       8:20-cv-27100-MCR-GRJ
  1637      75181        Stephenson, Anthony            Danziger & De Llano       8:20-cv-27111-MCR-GRJ
  1638      75182        Stephenson, Kerstin            Danziger & De Llano       8:20-cv-27116-MCR-GRJ
  1639      75183        Stepps, Timothy                Danziger & De Llano       8:20-cv-27121-MCR-GRJ
  1640      75184        Sterba, Tyler                  Danziger & De Llano       8:20-cv-27125-MCR-GRJ
  1641      75186        Stevens, Arthur                Danziger & De Llano       8:20-cv-27135-MCR-GRJ
  1642      75188        Stevens, Christopher           Danziger & De Llano       8:20-cv-27145-MCR-GRJ
  1643      75189        Stevens, Daniel                Danziger & De Llano       8:20-cv-27150-MCR-GRJ
  1644      75191        Stevens, Justin                Danziger & De Llano       8:20-cv-27161-MCR-GRJ
  1645      75193        Stevenson, Joshua              Danziger & De Llano       8:20-cv-27171-MCR-GRJ
  1646      75196        Stevenson, Stanley             Danziger & De Llano       8:20-cv-27187-MCR-GRJ
  1647      75199        Stewart, Adam                  Danziger & De Llano       8:20-cv-27192-MCR-GRJ
  1648      75205        Stewart, Jonathan              Danziger & De Llano       8:20-cv-27222-MCR-GRJ
  1649      75206        Stewart, Kevin                 Danziger & De Llano       8:20-cv-27227-MCR-GRJ
  1650      75216        Stivers, Cody                  Danziger & De Llano       8:20-cv-27267-MCR-GRJ
  1651      75217        Stixrud, Gregory               Danziger & De Llano       8:20-cv-27271-MCR-GRJ
  1652      75219        Stoddard, Ryan                 Danziger & De Llano       8:20-cv-27282-MCR-GRJ
  1653      75220        Stoffel, Christopher           Danziger & De Llano       8:20-cv-27288-MCR-GRJ
  1654      75221        Stoilov, Dimitar               Danziger & De Llano       8:20-cv-27293-MCR-GRJ
  1655      75223        Stokes, Tyler                  Danziger & De Llano       8:20-cv-27303-MCR-GRJ
  1656      75225        Stolz, Kyle                    Danziger & De Llano       8:20-cv-27312-MCR-GRJ
  1657      75229        Stone, Michael                 Danziger & De Llano       8:20-cv-27319-MCR-GRJ
  1658      75240        Stover, Scott                  Danziger & De Llano       8:20-cv-27354-MCR-GRJ
  1659      75249        Strayer, Jeremy                Danziger & De Llano       8:20-cv-27386-MCR-GRJ
  1660      75251        Streeter, Jason                Danziger & De Llano       8:20-cv-27396-MCR-GRJ
  1661      75252        Stremberg, Leif                Danziger & De Llano       8:20-cv-27400-MCR-GRJ
  1662      75254        Strickland, Joshua             Danziger & De Llano       8:20-cv-27407-MCR-GRJ
  1663      75255        Strickland, Joshua             Danziger & De Llano       8:20-cv-27411-MCR-GRJ
  1664      75259        Stromsness, Stephen            Danziger & De Llano       8:20-cv-27428-MCR-GRJ
  1665      75267        Stuart, Jeremy                 Danziger & De Llano       8:20-cv-27456-MCR-GRJ
  1666      75272        Stucke, Carl                   Danziger & De Llano       8:20-cv-27478-MCR-GRJ
  1667      75274        Stull, John                    Danziger & De Llano       8:20-cv-27486-MCR-GRJ
  1668      75276        Sturkie, Brian                 Danziger & De Llano       8:20-cv-27495-MCR-GRJ
  1669      75280        Suchland, Ryan                 Danziger & De Llano       8:20-cv-27502-MCR-GRJ
  1670      75286        Sullivan, Britt                Danziger & De Llano       8:20-cv-27524-MCR-GRJ
  1671      75287        Sullivan, Charles              Danziger & De Llano       8:20-cv-27528-MCR-GRJ
  1672      75293        SULLIVAN, TERRY                Danziger & De Llano       8:20-cv-27812-MCR-GRJ
  1673      75300        Summers, Robert                Danziger & De Llano       8:20-cv-27819-MCR-GRJ
  1674      75303        Sumpter, Jimmie                Danziger & De Llano       8:20-cv-27821-MCR-GRJ




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  Row     Plaintiff ID                 Plaintiff Name            Law Firm Name   Admin Docket Case Number   Active Docket Case Number
  1675      75305        Sun, Yichun                    Danziger & De Llano       8:20-cv-27823-MCR-GRJ
  1676      75307        Sund, Jefferson                Danziger & De Llano       8:20-cv-27825-MCR-GRJ
  1677      75311        Sutherland, Will               Danziger & De Llano       8:20-cv-27827-MCR-GRJ
  1678      75316        Svoboda, Aron                  Danziger & De Llano       8:20-cv-27830-MCR-GRJ
  1679      75325        Swearingin, Andrew             Danziger & De Llano       8:20-cv-27837-MCR-GRJ
  1680      75327        Sweeney, Larry                 Danziger & De Llano       8:20-cv-27838-MCR-GRJ
  1681      75328        Sweeney, Vanessa               Danziger & De Llano       8:20-cv-27839-MCR-GRJ
  1682      75331        Swett, Ian                     Danziger & De Llano       8:20-cv-27842-MCR-GRJ
  1683      75333        Swift, Sean                    Danziger & De Llano       8:20-cv-27844-MCR-GRJ
  1684      75337        Swink, Cameron                 Danziger & De Llano       8:20-cv-27847-MCR-GRJ
  1685      75339        Switzer, Joseph                Danziger & De Llano       8:20-cv-27849-MCR-GRJ
  1686      75345        Tafoya, Santana                Danziger & De Llano       8:20-cv-27854-MCR-GRJ
  1687      75346        Taggart, Gage                  Danziger & De Llano       8:20-cv-27855-MCR-GRJ
  1688      75352        Tan, Michael                   Danziger & De Llano       8:20-cv-27861-MCR-GRJ
  1689      75353        Tannehill, Andrew              Danziger & De Llano       8:20-cv-27862-MCR-GRJ
  1690      75359        Tarolli, Mike                  Danziger & De Llano       8:20-cv-27868-MCR-GRJ
  1691      75360        Tarter, Stephen                Danziger & De Llano       8:20-cv-27869-MCR-GRJ
  1692      75363        Tatton, Brian                  Danziger & De Llano       8:20-cv-27877-MCR-GRJ
  1693      75364        Tatum, Joey                    Danziger & De Llano       8:20-cv-27871-MCR-GRJ
  1694      75367        Taylor, Benjamin               Danziger & De Llano       8:20-cv-27875-MCR-GRJ
  1695      75368        TAYLOR, BRANDON                Danziger & De Llano       8:20-cv-27876-MCR-GRJ
  1696      75369        Taylor, Charles                Danziger & De Llano       8:20-cv-27878-MCR-GRJ
  1697      75371        Taylor, Edward                 Danziger & De Llano       8:20-cv-27879-MCR-GRJ
  1698      75372        Taylor, Eugene                 Danziger & De Llano       8:20-cv-27880-MCR-GRJ
  1699      75378        Taylor, Justen                 Danziger & De Llano       8:20-cv-27886-MCR-GRJ
  1700      75379        Taylor, Leon                   Danziger & De Llano       8:20-cv-27887-MCR-GRJ
  1701      75380        Taylor, Matthew                Danziger & De Llano       8:20-cv-27888-MCR-GRJ
  1702      75387        Tedrick, Winston               Danziger & De Llano       8:20-cv-27894-MCR-GRJ
  1703      75389        Teeter, Shane                  Danziger & De Llano       8:20-cv-27896-MCR-GRJ
  1704      75398        Terry, Stephen                 Danziger & De Llano       8:20-cv-27903-MCR-GRJ
  1705      75400        Tesdahl, Caleb                 Danziger & De Llano       8:20-cv-27905-MCR-GRJ
  1706      75402        Teurman, Michael               Danziger & De Llano       8:20-cv-27906-MCR-GRJ
  1707      75404        Thacker, Devin                 Danziger & De Llano       8:20-cv-27907-MCR-GRJ
  1708      75408        Theriot, Joshua                Danziger & De Llano       8:20-cv-27911-MCR-GRJ
  1709      75413        Thomas, Hunter                 Danziger & De Llano       8:20-cv-27915-MCR-GRJ
  1710      75417        Thomas, Justin                 Danziger & De Llano       8:20-cv-27919-MCR-GRJ
  1711      75419        Thomas, Robert                 Danziger & De Llano       8:20-cv-27920-MCR-GRJ
  1712      75424        Thompson, Amanda               Danziger & De Llano       8:20-cv-27926-MCR-GRJ
  1713      75430        Thompson, Dustin               Danziger & De Llano       8:20-cv-27931-MCR-GRJ
  1714      75433        Thompson, Jerrod               Danziger & De Llano       8:20-cv-27934-MCR-GRJ
  1715      75440        Thompson, Malcolm              Danziger & De Llano       8:20-cv-27941-MCR-GRJ
  1716      75441        Thompson, Mark                 Danziger & De Llano       8:20-cv-27942-MCR-GRJ
  1717      75443        Thompson, Nathaniel            Danziger & De Llano       8:20-cv-27944-MCR-GRJ
  1718      75446        Thompson, Ryan                 Danziger & De Llano       8:20-cv-27946-MCR-GRJ
  1719      75447        Thompson, Shaun                Danziger & De Llano       8:20-cv-27947-MCR-GRJ
  1720      75451        Thomson, Jeremy                Danziger & De Llano       8:20-cv-27951-MCR-GRJ
  1721      75453        Thornbrough, Harold            Danziger & De Llano       8:20-cv-27953-MCR-GRJ
  1722      75456        Thornton, Dresden              Danziger & De Llano       8:20-cv-27955-MCR-GRJ
  1723      75457        Thornton, Jason                Danziger & De Llano       8:20-cv-27956-MCR-GRJ
  1724      75463        Thurman, Steven                Danziger & De Llano       8:20-cv-27967-MCR-GRJ
  1725      75464        Thurow, David                  Danziger & De Llano       8:20-cv-27969-MCR-GRJ
  1726      75471        Tillison, Jason                Danziger & De Llano       8:20-cv-27981-MCR-GRJ
  1727      75474        Timmerman, Jeffrey             Danziger & De Llano       8:20-cv-27987-MCR-GRJ
  1728      75485        Toledo, Terrence               Danziger & De Llano       8:20-cv-28008-MCR-GRJ




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  1729      75500        Torres, Michael                Danziger & De Llano       8:20-cv-28038-MCR-GRJ
  1730      75501        Tortorici, Jon                 Danziger & De Llano       8:20-cv-28041-MCR-GRJ
  1731      75504        Totzke, John Guy               Danziger & De Llano       8:20-cv-28047-MCR-GRJ
  1732      75505        Towner, Andrew                 Danziger & De Llano       8:20-cv-28049-MCR-GRJ
  1733      75507        Townsend, Jay                  Danziger & De Llano       8:20-cv-28053-MCR-GRJ
  1734      75510        Tracey, James                  Danziger & De Llano       8:20-cv-28059-MCR-GRJ
  1735      75512        Tracy, James                   Danziger & De Llano       8:20-cv-28063-MCR-GRJ
  1736      75514        Tran, Peter                    Danziger & De Llano       8:20-cv-28067-MCR-GRJ
  1737      75517        Travis, Jacob                  Danziger & De Llano       8:20-cv-28073-MCR-GRJ
  1738      75518        Travis, Terrance               Danziger & De Llano       8:20-cv-28075-MCR-GRJ
  1739      75522        Trent, Jason                   Danziger & De Llano       8:20-cv-28152-MCR-GRJ
  1740      75530        Tristan, Luis                  Danziger & De Llano       8:20-cv-28186-MCR-GRJ
  1741      75531        Trotter, Detrick               Danziger & De Llano       8:20-cv-28190-MCR-GRJ
  1742      75532        Truax, Matthew                 Danziger & De Llano       8:20-cv-28193-MCR-GRJ
  1743      75533        Truax, Matthew                 Danziger & De Llano       8:20-cv-28196-MCR-GRJ
  1744      75536        Tucker, Adam                   Danziger & De Llano       8:20-cv-28206-MCR-GRJ
  1745      75546        Tuma, Jeremy                   Danziger & De Llano       8:20-cv-28234-MCR-GRJ
  1746      75554        Turner, Derek                  Danziger & De Llano       8:20-cv-28256-MCR-GRJ
  1747      75557        Turner, Scott                  Danziger & De Llano       8:20-cv-28265-MCR-GRJ
  1748      75559        TURNER, TIMOTHY                Danziger & De Llano       8:20-cv-28271-MCR-GRJ
  1749      75561        Turnquist, Andrew              Danziger & De Llano       8:20-cv-28279-MCR-GRJ
  1750      75565        Tuz, James                     Danziger & De Llano       8:20-cv-28298-MCR-GRJ
  1751      75566        Twombly, Frederick             Danziger & De Llano       8:20-cv-28302-MCR-GRJ
  1752      75570        Tyler, Zachary                 Danziger & De Llano       8:20-cv-28320-MCR-GRJ
  1753      75571        Tylor, Matthew                 Danziger & De Llano       8:20-cv-28324-MCR-GRJ
  1754      75578        Underhill, Scott               Danziger & De Llano       8:20-cv-28349-MCR-GRJ
  1755      75580        Underwood, Russell             Danziger & De Llano       8:20-cv-28360-MCR-GRJ
  1756      75581        Unger, Tyler                   Danziger & De Llano       8:20-cv-28364-MCR-GRJ
  1757      75582        Unruh, Kevin                   Danziger & De Llano       8:20-cv-28368-MCR-GRJ
  1758      75584        Urban, William                 Danziger & De Llano       8:20-cv-28377-MCR-GRJ
  1759      75587        Utt, Nathan                    Danziger & De Llano       8:20-cv-28392-MCR-GRJ
  1760      75589        Valasek, Kevin                 Danziger & De Llano       8:20-cv-28403-MCR-GRJ
  1761      75590        Valderrama, Christian          Danziger & De Llano       8:20-cv-28409-MCR-GRJ
  1762      75591        Valdes, Sam                    Danziger & De Llano       8:20-cv-28414-MCR-GRJ
  1763      75595        Valdez, Jhonny                 Danziger & De Llano       8:20-cv-28423-MCR-GRJ
  1764      75597        Valenti, Raymond               Danziger & De Llano       8:20-cv-28428-MCR-GRJ
  1765      75599        Valenzuela, Alfredo            Danziger & De Llano       8:20-cv-28439-MCR-GRJ
  1766      75601        Vallejo, Marcus                Danziger & De Llano       8:20-cv-28448-MCR-GRJ
  1767      75602        Vallette, Steven               Danziger & De Llano       8:20-cv-28454-MCR-GRJ
  1768      75603        Valley, Casey                  Danziger & De Llano       8:20-cv-28458-MCR-GRJ
  1769      75604        Vallortigara, Jerry            Danziger & De Llano       8:20-cv-28464-MCR-GRJ
  1770      75606        Van Bremen, Jeremy             Danziger & De Llano       8:20-cv-28473-MCR-GRJ
  1771      75609        Van Fleet, Brian               Danziger & De Llano       8:20-cv-28483-MCR-GRJ
  1772      75614        Vance, Jacob                   Danziger & De Llano       8:20-cv-28603-MCR-GRJ
  1773      75617        Vandeneynden, Aaron            Danziger & De Llano       8:20-cv-28618-MCR-GRJ
  1774      75619        Vanderhoof, Justin             Danziger & De Llano       8:20-cv-28627-MCR-GRJ
  1775      75625        Vanlangen, Shawn               Danziger & De Llano       8:20-cv-28655-MCR-GRJ
  1776      75626        Vanloon, Samuel                Danziger & De Llano       8:20-cv-28661-MCR-GRJ
  1777      75631        Vanwart, Christopher           Danziger & De Llano       8:20-cv-29425-MCR-GRJ
  1778      75636        Varner, Justin                 Danziger & De Llano       8:20-cv-29436-MCR-GRJ
  1779      75637        Varnum, Christopher            Danziger & De Llano       8:20-cv-29438-MCR-GRJ
  1780      75641        VASQUEZ, LUIS                  Danziger & De Llano       8:20-cv-29447-MCR-GRJ
  1781      75642        Vaughan, Jacob                 Danziger & De Llano       8:20-cv-29450-MCR-GRJ
  1782      75647        Vega, Efrain                   Danziger & De Llano       8:20-cv-29459-MCR-GRJ




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  1783      75648        Vega, Javier                Danziger & De Llano       8:20-cv-29461-MCR-GRJ
  1784      75656        Vernon, Zachary             Danziger & De Llano       8:20-cv-29481-MCR-GRJ
  1785      75657        Vess, Michael               Danziger & De Llano       8:20-cv-29483-MCR-GRJ
  1786      75661        Vickers, Dustin             Danziger & De Llano       8:20-cv-29493-MCR-GRJ
  1787      75664        Viig, Michael               Danziger & De Llano       8:20-cv-29500-MCR-GRJ
  1788      75678        Vogeler, Erick              Danziger & De Llano       8:20-cv-29548-MCR-GRJ
  1789      75679        Voges, William              Danziger & De Llano       8:20-cv-29551-MCR-GRJ
  1790      75683        Vosburgh, Jeremiah          Danziger & De Llano       8:20-cv-29562-MCR-GRJ
  1791      75686        Vrabcak, Joseph             Danziger & De Llano       8:20-cv-29572-MCR-GRJ
  1792      75688        Vrechek, Joseph             Danziger & De Llano       8:20-cv-29580-MCR-GRJ
  1793      75693        Waddell, Michael            Danziger & De Llano       8:20-cv-29597-MCR-GRJ
  1794      75702        Wagner, Daniel              Danziger & De Llano       8:20-cv-29621-MCR-GRJ
  1795      75708        Waldy, Kyle                 Danziger & De Llano       8:20-cv-29638-MCR-GRJ
  1796      75719        Walker, Dominique           Danziger & De Llano       8:20-cv-29662-MCR-GRJ
  1797      75721        Walker, Max                 Danziger & De Llano       8:20-cv-29665-MCR-GRJ
  1798      75735        Waller, Aaron               Danziger & De Llano       8:20-cv-29709-MCR-GRJ
  1799      75736        Waller, Jacob               Danziger & De Llano       8:20-cv-29714-MCR-GRJ
  1800      75740        Walsh, John                 Danziger & De Llano       8:20-cv-29723-MCR-GRJ
  1801      75744        Walter, Ronald              Danziger & De Llano       8:20-cv-29743-MCR-GRJ
  1802      75745        Walter, Steven              Danziger & De Llano       8:20-cv-29748-MCR-GRJ
  1803      75747        Walters, Donald             Danziger & De Llano       8:20-cv-29759-MCR-GRJ
  1804      75748        Walters, Noah               Danziger & De Llano       8:20-cv-29763-MCR-GRJ
  1805      75751        Wantz, Keith                Danziger & De Llano       8:20-cv-29780-MCR-GRJ
  1806      75756        Ward, Robert                Danziger & De Llano       8:20-cv-29797-MCR-GRJ
  1807      75757        Ward, Tyler                 Danziger & De Llano       8:20-cv-29800-MCR-GRJ
  1808      75759        Wargovich, Brandon          Danziger & De Llano       8:20-cv-29809-MCR-GRJ
  1809      75762        Warner, Jeffery             Danziger & De Llano       8:20-cv-29823-MCR-GRJ
  1810      75763        Warner, Ryan                Danziger & De Llano       8:20-cv-29825-MCR-GRJ
  1811      75764        Warren, Curtis              Danziger & De Llano       8:20-cv-29829-MCR-GRJ
  1812      75765        Warren, John                Danziger & De Llano       8:20-cv-29832-MCR-GRJ
  1813      75775        Watkins, Donald             Danziger & De Llano       8:20-cv-29860-MCR-GRJ
  1814      75779        Watson, Donald              Danziger & De Llano       8:20-cv-29873-MCR-GRJ
  1815      75780        Watson, James               Danziger & De Llano       8:20-cv-29876-MCR-GRJ
  1816      75781        Watson, Joshua              Danziger & De Llano       8:20-cv-29879-MCR-GRJ
  1817      75782        Watson, William             Danziger & De Llano       8:20-cv-29883-MCR-GRJ
  1818      75784        Watts, Jasen                Danziger & De Llano       8:20-cv-29890-MCR-GRJ
  1819      75789        Weast, Brandon              Danziger & De Llano       8:20-cv-29899-MCR-GRJ
  1820      75802        Weddington, Matthew         Danziger & De Llano       8:20-cv-29932-MCR-GRJ
  1821      75805        Wehrman, Eric               Danziger & De Llano       8:20-cv-29942-MCR-GRJ
  1822      75809        Weilbrenner, Larry          Danziger & De Llano       8:20-cv-29951-MCR-GRJ
  1823      75811        Weisbrod, Philip            Danziger & De Llano       8:20-cv-29958-MCR-GRJ
  1824      75820        Wellman, Keith              Danziger & De Llano       8:20-cv-29988-MCR-GRJ
  1825      75824        Wells, Robert               Danziger & De Llano       8:20-cv-30001-MCR-GRJ
  1826      75834        Wentworth, Christopher      Danziger & De Llano       8:20-cv-30033-MCR-GRJ
  1827      75839        Werner, Phillip             Danziger & De Llano       8:20-cv-30056-MCR-GRJ
  1828      75840        Werner, Steven              Danziger & De Llano       8:20-cv-30061-MCR-GRJ
  1829      75842        Werth, Robert               Danziger & De Llano       8:20-cv-30070-MCR-GRJ
  1830      75843        Wescott, Chad               Danziger & De Llano       8:20-cv-30076-MCR-GRJ
  1831      75844        Wesley, Derek               Danziger & De Llano       8:20-cv-30080-MCR-GRJ
  1832      75845        West, Brandon               Danziger & De Llano       8:20-cv-30084-MCR-GRJ
  1833      75846        West, Buddy                 Danziger & De Llano       8:20-cv-30089-MCR-GRJ
  1834      75853        Westbrook, Billy            Danziger & De Llano       8:20-cv-30114-MCR-GRJ
  1835      75859        Westphal, Steven            Danziger & De Llano       8:20-cv-32294-MCR-GRJ
  1836      75869        Wheeler, Mark               Danziger & De Llano       8:20-cv-32330-MCR-GRJ




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  1837      75874        Whidden, Paul               Danziger & De Llano       8:20-cv-32347-MCR-GRJ
  1838      75875        Whitaker, Josh              Danziger & De Llano       8:20-cv-32351-MCR-GRJ
  1839      75876        Whitaker, Keith             Danziger & De Llano       8:20-cv-32355-MCR-GRJ
  1840      75877        Whitaker, Timothy           Danziger & De Llano       8:20-cv-32360-MCR-GRJ
  1841      75881        White, Clinton              Danziger & De Llano       8:20-cv-32381-MCR-GRJ
  1842      75882        White, Damon                Danziger & De Llano       8:20-cv-32386-MCR-GRJ
  1843      75885        White, Jacob                Danziger & De Llano       8:20-cv-32400-MCR-GRJ
  1844      75886        WHITE, JAMES                Danziger & De Llano       8:20-cv-32406-MCR-GRJ
  1845      75887        White, Jason                Danziger & De Llano       8:20-cv-32411-MCR-GRJ
  1846      75897        White, Robert               Danziger & De Llano       8:20-cv-32457-MCR-GRJ
  1847      75898        White, Wes                  Danziger & De Llano       8:20-cv-32463-MCR-GRJ
  1848      75901        Whitehouse, Lee             Danziger & De Llano       8:20-cv-32474-MCR-GRJ
  1849      75902        Whiteside, Joey             Danziger & De Llano       8:20-cv-32480-MCR-GRJ
  1850      75903        Whitfield, Nathan           Danziger & De Llano       8:20-cv-32486-MCR-GRJ
  1851      75914        Whorton, Frank              Danziger & De Llano       8:20-cv-32534-MCR-GRJ
  1852      75917        Wickham, Clayton            Danziger & De Llano       8:20-cv-32548-MCR-GRJ
  1853      75918        Wickline, Tony              Danziger & De Llano       8:20-cv-32552-MCR-GRJ
  1854      75934        Wiley, Richard              Danziger & De Llano       8:20-cv-32620-MCR-GRJ
  1855      75940        Wilkinson, Steven           Danziger & De Llano       8:20-cv-32638-MCR-GRJ
  1856      75941        Wilks, Joshua               Danziger & De Llano       8:20-cv-32644-MCR-GRJ
  1857      75943        Willey, Brian               Danziger & De Llano       8:20-cv-32653-MCR-GRJ
  1858      75944        Willey, Jacob               Danziger & De Llano       8:20-cv-32659-MCR-GRJ
  1859      75945        Williams, Anthony           Danziger & De Llano       8:20-cv-32663-MCR-GRJ
  1860      75947        Williams, Benjamin          Danziger & De Llano       8:20-cv-32673-MCR-GRJ
  1861      75958        WILLIAMS, JAMES             Danziger & De Llano       8:20-cv-32715-MCR-GRJ
  1862      75966        Williams, Nicholas          Danziger & De Llano       8:20-cv-32748-MCR-GRJ
  1863      75968        Williams, Richard           Danziger & De Llano       8:20-cv-32755-MCR-GRJ
  1864      75975        Williams, Timothy           Danziger & De Llano       8:20-cv-32776-MCR-GRJ
  1865      75976        WILLIAMS, TYLER             Danziger & De Llano       8:20-cv-32780-MCR-GRJ
  1866      75977        Williams, Waylon            Danziger & De Llano       8:20-cv-32784-MCR-GRJ
  1867      75979        Willimott, Anthony          Danziger & De Llano       8:20-cv-32793-MCR-GRJ
  1868      75982        Willingham, Marcus          Danziger & De Llano       8:20-cv-32801-MCR-GRJ
  1869      75984        Willis, Kasey               Danziger & De Llano       8:20-cv-32805-MCR-GRJ
  1870      75990        Wilmott, Kyle               Danziger & De Llano       8:20-cv-32821-MCR-GRJ
  1871      75991        wilson, Charles             Danziger & De Llano       8:20-cv-32824-MCR-GRJ
  1872      75994        Wilson, Donald              Danziger & De Llano       8:20-cv-32827-MCR-GRJ
  1873      75995        WILSON, JAMES               Danziger & De Llano       8:20-cv-32830-MCR-GRJ
  1874      75997        Wilson, Jeremy              Danziger & De Llano       8:20-cv-32836-MCR-GRJ
  1875      75998        Wilson, Joshua              Danziger & De Llano       8:20-cv-32840-MCR-GRJ
  1876      76005        WILSON, PAUL                Danziger & De Llano       8:20-cv-32860-MCR-GRJ
  1877      76009        Wing, Matthew               Danziger & De Llano       8:20-cv-32878-MCR-GRJ
  1878      76012        Wingrove, Zack              Danziger & De Llano       8:20-cv-32884-MCR-GRJ
  1879      76013        Winn, Cory                  Danziger & De Llano       8:20-cv-32888-MCR-GRJ
  1880      76017        Wirfel, Thomas              Danziger & De Llano       8:20-cv-32902-MCR-GRJ
  1881      76026        Wittenbach, Gavin           Danziger & De Llano       8:20-cv-32928-MCR-GRJ
  1882      76027        Witz, Wesley                Danziger & De Llano       8:20-cv-32931-MCR-GRJ
  1883      76031        Wolfe, Dakota               Danziger & De Llano       8:20-cv-32941-MCR-GRJ
  1884      76032        Wolfe, Guy                  Danziger & De Llano       8:20-cv-32945-MCR-GRJ
  1885      76036        Wollin, Brandon             Danziger & De Llano       8:20-cv-32954-MCR-GRJ
  1886      76039        Wood, Joshua                Danziger & De Llano       8:20-cv-32967-MCR-GRJ
  1887      76049        Woodley, Antwann            Danziger & De Llano       8:20-cv-33004-MCR-GRJ
  1888      76059        Woolett, Patrick            Danziger & De Llano       8:20-cv-33036-MCR-GRJ
  1889      76061        Wooster, Timothy            Danziger & De Llano       8:20-cv-33044-MCR-GRJ
  1890      76065        Workman, Tony               Danziger & De Llano       8:20-cv-33056-MCR-GRJ




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  1891      76071        Wrenn, Aubrey               Danziger & De Llano           8:20-cv-33087-MCR-GRJ
  1892      76080        Wright, Jeffrey             Danziger & De Llano           8:20-cv-33127-MCR-GRJ
  1893      76085        Wright, Spencet             Danziger & De Llano           8:20-cv-33156-MCR-GRJ
  1894      76088        Wyland, Jeremy              Danziger & De Llano           8:20-cv-33166-MCR-GRJ
  1895      76094        Yates, John                 Danziger & De Llano           8:20-cv-33195-MCR-GRJ
  1896      76096        Ybarra, Cody                Danziger & De Llano           8:20-cv-33839-MCR-GRJ
  1897      76104        York, Adam                  Danziger & De Llano           8:20-cv-33852-MCR-GRJ
  1898      76105        York, Nathaniel             Danziger & De Llano           8:20-cv-33853-MCR-GRJ
  1899      76106        Yost, Kenneth               Danziger & De Llano           8:20-cv-33855-MCR-GRJ
  1900      76109        Young, Christopher          Danziger & De Llano           8:20-cv-33859-MCR-GRJ
  1901      76110        Young, Eric                 Danziger & De Llano           8:20-cv-33860-MCR-GRJ
  1902      76114        Young, Jonathon             Danziger & De Llano           8:20-cv-33866-MCR-GRJ
  1903      76115        Young, Joseph               Danziger & De Llano           8:20-cv-33867-MCR-GRJ
  1904      76117        Young, Justin               Danziger & De Llano           8:20-cv-33871-MCR-GRJ
  1905      76118        Young, Leon                 Danziger & De Llano           8:20-cv-33873-MCR-GRJ
  1906      76120        Young, Paul                 Danziger & De Llano           8:20-cv-33876-MCR-GRJ
  1907      76123        Young, Tulafono             Danziger & De Llano           8:20-cv-33882-MCR-GRJ
  1908      76127        Yundt, Charles              Danziger & De Llano           8:20-cv-33889-MCR-GRJ
  1909      76131        Zadroga, Michael            Danziger & De Llano           8:20-cv-33894-MCR-GRJ
  1910      76134        Zamacona, Andrew            Danziger & De Llano           8:20-cv-33900-MCR-GRJ
  1911      76136        Zamarripa, Daniel           Danziger & De Llano           8:20-cv-33903-MCR-GRJ
  1912      76138        Zbiegien, Darren            Danziger & De Llano           8:20-cv-33907-MCR-GRJ
  1913      76139        Zeiders, Shaun              Danziger & De Llano           8:20-cv-33909-MCR-GRJ
  1914      76144        Zeno, Patrick               Danziger & De Llano           8:20-cv-33918-MCR-GRJ
  1915      76147        Zhao, Johnson               Danziger & De Llano           8:20-cv-33923-MCR-GRJ
  1916      76148        Zhu, Andrew                 Danziger & De Llano           8:20-cv-33925-MCR-GRJ
  1917      76149        Zick, Jeremiah              Danziger & De Llano           8:20-cv-33927-MCR-GRJ
  1918      76150        Ziegler, Matthew            Danziger & De Llano           8:20-cv-33929-MCR-GRJ
  1919      76156        Zitzer, Sean                Danziger & De Llano           8:20-cv-33937-MCR-GRJ
  1920      76158        Zollman, James              Danziger & De Llano           8:20-cv-33939-MCR-GRJ
  1921      76162        Zusack, Jason               Danziger & De Llano           8:20-cv-33943-MCR-GRJ
  1922      189275       Gerregano, David            Bailey Cowan Heckaman PLLC    8:20-cv-16690-MCR-GRJ
  1923      212246       Bronson, Wyatt              Bailey Cowan Heckaman PLLC    8:20-cv-72230-MCR-GRJ
  1924      212248       Cabanting, Richard          Bailey Cowan Heckaman PLLC    8:20-cv-72232-MCR-GRJ
  1925      212257       Hardin, Randy               Bailey Cowan Heckaman PLLC                               8:20-cv-72241-MCR-GRJ
  1926      212261       Holloway, Benjamin          Bailey Cowan Heckaman PLLC    8:20-cv-72245-MCR-GRJ
  1927      212263       Kassens, Jon                Bailey Cowan Heckaman PLLC    8:20-cv-72247-MCR-GRJ
  1928      212264       Kersey, Michael             Bailey Cowan Heckaman PLLC    8:20-cv-72248-MCR-GRJ
  1929      212288       Bower, Jeremy               Bailey Cowan Heckaman PLLC    8:20-cv-72272-MCR-GRJ
  1930      212291       Butler, Clayton             Bailey Cowan Heckaman PLLC    8:20-cv-72278-MCR-GRJ
  1931      212296       Custis, Brian               Bailey Cowan Heckaman PLLC                               8:20-cv-72288-MCR-GRJ
  1932      212299       Eidem, Derik                Bailey Cowan Heckaman PLLC                               8:20-cv-72298-MCR-GRJ
  1933      212301       Ferguson, Lacy              Bailey Cowan Heckaman PLLC    8:20-cv-72304-MCR-GRJ
  1934      212305       Germany, Terry              Bailey Cowan Heckaman PLLC    8:20-cv-72316-MCR-GRJ
  1935      212311       Hernandez, James            Bailey Cowan Heckaman PLLC    8:20-cv-72335-MCR-GRJ
  1936      212313       Ingram, Donnie              Bailey Cowan Heckaman PLLC    8:20-cv-72341-MCR-GRJ
  1937      212315       Johnson, Bruce              Bailey Cowan Heckaman PLLC    8:20-cv-72347-MCR-GRJ
  1938      212316       Klemm, Michael              Bailey Cowan Heckaman PLLC                               8:20-cv-72351-MCR-GRJ
  1939      212323       Plemons, Eric               Bailey Cowan Heckaman PLLC    8:20-cv-72371-MCR-GRJ
  1940      212337       Valentine, Christopher      Bailey Cowan Heckaman PLLC    8:20-cv-72413-MCR-GRJ
  1941      212338       Vaughn, Lonnell             Bailey Cowan Heckaman PLLC    8:20-cv-72416-MCR-GRJ
  1942      212340       Way, Thomas                 Bailey Cowan Heckaman PLLC    8:20-cv-72422-MCR-GRJ
  1943      213314       Alston, Carl                Bailey Cowan Heckaman PLLC    8:20-cv-72438-MCR-GRJ
  1944      213330       Buchholz, Gabriel           Bailey Cowan Heckaman PLLC                               8:20-cv-72468-MCR-GRJ




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  Row     Plaintiff ID                Plaintiff Name           Law Firm Name        Admin Docket Case Number   Active Docket Case Number
  1945      213342       Delfino, Robert               Bailey Cowan Heckaman PLLC    8:20-cv-72492-MCR-GRJ
  1946      213343       Donaldson, Ronald             Bailey Cowan Heckaman PLLC    8:20-cv-72494-MCR-GRJ
  1947      213347       Fernandez, Juan               Bailey Cowan Heckaman PLLC    8:20-cv-72501-MCR-GRJ
  1948      213348       Ferry, Andrew                 Bailey Cowan Heckaman PLLC    8:20-cv-72503-MCR-GRJ
  1949      213355       Garcia, Antonio               Bailey Cowan Heckaman PLLC    8:20-cv-72516-MCR-GRJ
  1950      213364       Hendrix, Jonathan             Bailey Cowan Heckaman PLLC    8:20-cv-72532-MCR-GRJ
  1951      213374       Jenifer, Anthony              Bailey Cowan Heckaman PLLC    8:20-cv-72551-MCR-GRJ
  1952      213375       Jenkins, Darnell              Bailey Cowan Heckaman PLLC    8:20-cv-72553-MCR-GRJ
  1953      213376       JOHNSON, JEFFREY              Bailey Cowan Heckaman PLLC    8:20-cv-72555-MCR-GRJ
  1954      213383       Knowles, Robert               Bailey Cowan Heckaman PLLC                               8:20-cv-72568-MCR-GRJ
  1955      213385       Larger, Russell               Bailey Cowan Heckaman PLLC    8:20-cv-72572-MCR-GRJ
  1956      213387       Lester, Sydney                Bailey Cowan Heckaman PLLC    8:20-cv-72577-MCR-GRJ
  1957      213389       Massey, Wesley                Bailey Cowan Heckaman PLLC    8:20-cv-72662-MCR-GRJ
  1958      213397       Mommaerts, Justin             Bailey Cowan Heckaman PLLC    8:20-cv-72670-MCR-GRJ
  1959      213398       Moore, Douglas                Bailey Cowan Heckaman PLLC    8:20-cv-72671-MCR-GRJ
  1960      213407       NEWBERRY, JUSTIN              Bailey Cowan Heckaman PLLC    8:20-cv-72680-MCR-GRJ
  1961      213408       Newson, Jack                  Bailey Cowan Heckaman PLLC    8:20-cv-72681-MCR-GRJ
  1962      213411       PARKER, DAVID                 Bailey Cowan Heckaman PLLC    8:20-cv-72684-MCR-GRJ
  1963      213415       Pike, Cody                    Bailey Cowan Heckaman PLLC                               8:20-cv-72692-MCR-GRJ
  1964      213416       Potter, Christina             Bailey Cowan Heckaman PLLC    8:20-cv-72694-MCR-GRJ
  1965      213417       Pulley, Derek                 Bailey Cowan Heckaman PLLC                               8:20-cv-72696-MCR-GRJ
  1966      213426       Tartaglione, Daniel           Bailey Cowan Heckaman PLLC    8:20-cv-72715-MCR-GRJ
  1967      213432       Torres, Hilton                Bailey Cowan Heckaman PLLC    8:20-cv-72728-MCR-GRJ
  1968      213433       Trendell, Daniel              Bailey Cowan Heckaman PLLC    8:20-cv-72730-MCR-GRJ
  1969      213435       Tyree, Terrance               Bailey Cowan Heckaman PLLC    8:20-cv-72735-MCR-GRJ
  1970      213438       Villarreal, Juan              Bailey Cowan Heckaman PLLC    8:20-cv-72741-MCR-GRJ
  1971      213440       Wagner, Gregory               Bailey Cowan Heckaman PLLC    8:20-cv-72745-MCR-GRJ
  1972      213443       Weston, Christopher           Bailey Cowan Heckaman PLLC                               8:20-cv-72752-MCR-GRJ
  1973      213445       Whitfield, Jerry              Bailey Cowan Heckaman PLLC    8:20-cv-72756-MCR-GRJ
  1974      213452       Williams, Jarrell             Bailey Cowan Heckaman PLLC    8:20-cv-72770-MCR-GRJ
  1975      213454       WILSON, PAMELA                Bailey Cowan Heckaman PLLC    8:20-cv-72775-MCR-GRJ
  1976      213457       Zimmerman, Dan                Bailey Cowan Heckaman PLLC                               8:20-cv-72781-MCR-GRJ
  1977      219679       Clemons, Shana                Bailey Cowan Heckaman PLLC    8:20-cv-73358-MCR-GRJ
  1978      219689       Davis, Sarah                  Bailey Cowan Heckaman PLLC    8:20-cv-73399-MCR-GRJ
  1979      219690       Deangelo, George              Bailey Cowan Heckaman PLLC    8:20-cv-73402-MCR-GRJ
  1980      219693       Donaldson, Eric               Bailey Cowan Heckaman PLLC    8:20-cv-73415-MCR-GRJ
  1981      219695       Duncan, Sharon                Bailey Cowan Heckaman PLLC                               8:20-cv-73423-MCR-GRJ
  1982      219702       Franklin, Joseph              Bailey Cowan Heckaman PLLC    8:20-cv-73453-MCR-GRJ
  1983      219712       Gonzalez, Miriam              Bailey Cowan Heckaman PLLC    8:20-cv-73493-MCR-GRJ
  1984      219713       Grant, Brandon                Bailey Cowan Heckaman PLLC    8:20-cv-73497-MCR-GRJ
  1985      219715       Grimes, Jeffrey               Bailey Cowan Heckaman PLLC    8:20-cv-73505-MCR-GRJ
  1986      219727       Holuka, Anthony               Bailey Cowan Heckaman PLLC    8:20-cv-73553-MCR-GRJ
  1987      219741       Kasney, Larry                 Bailey Cowan Heckaman PLLC    8:20-cv-73609-MCR-GRJ
  1988      219743       Keehbauch, Thomas             Bailey Cowan Heckaman PLLC    8:20-cv-73617-MCR-GRJ
  1989      219745       King-Brown, Brittany          Bailey Cowan Heckaman PLLC    8:20-cv-73626-MCR-GRJ
  1990      219747       Klinger, Kevin                Bailey Cowan Heckaman PLLC    8:20-cv-73634-MCR-GRJ
  1991      219750       Leviner, Jeffery              Bailey Cowan Heckaman PLLC    8:20-cv-73644-MCR-GRJ
  1992      219753       Long, Jeremy                  Bailey Cowan Heckaman PLLC    8:20-cv-73656-MCR-GRJ
  1993      219764       Miller, James                 Bailey Cowan Heckaman PLLC    8:20-cv-73693-MCR-GRJ
  1994      219774       Oconner, Tyler                Bailey Cowan Heckaman PLLC    8:20-cv-73727-MCR-GRJ
  1995      219780       Paul, Douglass                Bailey Cowan Heckaman PLLC                               8:20-cv-73753-MCR-GRJ
  1996      219790       Price, Ashley                 Bailey Cowan Heckaman PLLC                               8:20-cv-73795-MCR-GRJ
  1997      219795       Quitugua, Aaron               Bailey Cowan Heckaman PLLC                               8:20-cv-73811-MCR-GRJ
  1998      219798       Robinson, Randall             Bailey Cowan Heckaman PLLC    8:20-cv-73820-MCR-GRJ




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  1999      219802       Savage, Keon                   Bailey Cowan Heckaman PLLC    8:20-cv-73833-MCR-GRJ
  2000      219806       Shepherd, Darren               Bailey Cowan Heckaman PLLC    8:20-cv-73846-MCR-GRJ
  2001      219813       Stanley, Kenneth               Bailey Cowan Heckaman PLLC    8:20-cv-73868-MCR-GRJ
  2002      219818       Sutton, Christopher            Bailey Cowan Heckaman PLLC    8:20-cv-74633-MCR-GRJ
  2003      219826       Watson, Keith                  Bailey Cowan Heckaman PLLC    8:20-cv-74641-MCR-GRJ
  2004      219828       Weiand, Lonnie                 Bailey Cowan Heckaman PLLC    8:20-cv-74643-MCR-GRJ
  2005      219833       Wilsman, Jeremy                Bailey Cowan Heckaman PLLC    8:20-cv-74649-MCR-GRJ
  2006      219834       Winkle, Lucas                  Bailey Cowan Heckaman PLLC    8:20-cv-74651-MCR-GRJ
  2007      219835       Wisner, Ban                    Bailey Cowan Heckaman PLLC    8:20-cv-74653-MCR-GRJ
  2008      219838       Zobel, Christine               Bailey Cowan Heckaman PLLC    8:20-cv-74660-MCR-GRJ
  2009      222878       Ary, Jason                     Bailey Cowan Heckaman PLLC    8:20-cv-74662-MCR-GRJ
  2010      222879       Ashton, Jonathan               Bailey Cowan Heckaman PLLC                               8:20-cv-74664-MCR-GRJ
  2011      222896       CANNON, BRIAN                  Bailey Cowan Heckaman PLLC    8:20-cv-74701-MCR-GRJ
  2012      222908       Decker, Paige                  Bailey Cowan Heckaman PLLC    8:20-cv-74725-MCR-GRJ
  2013      222929       Garcia, Jose                   Bailey Cowan Heckaman PLLC    8:20-cv-74770-MCR-GRJ
  2014      222939       Heard, Isaiah                  Bailey Cowan Heckaman PLLC    8:20-cv-74780-MCR-GRJ
  2015      222942       Hicks, Jerry                   Bailey Cowan Heckaman PLLC    8:20-cv-74783-MCR-GRJ
  2016      222947       Hottinger, Chase               Bailey Cowan Heckaman PLLC    8:20-cv-74788-MCR-GRJ
  2017      222955       Johnson, Erich                 Bailey Cowan Heckaman PLLC    8:20-cv-74796-MCR-GRJ
  2018      222961       Kerber, James                  Bailey Cowan Heckaman PLLC    8:20-cv-74802-MCR-GRJ
  2019      222979       Moreles, Jesse                 Bailey Cowan Heckaman PLLC    8:20-cv-74820-MCR-GRJ
  2020      222980       Mudd, Andrew B                 Bailey Cowan Heckaman PLLC    8:20-cv-74821-MCR-GRJ
  2021      222982       Musgrave, Amanda               Bailey Cowan Heckaman PLLC    8:20-cv-74823-MCR-GRJ
  2022      222986       O'Hair, Sean                   Bailey Cowan Heckaman PLLC    8:20-cv-74827-MCR-GRJ
  2023      222988       Pettit, Bambi                  Bailey Cowan Heckaman PLLC    8:20-cv-74829-MCR-GRJ
  2024      222989       Porter, Bradley                Bailey Cowan Heckaman PLLC    8:20-cv-74830-MCR-GRJ
  2025      222991       Rader, Eric                    Bailey Cowan Heckaman PLLC                               8:20-cv-74832-MCR-GRJ
  2026      222993       Richardson, Matthew            Bailey Cowan Heckaman PLLC    8:20-cv-74834-MCR-GRJ
  2027      223005       Skipper, Andrew                Bailey Cowan Heckaman PLLC                               8:20-cv-74846-MCR-GRJ
  2028      223007       Steckdaub, Joshua              Bailey Cowan Heckaman PLLC    8:20-cv-74848-MCR-GRJ
  2029      223015       Wakefield, Elliott             Bailey Cowan Heckaman PLLC    8:20-cv-74856-MCR-GRJ
  2030      223019       Wharton, Jessica               Bailey Cowan Heckaman PLLC                               8:20-cv-74860-MCR-GRJ
  2031      228864       Andren, Matthew                Bailey Cowan Heckaman PLLC    8:20-cv-74919-MCR-GRJ
  2032      228875       Battles, Melvin                Bailey Cowan Heckaman PLLC                               8:20-cv-74950-MCR-GRJ
  2033      228883       BERRIOS, PETER                 Bailey Cowan Heckaman PLLC    8:20-cv-74972-MCR-GRJ
  2034      228888       Bolden, Jamal                  Bailey Cowan Heckaman PLLC    8:20-cv-74988-MCR-GRJ
  2035      228890       Bostic, Rosetta                Bailey Cowan Heckaman PLLC    8:20-cv-74994-MCR-GRJ
  2036      228893       Brokenberry, Gerren            Bailey Cowan Heckaman PLLC    8:20-cv-74999-MCR-GRJ
  2037      228905       Cassavaugh, Cameron            Bailey Cowan Heckaman PLLC    8:20-cv-75189-MCR-GRJ
  2038      228909       Clifton Walls, Miles           Bailey Cowan Heckaman PLLC                               8:20-cv-75201-MCR-GRJ
  2039      228919       Cranmer, Christopher           Bailey Cowan Heckaman PLLC    8:20-cv-75231-MCR-GRJ
  2040      228920       Crawford, Kevin                Bailey Cowan Heckaman PLLC    8:20-cv-75234-MCR-GRJ
  2041      228927       Damian, Joshua                 Bailey Cowan Heckaman PLLC                               8:20-cv-75256-MCR-GRJ
  2042      228933       Decker, Justin                 Bailey Cowan Heckaman PLLC    8:20-cv-75274-MCR-GRJ
  2043      228941       Dozer, Miles                   Bailey Cowan Heckaman PLLC    8:20-cv-75298-MCR-GRJ
  2044      228954       Faruq, Amir                    Bailey Cowan Heckaman PLLC    8:20-cv-75339-MCR-GRJ
  2045      228956       Finney, Alexander              Bailey Cowan Heckaman PLLC    8:20-cv-75345-MCR-GRJ
  2046      228957       Fitch, Terry                   Bailey Cowan Heckaman PLLC    8:20-cv-75349-MCR-GRJ
  2047      228962       Gallagher, Thomas              Bailey Cowan Heckaman PLLC                               8:20-cv-75364-MCR-GRJ
  2048      228968       GEIGER, ERVIN                  Bailey Cowan Heckaman PLLC    8:20-cv-75382-MCR-GRJ
  2049      228992       Hoffman, Cody                  Bailey Cowan Heckaman PLLC    8:20-cv-75492-MCR-GRJ
  2050      228997       Hunter, Tab                    Bailey Cowan Heckaman PLLC    8:20-cv-75518-MCR-GRJ
  2051      228998       Iorio, Jason                   Bailey Cowan Heckaman PLLC                               8:20-cv-75523-MCR-GRJ
  2052      228999       Jackson, Quinton               Bailey Cowan Heckaman PLLC    8:20-cv-75528-MCR-GRJ




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  2053      229000       JACOBS, SHAMAR                 Bailey Cowan Heckaman PLLC                               8:20-cv-75533-MCR-GRJ
  2054      229003       Jones, Alexis                  Bailey Cowan Heckaman PLLC                               8:20-cv-75547-MCR-GRJ
  2055      229005       Jordan, Margo                  Bailey Cowan Heckaman PLLC                               8:20-cv-75557-MCR-GRJ
  2056      229020       Lemons, Chad                   Bailey Cowan Heckaman PLLC    8:20-cv-75646-MCR-GRJ
  2057      229029       Luna, Carlos                   Bailey Cowan Heckaman PLLC    8:20-cv-75698-MCR-GRJ
  2058      229038       MCCOY, HARMONIE                Bailey Cowan Heckaman PLLC                               8:20-cv-75750-MCR-GRJ
  2059      229040       McNeilly, Dennis               Bailey Cowan Heckaman PLLC    8:20-cv-75763-MCR-GRJ
  2060      229050       Moore, Erin                    Bailey Cowan Heckaman PLLC                               8:20-cv-79038-MCR-GRJ
  2061      229068       Olsen, Bryon                   Bailey Cowan Heckaman PLLC    8:20-cv-79088-MCR-GRJ
  2062      229081       Phillips, Stephon              Bailey Cowan Heckaman PLLC    8:20-cv-79111-MCR-GRJ
  2063      229084       Platas, Adrian                 Bailey Cowan Heckaman PLLC    8:20-cv-79116-MCR-GRJ
  2064      229106       Shaffer, Dane                  Bailey Cowan Heckaman PLLC    8:20-cv-79182-MCR-GRJ
  2065      229110       Smith, Jamal                   Bailey Cowan Heckaman PLLC    8:20-cv-79189-MCR-GRJ
  2066      229113       Sneed, Marion                  Bailey Cowan Heckaman PLLC    8:20-cv-79195-MCR-GRJ
  2067      229120       Starling, Grady                Bailey Cowan Heckaman PLLC    8:20-cv-79666-MCR-GRJ
  2068      229129       Tobias, Christopher            Bailey Cowan Heckaman PLLC    8:20-cv-79675-MCR-GRJ
  2069      229136       Verbrycke, Robert              Bailey Cowan Heckaman PLLC    8:20-cv-79682-MCR-GRJ
  2070      229138       Wallace, Jodevan               Bailey Cowan Heckaman PLLC    8:20-cv-79684-MCR-GRJ
  2071      229140       Watkins, Candace               Bailey Cowan Heckaman PLLC    8:20-cv-79686-MCR-GRJ
  2072      229142       Wilkerson, Herbert             Bailey Cowan Heckaman PLLC    8:20-cv-79688-MCR-GRJ
  2073      229152       Wright, Paul                   Bailey Cowan Heckaman PLLC    8:20-cv-79698-MCR-GRJ
  2074      237396       AGOSTO, VICTOR                 Kirkendall Dwyer LLP          8:20-cv-82379-MCR-GRJ
  2075      240176       Adkins, William                Bailey Cowan Heckaman PLLC    8:20-cv-86607-MCR-GRJ
  2076      240193       Avery, Kaylesha                Bailey Cowan Heckaman PLLC    8:20-cv-86659-MCR-GRJ
  2077      240199       BASS, JOHN E.                  Bailey Cowan Heckaman PLLC    8:20-cv-86678-MCR-GRJ
  2078      240204       Bellflower, Robert             Bailey Cowan Heckaman PLLC    8:20-cv-86693-MCR-GRJ
  2079      240214       Bridges, Evaleen               Bailey Cowan Heckaman PLLC    8:20-cv-86724-MCR-GRJ
  2080      240226       Butts, Marcus                  Bailey Cowan Heckaman PLLC    8:20-cv-86761-MCR-GRJ
  2081      240239       Cervantes, Juan                Bailey Cowan Heckaman PLLC    8:20-cv-86802-MCR-GRJ
  2082      240260       CRUZ, DAVID                    Bailey Cowan Heckaman PLLC    8:20-cv-86866-MCR-GRJ
  2083      240271       Dawson, Perry                  Bailey Cowan Heckaman PLLC    8:20-cv-86899-MCR-GRJ
  2084      240272       Day, Kiefer Calvert            Bailey Cowan Heckaman PLLC                               8:20-cv-86901-MCR-GRJ
  2085      240275       Dean, Michael                  Bailey Cowan Heckaman PLLC                               8:20-cv-86906-MCR-GRJ
  2086      240277       Deslatte, Patrick              Bailey Cowan Heckaman PLLC    8:20-cv-86910-MCR-GRJ
  2087      240278       Despain, Robert                Bailey Cowan Heckaman PLLC                               8:20-cv-86912-MCR-GRJ
  2088      240279       Diltz, Jamie                   Bailey Cowan Heckaman PLLC    8:20-cv-86914-MCR-GRJ
  2089      240285       Eckel, John                    Bailey Cowan Heckaman PLLC    8:20-cv-86926-MCR-GRJ
  2090      240298       Fleer, William                 Bailey Cowan Heckaman PLLC    8:20-cv-86952-MCR-GRJ
  2091      240304       Fulgencio, Virgilio            Bailey Cowan Heckaman PLLC    8:20-cv-86964-MCR-GRJ
  2092      240324       Guerin, Anthony                Bailey Cowan Heckaman PLLC    8:20-cv-87004-MCR-GRJ
  2093      240335       Hanne, John                    Bailey Cowan Heckaman PLLC    8:20-cv-87026-MCR-GRJ
  2094      240340       Hartmeister, Brad              Bailey Cowan Heckaman PLLC    8:20-cv-87036-MCR-GRJ
  2095      240347       Helander, Johnathan            Bailey Cowan Heckaman PLLC    8:20-cv-87043-MCR-GRJ
  2096      240351       Hendrick, Richard              Bailey Cowan Heckaman PLLC    8:20-cv-87047-MCR-GRJ
  2097      240353       Hewitt, Joshua                 Bailey Cowan Heckaman PLLC    8:20-cv-87049-MCR-GRJ
  2098      240360       Hopkins, Jorge                 Bailey Cowan Heckaman PLLC    8:20-cv-87056-MCR-GRJ
  2099      240367       Isom, Simon                    Bailey Cowan Heckaman PLLC    8:20-cv-87063-MCR-GRJ
  2100      240373       Johnson, Aric                  Bailey Cowan Heckaman PLLC    8:20-cv-87069-MCR-GRJ
  2101      240375       JOHNSON, DAVID                 Bailey Cowan Heckaman PLLC    8:20-cv-87071-MCR-GRJ
  2102      240377       JOHNSON, MICHAEL               Bailey Cowan Heckaman PLLC    8:20-cv-87073-MCR-GRJ
  2103      240378       Johnson, Oliver                Bailey Cowan Heckaman PLLC    8:20-cv-87074-MCR-GRJ
  2104      240380       JOHNSON, VICTOR                Bailey Cowan Heckaman PLLC    8:20-cv-87076-MCR-GRJ
  2105      240383       Joseph, Je'Quan                Bailey Cowan Heckaman PLLC    8:20-cv-87079-MCR-GRJ
  2106      240385       Kellington, Anthony            Bailey Cowan Heckaman PLLC    8:20-cv-87081-MCR-GRJ




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  2107      240387       Kinney, Edwin                Bailey Cowan Heckaman PLLC    8:20-cv-87083-MCR-GRJ
  2108      240388       Kirby, Tyler                 Bailey Cowan Heckaman PLLC    8:20-cv-87084-MCR-GRJ
  2109      240408       Marrero, Tim                 Bailey Cowan Heckaman PLLC    8:20-cv-87229-MCR-GRJ
  2110      240423       McMillan, Scot               Bailey Cowan Heckaman PLLC    8:20-cv-87253-MCR-GRJ
  2111      240425       Mendoza, Alan                Bailey Cowan Heckaman PLLC    8:20-cv-87256-MCR-GRJ
  2112      240428       Michael, Paul                Bailey Cowan Heckaman PLLC                               8:20-cv-87261-MCR-GRJ
  2113      240430       Miller, Jason                Bailey Cowan Heckaman PLLC    8:20-cv-87265-MCR-GRJ
  2114      240431       MILLS, KRISTOPHER            Bailey Cowan Heckaman PLLC    8:20-cv-87266-MCR-GRJ
  2115      240433       Mineer, Jesse                Bailey Cowan Heckaman PLLC    8:20-cv-87269-MCR-GRJ
  2116      240437       Moore, Jamarius              Bailey Cowan Heckaman PLLC                               8:20-cv-87276-MCR-GRJ
  2117      240438       Moore, Kevin                 Bailey Cowan Heckaman PLLC    8:20-cv-87278-MCR-GRJ
  2118      240447       Naughton, Lacy               Bailey Cowan Heckaman PLLC                               8:20-cv-87300-MCR-GRJ
  2119      240450       Nolan, John                  Bailey Cowan Heckaman PLLC                               8:20-cv-87308-MCR-GRJ
  2120      240452       Oleskiewicz, Charles         Bailey Cowan Heckaman PLLC    8:20-cv-87314-MCR-GRJ
  2121      240460       Oswalt, Zach                 Bailey Cowan Heckaman PLLC    8:20-cv-87335-MCR-GRJ
  2122      240463       Parker, Heather              Bailey Cowan Heckaman PLLC    8:20-cv-87342-MCR-GRJ
  2123      240464       Parks, Jesse                 Bailey Cowan Heckaman PLLC    8:20-cv-87345-MCR-GRJ
  2124      240469       Phillips, John               Bailey Cowan Heckaman PLLC                               8:20-cv-87357-MCR-GRJ
  2125      240474       Poteete, Brandon             Bailey Cowan Heckaman PLLC                               8:20-cv-87371-MCR-GRJ
  2126      240476       Powell-Willis, Linda         Bailey Cowan Heckaman PLLC    8:20-cv-87377-MCR-GRJ
  2127      240489       Rich, Bobby                  Bailey Cowan Heckaman PLLC    8:20-cv-87416-MCR-GRJ
  2128      240495       Roman, Richard               Bailey Cowan Heckaman PLLC                               8:20-cv-87432-MCR-GRJ
  2129      240498       Rosales, Jose                Bailey Cowan Heckaman PLLC    8:20-cv-87441-MCR-GRJ
  2130      240501       Rowman, Jeffrey              Bailey Cowan Heckaman PLLC                               8:20-cv-87451-MCR-GRJ
  2131      240506       Sager, Andrew                Bailey Cowan Heckaman PLLC                               8:20-cv-87471-MCR-GRJ
  2132      240511       Santiago, Timothy            Bailey Cowan Heckaman PLLC    8:20-cv-87491-MCR-GRJ
  2133      240519       Sealand, Jesse               Bailey Cowan Heckaman PLLC    8:20-cv-87521-MCR-GRJ
  2134      240521       Sellers, Jayla               Bailey Cowan Heckaman PLLC    8:20-cv-87529-MCR-GRJ
  2135      240523       Shaffer, David               Bailey Cowan Heckaman PLLC    8:20-cv-87537-MCR-GRJ
  2136      240530       Simpson, Brad                Bailey Cowan Heckaman PLLC    8:20-cv-87563-MCR-GRJ
  2137      240540       Smith, Robert                Bailey Cowan Heckaman PLLC    8:20-cv-87594-MCR-GRJ
  2138      240546       Stansburry, Michael          Bailey Cowan Heckaman PLLC    8:20-cv-87608-MCR-GRJ
  2139      240548       Stockwell, Paul              Bailey Cowan Heckaman PLLC    8:20-cv-87614-MCR-GRJ
  2140      240560       Toms-Gardner, Justin         Bailey Cowan Heckaman PLLC    8:20-cv-87649-MCR-GRJ
  2141      240561       Townsend, Corey              Bailey Cowan Heckaman PLLC    8:20-cv-87652-MCR-GRJ
  2142      240568       Umholtz, Michael             Bailey Cowan Heckaman PLLC    8:20-cv-87673-MCR-GRJ
  2143      240574       Vo, Randy                    Bailey Cowan Heckaman PLLC    8:20-cv-87691-MCR-GRJ
  2144      240578       Walker, Michelle             Bailey Cowan Heckaman PLLC    8:20-cv-87703-MCR-GRJ
  2145      240580       Walls, Archie                Bailey Cowan Heckaman PLLC                               8:20-cv-87709-MCR-GRJ
  2146      240581       Ward, Robert                 Bailey Cowan Heckaman PLLC    8:20-cv-87712-MCR-GRJ
  2147      240586       Wells, Justin                Bailey Cowan Heckaman PLLC    8:20-cv-87727-MCR-GRJ
  2148      240587       Whitaker, Austin             Bailey Cowan Heckaman PLLC    8:20-cv-87730-MCR-GRJ
  2149      240590       Wilkins, Richard             Bailey Cowan Heckaman PLLC    8:20-cv-87739-MCR-GRJ
  2150      240592       Williams, John               Bailey Cowan Heckaman PLLC    8:20-cv-87745-MCR-GRJ
  2151      240593       Williams, Robert             Bailey Cowan Heckaman PLLC    8:20-cv-87748-MCR-GRJ
  2152      240596       Wilson, Cortez               Bailey Cowan Heckaman PLLC                               8:20-cv-87756-MCR-GRJ
  2153      240599       Wilson, Stanley              Bailey Cowan Heckaman PLLC                               8:20-cv-87765-MCR-GRJ
  2154      240602       Woods, Kimberly              Bailey Cowan Heckaman PLLC    8:20-cv-87773-MCR-GRJ
  2155      240607       Wyman, Jonathan              Bailey Cowan Heckaman PLLC    8:20-cv-87788-MCR-GRJ
  2156      242111       GEIB, TIMOTHY                Kirkendall Dwyer LLP          8:20-cv-90161-MCR-GRJ
  2157      243235       Anthony, John                Bailey Cowan Heckaman PLLC    8:20-cv-92309-MCR-GRJ
  2158      243252       Costa, Joseph                Bailey Cowan Heckaman PLLC    8:20-cv-92326-MCR-GRJ
  2159      243253       Dangler, Johnny              Bailey Cowan Heckaman PLLC                               8:20-cv-92327-MCR-GRJ
  2160      243258       Dykstra, Devin               Bailey Cowan Heckaman PLLC    8:20-cv-92332-MCR-GRJ




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  2161      243268       Graham, Justin                Bailey Cowan Heckaman PLLC    8:20-cv-92342-MCR-GRJ
  2162      243271       Hamblin, Nathaneal            Bailey Cowan Heckaman PLLC    8:20-cv-92345-MCR-GRJ
  2163      243284       Jimmerson, Steven             Bailey Cowan Heckaman PLLC    8:20-cv-92358-MCR-GRJ
  2164      243293       Linkous, Timothy              Bailey Cowan Heckaman PLLC    8:20-cv-92367-MCR-GRJ
  2165      243294       Lovell, Ronald                Bailey Cowan Heckaman PLLC                               8:20-cv-92368-MCR-GRJ
  2166      243295       Maciejewski, Joseph           Bailey Cowan Heckaman PLLC                               8:20-cv-92369-MCR-GRJ
  2167      243296       Madden, Donald                Bailey Cowan Heckaman PLLC                               8:20-cv-92370-MCR-GRJ
  2168      243297       Madison, Lechon               Bailey Cowan Heckaman PLLC    8:20-cv-92371-MCR-GRJ
  2169      243305       Molina, Gabriel               Bailey Cowan Heckaman PLLC    8:20-cv-92379-MCR-GRJ
  2170      243308       Nichols, Zacharias            Bailey Cowan Heckaman PLLC    8:20-cv-92382-MCR-GRJ
  2171      243310       Nixon, James                  Bailey Cowan Heckaman PLLC    8:20-cv-92384-MCR-GRJ
  2172      243318       Reid, Daniel                  Bailey Cowan Heckaman PLLC    8:20-cv-92392-MCR-GRJ
  2173      243322       Saffari, Jeff                 Bailey Cowan Heckaman PLLC                               8:20-cv-92396-MCR-GRJ
  2174      243334       Taylor, Shawn                 Bailey Cowan Heckaman PLLC    8:20-cv-92408-MCR-GRJ
  2175      243341       Vermillion, Caleb             Bailey Cowan Heckaman PLLC    8:20-cv-92415-MCR-GRJ
  2176      243347       WILLIAMS, DONALD              Bailey Cowan Heckaman PLLC    8:20-cv-92421-MCR-GRJ
  2177      250748       Allen, Timothy                Bailey Cowan Heckaman PLLC    8:20-cv-94800-MCR-GRJ
  2178      250756       Atkins, Lorenzo               Bailey Cowan Heckaman PLLC    8:20-cv-94808-MCR-GRJ
  2179      250765       BARNES, JOSHUA                Bailey Cowan Heckaman PLLC    8:20-cv-94817-MCR-GRJ
  2180      250773       Berumen, Gilberto             Bailey Cowan Heckaman PLLC    8:20-cv-94825-MCR-GRJ
  2181      250788       Bowinkelman, Marc             Bailey Cowan Heckaman PLLC    8:20-cv-94840-MCR-GRJ
  2182      250789       Boyd, Devaughn                Bailey Cowan Heckaman PLLC    8:20-cv-94841-MCR-GRJ
  2183      250790       Boyd, James                   Bailey Cowan Heckaman PLLC    8:20-cv-94842-MCR-GRJ
  2184      250800       Brindisi, Anthony             Bailey Cowan Heckaman PLLC    8:20-cv-94852-MCR-GRJ
  2185      250807       BROWN, JOSEPH                 Bailey Cowan Heckaman PLLC    8:20-cv-94859-MCR-GRJ
  2186      250817       Bush, LaQunia                 Bailey Cowan Heckaman PLLC                               8:20-cv-94869-MCR-GRJ
  2187      250841       Castilla, Jorge               Bailey Cowan Heckaman PLLC    8:20-cv-95619-MCR-GRJ
  2188      250855       Chilson, Frank                Bailey Cowan Heckaman PLLC    8:20-cv-95650-MCR-GRJ
  2189      250874       Conto, Kurtis                 Bailey Cowan Heckaman PLLC    8:20-cv-95687-MCR-GRJ
  2190      250881       Cottrell, Skyelor             Bailey Cowan Heckaman PLLC    8:20-cv-95694-MCR-GRJ
  2191      250889       Crane, Bruce                  Bailey Cowan Heckaman PLLC    8:20-cv-95702-MCR-GRJ
  2192      250894       Cusic, Cedrick                Bailey Cowan Heckaman PLLC    8:20-cv-95707-MCR-GRJ
  2193      250897       Damon, Glenn                  Bailey Cowan Heckaman PLLC    8:20-cv-95710-MCR-GRJ
  2194      250901       Davidson, Larry               Bailey Cowan Heckaman PLLC                               8:20-cv-95714-MCR-GRJ
  2195      250907       Day, Louis                    Bailey Cowan Heckaman PLLC    8:20-cv-95720-MCR-GRJ
  2196      250913       Depass, Jeremiah              Bailey Cowan Heckaman PLLC    8:20-cv-95726-MCR-GRJ
  2197      250914       DeRamus, Steven               Bailey Cowan Heckaman PLLC    8:20-cv-95727-MCR-GRJ
  2198      250919       Dimitro, Joseph               Bailey Cowan Heckaman PLLC                               8:20-cv-95732-MCR-GRJ
  2199      250920       Dinkins, Christopher          Bailey Cowan Heckaman PLLC    8:20-cv-95733-MCR-GRJ
  2200      250942       Effiom, Alexander             Bailey Cowan Heckaman PLLC    8:20-cv-95755-MCR-GRJ
  2201      250943       Eisenhut, Jeremy              Bailey Cowan Heckaman PLLC    8:20-cv-95756-MCR-GRJ
  2202      250952       Esparza, Johnny               Bailey Cowan Heckaman PLLC    8:20-cv-95771-MCR-GRJ
  2203      250966       Fitzgerald, James             Bailey Cowan Heckaman PLLC    8:20-cv-95802-MCR-GRJ
  2204      250973       Foulks, Milan                 Bailey Cowan Heckaman PLLC    8:20-cv-95818-MCR-GRJ
  2205      250976       Frazee, Darren                Bailey Cowan Heckaman PLLC    8:20-cv-96119-MCR-GRJ
  2206      250977       Frazier, Donavin              Bailey Cowan Heckaman PLLC                               8:20-cv-96120-MCR-GRJ
  2207      250981       FULMER, JAMES                 Bailey Cowan Heckaman PLLC                               8:20-cv-96124-MCR-GRJ
  2208      250992       Garza, Christopher            Bailey Cowan Heckaman PLLC    8:20-cv-96135-MCR-GRJ
  2209      250997       Giles, Aspen                  Bailey Cowan Heckaman PLLC    8:20-cv-96140-MCR-GRJ
  2210      250998       Giroux, Justin                Bailey Cowan Heckaman PLLC    8:20-cv-96141-MCR-GRJ
  2211      251003       Godsey, William               Bailey Cowan Heckaman PLLC    8:20-cv-96146-MCR-GRJ
  2212      251004       Goeloe, Lloyd                 Bailey Cowan Heckaman PLLC                               8:20-cv-96147-MCR-GRJ
  2213      251006       Goins, Archie                 Bailey Cowan Heckaman PLLC                               8:20-cv-96149-MCR-GRJ
  2214      251010       GOODWIN, JASON                Bailey Cowan Heckaman PLLC    8:20-cv-96153-MCR-GRJ




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  2215      251014       Grant, Angelique               Bailey Cowan Heckaman PLLC                               8:20-cv-96157-MCR-GRJ
  2216      251016       Graves, David                  Bailey Cowan Heckaman PLLC    8:20-cv-96159-MCR-GRJ
  2217      251017       Gravley, Michael               Bailey Cowan Heckaman PLLC    8:20-cv-96160-MCR-GRJ
  2218      251029       Haak, Jamie                    Bailey Cowan Heckaman PLLC    8:20-cv-96172-MCR-GRJ
  2219      251034       Hairston, Robert               Bailey Cowan Heckaman PLLC    8:20-cv-96177-MCR-GRJ
  2220      251041       Hankins, Robert                Bailey Cowan Heckaman PLLC    8:20-cv-96184-MCR-GRJ
  2221      251042       Hanson, Dustin                 Bailey Cowan Heckaman PLLC    8:20-cv-96185-MCR-GRJ
  2222      251047       Harris, Timothy                Bailey Cowan Heckaman PLLC    8:20-cv-96190-MCR-GRJ
  2223      251049       Helms, George                  Bailey Cowan Heckaman PLLC    8:20-cv-96192-MCR-GRJ
  2224      251051       Henrickson, Devin              Bailey Cowan Heckaman PLLC    8:20-cv-96194-MCR-GRJ
  2225      251069       Hoffman, Nathanial             Bailey Cowan Heckaman PLLC    8:20-cv-96212-MCR-GRJ
  2226      251070       Hoke, Andrew                   Bailey Cowan Heckaman PLLC                               8:20-cv-96213-MCR-GRJ
  2227      251074       Holmes, John                   Bailey Cowan Heckaman PLLC                               8:20-cv-96217-MCR-GRJ
  2228      251079       HOWARD, JEFFREY                Bailey Cowan Heckaman PLLC    8:20-cv-96222-MCR-GRJ
  2229      251080       Huber, Brandon                 Bailey Cowan Heckaman PLLC    8:20-cv-96223-MCR-GRJ
  2230      251081       Hudson, Kabaka                 Bailey Cowan Heckaman PLLC    8:20-cv-96224-MCR-GRJ
  2231      251082       Hunt, Troy                     Bailey Cowan Heckaman PLLC                               8:20-cv-96225-MCR-GRJ
  2232      251083       Hunter, George                 Bailey Cowan Heckaman PLLC    8:20-cv-96226-MCR-GRJ
  2233      251106       JESS, MICHAEL                  Bailey Cowan Heckaman PLLC    8:20-cv-96249-MCR-GRJ
  2234      251107       Johannesson, Daniel            Bailey Cowan Heckaman PLLC    8:20-cv-96250-MCR-GRJ
  2235      251117       Johnson, Robert                Bailey Cowan Heckaman PLLC    8:20-cv-96260-MCR-GRJ
  2236      251118       Johnson, Tommy                 Bailey Cowan Heckaman PLLC    8:20-cv-96261-MCR-GRJ
  2237      251129       Kapple, Chris                  Bailey Cowan Heckaman PLLC    8:20-cv-96366-MCR-GRJ
  2238      251143       Kivela, Steven                 Bailey Cowan Heckaman PLLC    8:20-cv-96401-MCR-GRJ
  2239      251145       Knight, Patrick                Bailey Cowan Heckaman PLLC    8:20-cv-96405-MCR-GRJ
  2240      251161       Lee, Donald                    Bailey Cowan Heckaman PLLC    8:20-cv-96435-MCR-GRJ
  2241      251164       Lelauti, Taisamoa              Bailey Cowan Heckaman PLLC    8:20-cv-96441-MCR-GRJ
  2242      251173       Lister, John                   Bailey Cowan Heckaman PLLC    8:20-cv-96457-MCR-GRJ
  2243      251174       Lister, Jon                    Bailey Cowan Heckaman PLLC    8:20-cv-96459-MCR-GRJ
  2244      251177       Lopez, Ruben                   Bailey Cowan Heckaman PLLC    8:20-cv-96464-MCR-GRJ
  2245      251181       Loza, Anthony                  Bailey Cowan Heckaman PLLC    8:20-cv-96472-MCR-GRJ
  2246      251188       Maffucci, Anthony              Bailey Cowan Heckaman PLLC                               8:20-cv-96485-MCR-GRJ
  2247      251192       Marsden, Jason                 Bailey Cowan Heckaman PLLC                               8:20-cv-96494-MCR-GRJ
  2248      251198       Martinez, Jared                Bailey Cowan Heckaman PLLC    8:20-cv-96508-MCR-GRJ
  2249      251211       McCartney, Derek               Bailey Cowan Heckaman PLLC    8:20-cv-96538-MCR-GRJ
  2250      251213       McClure, Evan                  Bailey Cowan Heckaman PLLC                               8:20-cv-96542-MCR-GRJ
  2251      251214       MCCLURE, TAYANA                Bailey Cowan Heckaman PLLC    8:20-cv-96545-MCR-GRJ
  2252      251220       McGuigan, Michael              Bailey Cowan Heckaman PLLC    8:20-cv-96559-MCR-GRJ
  2253      251228       MEYER, TIMOTHY                 Bailey Cowan Heckaman PLLC    8:20-cv-96577-MCR-GRJ
  2254      251231       Miller, Paul                   Bailey Cowan Heckaman PLLC    8:20-cv-96584-MCR-GRJ
  2255      251232       Miller, Robert                 Bailey Cowan Heckaman PLLC    8:20-cv-96586-MCR-GRJ
  2256      251241       Monge, James                   Bailey Cowan Heckaman PLLC    8:20-cv-96606-MCR-GRJ
  2257      251247       Moore, Kristin                 Bailey Cowan Heckaman PLLC    8:20-cv-96620-MCR-GRJ
  2258      251261       Mullins, John                  Bailey Cowan Heckaman PLLC    8:20-cv-96651-MCR-GRJ
  2259      251263       Munding, Stephen               Bailey Cowan Heckaman PLLC    8:20-cv-96655-MCR-GRJ
  2260      251268       Needham, Evan                  Bailey Cowan Heckaman PLLC                               8:20-cv-96666-MCR-GRJ
  2261      251273       Neumann, Robert                Bailey Cowan Heckaman PLLC                               8:20-cv-96677-MCR-GRJ
  2262      251275       Nila, Yahcob                   Bailey Cowan Heckaman PLLC    8:20-cv-96681-MCR-GRJ
  2263      251279       Norton, Dustin                 Bailey Cowan Heckaman PLLC    8:20-cv-96938-MCR-GRJ
  2264      251281       Nunez, Ariel                   Bailey Cowan Heckaman PLLC    8:20-cv-96940-MCR-GRJ
  2265      251291       Owen, Jared                    Bailey Cowan Heckaman PLLC    8:20-cv-96950-MCR-GRJ
  2266      251295       Paredesabreu, Carlos           Bailey Cowan Heckaman PLLC    8:20-cv-96954-MCR-GRJ
  2267      251296       Parker, Damian                 Bailey Cowan Heckaman PLLC    8:20-cv-96955-MCR-GRJ
  2268      251299       Parnell, Trevor                Bailey Cowan Heckaman PLLC    8:20-cv-96958-MCR-GRJ




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  Row     Plaintiff ID                 Plaintiff Name           Law Firm Name        Admin Docket Case Number   Active Docket Case Number
  2269      251303       Pavlik, John                   Bailey Cowan Heckaman PLLC    8:20-cv-96962-MCR-GRJ
  2270      251305       Pelland, Daryl                 Bailey Cowan Heckaman PLLC    8:20-cv-96964-MCR-GRJ
  2271      251315       Petermann-Norton, Landon       Bailey Cowan Heckaman PLLC                               8:20-cv-96974-MCR-GRJ
  2272      251322       Place, Rickey                  Bailey Cowan Heckaman PLLC    8:20-cv-96981-MCR-GRJ
  2273      251323       Pleasant, Jessica              Bailey Cowan Heckaman PLLC    8:20-cv-96982-MCR-GRJ
  2274      251325       Plump, Fred                    Bailey Cowan Heckaman PLLC    8:20-cv-96984-MCR-GRJ
  2275      251332       Pratt, Coady                   Bailey Cowan Heckaman PLLC    8:20-cv-96991-MCR-GRJ
  2276      251335       Proell, Thomas                 Bailey Cowan Heckaman PLLC    8:20-cv-96994-MCR-GRJ
  2277      251341       Radlinski, Aaron               Bailey Cowan Heckaman PLLC    8:20-cv-97000-MCR-GRJ
  2278      251344       Ramic, Dzemalj                 Bailey Cowan Heckaman PLLC    8:20-cv-97003-MCR-GRJ
  2279      251351       Ratigan, Kevin                 Bailey Cowan Heckaman PLLC                               8:20-cv-97010-MCR-GRJ
  2280      251353       Raygoza, Jose                  Bailey Cowan Heckaman PLLC                               8:20-cv-97012-MCR-GRJ
  2281      251354       Rearick, Jacob                 Bailey Cowan Heckaman PLLC    8:20-cv-97013-MCR-GRJ
  2282      251359       Rey, Christopher               Bailey Cowan Heckaman PLLC    8:20-cv-97018-MCR-GRJ
  2283      251372       Roberts, Jake                  Bailey Cowan Heckaman PLLC    8:20-cv-97031-MCR-GRJ
  2284      251375       Rocha, Raul                    Bailey Cowan Heckaman PLLC    8:20-cv-97034-MCR-GRJ
  2285      251385       Romero, Ryan                   Bailey Cowan Heckaman PLLC    8:20-cv-97044-MCR-GRJ
  2286      251387       Ross, Tiffany                  Bailey Cowan Heckaman PLLC                               8:20-cv-97046-MCR-GRJ
  2287      251394       Rudd, Richard                  Bailey Cowan Heckaman PLLC    8:20-cv-97053-MCR-GRJ
  2288      251396       Russell, David                 Bailey Cowan Heckaman PLLC    8:20-cv-97055-MCR-GRJ
  2289      251423       Shelton, Joshua                Bailey Cowan Heckaman PLLC    8:20-cv-97082-MCR-GRJ
  2290      251424       Sherod, Duane                  Bailey Cowan Heckaman PLLC                               8:20-cv-97083-MCR-GRJ
  2291      251426       Shoemaker, Stephen             Bailey Cowan Heckaman PLLC    8:20-cv-94307-MCR-GRJ
  2292      251432       Simmons, Jennifer              Bailey Cowan Heckaman PLLC                               8:20-cv-94313-MCR-GRJ
  2293      251433       Sims, Clinton                  Bailey Cowan Heckaman PLLC    8:20-cv-94314-MCR-GRJ
  2294      251435       Slocum, Mark                   Bailey Cowan Heckaman PLLC    8:20-cv-94316-MCR-GRJ
  2295      251437       Smallwood, William             Bailey Cowan Heckaman PLLC                               8:20-cv-94318-MCR-GRJ
  2296      251442       SMITH, JOSHUA                  Bailey Cowan Heckaman PLLC                               8:20-cv-94323-MCR-GRJ
  2297      251447       Smitherman, Mack               Bailey Cowan Heckaman PLLC    8:20-cv-94328-MCR-GRJ
  2298      251461       Stinson, Jeffrey               Bailey Cowan Heckaman PLLC    8:20-cv-94342-MCR-GRJ
  2299      251463       Stith, Daniel                  Bailey Cowan Heckaman PLLC                               8:20-cv-94344-MCR-GRJ
  2300      251464       Stokes, Timothy                Bailey Cowan Heckaman PLLC    8:20-cv-94345-MCR-GRJ
  2301      251467       Stout, Derick                  Bailey Cowan Heckaman PLLC                               8:20-cv-94348-MCR-GRJ
  2302      251469       Stringer, Tyler                Bailey Cowan Heckaman PLLC    8:20-cv-94350-MCR-GRJ
  2303      251470       Strong, Crystal                Bailey Cowan Heckaman PLLC    8:20-cv-94351-MCR-GRJ
  2304      251478       Sweet, Gary                    Bailey Cowan Heckaman PLLC                               8:20-cv-94461-MCR-GRJ
  2305      251479       Swindle, Cory                  Bailey Cowan Heckaman PLLC    8:20-cv-94464-MCR-GRJ
  2306      251484       Szala, Stephanie               Bailey Cowan Heckaman PLLC    8:20-cv-94477-MCR-GRJ
  2307      251487       Taylor, Christopher            Bailey Cowan Heckaman PLLC    8:20-cv-94484-MCR-GRJ
  2308      251492       Tellez, Joe                    Bailey Cowan Heckaman PLLC    8:20-cv-94497-MCR-GRJ
  2309      251493       Temple, Cameron                Bailey Cowan Heckaman PLLC    8:20-cv-94500-MCR-GRJ
  2310      251512       Torbit, Malcolm                Bailey Cowan Heckaman PLLC                               8:20-cv-94551-MCR-GRJ
  2311      251515       Townsend, Clinton              Bailey Cowan Heckaman PLLC                               8:20-cv-94560-MCR-GRJ
  2312      251518       Trog, Alexander                Bailey Cowan Heckaman PLLC                               8:20-cv-94569-MCR-GRJ
  2313      251526       Upton, Adam                    Bailey Cowan Heckaman PLLC    8:20-cv-94589-MCR-GRJ
  2314      251536       Vargas, Arturo                 Bailey Cowan Heckaman PLLC                               8:20-cv-94617-MCR-GRJ
  2315      251537       Varma, Ajay                    Bailey Cowan Heckaman PLLC    8:20-cv-94620-MCR-GRJ
  2316      251543       Vela, Steve                    Bailey Cowan Heckaman PLLC    8:20-cv-94636-MCR-GRJ
  2317      251557       Walls, Kevin                   Bailey Cowan Heckaman PLLC    8:20-cv-97095-MCR-GRJ
  2318      251569       Weir, Willym                   Bailey Cowan Heckaman PLLC                               8:20-cv-97107-MCR-GRJ
  2319      251570       Welker, Timothy                Bailey Cowan Heckaman PLLC    8:20-cv-97108-MCR-GRJ
  2320      251572       Wesley, Tricetan               Bailey Cowan Heckaman PLLC    8:20-cv-97110-MCR-GRJ
  2321      251578       Wigboldy, Christopher          Bailey Cowan Heckaman PLLC    8:20-cv-97116-MCR-GRJ
  2322      251579       Wiggins, Jamel                 Bailey Cowan Heckaman PLLC    8:20-cv-97117-MCR-GRJ




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  2323      251582       Williams, Brandon              Bailey Cowan Heckaman PLLC    8:20-cv-97120-MCR-GRJ
  2324      251589       Williams, Robert               Bailey Cowan Heckaman PLLC    8:20-cv-97127-MCR-GRJ
  2325      251593       Witt, Jordan                   Bailey Cowan Heckaman PLLC                               8:20-cv-97131-MCR-GRJ
  2326      251600       Wyatt, Samuel                  Bailey Cowan Heckaman PLLC                               8:20-cv-97145-MCR-GRJ
  2327      256852       Ayala, Jason                   Bailey Cowan Heckaman PLLC    9:20-cv-00389-MCR-GRJ
  2328      256859       Bouraima, Charly               Bailey Cowan Heckaman PLLC    9:20-cv-00396-MCR-GRJ
  2329      256874       Fennig, Aaron                  Bailey Cowan Heckaman PLLC    9:20-cv-00411-MCR-GRJ
  2330      256888       Holloway, Michael              Bailey Cowan Heckaman PLLC    9:20-cv-00844-MCR-GRJ
  2331      256894       Kamohara, Hayato               Bailey Cowan Heckaman PLLC                               9:20-cv-00430-MCR-GRJ
  2332      256895       Kavanagh, Bart                 Bailey Cowan Heckaman PLLC    9:20-cv-00431-MCR-GRJ
  2333      256896       Kelly, Erin                    Bailey Cowan Heckaman PLLC    9:20-cv-00432-MCR-GRJ
  2334      256911       Orr, Daniel                    Bailey Cowan Heckaman PLLC                               9:20-cv-00447-MCR-GRJ
  2335      256913       Poston, John                   Bailey Cowan Heckaman PLLC    9:20-cv-00449-MCR-GRJ
  2336      256922       Smith, Crystal                 Bailey Cowan Heckaman PLLC    9:20-cv-00458-MCR-GRJ
  2337      258715       Barrett-Mudge, John            Bailey Cowan Heckaman PLLC    9:20-cv-02996-MCR-GRJ
  2338      258718       Cale, Brian                    Bailey Cowan Heckaman PLLC                               9:20-cv-02999-MCR-GRJ
  2339      258722       Crawford, Roger                Bailey Cowan Heckaman PLLC    9:20-cv-03003-MCR-GRJ
  2340      258727       Logston, Kraig                 Bailey Cowan Heckaman PLLC    9:20-cv-03008-MCR-GRJ
  2341      258728       Murdock, Michael               Bailey Cowan Heckaman PLLC                               9:20-cv-03009-MCR-GRJ
  2342      258731       Sanfilippo, Vito               Bailey Cowan Heckaman PLLC                               9:20-cv-03012-MCR-GRJ
  2343      258733       Strauss, Benjamin              Bailey Cowan Heckaman PLLC    9:20-cv-03014-MCR-GRJ
  2344      258736       White, Jennifer                Bailey Cowan Heckaman PLLC    9:20-cv-03017-MCR-GRJ
  2345      261163       Demoya, Manny                  Bailey Cowan Heckaman PLLC                               9:20-cv-03027-MCR-GRJ
  2346      261164       Dorough, Ronald                Bailey Cowan Heckaman PLLC                               9:20-cv-03028-MCR-GRJ
  2347      261172       McRaney, David                 Bailey Cowan Heckaman PLLC                               9:20-cv-03036-MCR-GRJ
  2348      261175       Ryan, Julie                    Bailey Cowan Heckaman PLLC    9:20-cv-03039-MCR-GRJ
  2349      267857       Birk, Arthur                   Bailey Cowan Heckaman PLLC    9:20-cv-13737-MCR-GRJ
  2350      267858       MCGILL, SEBASTIAN B            Bailey Cowan Heckaman PLLC    9:20-cv-13739-MCR-GRJ
  2351      267859       Boykin, Jason                  Bailey Cowan Heckaman PLLC    9:20-cv-13741-MCR-GRJ
  2352      267865       Colina, Gregory                Bailey Cowan Heckaman PLLC    9:20-cv-13751-MCR-GRJ
  2353      267869       Escobar, Kyle                  Bailey Cowan Heckaman PLLC    9:20-cv-13755-MCR-GRJ
  2354      267871       Ferreira, Anthony              Bailey Cowan Heckaman PLLC    9:20-cv-13757-MCR-GRJ
  2355      267872       Figger, Thomas                 Bailey Cowan Heckaman PLLC    9:20-cv-13758-MCR-GRJ
  2356      267877       Hamilton, Paul                 Bailey Cowan Heckaman PLLC    9:20-cv-13763-MCR-GRJ
  2357      267881       Howard, Eva                    Bailey Cowan Heckaman PLLC    9:20-cv-13767-MCR-GRJ
  2358      267882       Jones, Kaelin                  Bailey Cowan Heckaman PLLC    9:20-cv-13768-MCR-GRJ
  2359      267884       Kyler, Ronald                  Bailey Cowan Heckaman PLLC    9:20-cv-13770-MCR-GRJ
  2360      267885       Lane, Wesley                   Bailey Cowan Heckaman PLLC    9:20-cv-13771-MCR-GRJ
  2361      267893       Reed, Tracy                    Bailey Cowan Heckaman PLLC    9:20-cv-13779-MCR-GRJ
  2362      267895       Rigg, Christopher              Bailey Cowan Heckaman PLLC                               9:20-cv-13782-MCR-GRJ
  2363      267896       Robertson, Paul                Bailey Cowan Heckaman PLLC    9:20-cv-13783-MCR-GRJ
  2364      267897       ROMERO, JONATHAN               Bailey Cowan Heckaman PLLC    9:20-cv-13784-MCR-GRJ
  2365      267903       Thomas, Kane                   Bailey Cowan Heckaman PLLC    9:20-cv-13790-MCR-GRJ
  2366      267904       Thompson, Marc                 Bailey Cowan Heckaman PLLC    9:20-cv-13791-MCR-GRJ
  2367      270214       Beaulieu, Glenn                Bailey Cowan Heckaman PLLC    9:20-cv-12889-MCR-GRJ
  2368      270223       Fillmore, David                Bailey Cowan Heckaman PLLC    9:20-cv-12898-MCR-GRJ
  2369      270224       Ford, Glenn                    Bailey Cowan Heckaman PLLC    9:20-cv-12899-MCR-GRJ
  2370      274479       Edwards, Jaden                 Bailey Cowan Heckaman PLLC    9:20-cv-17949-MCR-GRJ
  2371      280350       Durski, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-00085-MCR-GRJ
  2372      280352       Garcia, Horacio                Bailey Cowan Heckaman PLLC    7:21-cv-00087-MCR-GRJ
  2373      280353       Lopez, Hugo                    Bailey Cowan Heckaman PLLC    7:21-cv-00088-MCR-GRJ
  2374      293911       Cooper, Aisha                  Bailey Cowan Heckaman PLLC                               7:21-cv-14278-MCR-GRJ
  2375      293914       Goss, Hans                     Bailey Cowan Heckaman PLLC    7:21-cv-14281-MCR-GRJ
  2376      293917       JOHNSON, WILLIAM               Bailey Cowan Heckaman PLLC    7:21-cv-14284-MCR-GRJ




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  2377      293924       Poore, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-14291-MCR-GRJ
  2378      293928       Siple, Lyndon                 Bailey Cowan Heckaman PLLC    7:21-cv-14295-MCR-GRJ
  2379      300784       Queen, Anthony Scott          Danziger & De Llano           7:21-cv-19530-MCR-GRJ
  2380      311755       Bent, Kevin                   Bailey Cowan Heckaman PLLC    7:21-cv-29107-MCR-GRJ
  2381      311812       Brooks, Nevin                 Bailey Cowan Heckaman PLLC    7:21-cv-29213-MCR-GRJ
  2382      311825       Bryan, Robert                 Bailey Cowan Heckaman PLLC    7:21-cv-29237-MCR-GRJ
  2383      312290       Jackson, Jeremy               Bailey Cowan Heckaman PLLC    7:21-cv-29752-MCR-GRJ
  2384      312549       MORATH, ANDY                  Bailey Cowan Heckaman PLLC    7:21-cv-30235-MCR-GRJ
  2385      312817       Siegel, Matthew               Bailey Cowan Heckaman PLLC    7:21-cv-30760-MCR-GRJ
  2386      312875       Steward, Jerrell              Bailey Cowan Heckaman PLLC    7:21-cv-30815-MCR-GRJ
  2387      313056       Abdelwahab, Akram             Bailey Cowan Heckaman PLLC    7:21-cv-31515-MCR-GRJ
  2388      313058       Abernathy, Kenneth            Bailey Cowan Heckaman PLLC    7:21-cv-31517-MCR-GRJ
  2389      313059       Abplanalp, Braydon            Bailey Cowan Heckaman PLLC                               7:21-cv-31518-MCR-GRJ
  2390      313061       Acklam, David                 Bailey Cowan Heckaman PLLC    7:21-cv-31520-MCR-GRJ
  2391      313062       Adam, Joseph                  Bailey Cowan Heckaman PLLC                               7:21-cv-31521-MCR-GRJ
  2392      313063       Adams, James                  Bailey Cowan Heckaman PLLC    7:21-cv-31522-MCR-GRJ
  2393      313065       Adamson, Corey                Bailey Cowan Heckaman PLLC    7:21-cv-31524-MCR-GRJ
  2394      313066       Adamson, Dylan                Bailey Cowan Heckaman PLLC                               7:21-cv-31525-MCR-GRJ
  2395      313067       Adkins, Ryan                  Bailey Cowan Heckaman PLLC    7:21-cv-31526-MCR-GRJ
  2396      313068       Aguilar, Mark                 Bailey Cowan Heckaman PLLC    7:21-cv-31527-MCR-GRJ
  2397      313071       Ainsworth, Lance              Bailey Cowan Heckaman PLLC    7:21-cv-31530-MCR-GRJ
  2398      313072       Airington, Austin             Bailey Cowan Heckaman PLLC    7:21-cv-31531-MCR-GRJ
  2399      313073       Aksamit, Scott                Bailey Cowan Heckaman PLLC    7:21-cv-31532-MCR-GRJ
  2400      313074       Albee, Chad                   Bailey Cowan Heckaman PLLC    7:21-cv-31533-MCR-GRJ
  2401      313076       Alcorn, Joseph                Bailey Cowan Heckaman PLLC                               7:21-cv-31535-MCR-GRJ
  2402      313077       Alden, David                  Bailey Cowan Heckaman PLLC    7:21-cv-31536-MCR-GRJ
  2403      313079       Alford, Matthew               Bailey Cowan Heckaman PLLC                               7:21-cv-31538-MCR-GRJ
  2404      313080       Alibrando, Timothy            Bailey Cowan Heckaman PLLC    7:21-cv-31539-MCR-GRJ
  2405      313082       Allen, David                  Bailey Cowan Heckaman PLLC    7:21-cv-31541-MCR-GRJ
  2406      313084       Allen, Jacob                  Bailey Cowan Heckaman PLLC    7:21-cv-31543-MCR-GRJ
  2407      313086       ALLEN, MICHAEL                Bailey Cowan Heckaman PLLC    7:21-cv-31545-MCR-GRJ
  2408      313087       Allen, Patrick                Bailey Cowan Heckaman PLLC                               7:21-cv-31546-MCR-GRJ
  2409      313089       Allen, Robert                 Bailey Cowan Heckaman PLLC    7:21-cv-31548-MCR-GRJ
  2410      313090       Allen, Shawn                  Bailey Cowan Heckaman PLLC    7:21-cv-31549-MCR-GRJ
  2411      313091       Almeida, Keenan               Bailey Cowan Heckaman PLLC    7:21-cv-31550-MCR-GRJ
  2412      313092       Aloisio, Marquos              Bailey Cowan Heckaman PLLC    7:21-cv-31551-MCR-GRJ
  2413      313093       Altizer, Richard              Bailey Cowan Heckaman PLLC    7:21-cv-31552-MCR-GRJ
  2414      313094       Alva, Michaell                Bailey Cowan Heckaman PLLC    7:21-cv-31553-MCR-GRJ
  2415      313096       Alvarado, Levi                Bailey Cowan Heckaman PLLC    7:21-cv-31555-MCR-GRJ
  2416      313098       Alwine, Tommy                 Bailey Cowan Heckaman PLLC    7:21-cv-31557-MCR-GRJ
  2417      313100       Amaro, Joshua                 Bailey Cowan Heckaman PLLC                               7:21-cv-31559-MCR-GRJ
  2418      313101       Amaya, Shawn                  Bailey Cowan Heckaman PLLC                               7:21-cv-31560-MCR-GRJ
  2419      313102       Amerson, Charles              Bailey Cowan Heckaman PLLC    7:21-cv-31561-MCR-GRJ
  2420      313103       Anderson, Chad                Bailey Cowan Heckaman PLLC    7:21-cv-31562-MCR-GRJ
  2421      313104       ANDERSON, JASON               Bailey Cowan Heckaman PLLC                               7:21-cv-31563-MCR-GRJ
  2422      313105       Anderson, Ryan                Bailey Cowan Heckaman PLLC    7:21-cv-31564-MCR-GRJ
  2423      313110       Andrade, Christopher          Bailey Cowan Heckaman PLLC    7:21-cv-31569-MCR-GRJ
  2424      313111       Andreasen, Charles            Bailey Cowan Heckaman PLLC                               7:21-cv-31570-MCR-GRJ
  2425      313112       Andrews, Fred                 Bailey Cowan Heckaman PLLC    7:21-cv-31571-MCR-GRJ
  2426      313113       Andrews, Robert               Bailey Cowan Heckaman PLLC    7:21-cv-31572-MCR-GRJ
  2427      313115       Angelucci, Stefano            Bailey Cowan Heckaman PLLC                               7:21-cv-31574-MCR-GRJ
  2428      313117       Arce, Luis                    Bailey Cowan Heckaman PLLC    7:21-cv-31576-MCR-GRJ
  2429      313118       Arceo, Francisco              Bailey Cowan Heckaman PLLC                               7:21-cv-31577-MCR-GRJ
  2430      313119       Arena, Shawn                  Bailey Cowan Heckaman PLLC                               7:21-cv-31578-MCR-GRJ




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  2431      313126       Ash, Cody                     Bailey Cowan Heckaman PLLC    7:21-cv-31585-MCR-GRJ
  2432      313127       Ashcraft, Cody                Bailey Cowan Heckaman PLLC                               7:21-cv-31586-MCR-GRJ
  2433      313129       Atchison, Andrew              Bailey Cowan Heckaman PLLC    7:21-cv-31588-MCR-GRJ
  2434      313130       Atkinson, Jj                  Bailey Cowan Heckaman PLLC    7:21-cv-31589-MCR-GRJ
  2435      313133       Aubuchon, Ryan                Bailey Cowan Heckaman PLLC    7:21-cv-31592-MCR-GRJ
  2436      313134       Aultman, Robert               Bailey Cowan Heckaman PLLC    7:21-cv-31593-MCR-GRJ
  2437      313136       Austin, William               Bailey Cowan Heckaman PLLC                               7:21-cv-31595-MCR-GRJ
  2438      313137       Avveduto, Ryan                Bailey Cowan Heckaman PLLC    7:21-cv-31596-MCR-GRJ
  2439      313138       Awan, Hamza                   Bailey Cowan Heckaman PLLC    7:21-cv-31597-MCR-GRJ
  2440      313139       Ayalavega, Gilberto           Bailey Cowan Heckaman PLLC                               7:21-cv-31598-MCR-GRJ
  2441      313141       Ayotte, Andy                  Bailey Cowan Heckaman PLLC    7:21-cv-31600-MCR-GRJ
  2442      313142       Babb, Chad                    Bailey Cowan Heckaman PLLC                               7:21-cv-31601-MCR-GRJ
  2443      313143       Bacon, Bryan                  Bailey Cowan Heckaman PLLC    7:21-cv-31602-MCR-GRJ
  2444      313144       Bacon, Tyler                  Bailey Cowan Heckaman PLLC    7:21-cv-31603-MCR-GRJ
  2445      313146       Baez, Michael                 Bailey Cowan Heckaman PLLC    7:21-cv-31605-MCR-GRJ
  2446      313147       Baglio, Michael               Bailey Cowan Heckaman PLLC    7:21-cv-31606-MCR-GRJ
  2447      313148       Bailey, Brian                 Bailey Cowan Heckaman PLLC    7:21-cv-31607-MCR-GRJ
  2448      313151       Baker, Daniel                 Bailey Cowan Heckaman PLLC    7:21-cv-31610-MCR-GRJ
  2449      313162       Bambulas, Dakota              Bailey Cowan Heckaman PLLC    7:21-cv-31621-MCR-GRJ
  2450      313166       Bannerman, David              Bailey Cowan Heckaman PLLC    7:21-cv-31625-MCR-GRJ
  2451      313168       Barajas, Mario                Bailey Cowan Heckaman PLLC    7:21-cv-31627-MCR-GRJ
  2452      313169       Barajas, Oswaldo              Bailey Cowan Heckaman PLLC    7:21-cv-31628-MCR-GRJ
  2453      313171       Barbosa, Jeff                 Bailey Cowan Heckaman PLLC    7:21-cv-31630-MCR-GRJ
  2454      313172       Barcomb, Jeremey              Bailey Cowan Heckaman PLLC    7:21-cv-31631-MCR-GRJ
  2455      313174       Barlow, Jeremiah              Bailey Cowan Heckaman PLLC    7:21-cv-31633-MCR-GRJ
  2456      313175       Barnes, Lonnie                Bailey Cowan Heckaman PLLC    7:21-cv-31634-MCR-GRJ
  2457      313176       Barnes, Veronica              Bailey Cowan Heckaman PLLC    7:21-cv-31635-MCR-GRJ
  2458      313177       Barnes, William               Bailey Cowan Heckaman PLLC    7:21-cv-31636-MCR-GRJ
  2459      313180       Baron, Jay                    Bailey Cowan Heckaman PLLC    7:21-cv-31639-MCR-GRJ
  2460      313181       BARR, CHRISTOPHER             Bailey Cowan Heckaman PLLC                               7:21-cv-31640-MCR-GRJ
  2461      313182       Barr, Nathan                  Bailey Cowan Heckaman PLLC                               7:21-cv-31641-MCR-GRJ
  2462      313183       Barreiro Lopez, David         Bailey Cowan Heckaman PLLC                               7:21-cv-31642-MCR-GRJ
  2463      313184       Barrere, Jeremy               Bailey Cowan Heckaman PLLC    7:21-cv-31643-MCR-GRJ
  2464      313186       Barrett, Michael              Bailey Cowan Heckaman PLLC    7:21-cv-31645-MCR-GRJ
  2465      313187       Barron, Gerard                Bailey Cowan Heckaman PLLC    7:21-cv-31646-MCR-GRJ
  2466      313189       Bartlett, Daniel              Bailey Cowan Heckaman PLLC    7:21-cv-31648-MCR-GRJ
  2467      313190       Bartolomei, Victor            Bailey Cowan Heckaman PLLC    7:21-cv-31649-MCR-GRJ
  2468      313191       Barton, Chris                 Bailey Cowan Heckaman PLLC                               7:21-cv-31650-MCR-GRJ
  2469      313193       Bassett, Bryant               Bailey Cowan Heckaman PLLC    7:21-cv-31652-MCR-GRJ
  2470      313194       Batemon, John                 Bailey Cowan Heckaman PLLC                               7:21-cv-31653-MCR-GRJ
  2471      313195       Battaglia, Charles            Bailey Cowan Heckaman PLLC    7:21-cv-31654-MCR-GRJ
  2472      313196       Bauguess, Joshua              Bailey Cowan Heckaman PLLC    7:21-cv-31655-MCR-GRJ
  2473      313198       Baxter, Jordan                Bailey Cowan Heckaman PLLC    7:21-cv-31657-MCR-GRJ
  2474      313199       Baxter, Joshua                Bailey Cowan Heckaman PLLC    7:21-cv-31658-MCR-GRJ
  2475      313201       Beagle, Paul                  Bailey Cowan Heckaman PLLC                               7:21-cv-31660-MCR-GRJ
  2476      313202       Beahr, Zachary                Bailey Cowan Heckaman PLLC                               7:21-cv-31661-MCR-GRJ
  2477      313205       Beardsley, Scott              Bailey Cowan Heckaman PLLC    7:21-cv-31664-MCR-GRJ
  2478      313206       Bebee, Marcus                 Bailey Cowan Heckaman PLLC                               7:21-cv-31665-MCR-GRJ
  2479      313209       Beck, Robert                  Bailey Cowan Heckaman PLLC    7:21-cv-31668-MCR-GRJ
  2480      313210       BECK, RUSSELL                 Bailey Cowan Heckaman PLLC    7:21-cv-31669-MCR-GRJ
  2481      313212       Beckwith, Jordan              Bailey Cowan Heckaman PLLC    7:21-cv-31671-MCR-GRJ
  2482      313214       Beercook, Derrick             Bailey Cowan Heckaman PLLC    7:21-cv-31673-MCR-GRJ
  2483      313217       Behrens, Justin               Bailey Cowan Heckaman PLLC    7:21-cv-31676-MCR-GRJ
  2484      313218       Beistel, Andrew               Bailey Cowan Heckaman PLLC                               7:21-cv-31677-MCR-GRJ




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  2485      313225       Bennett, Philip                Bailey Cowan Heckaman PLLC    7:21-cv-31684-MCR-GRJ
  2486      313226       Benson, David                  Bailey Cowan Heckaman PLLC                               7:21-cv-31685-MCR-GRJ
  2487      313227       Bensyl, Regan                  Bailey Cowan Heckaman PLLC    7:21-cv-31686-MCR-GRJ
  2488      313229       Berge, Christopher             Bailey Cowan Heckaman PLLC    7:21-cv-31688-MCR-GRJ
  2489      313230       Berk, Brent                    Bailey Cowan Heckaman PLLC                               7:21-cv-31689-MCR-GRJ
  2490      313233       Berry, James                   Bailey Cowan Heckaman PLLC                               7:21-cv-31692-MCR-GRJ
  2491      313235       Best, Carlo                    Bailey Cowan Heckaman PLLC    7:21-cv-31694-MCR-GRJ
  2492      313237       Bezzone, Jonathan              Bailey Cowan Heckaman PLLC    7:21-cv-31696-MCR-GRJ
  2493      313238       Biart, Maurice                 Bailey Cowan Heckaman PLLC    7:21-cv-31697-MCR-GRJ
  2494      313240       Biggins, Kyle                  Bailey Cowan Heckaman PLLC                               7:21-cv-31699-MCR-GRJ
  2495      313242       Binegar, Levi                  Bailey Cowan Heckaman PLLC    7:21-cv-31701-MCR-GRJ
  2496      313243       Bingham, Destin                Bailey Cowan Heckaman PLLC    7:21-cv-31702-MCR-GRJ
  2497      313244       Bishop, James                  Bailey Cowan Heckaman PLLC                               7:21-cv-31703-MCR-GRJ
  2498      313247       Blackstock, Lee                Bailey Cowan Heckaman PLLC    7:21-cv-31706-MCR-GRJ
  2499      313252       Blankenship, Brian             Bailey Cowan Heckaman PLLC                               7:21-cv-31711-MCR-GRJ
  2500      313253       Bliss, Gregory                 Bailey Cowan Heckaman PLLC    7:21-cv-31712-MCR-GRJ
  2501      313254       Bly, Nicholas                  Bailey Cowan Heckaman PLLC                               7:21-cv-31713-MCR-GRJ
  2502      313255       Boals, Michael                 Bailey Cowan Heckaman PLLC    7:21-cv-31714-MCR-GRJ
  2503      313256       Bobzien, Rustin                Bailey Cowan Heckaman PLLC    7:21-cv-31715-MCR-GRJ
  2504      313257       Boldt, Darrien                 Bailey Cowan Heckaman PLLC    7:21-cv-31716-MCR-GRJ
  2505      313258       Bolen, David                   Bailey Cowan Heckaman PLLC    7:21-cv-31717-MCR-GRJ
  2506      313259       Boling, Brandon                Bailey Cowan Heckaman PLLC    7:21-cv-31718-MCR-GRJ
  2507      313260       Bonillas, Antonio              Bailey Cowan Heckaman PLLC                               7:21-cv-31719-MCR-GRJ
  2508      313262       BOOTH, CHARLES                 Bailey Cowan Heckaman PLLC    7:21-cv-31721-MCR-GRJ
  2509      313264       Borbon, Devin                  Bailey Cowan Heckaman PLLC    7:21-cv-31723-MCR-GRJ
  2510      313265       Border, Thomas                 Bailey Cowan Heckaman PLLC    7:21-cv-31724-MCR-GRJ
  2511      313266       Bosarge, William               Bailey Cowan Heckaman PLLC                               7:21-cv-31725-MCR-GRJ
  2512      313268       Bowden, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-31727-MCR-GRJ
  2513      313269       Bowen, Christopher             Bailey Cowan Heckaman PLLC    7:21-cv-31728-MCR-GRJ
  2514      313270       Bowman, Bobby                  Bailey Cowan Heckaman PLLC    7:21-cv-31729-MCR-GRJ
  2515      313273       Boyd, Jason                    Bailey Cowan Heckaman PLLC    7:21-cv-31732-MCR-GRJ
  2516      313274       Boyd, John                     Bailey Cowan Heckaman PLLC    7:21-cv-31733-MCR-GRJ
  2517      313278       Boyle, Shane                   Bailey Cowan Heckaman PLLC    7:21-cv-31737-MCR-GRJ
  2518      313280       Bradford, Justin               Bailey Cowan Heckaman PLLC    7:21-cv-31739-MCR-GRJ
  2519      313281       Bradfute, Kristi               Bailey Cowan Heckaman PLLC                               7:21-cv-31740-MCR-GRJ
  2520      313282       Bradley, Randall               Bailey Cowan Heckaman PLLC    7:21-cv-31741-MCR-GRJ
  2521      313284       Bradshaw, Matthew              Bailey Cowan Heckaman PLLC    7:21-cv-31743-MCR-GRJ
  2522      313288       Braly, Shawn                   Bailey Cowan Heckaman PLLC    7:21-cv-31747-MCR-GRJ
  2523      313289       Bramer, Steven                 Bailey Cowan Heckaman PLLC    7:21-cv-31748-MCR-GRJ
  2524      313291       Branch, Michael                Bailey Cowan Heckaman PLLC                               7:21-cv-31750-MCR-GRJ
  2525      313292       Brandenburger, Trapper         Bailey Cowan Heckaman PLLC    7:21-cv-31751-MCR-GRJ
  2526      313293       Brandt, Dylan                  Bailey Cowan Heckaman PLLC    7:21-cv-31752-MCR-GRJ
  2527      313295       Braswell, Aaron                Bailey Cowan Heckaman PLLC                               7:21-cv-31754-MCR-GRJ
  2528      313297       Brazell, Brett                 Bailey Cowan Heckaman PLLC                               7:21-cv-31756-MCR-GRJ
  2529      313298       Brecht, Daniel                 Bailey Cowan Heckaman PLLC    7:21-cv-31757-MCR-GRJ
  2530      313299       Breeden, Jason                 Bailey Cowan Heckaman PLLC    7:21-cv-31758-MCR-GRJ
  2531      313300       Breen, Andrew                  Bailey Cowan Heckaman PLLC                               7:21-cv-31759-MCR-GRJ
  2532      313302       Brenay, Cable                  Bailey Cowan Heckaman PLLC    7:21-cv-31761-MCR-GRJ
  2533      313303       Brenes, Mario                  Bailey Cowan Heckaman PLLC    7:21-cv-31762-MCR-GRJ
  2534      313304       Brennanheffern, Christopher    Bailey Cowan Heckaman PLLC    7:21-cv-31763-MCR-GRJ
  2535      313305       Breunig, Bradley               Bailey Cowan Heckaman PLLC    7:21-cv-31764-MCR-GRJ
  2536      313307       Brewer, Matthew                Bailey Cowan Heckaman PLLC    7:21-cv-31766-MCR-GRJ
  2537      313309       Brickley, Sean                 Bailey Cowan Heckaman PLLC                               7:21-cv-31768-MCR-GRJ
  2538      313310       Briesemeister, Donald          Bailey Cowan Heckaman PLLC                               7:21-cv-31769-MCR-GRJ




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  Row     Plaintiff ID                 Plaintiff Name           Law Firm Name        Admin Docket Case Number   Active Docket Case Number
  2539      313311       Brinkley, Wayne                Bailey Cowan Heckaman PLLC    7:21-cv-31770-MCR-GRJ
  2540      313312       Brinkman, Kyle                 Bailey Cowan Heckaman PLLC    7:21-cv-31771-MCR-GRJ
  2541      313313       Broadwell, George              Bailey Cowan Heckaman PLLC    7:21-cv-31772-MCR-GRJ
  2542      313316       Broderick, Aaron               Bailey Cowan Heckaman PLLC    7:21-cv-31775-MCR-GRJ
  2543      313318       Broughton, Russell             Bailey Cowan Heckaman PLLC    7:21-cv-31777-MCR-GRJ
  2544      313322       Brown, Daniel                  Bailey Cowan Heckaman PLLC    7:21-cv-31781-MCR-GRJ
  2545      313323       Brown, Jeffery                 Bailey Cowan Heckaman PLLC    7:21-cv-31782-MCR-GRJ
  2546      313324       Brown, Jesse                   Bailey Cowan Heckaman PLLC    7:21-cv-31783-MCR-GRJ
  2547      313325       Brown, Josh                    Bailey Cowan Heckaman PLLC                               7:21-cv-31784-MCR-GRJ
  2548      313326       BROWN, JOSHUA                  Bailey Cowan Heckaman PLLC    7:21-cv-31785-MCR-GRJ
  2549      313329       BROWN, MATT                    Bailey Cowan Heckaman PLLC    7:21-cv-31788-MCR-GRJ
  2550      313331       Brown, Scott                   Bailey Cowan Heckaman PLLC                               7:21-cv-31790-MCR-GRJ
  2551      313332       Brown, Thomas                  Bailey Cowan Heckaman PLLC    7:21-cv-31791-MCR-GRJ
  2552      313334       Brown-hayling, Daniel          Bailey Cowan Heckaman PLLC    7:21-cv-31793-MCR-GRJ
  2553      313335       Brubaker, Randy                Bailey Cowan Heckaman PLLC    7:21-cv-31794-MCR-GRJ
  2554      313336       Brunelle, Andre                Bailey Cowan Heckaman PLLC                               7:21-cv-31795-MCR-GRJ
  2555      313339       Bruscas, Jason                 Bailey Cowan Heckaman PLLC    7:21-cv-31798-MCR-GRJ
  2556      313340       Bryant, Eric                   Bailey Cowan Heckaman PLLC                               7:21-cv-31799-MCR-GRJ
  2557      313344       Bullock, Charles               Bailey Cowan Heckaman PLLC    7:21-cv-31803-MCR-GRJ
  2558      313346       Burbach, Catherine             Bailey Cowan Heckaman PLLC                               7:21-cv-31805-MCR-GRJ
  2559      313349       Burge, Howard                  Bailey Cowan Heckaman PLLC    7:21-cv-31808-MCR-GRJ
  2560      313350       Burge, Patrick                 Bailey Cowan Heckaman PLLC                               7:21-cv-31809-MCR-GRJ
  2561      313351       Burke, James                   Bailey Cowan Heckaman PLLC    7:21-cv-31810-MCR-GRJ
  2562      313353       Burnett, Kenneth               Bailey Cowan Heckaman PLLC    7:21-cv-31812-MCR-GRJ
  2563      313354       Burnham, Joshua                Bailey Cowan Heckaman PLLC    7:21-cv-31813-MCR-GRJ
  2564      313357       Busby, Brady                   Bailey Cowan Heckaman PLLC    7:21-cv-31816-MCR-GRJ
  2565      313358       Bush, Brian                    Bailey Cowan Heckaman PLLC                               7:21-cv-31817-MCR-GRJ
  2566      313359       Buss, Ronald                   Bailey Cowan Heckaman PLLC                               7:21-cv-31818-MCR-GRJ
  2567      313360       Buttram, Jeremiah              Bailey Cowan Heckaman PLLC                               7:21-cv-31819-MCR-GRJ
  2568      313362       Cabral, Stephen                Bailey Cowan Heckaman PLLC    7:21-cv-31821-MCR-GRJ
  2569      313365       Caldwell, Brian                Bailey Cowan Heckaman PLLC    7:21-cv-31824-MCR-GRJ
  2570      313366       Callahan, Richard              Bailey Cowan Heckaman PLLC    7:21-cv-31825-MCR-GRJ
  2571      313369       Cameron, Brandon               Bailey Cowan Heckaman PLLC    7:21-cv-31828-MCR-GRJ
  2572      313370       Cameron, Eric                  Bailey Cowan Heckaman PLLC    7:21-cv-31829-MCR-GRJ
  2573      313371       Cameron, Scott                 Bailey Cowan Heckaman PLLC    7:21-cv-31830-MCR-GRJ
  2574      313373       Campbell, Carlos               Bailey Cowan Heckaman PLLC                               7:21-cv-31832-MCR-GRJ
  2575      313374       Campbell, Jeff                 Bailey Cowan Heckaman PLLC                               7:21-cv-31833-MCR-GRJ
  2576      313375       Campbell, Nathaniel            Bailey Cowan Heckaman PLLC    7:21-cv-31834-MCR-GRJ
  2577      313376       Campbell, Shawn                Bailey Cowan Heckaman PLLC    7:21-cv-31835-MCR-GRJ
  2578      313377       Campos, Jorge                  Bailey Cowan Heckaman PLLC    7:21-cv-31836-MCR-GRJ
  2579      313380       Cantrell, Michael              Bailey Cowan Heckaman PLLC    7:21-cv-31839-MCR-GRJ
  2580      313381       Caperon, Enrique               Bailey Cowan Heckaman PLLC                               7:21-cv-31840-MCR-GRJ
  2581      313383       Carey, Wade                    Bailey Cowan Heckaman PLLC                               7:21-cv-31842-MCR-GRJ
  2582      313385       Carl, Scott                    Bailey Cowan Heckaman PLLC    7:21-cv-31844-MCR-GRJ
  2583      313387       Carlisle, William              Bailey Cowan Heckaman PLLC                               7:21-cv-31846-MCR-GRJ
  2584      313388       Carlson, Erik                  Bailey Cowan Heckaman PLLC                               7:21-cv-31847-MCR-GRJ
  2585      313390       Carlson, Shane                 Bailey Cowan Heckaman PLLC    7:21-cv-31849-MCR-GRJ
  2586      313392       Carpenter, Derek               Bailey Cowan Heckaman PLLC    7:21-cv-31851-MCR-GRJ
  2587      313393       Carpenter, Melissa             Bailey Cowan Heckaman PLLC    7:21-cv-31852-MCR-GRJ
  2588      313395       Carreonfernandez, Raul         Bailey Cowan Heckaman PLLC    7:21-cv-31854-MCR-GRJ
  2589      313397       Carter, Ben                    Bailey Cowan Heckaman PLLC    7:21-cv-31856-MCR-GRJ
  2590      313399       Carter, Jereme                 Bailey Cowan Heckaman PLLC                               7:21-cv-31858-MCR-GRJ
  2591      313401       Carter, Stephen                Bailey Cowan Heckaman PLLC                               7:21-cv-31860-MCR-GRJ
  2592      313403       Cartwright, Terry              Bailey Cowan Heckaman PLLC                               7:21-cv-31862-MCR-GRJ




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  2593      313404       Carvalho, Marc                 Bailey Cowan Heckaman PLLC    7:21-cv-31863-MCR-GRJ
  2594      313406       Carver, Steven                 Bailey Cowan Heckaman PLLC    7:21-cv-31865-MCR-GRJ
  2595      313407       Case, Eric                     Bailey Cowan Heckaman PLLC    7:21-cv-31866-MCR-GRJ
  2596      313409       Castillo, Dominic              Bailey Cowan Heckaman PLLC    7:21-cv-31868-MCR-GRJ
  2597      313411       Castle, Jason                  Bailey Cowan Heckaman PLLC                               7:21-cv-31870-MCR-GRJ
  2598      313413       Castro, Hector                 Bailey Cowan Heckaman PLLC                               7:21-cv-31872-MCR-GRJ
  2599      313414       Caswell, Mathew                Bailey Cowan Heckaman PLLC    7:21-cv-31873-MCR-GRJ
  2600      313415       Caswell, Paul                  Bailey Cowan Heckaman PLLC    7:21-cv-31874-MCR-GRJ
  2601      313417       Cativera, Corey                Bailey Cowan Heckaman PLLC                               7:21-cv-31876-MCR-GRJ
  2602      313418       Cerrillo, Rodolfo              Bailey Cowan Heckaman PLLC    7:21-cv-31877-MCR-GRJ
  2603      313419       Cetera, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-31878-MCR-GRJ
  2604      313420       Chabot, Jesse                  Bailey Cowan Heckaman PLLC    7:21-cv-31879-MCR-GRJ
  2605      313421       Chagnon, Joseph                Bailey Cowan Heckaman PLLC                               7:21-cv-31880-MCR-GRJ
  2606      313422       Chalfant, Christopher          Bailey Cowan Heckaman PLLC    7:21-cv-31881-MCR-GRJ
  2607      313423       Challender, Alex               Bailey Cowan Heckaman PLLC    7:21-cv-31882-MCR-GRJ
  2608      313425       Chapman, Carl                  Bailey Cowan Heckaman PLLC    7:21-cv-31884-MCR-GRJ
  2609      313426       Chapman, Clayton               Bailey Cowan Heckaman PLLC    7:21-cv-31885-MCR-GRJ
  2610      313428       Charpentier, Eric              Bailey Cowan Heckaman PLLC    7:21-cv-31887-MCR-GRJ
  2611      313429       Chavez, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-31888-MCR-GRJ
  2612      313430       Chavez, Kyle                   Bailey Cowan Heckaman PLLC    7:21-cv-31889-MCR-GRJ
  2613      313431       Cheker, Sean                   Bailey Cowan Heckaman PLLC                               7:21-cv-31890-MCR-GRJ
  2614      313433       Chiasson, Ryan                 Bailey Cowan Heckaman PLLC                               7:21-cv-31892-MCR-GRJ
  2615      313434       Childs, John                   Bailey Cowan Heckaman PLLC    7:21-cv-31893-MCR-GRJ
  2616      313435       Chitwood, Jeremy               Bailey Cowan Heckaman PLLC    7:21-cv-31894-MCR-GRJ
  2617      313437       Christian, Bruce               Bailey Cowan Heckaman PLLC    7:21-cv-31896-MCR-GRJ
  2618      313438       Chrzanowski, Andrew            Bailey Cowan Heckaman PLLC                               7:21-cv-31897-MCR-GRJ
  2619      313439       Church, James                  Bailey Cowan Heckaman PLLC    7:21-cv-31898-MCR-GRJ
  2620      313442       Cich, Michael                  Bailey Cowan Heckaman PLLC                               7:21-cv-31901-MCR-GRJ
  2621      313447       Clark, Jared                   Bailey Cowan Heckaman PLLC                               7:21-cv-31906-MCR-GRJ
  2622      313449       Clark, Joshua                  Bailey Cowan Heckaman PLLC    7:21-cv-31908-MCR-GRJ
  2623      313450       Clark, Sean                    Bailey Cowan Heckaman PLLC                               7:21-cv-31909-MCR-GRJ
  2624      313451       Claus, Jeremy                  Bailey Cowan Heckaman PLLC    7:21-cv-31910-MCR-GRJ
  2625      313453       Clelland, Mark                 Bailey Cowan Heckaman PLLC                               7:21-cv-31912-MCR-GRJ
  2626      313454       Clemons, James                 Bailey Cowan Heckaman PLLC                               7:21-cv-31913-MCR-GRJ
  2627      313455       Cleveland, Jerrod              Bailey Cowan Heckaman PLLC                               7:21-cv-31914-MCR-GRJ
  2628      313456       Cline, James                   Bailey Cowan Heckaman PLLC    7:21-cv-31915-MCR-GRJ
  2629      313458       Cloninger, Brian               Bailey Cowan Heckaman PLLC    7:21-cv-31917-MCR-GRJ
  2630      313459       Coe, Damon                     Bailey Cowan Heckaman PLLC    7:21-cv-31918-MCR-GRJ
  2631      313460       Coffey, Russell                Bailey Cowan Heckaman PLLC    7:21-cv-31919-MCR-GRJ
  2632      313463       Colegrove, Timothy             Bailey Cowan Heckaman PLLC    7:21-cv-31922-MCR-GRJ
  2633      313466       Collins, Christopher           Bailey Cowan Heckaman PLLC                               7:21-cv-31925-MCR-GRJ
  2634      313467       Collins, Claude                Bailey Cowan Heckaman PLLC    7:21-cv-31926-MCR-GRJ
  2635      313468       Collins, Kirk                  Bailey Cowan Heckaman PLLC    7:21-cv-31927-MCR-GRJ
  2636      313469       Collins, Sean                  Bailey Cowan Heckaman PLLC    7:21-cv-31928-MCR-GRJ
  2637      313470       Collins, Shawn                 Bailey Cowan Heckaman PLLC    7:21-cv-31929-MCR-GRJ
  2638      313472       Colonna, Brian                 Bailey Cowan Heckaman PLLC    7:21-cv-31931-MCR-GRJ
  2639      313477       Conklin, James                 Bailey Cowan Heckaman PLLC                               7:21-cv-31936-MCR-GRJ
  2640      313478       Conley, Robert                 Bailey Cowan Heckaman PLLC    7:21-cv-31937-MCR-GRJ
  2641      313479       Conlon, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-31938-MCR-GRJ
  2642      313480       Conn, Bobby                    Bailey Cowan Heckaman PLLC                               7:21-cv-31939-MCR-GRJ
  2643      313482       Connor, Justin                 Bailey Cowan Heckaman PLLC    7:21-cv-31941-MCR-GRJ
  2644      313483       Connors, Michael               Bailey Cowan Heckaman PLLC                               7:21-cv-31942-MCR-GRJ
  2645      313484       Conte, Brendan                 Bailey Cowan Heckaman PLLC    7:21-cv-31943-MCR-GRJ
  2646      313485       Cook, Dean                     Bailey Cowan Heckaman PLLC    7:21-cv-31944-MCR-GRJ




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  2647      313486       Cook, James                    Bailey Cowan Heckaman PLLC                               7:21-cv-31945-MCR-GRJ
  2648      313487       Cook, Jonathan                 Bailey Cowan Heckaman PLLC    7:21-cv-31946-MCR-GRJ
  2649      313490       COOPER, MATTHEW                Bailey Cowan Heckaman PLLC                               7:21-cv-31949-MCR-GRJ
  2650      313491       Cooper, Kenneth                Bailey Cowan Heckaman PLLC                               7:21-cv-31950-MCR-GRJ
  2651      313492       Copeland, Josh                 Bailey Cowan Heckaman PLLC                               7:21-cv-31951-MCR-GRJ
  2652      313493       Corbin, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-31952-MCR-GRJ
  2653      313494       Cordero, Rodney                Bailey Cowan Heckaman PLLC    7:21-cv-31953-MCR-GRJ
  2654      313495       Cordill, Bobby                 Bailey Cowan Heckaman PLLC    7:21-cv-31954-MCR-GRJ
  2655      313498       Corgard, Johnathan             Bailey Cowan Heckaman PLLC                               7:21-cv-31957-MCR-GRJ
  2656      313499       Cormier, Seth                  Bailey Cowan Heckaman PLLC    7:21-cv-31958-MCR-GRJ
  2657      313500       Cornelio Garcia, Gustavo       Bailey Cowan Heckaman PLLC                               7:21-cv-31959-MCR-GRJ
  2658      313502       Cortese, Louis                 Bailey Cowan Heckaman PLLC    7:21-cv-31961-MCR-GRJ
  2659      313505       Cossette, Thomas               Bailey Cowan Heckaman PLLC    7:21-cv-31964-MCR-GRJ
  2660      313506       Costantinidis, Anthony         Bailey Cowan Heckaman PLLC    7:21-cv-31965-MCR-GRJ
  2661      313507       Coughlin, Alex                 Bailey Cowan Heckaman PLLC    7:21-cv-31966-MCR-GRJ
  2662      313509       Cowles, Brandon                Bailey Cowan Heckaman PLLC    7:21-cv-31968-MCR-GRJ
  2663      313510       Cox, Joshua                    Bailey Cowan Heckaman PLLC    7:21-cv-31969-MCR-GRJ
  2664      313511       Cox, Justin                    Bailey Cowan Heckaman PLLC    7:21-cv-31970-MCR-GRJ
  2665      313512       Cox, Rikki                     Bailey Cowan Heckaman PLLC    7:21-cv-31971-MCR-GRJ
  2666      313513       Crankfield, Chris              Bailey Cowan Heckaman PLLC    7:21-cv-31972-MCR-GRJ
  2667      313514       Crankshaw, Jimi                Bailey Cowan Heckaman PLLC    7:21-cv-31973-MCR-GRJ
  2668      313516       Crawford, Jeremie              Bailey Cowan Heckaman PLLC    7:21-cv-31975-MCR-GRJ
  2669      313518       Crocker, Shane                 Bailey Cowan Heckaman PLLC    7:21-cv-31977-MCR-GRJ
  2670      313520       Croghan, Scott                 Bailey Cowan Heckaman PLLC    7:21-cv-31979-MCR-GRJ
  2671      313521       Crosby, Eugene                 Bailey Cowan Heckaman PLLC    7:21-cv-31980-MCR-GRJ
  2672      313523       Cross, Robert                  Bailey Cowan Heckaman PLLC                               7:21-cv-31982-MCR-GRJ
  2673      313524       Crouch, Ryan                   Bailey Cowan Heckaman PLLC                               7:21-cv-31983-MCR-GRJ
  2674      313526       Crowley, Aidan                 Bailey Cowan Heckaman PLLC    7:21-cv-31985-MCR-GRJ
  2675      313528       CRUZ, JOSE                     Bailey Cowan Heckaman PLLC                               7:21-cv-31987-MCR-GRJ
  2676      313530       Cuebas, Jason                  Bailey Cowan Heckaman PLLC    7:21-cv-31989-MCR-GRJ
  2677      313531       Cuesta, Alvaro                 Bailey Cowan Heckaman PLLC    7:21-cv-31990-MCR-GRJ
  2678      313532       Cuevas, Jose                   Bailey Cowan Heckaman PLLC    7:21-cv-31991-MCR-GRJ
  2679      313535       Cummings, Alicia               Bailey Cowan Heckaman PLLC    7:21-cv-31994-MCR-GRJ
  2680      313536       Cummings, Eric                 Bailey Cowan Heckaman PLLC    7:21-cv-31995-MCR-GRJ
  2681      313537       Cummings, Robert               Bailey Cowan Heckaman PLLC                               7:21-cv-31996-MCR-GRJ
  2682      313538       Cummings, Scott                Bailey Cowan Heckaman PLLC                               7:21-cv-31997-MCR-GRJ
  2683      313540       Cummiskey, Jesse               Bailey Cowan Heckaman PLLC                               7:21-cv-31999-MCR-GRJ
  2684      313541       Cupples, Lex                   Bailey Cowan Heckaman PLLC                               7:21-cv-32000-MCR-GRJ
  2685      313542       Curtice, Brian                 Bailey Cowan Heckaman PLLC                               7:21-cv-32001-MCR-GRJ
  2686      313544       Cutlip, Arron                  Bailey Cowan Heckaman PLLC    7:21-cv-32003-MCR-GRJ
  2687      313545       Cutting, Amanda                Bailey Cowan Heckaman PLLC    7:21-cv-32004-MCR-GRJ
  2688      313546       Cynar, Timothy                 Bailey Cowan Heckaman PLLC                               7:21-cv-32005-MCR-GRJ
  2689      313547       Cyr, Dylan                     Bailey Cowan Heckaman PLLC                               7:21-cv-32006-MCR-GRJ
  2690      313548       Dahl, Stephen                  Bailey Cowan Heckaman PLLC                               7:21-cv-32007-MCR-GRJ
  2691      313550       Daily, Casey                   Bailey Cowan Heckaman PLLC    7:21-cv-32009-MCR-GRJ
  2692      313551       DALTON, JONATHAN               Bailey Cowan Heckaman PLLC                               7:21-cv-32010-MCR-GRJ
  2693      313552       Dalton, Shawn                  Bailey Cowan Heckaman PLLC    7:21-cv-32011-MCR-GRJ
  2694      313553       Damron, Brian                  Bailey Cowan Heckaman PLLC    7:21-cv-32012-MCR-GRJ
  2695      313554       Danson, Michael                Bailey Cowan Heckaman PLLC                               7:21-cv-32013-MCR-GRJ
  2696      313555       Daoust, Jason                  Bailey Cowan Heckaman PLLC    7:21-cv-32014-MCR-GRJ
  2697      313556       Darley, Scott                  Bailey Cowan Heckaman PLLC    7:21-cv-32015-MCR-GRJ
  2698      313557       Dauphin, Richard               Bailey Cowan Heckaman PLLC    7:21-cv-32016-MCR-GRJ
  2699      313559       David, Christopher             Bailey Cowan Heckaman PLLC    7:21-cv-32018-MCR-GRJ
  2700      313560       David, Richard                 Bailey Cowan Heckaman PLLC    7:21-cv-32019-MCR-GRJ




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  2701      313561       Davidson, Paul                 Bailey Cowan Heckaman PLLC                               7:21-cv-32020-MCR-GRJ
  2702      313563       Davis, Bennie                  Bailey Cowan Heckaman PLLC                               7:21-cv-32022-MCR-GRJ
  2703      313565       Davis, Jay                     Bailey Cowan Heckaman PLLC                               7:21-cv-32026-MCR-GRJ
  2704      313566       Davis, Jearl                   Bailey Cowan Heckaman PLLC    7:21-cv-32028-MCR-GRJ
  2705      313569       Davis, Mike                    Bailey Cowan Heckaman PLLC                               7:21-cv-32035-MCR-GRJ
  2706      313570       Davis, Richard                 Bailey Cowan Heckaman PLLC    7:21-cv-32037-MCR-GRJ
  2707      313571       Davis, Timothy                 Bailey Cowan Heckaman PLLC    7:21-cv-32039-MCR-GRJ
  2708      313573       DAWSON, JOHN                   Bailey Cowan Heckaman PLLC    7:21-cv-32043-MCR-GRJ
  2709      313574       Dayoc, William                 Bailey Cowan Heckaman PLLC    7:21-cv-32046-MCR-GRJ
  2710      313576       Decker, Mason                  Bailey Cowan Heckaman PLLC    7:21-cv-32050-MCR-GRJ
  2711      313577       Dee, Nathan                    Bailey Cowan Heckaman PLLC    7:21-cv-32052-MCR-GRJ
  2712      313578       Deese, Christopher             Bailey Cowan Heckaman PLLC    7:21-cv-32054-MCR-GRJ
  2713      313583       Dejesus, Juan                  Bailey Cowan Heckaman PLLC    7:21-cv-32065-MCR-GRJ
  2714      313586       Delude, Charles                Bailey Cowan Heckaman PLLC    7:21-cv-32072-MCR-GRJ
  2715      313588       Demerritt, Douglas             Bailey Cowan Heckaman PLLC                               7:21-cv-32076-MCR-GRJ
  2716      313590       Dempsey, Kristofer             Bailey Cowan Heckaman PLLC    7:21-cv-32081-MCR-GRJ
  2717      313592       Dennard, James                 Bailey Cowan Heckaman PLLC    7:21-cv-32085-MCR-GRJ
  2718      313594       Derks, David                   Bailey Cowan Heckaman PLLC    7:21-cv-32089-MCR-GRJ
  2719      313596       Desjardins, Ryan               Bailey Cowan Heckaman PLLC                               7:21-cv-32094-MCR-GRJ
  2720      313597       Desrosier, Cory                Bailey Cowan Heckaman PLLC                               7:21-cv-32096-MCR-GRJ
  2721      313600       Devault, William               Bailey Cowan Heckaman PLLC                               7:21-cv-32102-MCR-GRJ
  2722      313601       Devilla, Ryan                  Bailey Cowan Heckaman PLLC    7:21-cv-32104-MCR-GRJ
  2723      313602       Devillier, William             Bailey Cowan Heckaman PLLC    7:21-cv-32106-MCR-GRJ
  2724      313604       Dewey, Roy                     Bailey Cowan Heckaman PLLC    7:21-cv-32111-MCR-GRJ
  2725      313606       Diaz, Cesar                    Bailey Cowan Heckaman PLLC    7:21-cv-32116-MCR-GRJ
  2726      313607       Diaz, Daniel                   Bailey Cowan Heckaman PLLC                               7:21-cv-32118-MCR-GRJ
  2727      313608       Diaz, David                    Bailey Cowan Heckaman PLLC    7:21-cv-32120-MCR-GRJ
  2728      313613       Dickson, John                  Bailey Cowan Heckaman PLLC                               7:21-cv-32131-MCR-GRJ
  2729      313615       Diehl, David                   Bailey Cowan Heckaman PLLC    7:21-cv-32135-MCR-GRJ
  2730      313616       Dieng, Cheikh                  Bailey Cowan Heckaman PLLC    7:21-cv-32137-MCR-GRJ
  2731      313617       Dill, Charles                  Bailey Cowan Heckaman PLLC    7:21-cv-32139-MCR-GRJ
  2732      313619       Dimas, Miguel                  Bailey Cowan Heckaman PLLC                               7:21-cv-32144-MCR-GRJ
  2733      313620       Dinsmore, David                Bailey Cowan Heckaman PLLC                               7:21-cv-32146-MCR-GRJ
  2734      313621       Disbrow, James                 Bailey Cowan Heckaman PLLC    7:21-cv-32148-MCR-GRJ
  2735      313622       Disney, Johnathon              Bailey Cowan Heckaman PLLC    7:21-cv-32150-MCR-GRJ
  2736      313623       Dixon, Kirk                    Bailey Cowan Heckaman PLLC                               7:21-cv-32152-MCR-GRJ
  2737      313624       Dlugosz, Todd                  Bailey Cowan Heckaman PLLC                               7:21-cv-32154-MCR-GRJ
  2738      313625       Dochod, Casey                  Bailey Cowan Heckaman PLLC                               7:21-cv-32157-MCR-GRJ
  2739      313627       Dodson, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-32161-MCR-GRJ
  2740      313628       Doke, Bradley                  Bailey Cowan Heckaman PLLC    7:21-cv-32163-MCR-GRJ
  2741      313629       Dombrowski, Joseph             Bailey Cowan Heckaman PLLC    7:21-cv-32165-MCR-GRJ
  2742      313630       Dominguez, Jaime               Bailey Cowan Heckaman PLLC    7:21-cv-32167-MCR-GRJ
  2743      313632       Dori, Shlomi                   Bailey Cowan Heckaman PLLC    7:21-cv-32171-MCR-GRJ
  2744      313633       Dornath, Robert                Bailey Cowan Heckaman PLLC    7:21-cv-32174-MCR-GRJ
  2745      313634       Dorswitt, Susan                Bailey Cowan Heckaman PLLC    7:21-cv-32176-MCR-GRJ
  2746      313635       Dotson, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-32178-MCR-GRJ
  2747      313636       Dotterer, Jonathan             Bailey Cowan Heckaman PLLC    7:21-cv-32180-MCR-GRJ
  2748      313638       Dove, Edward                   Bailey Cowan Heckaman PLLC    7:21-cv-32184-MCR-GRJ
  2749      313639       Doviak, Jorydan                Bailey Cowan Heckaman PLLC                               7:21-cv-32186-MCR-GRJ
  2750      313641       Dowler, Austin                 Bailey Cowan Heckaman PLLC                               7:21-cv-32191-MCR-GRJ
  2751      313642       Downes, Matthew                Bailey Cowan Heckaman PLLC    7:21-cv-32193-MCR-GRJ
  2752      313643       Downs, Michael                 Bailey Cowan Heckaman PLLC                               7:21-cv-32195-MCR-GRJ
  2753      313644       Drake, Randall                 Bailey Cowan Heckaman PLLC    7:21-cv-32198-MCR-GRJ
  2754      313645       Dravecky, Daniel               Bailey Cowan Heckaman PLLC    7:21-cv-32200-MCR-GRJ




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  Row     Plaintiff ID                Plaintiff Name           Law Firm Name        Admin Docket Case Number   Active Docket Case Number
  2755      313646       Driver, Brian                 Bailey Cowan Heckaman PLLC    7:21-cv-32202-MCR-GRJ
  2756      313648       Drook, Kyle                   Bailey Cowan Heckaman PLLC                               7:21-cv-32206-MCR-GRJ
  2757      313649       Drudge, Michael               Bailey Cowan Heckaman PLLC                               7:21-cv-32208-MCR-GRJ
  2758      313650       Drysdale, Charles             Bailey Cowan Heckaman PLLC    7:21-cv-32211-MCR-GRJ
  2759      313652       Dudley, Judarrien             Bailey Cowan Heckaman PLLC                               7:21-cv-32215-MCR-GRJ
  2760      313653       Dufford, Joshua               Bailey Cowan Heckaman PLLC                               7:21-cv-32217-MCR-GRJ
  2761      313656       Dukes, Lekendrick             Bailey Cowan Heckaman PLLC                               7:21-cv-32224-MCR-GRJ
  2762      313657       Dunbar, Allen                 Bailey Cowan Heckaman PLLC    7:21-cv-32226-MCR-GRJ
  2763      313658       Duncan, John                  Bailey Cowan Heckaman PLLC                               7:21-cv-32228-MCR-GRJ
  2764      313661       Dunn, Joshua                  Bailey Cowan Heckaman PLLC                               7:21-cv-32235-MCR-GRJ
  2765      313662       Dunn, Thomas                  Bailey Cowan Heckaman PLLC                               7:21-cv-32237-MCR-GRJ
  2766      313663       Durham, Brian                 Bailey Cowan Heckaman PLLC    7:21-cv-32239-MCR-GRJ
  2767      313665       Dyson, Joe                    Bailey Cowan Heckaman PLLC                               7:21-cv-32243-MCR-GRJ
  2768      313669       Earnest, Matthew              Bailey Cowan Heckaman PLLC    7:21-cv-32252-MCR-GRJ
  2769      313670       Eaton, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-32254-MCR-GRJ
  2770      313671       Ebaugh, Jacob                 Bailey Cowan Heckaman PLLC    7:21-cv-32256-MCR-GRJ
  2771      313674       Echols, Travis                Bailey Cowan Heckaman PLLC    7:21-cv-32263-MCR-GRJ
  2772      313675       Eckles, Chad                  Bailey Cowan Heckaman PLLC    7:21-cv-32265-MCR-GRJ
  2773      313676       Eden, Jeffery                 Bailey Cowan Heckaman PLLC                               7:21-cv-32267-MCR-GRJ
  2774      313677       Edlen, Jason                  Bailey Cowan Heckaman PLLC    7:21-cv-32269-MCR-GRJ
  2775      313678       Edmondson, Derrick            Bailey Cowan Heckaman PLLC    7:21-cv-32272-MCR-GRJ
  2776      313681       Eichhorn, Michael             Bailey Cowan Heckaman PLLC    7:21-cv-32278-MCR-GRJ
  2777      313682       Eichman, Riley                Bailey Cowan Heckaman PLLC    7:21-cv-32280-MCR-GRJ
  2778      313684       Einsel, Jerrod                Bailey Cowan Heckaman PLLC    7:21-cv-32285-MCR-GRJ
  2779      313686       Eldridge, Koletin             Bailey Cowan Heckaman PLLC                               7:21-cv-32289-MCR-GRJ
  2780      313689       Ellett, Wesley                Bailey Cowan Heckaman PLLC    7:21-cv-32296-MCR-GRJ
  2781      313690       Ellis, Martin                 Bailey Cowan Heckaman PLLC    7:21-cv-32298-MCR-GRJ
  2782      313691       Ellis, Terrance               Bailey Cowan Heckaman PLLC    7:21-cv-32300-MCR-GRJ
  2783      313692       Elmore, Julio                 Bailey Cowan Heckaman PLLC    7:21-cv-32302-MCR-GRJ
  2784      313694       Emanuel, Derek                Bailey Cowan Heckaman PLLC    7:21-cv-32853-MCR-GRJ
  2785      313696       Emery, Shawn                  Bailey Cowan Heckaman PLLC                               7:21-cv-32855-MCR-GRJ
  2786      313697       Engelbrecht, Eric             Bailey Cowan Heckaman PLLC    7:21-cv-32856-MCR-GRJ
  2787      313702       Epps, Timothy                 Bailey Cowan Heckaman PLLC    7:21-cv-32861-MCR-GRJ
  2788      313704       Erickson, Sean                Bailey Cowan Heckaman PLLC                               7:21-cv-32863-MCR-GRJ
  2789      313705       Erickson, Shawn               Bailey Cowan Heckaman PLLC                               7:21-cv-32864-MCR-GRJ
  2790      313708       Espinosa, Eric                Bailey Cowan Heckaman PLLC    7:21-cv-32867-MCR-GRJ
  2791      313710       Espling, Devon                Bailey Cowan Heckaman PLLC    7:21-cv-32869-MCR-GRJ
  2792      313712       Estrada, Zachary              Bailey Cowan Heckaman PLLC    7:21-cv-32871-MCR-GRJ
  2793      313713       Evans, Aaron                  Bailey Cowan Heckaman PLLC    7:21-cv-32872-MCR-GRJ
  2794      313714       Evans, Fernandez              Bailey Cowan Heckaman PLLC                               7:21-cv-32874-MCR-GRJ
  2795      313715       Evans, James                  Bailey Cowan Heckaman PLLC    7:21-cv-32876-MCR-GRJ
  2796      313717       Evans, Nathan                 Bailey Cowan Heckaman PLLC                               7:21-cv-32880-MCR-GRJ
  2797      313719       Eyman, Jevin                  Bailey Cowan Heckaman PLLC                               7:21-cv-32885-MCR-GRJ
  2798      313720       Fadely, Bryan                 Bailey Cowan Heckaman PLLC                               7:21-cv-32887-MCR-GRJ
  2799      313721       Fain, Patrick                 Bailey Cowan Heckaman PLLC    7:21-cv-32889-MCR-GRJ
  2800      313722       Fair, Ryan                    Bailey Cowan Heckaman PLLC                               7:21-cv-32891-MCR-GRJ
  2801      313723       Faircloth, Christopher        Bailey Cowan Heckaman PLLC                               7:21-cv-32893-MCR-GRJ
  2802      313724       Fanick, Albert                Bailey Cowan Heckaman PLLC    7:21-cv-32896-MCR-GRJ
  2803      313726       Farnsworth, Joel              Bailey Cowan Heckaman PLLC                               7:21-cv-32900-MCR-GRJ
  2804      313727       Farsijany, Ramzey             Bailey Cowan Heckaman PLLC    7:21-cv-32902-MCR-GRJ
  2805      313729       Fawcett, William              Bailey Cowan Heckaman PLLC                               7:21-cv-32906-MCR-GRJ
  2806      313730       Fee, Kevin                    Bailey Cowan Heckaman PLLC    7:21-cv-32909-MCR-GRJ
  2807      313732       Feeney, Jonathan              Bailey Cowan Heckaman PLLC                               7:21-cv-32913-MCR-GRJ
  2808      313735       Feltman, Nicholas             Bailey Cowan Heckaman PLLC                               7:21-cv-32920-MCR-GRJ




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  2809      313737       Ferguson, Chase                 Bailey Cowan Heckaman PLLC    7:21-cv-32934-MCR-GRJ
  2810      313739       Fero, Michael                   Bailey Cowan Heckaman PLLC                               7:21-cv-32938-MCR-GRJ
  2811      313740       Ferreira, Dennis                Bailey Cowan Heckaman PLLC    7:21-cv-32941-MCR-GRJ
  2812      313741       Feyen, Joseph                   Bailey Cowan Heckaman PLLC                               7:21-cv-32943-MCR-GRJ
  2813      313742       Fields, Jonathan                Bailey Cowan Heckaman PLLC    7:21-cv-32945-MCR-GRJ
  2814      313743       Figler, Sage                    Bailey Cowan Heckaman PLLC                               7:21-cv-32947-MCR-GRJ
  2815      313744       Figueroa, German                Bailey Cowan Heckaman PLLC    7:21-cv-32949-MCR-GRJ
  2816      313746       Finley, David                   Bailey Cowan Heckaman PLLC    7:21-cv-32954-MCR-GRJ
  2817      313747       Finucci, Jeffrey                Bailey Cowan Heckaman PLLC                               7:21-cv-32956-MCR-GRJ
  2818      313748       Fischer, Thomas                 Bailey Cowan Heckaman PLLC                               7:21-cv-32958-MCR-GRJ
  2819      313750       Fisher, Christopher             Bailey Cowan Heckaman PLLC    7:21-cv-32962-MCR-GRJ
  2820      313751       Fisher, Daniel                  Bailey Cowan Heckaman PLLC                               7:21-cv-32964-MCR-GRJ
  2821      313752       Fisher, Ethan                   Bailey Cowan Heckaman PLLC                               7:21-cv-32967-MCR-GRJ
  2822      313754       Fitzgerald, Matthew             Bailey Cowan Heckaman PLLC                               7:21-cv-32971-MCR-GRJ
  2823      313758       Fitzpatrick, Ryan               Bailey Cowan Heckaman PLLC    7:21-cv-32980-MCR-GRJ
  2824      313759       Flarity, James                  Bailey Cowan Heckaman PLLC    7:21-cv-32982-MCR-GRJ
  2825      313761       Fleming, Jonathan               Bailey Cowan Heckaman PLLC                               7:21-cv-32986-MCR-GRJ
  2826      313762       Fleming, Steven                 Bailey Cowan Heckaman PLLC    7:21-cv-32988-MCR-GRJ
  2827      313764       Fletcher, Randall               Bailey Cowan Heckaman PLLC    7:21-cv-32992-MCR-GRJ
  2828      313765       Flores, Juan                    Bailey Cowan Heckaman PLLC                               7:21-cv-32994-MCR-GRJ
  2829      313766       Flores, Marcos                  Bailey Cowan Heckaman PLLC                               7:21-cv-32997-MCR-GRJ
  2830      313767       Floridia, Justin                Bailey Cowan Heckaman PLLC                               7:21-cv-32999-MCR-GRJ
  2831      313769       Flow, Anthony                   Bailey Cowan Heckaman PLLC    7:21-cv-33003-MCR-GRJ
  2832      313771       Fogle, Tyler                    Bailey Cowan Heckaman PLLC                               7:21-cv-33007-MCR-GRJ
  2833      313773       Follie, Carl                    Bailey Cowan Heckaman PLLC                               7:21-cv-33012-MCR-GRJ
  2834      313776       Forbes, Neil                    Bailey Cowan Heckaman PLLC    7:21-cv-33018-MCR-GRJ
  2835      313780       Forester, Cody                  Bailey Cowan Heckaman PLLC    7:21-cv-33027-MCR-GRJ
  2836      313781       Foster, Charlie                 Bailey Cowan Heckaman PLLC    7:21-cv-33029-MCR-GRJ
  2837      313782       Foster, Darrell                 Bailey Cowan Heckaman PLLC                               7:21-cv-33031-MCR-GRJ
  2838      313783       Foster, Michael                 Bailey Cowan Heckaman PLLC    7:21-cv-33033-MCR-GRJ
  2839      313786       Francis, Brent                  Bailey Cowan Heckaman PLLC                               7:21-cv-33040-MCR-GRJ
  2840      313789       FRANKLIN, CHRISTOPHER           Bailey Cowan Heckaman PLLC                               7:21-cv-33046-MCR-GRJ
  2841      313790       Franks, Chadwick                Bailey Cowan Heckaman PLLC                               7:21-cv-33049-MCR-GRJ
  2842      313792       Frazier, Eric                   Bailey Cowan Heckaman PLLC    7:21-cv-33053-MCR-GRJ
  2843      313794       Freed, David                    Bailey Cowan Heckaman PLLC                               7:21-cv-33057-MCR-GRJ
  2844      313795       Freeman, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-33059-MCR-GRJ
  2845      313796       Freeman, Darren                 Bailey Cowan Heckaman PLLC    7:21-cv-33061-MCR-GRJ
  2846      313797       Freeman, Sadie                  Bailey Cowan Heckaman PLLC                               7:21-cv-33063-MCR-GRJ
  2847      313798       Freeman, Todd                   Bailey Cowan Heckaman PLLC    7:21-cv-33066-MCR-GRJ
  2848      313800       Freemonweldy, Deangelo          Bailey Cowan Heckaman PLLC    7:21-cv-33070-MCR-GRJ
  2849      313803       Frerichs, Jonathon              Bailey Cowan Heckaman PLLC    7:21-cv-33076-MCR-GRJ
  2850      313805       Friberg, Jeffrey                Bailey Cowan Heckaman PLLC    7:21-cv-33081-MCR-GRJ
  2851      313806       Friday, Anthony                 Bailey Cowan Heckaman PLLC    7:21-cv-33083-MCR-GRJ
  2852      313807       Frith, Jessup                   Bailey Cowan Heckaman PLLC    7:21-cv-33085-MCR-GRJ
  2853      313808       Fritz, Jeremy                   Bailey Cowan Heckaman PLLC    7:21-cv-33087-MCR-GRJ
  2854      313809       Frost, Michael                  Bailey Cowan Heckaman PLLC                               7:21-cv-33089-MCR-GRJ
  2855      313810       Frye, Jeffery                   Bailey Cowan Heckaman PLLC    7:21-cv-33091-MCR-GRJ
  2856      313811       Fuentes, Osiel                  Bailey Cowan Heckaman PLLC    7:21-cv-33093-MCR-GRJ
  2857      313812       Fulton, Martin                  Bailey Cowan Heckaman PLLC    7:21-cv-33096-MCR-GRJ
  2858      313814       Futral, Jason                   Bailey Cowan Heckaman PLLC                               7:21-cv-33100-MCR-GRJ
  2859      313815       Gaffney, Jeremiah               Bailey Cowan Heckaman PLLC    7:21-cv-33102-MCR-GRJ
  2860      313817       Gallagher, Matthew              Bailey Cowan Heckaman PLLC    7:21-cv-33107-MCR-GRJ
  2861      313818       Gallagher, Richard              Bailey Cowan Heckaman PLLC    7:21-cv-33109-MCR-GRJ
  2862      313820       Gallman, Christopher            Bailey Cowan Heckaman PLLC                               7:21-cv-33113-MCR-GRJ




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  2863      313821       Galvan-hernandez, Ricardo    Bailey Cowan Heckaman PLLC    7:21-cv-33115-MCR-GRJ
  2864      313822       Gamble, Robert               Bailey Cowan Heckaman PLLC    7:21-cv-33117-MCR-GRJ
  2865      313824       Gancarz, Robert              Bailey Cowan Heckaman PLLC    7:21-cv-33122-MCR-GRJ
  2866      313825       Ganogianis, Nicklos          Bailey Cowan Heckaman PLLC    7:21-cv-33124-MCR-GRJ
  2867      313826       Garcia, Matthew              Bailey Cowan Heckaman PLLC                               7:21-cv-33126-MCR-GRJ
  2868      313827       Garcia, Matthew              Bailey Cowan Heckaman PLLC                               7:21-cv-33128-MCR-GRJ
  2869      313828       Gardner, Jason               Bailey Cowan Heckaman PLLC                               7:21-cv-33130-MCR-GRJ
  2870      313829       Garmon, Bobby                Bailey Cowan Heckaman PLLC    7:21-cv-33133-MCR-GRJ
  2871      313831       Garner, Larry                Bailey Cowan Heckaman PLLC                               7:21-cv-33137-MCR-GRJ
  2872      313833       Garriott, Joshua             Bailey Cowan Heckaman PLLC    7:21-cv-33141-MCR-GRJ
  2873      313836       Gartung, Kurt                Bailey Cowan Heckaman PLLC                               7:21-cv-33147-MCR-GRJ
  2874      313838       Garza, Francisco             Bailey Cowan Heckaman PLLC    7:21-cv-33152-MCR-GRJ
  2875      313842       Gatewood, Richard            Bailey Cowan Heckaman PLLC    7:21-cv-33160-MCR-GRJ
  2876      313843       Gay, Nicholas                Bailey Cowan Heckaman PLLC                               7:21-cv-33162-MCR-GRJ
  2877      313844       Geery, Steven                Bailey Cowan Heckaman PLLC                               7:21-cv-33165-MCR-GRJ
  2878      313846       Geiselman, Christopher       Bailey Cowan Heckaman PLLC    7:21-cv-33169-MCR-GRJ
  2879      313847       Genetti, Christopher         Bailey Cowan Heckaman PLLC    7:21-cv-33171-MCR-GRJ
  2880      313849       Gerner, Corbin               Bailey Cowan Heckaman PLLC                               7:21-cv-33175-MCR-GRJ
  2881      313850       Gersna, John                 Bailey Cowan Heckaman PLLC                               7:21-cv-33178-MCR-GRJ
  2882      313854       Gibson, Brentten             Bailey Cowan Heckaman PLLC                               7:21-cv-33186-MCR-GRJ
  2883      313855       GIBSON, JAMES                Bailey Cowan Heckaman PLLC                               7:21-cv-33189-MCR-GRJ
  2884      313856       Gibson, Skyler               Bailey Cowan Heckaman PLLC    7:21-cv-33191-MCR-GRJ
  2885      313858       Gifford, Daniel              Bailey Cowan Heckaman PLLC    7:21-cv-33195-MCR-GRJ
  2886      313859       Gifford, Devin               Bailey Cowan Heckaman PLLC    7:21-cv-33197-MCR-GRJ
  2887      313861       Gildersleeve, Orlando        Bailey Cowan Heckaman PLLC    7:21-cv-33202-MCR-GRJ
  2888      313866       Glover, Alexis               Bailey Cowan Heckaman PLLC    7:21-cv-33212-MCR-GRJ
  2889      313868       Godwin, Shawn                Bailey Cowan Heckaman PLLC    7:21-cv-33217-MCR-GRJ
  2890      313869       Goebel, Jonathan             Bailey Cowan Heckaman PLLC                               7:21-cv-33219-MCR-GRJ
  2891      313870       Goff, Jarrett                Bailey Cowan Heckaman PLLC    7:21-cv-33221-MCR-GRJ
  2892      313871       Goff, Julious                Bailey Cowan Heckaman PLLC                               7:21-cv-33223-MCR-GRJ
  2893      313872       Gohn, Daniel                 Bailey Cowan Heckaman PLLC    7:21-cv-33225-MCR-GRJ
  2894      313876       Gonzalez, Jerman             Bailey Cowan Heckaman PLLC    7:21-cv-33234-MCR-GRJ
  2895      313878       Gonzalez, Roberto            Bailey Cowan Heckaman PLLC    7:21-cv-33238-MCR-GRJ
  2896      313879       Goodell, Douglas             Bailey Cowan Heckaman PLLC                               7:21-cv-33240-MCR-GRJ
  2897      313881       Gorgani, Samuel              Bailey Cowan Heckaman PLLC                               7:21-cv-33244-MCR-GRJ
  2898      313882       Gorman, Brandon              Bailey Cowan Heckaman PLLC    7:21-cv-33245-MCR-GRJ
  2899      313883       Goss, Vernon                 Bailey Cowan Heckaman PLLC    7:21-cv-33247-MCR-GRJ
  2900      313884       Grady, Donald                Bailey Cowan Heckaman PLLC                               7:21-cv-33249-MCR-GRJ
  2901      313885       Grady, Shaun                 Bailey Cowan Heckaman PLLC    7:21-cv-33250-MCR-GRJ
  2902      313888       Grafton, Jordan              Bailey Cowan Heckaman PLLC    7:21-cv-33255-MCR-GRJ
  2903      313889       Graham, David                Bailey Cowan Heckaman PLLC    7:21-cv-33257-MCR-GRJ
  2904      313890       Graham, Jerian               Bailey Cowan Heckaman PLLC    7:21-cv-33258-MCR-GRJ
  2905      313891       Graham, Nathaniel            Bailey Cowan Heckaman PLLC                               7:21-cv-33260-MCR-GRJ
  2906      313892       Graham, Nicholas             Bailey Cowan Heckaman PLLC    7:21-cv-33262-MCR-GRJ
  2907      313893       Granados, Megan              Bailey Cowan Heckaman PLLC                               7:21-cv-33265-MCR-GRJ
  2908      313894       Granados, Rene               Bailey Cowan Heckaman PLLC    7:21-cv-33267-MCR-GRJ
  2909      313897       Grawzis, Jacob               Bailey Cowan Heckaman PLLC                               7:21-cv-33274-MCR-GRJ
  2910      313898       Gray, Dustin                 Bailey Cowan Heckaman PLLC    7:21-cv-33276-MCR-GRJ
  2911      313899       Gray, Jamarkus               Bailey Cowan Heckaman PLLC    7:21-cv-33278-MCR-GRJ
  2912      313900       GREEN, JUSTIN                Bailey Cowan Heckaman PLLC    7:21-cv-33280-MCR-GRJ
  2913      313901       Green, Romando               Bailey Cowan Heckaman PLLC                               7:21-cv-33282-MCR-GRJ
  2914      313903       Greene, Scott                Bailey Cowan Heckaman PLLC    7:21-cv-33287-MCR-GRJ
  2915      313904       Greenlee, James              Bailey Cowan Heckaman PLLC    7:21-cv-33289-MCR-GRJ
  2916      313905       Greenman, Jameson            Bailey Cowan Heckaman PLLC    7:21-cv-33291-MCR-GRJ




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  2917      313906       Greer, Cory                     Bailey Cowan Heckaman PLLC    7:21-cv-33293-MCR-GRJ
  2918      313909       Grierjohnson, Shamadavid        Bailey Cowan Heckaman PLLC                               7:21-cv-33299-MCR-GRJ
  2919      313910       Griffith, Jason                 Bailey Cowan Heckaman PLLC    7:21-cv-33301-MCR-GRJ
  2920      313912       Grim, Nicholas                  Bailey Cowan Heckaman PLLC                               7:21-cv-33306-MCR-GRJ
  2921      313913       Grimes, Daniel                  Bailey Cowan Heckaman PLLC    7:21-cv-33308-MCR-GRJ
  2922      313917       Grogan, Zachary                 Bailey Cowan Heckaman PLLC                               7:21-cv-33317-MCR-GRJ
  2923      313918       Groleau, Lucien                 Bailey Cowan Heckaman PLLC    7:21-cv-33319-MCR-GRJ
  2924      313919       Grosenbach, David               Bailey Cowan Heckaman PLLC    7:21-cv-33321-MCR-GRJ
  2925      313920       Grossman, Evan                  Bailey Cowan Heckaman PLLC                               7:21-cv-33323-MCR-GRJ
  2926      313921       Gruman, Gregory                 Bailey Cowan Heckaman PLLC    7:21-cv-33325-MCR-GRJ
  2927      313922       Guardarrama, Edgar              Bailey Cowan Heckaman PLLC                               7:21-cv-33327-MCR-GRJ
  2928      313924       Guess, Brandon                  Bailey Cowan Heckaman PLLC    7:21-cv-33332-MCR-GRJ
  2929      313925       Gunderson, Edward               Bailey Cowan Heckaman PLLC    7:21-cv-33334-MCR-GRJ
  2930      313926       Gurule, Timothy                 Bailey Cowan Heckaman PLLC    7:21-cv-33336-MCR-GRJ
  2931      313927       Gustavson, Jeffrey              Bailey Cowan Heckaman PLLC    7:21-cv-33338-MCR-GRJ
  2932      313930       Guzman, Ignacio                 Bailey Cowan Heckaman PLLC                               7:21-cv-33345-MCR-GRJ
  2933      313932       Gysbers, Justin                 Bailey Cowan Heckaman PLLC                               7:21-cv-33349-MCR-GRJ
  2934      313935       Hackathorn, Josh                Bailey Cowan Heckaman PLLC    7:21-cv-33356-MCR-GRJ
  2935      313939       Hajduk, Corey                   Bailey Cowan Heckaman PLLC                               7:21-cv-33364-MCR-GRJ
  2936      313940       Halcomb, Trevor                 Bailey Cowan Heckaman PLLC                               7:21-cv-33366-MCR-GRJ
  2937      313943       Hall, Dustin                    Bailey Cowan Heckaman PLLC                               7:21-cv-32023-MCR-GRJ
  2938      313946       Hall, Justin                    Bailey Cowan Heckaman PLLC    7:21-cv-32029-MCR-GRJ
  2939      313948       Hall, Raymon                    Bailey Cowan Heckaman PLLC    7:21-cv-32032-MCR-GRJ
  2940      313949       Hall, Thomas                    Bailey Cowan Heckaman PLLC    7:21-cv-32034-MCR-GRJ
  2941      313951       Hallett, David                  Bailey Cowan Heckaman PLLC                               7:21-cv-32038-MCR-GRJ
  2942      313954       Hamdan Yassin, Abel             Bailey Cowan Heckaman PLLC                               7:21-cv-32044-MCR-GRJ
  2943      313956       Hampton, Kamal                  Bailey Cowan Heckaman PLLC                               7:21-cv-32047-MCR-GRJ
  2944      313957       Hanlon, Grant                   Bailey Cowan Heckaman PLLC    7:21-cv-32049-MCR-GRJ
  2945      313958       Hanlon, Patrick                 Bailey Cowan Heckaman PLLC                               7:21-cv-32051-MCR-GRJ
  2946      313959       Hannah, James                   Bailey Cowan Heckaman PLLC                               7:21-cv-32053-MCR-GRJ
  2947      313960       Hannum, Scott                   Bailey Cowan Heckaman PLLC    7:21-cv-32055-MCR-GRJ
  2948      313963       Hansen, Wallace                 Bailey Cowan Heckaman PLLC                               7:21-cv-32060-MCR-GRJ
  2949      313964       Hanson, Joseph                  Bailey Cowan Heckaman PLLC    7:21-cv-32062-MCR-GRJ
  2950      313965       Hanson, Michael                 Bailey Cowan Heckaman PLLC                               7:21-cv-32064-MCR-GRJ
  2951      313970       Hardy, Leonard                  Bailey Cowan Heckaman PLLC                               7:21-cv-32073-MCR-GRJ
  2952      313971       Harger, Cainen                  Bailey Cowan Heckaman PLLC    7:21-cv-32075-MCR-GRJ
  2953      313972       Hargrave, Michael               Bailey Cowan Heckaman PLLC    7:21-cv-32077-MCR-GRJ
  2954      313973       Hario, Robert                   Bailey Cowan Heckaman PLLC    7:21-cv-32079-MCR-GRJ
  2955      313974       Harker, Jesse                   Bailey Cowan Heckaman PLLC    7:21-cv-32080-MCR-GRJ
  2956      313976       Harmon, James                   Bailey Cowan Heckaman PLLC    7:21-cv-32084-MCR-GRJ
  2957      313977       Harner, Chris                   Bailey Cowan Heckaman PLLC    7:21-cv-32086-MCR-GRJ
  2958      313978       Harney, Brian                   Bailey Cowan Heckaman PLLC    7:21-cv-32088-MCR-GRJ
  2959      313979       Harney, Ryan                    Bailey Cowan Heckaman PLLC                               7:21-cv-32090-MCR-GRJ
  2960      313980       Harper, Daniel                  Bailey Cowan Heckaman PLLC    7:21-cv-32092-MCR-GRJ
  2961      313983       Harper, Larry                   Bailey Cowan Heckaman PLLC    7:21-cv-32097-MCR-GRJ
  2962      313987       Harris, Cesares                 Bailey Cowan Heckaman PLLC                               7:21-cv-32105-MCR-GRJ
  2963      313989       Harrison, Derick                Bailey Cowan Heckaman PLLC    7:21-cv-32108-MCR-GRJ
  2964      313990       Harrison, Nathan                Bailey Cowan Heckaman PLLC                               7:21-cv-32110-MCR-GRJ
  2965      313991       Harrison, Thomas                Bailey Cowan Heckaman PLLC    7:21-cv-32112-MCR-GRJ
  2966      313992       Hart, Nathan                    Bailey Cowan Heckaman PLLC                               7:21-cv-32114-MCR-GRJ
  2967      313993       Hart, Shawn                     Bailey Cowan Heckaman PLLC                               7:21-cv-32115-MCR-GRJ
  2968      313995       Haselden, Jervis                Bailey Cowan Heckaman PLLC                               7:21-cv-32119-MCR-GRJ
  2969      313996       Hastie, Amy                     Bailey Cowan Heckaman PLLC    7:21-cv-32121-MCR-GRJ
  2970      313997       Hatala, Robert                  Bailey Cowan Heckaman PLLC    7:21-cv-32123-MCR-GRJ




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  2971      313998       Hatfield, Kerby               Bailey Cowan Heckaman PLLC                               7:21-cv-32125-MCR-GRJ
  2972      313999       Hatfield, Michael             Bailey Cowan Heckaman PLLC                               7:21-cv-32127-MCR-GRJ
  2973      314000       Haugh, Matthew                Bailey Cowan Heckaman PLLC    7:21-cv-32128-MCR-GRJ
  2974      314001       Haun, Chris                   Bailey Cowan Heckaman PLLC    7:21-cv-32130-MCR-GRJ
  2975      314003       Hawk, Karl                    Bailey Cowan Heckaman PLLC                               7:21-cv-32134-MCR-GRJ
  2976      314005       Hayden, Scott                 Bailey Cowan Heckaman PLLC    7:21-cv-32138-MCR-GRJ
  2977      314007       Hayman, Joseph                Bailey Cowan Heckaman PLLC    7:21-cv-32141-MCR-GRJ
  2978      314009       Haynes, Nick                  Bailey Cowan Heckaman PLLC                               7:21-cv-32145-MCR-GRJ
  2979      314010       Hayter, John                  Bailey Cowan Heckaman PLLC    7:21-cv-32147-MCR-GRJ
  2980      314012       Heath, Aaron                  Bailey Cowan Heckaman PLLC    7:21-cv-32151-MCR-GRJ
  2981      314014       Hebert, Sean                  Bailey Cowan Heckaman PLLC    7:21-cv-32155-MCR-GRJ
  2982      314017       Hege, Evan                    Bailey Cowan Heckaman PLLC    7:21-cv-32160-MCR-GRJ
  2983      314018       Heighton, Douglas             Bailey Cowan Heckaman PLLC    7:21-cv-32162-MCR-GRJ
  2984      314020       Heller, Joshua                Bailey Cowan Heckaman PLLC    7:21-cv-32166-MCR-GRJ
  2985      314022       Helmer, Gerald                Bailey Cowan Heckaman PLLC                               7:21-cv-32170-MCR-GRJ
  2986      314024       Henderson, Jeremy             Bailey Cowan Heckaman PLLC    7:21-cv-32173-MCR-GRJ
  2987      314025       Henderson, Terry              Bailey Cowan Heckaman PLLC    7:21-cv-32175-MCR-GRJ
  2988      314026       Hengesteg, Samuel             Bailey Cowan Heckaman PLLC    7:21-cv-32177-MCR-GRJ
  2989      314029       Hensley, Daryl                Bailey Cowan Heckaman PLLC                               7:21-cv-32183-MCR-GRJ
  2990      314031       Hernandez, Greg               Bailey Cowan Heckaman PLLC    7:21-cv-32187-MCR-GRJ
  2991      314033       Hernandez, Jonathan           Bailey Cowan Heckaman PLLC                               7:21-cv-32190-MCR-GRJ
  2992      314034       Hernandez, Jose               Bailey Cowan Heckaman PLLC                               7:21-cv-32192-MCR-GRJ
  2993      314038       Herndon, Jered                Bailey Cowan Heckaman PLLC                               7:21-cv-32199-MCR-GRJ
  2994      314042       Hershner, Mathew              Bailey Cowan Heckaman PLLC    7:21-cv-32207-MCR-GRJ
  2995      314043       Hertig, Daniel                Bailey Cowan Heckaman PLLC    7:21-cv-32209-MCR-GRJ
  2996      314044       Hicks, Daniel                 Bailey Cowan Heckaman PLLC    7:21-cv-32210-MCR-GRJ
  2997      314045       Hicks, Miles                  Bailey Cowan Heckaman PLLC    7:21-cv-32212-MCR-GRJ
  2998      314046       Hieberr, Michael              Bailey Cowan Heckaman PLLC    7:21-cv-32214-MCR-GRJ
  2999      314047       Higley, Dennis                Bailey Cowan Heckaman PLLC                               7:21-cv-32216-MCR-GRJ
  3000      314049       Hildebrant, Dakota            Bailey Cowan Heckaman PLLC    7:21-cv-32220-MCR-GRJ
  3001      314050       Hildreth, Zechariah           Bailey Cowan Heckaman PLLC    7:21-cv-32222-MCR-GRJ
  3002      314052       Hill, Gregory                 Bailey Cowan Heckaman PLLC    7:21-cv-32225-MCR-GRJ
  3003      314053       Hill, Sherwood                Bailey Cowan Heckaman PLLC    7:21-cv-32227-MCR-GRJ
  3004      314057       Hines, Larryjo                Bailey Cowan Heckaman PLLC    7:21-cv-32234-MCR-GRJ
  3005      314063       Hively, Micheal               Bailey Cowan Heckaman PLLC                               7:21-cv-32246-MCR-GRJ
  3006      314065       Hoben, Kyle                   Bailey Cowan Heckaman PLLC    7:21-cv-32249-MCR-GRJ
  3007      314066       Hodges, Randy                 Bailey Cowan Heckaman PLLC                               7:21-cv-32251-MCR-GRJ
  3008      314067       Hodges, Seth                  Bailey Cowan Heckaman PLLC    7:21-cv-32253-MCR-GRJ
  3009      314069       Hogue, Richard                Bailey Cowan Heckaman PLLC    7:21-cv-32257-MCR-GRJ
  3010      314070       Holcomb, Jesse                Bailey Cowan Heckaman PLLC    7:21-cv-32259-MCR-GRJ
  3011      314071       Holcombe, Alan                Bailey Cowan Heckaman PLLC    7:21-cv-32260-MCR-GRJ
  3012      314072       Holder, Marcus                Bailey Cowan Heckaman PLLC    7:21-cv-32262-MCR-GRJ
  3013      314074       Holsclaw, James               Bailey Cowan Heckaman PLLC    7:21-cv-32266-MCR-GRJ
  3014      314075       Holst, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-32268-MCR-GRJ
  3015      314076       Holyfield-mann, Nicolas       Bailey Cowan Heckaman PLLC                               7:21-cv-32270-MCR-GRJ
  3016      314077       Holyoak, Daniel               Bailey Cowan Heckaman PLLC    7:21-cv-32271-MCR-GRJ
  3017      314078       Honaker, Kevin                Bailey Cowan Heckaman PLLC    7:21-cv-32273-MCR-GRJ
  3018      314079       Honer, Charles                Bailey Cowan Heckaman PLLC    7:21-cv-32275-MCR-GRJ
  3019      314080       Hood, Catlin                  Bailey Cowan Heckaman PLLC    7:21-cv-32277-MCR-GRJ
  3020      314082       Hoover, William               Bailey Cowan Heckaman PLLC                               7:21-cv-32281-MCR-GRJ
  3021      314084       Hopkins, James                Bailey Cowan Heckaman PLLC    7:21-cv-32284-MCR-GRJ
  3022      314085       Hopkins, Scott                Bailey Cowan Heckaman PLLC    7:21-cv-32286-MCR-GRJ
  3023      314087       Horn, Casey                   Bailey Cowan Heckaman PLLC                               7:21-cv-32290-MCR-GRJ
  3024      314089       Hornaday, Broc                Bailey Cowan Heckaman PLLC    7:21-cv-32293-MCR-GRJ




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  Row     Plaintiff ID                 Plaintiff Name           Law Firm Name        Admin Docket Case Number   Active Docket Case Number
  3025      314091       Horton, Glenn                  Bailey Cowan Heckaman PLLC    7:21-cv-32297-MCR-GRJ
  3026      314092       Houck, Edward                  Bailey Cowan Heckaman PLLC                               7:21-cv-32299-MCR-GRJ
  3027      314093       Householder, James             Bailey Cowan Heckaman PLLC    7:21-cv-32301-MCR-GRJ
  3028      314095       Howard, Jonathan               Bailey Cowan Heckaman PLLC    7:21-cv-32304-MCR-GRJ
  3029      314096       Howerton, Jeffrey              Bailey Cowan Heckaman PLLC                               7:21-cv-32305-MCR-GRJ
  3030      314098       Huber, David                   Bailey Cowan Heckaman PLLC                               7:21-cv-32307-MCR-GRJ
  3031      314099       Huddleston, Christopher        Bailey Cowan Heckaman PLLC    7:21-cv-32308-MCR-GRJ
  3032      314101       Hudson, Tim                    Bailey Cowan Heckaman PLLC                               7:21-cv-32310-MCR-GRJ
  3033      314104       Huffman, Ryan                  Bailey Cowan Heckaman PLLC    7:21-cv-32313-MCR-GRJ
  3034      314105       Hughes, Woodrow                Bailey Cowan Heckaman PLLC    7:21-cv-32314-MCR-GRJ
  3035      314106       Hughs, Brian                   Bailey Cowan Heckaman PLLC                               7:21-cv-32315-MCR-GRJ
  3036      314107       Hulse, Richard                 Bailey Cowan Heckaman PLLC    7:21-cv-32316-MCR-GRJ
  3037      314108       Hulsizer, Mathew               Bailey Cowan Heckaman PLLC    7:21-cv-32317-MCR-GRJ
  3038      314110       Hunter, Clarence               Bailey Cowan Heckaman PLLC                               7:21-cv-32319-MCR-GRJ
  3039      314111       Hurley, Jamison                Bailey Cowan Heckaman PLLC    7:21-cv-32320-MCR-GRJ
  3040      314112       Huston, Cody                   Bailey Cowan Heckaman PLLC    7:21-cv-32321-MCR-GRJ
  3041      314113       Hutchinson, Evan               Bailey Cowan Heckaman PLLC                               7:21-cv-32322-MCR-GRJ
  3042      314114       Huynh, Loc                     Bailey Cowan Heckaman PLLC    7:21-cv-32323-MCR-GRJ
  3043      314115       Ianni, David                   Bailey Cowan Heckaman PLLC    7:21-cv-32324-MCR-GRJ
  3044      314117       Ibarra, Jaime                  Bailey Cowan Heckaman PLLC    7:21-cv-32326-MCR-GRJ
  3045      314119       Immordino, Philip              Bailey Cowan Heckaman PLLC    7:21-cv-32328-MCR-GRJ
  3046      314120       Inbody, Erik                   Bailey Cowan Heckaman PLLC    7:21-cv-32329-MCR-GRJ
  3047      314121       Ingle, Benjamin                Bailey Cowan Heckaman PLLC                               7:21-cv-32330-MCR-GRJ
  3048      314122       Ingram, Austin                 Bailey Cowan Heckaman PLLC    7:21-cv-32331-MCR-GRJ
  3049      314125       Irby, Donald                   Bailey Cowan Heckaman PLLC                               7:21-cv-32334-MCR-GRJ
  3050      314127       Iwinski, Austin                Bailey Cowan Heckaman PLLC    7:21-cv-32336-MCR-GRJ
  3051      314129       Jackson, Kory                  Bailey Cowan Heckaman PLLC    7:21-cv-32338-MCR-GRJ
  3052      314131       Jackson, Larry                 Bailey Cowan Heckaman PLLC    7:21-cv-32340-MCR-GRJ
  3053      314134       Jacobs, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-32343-MCR-GRJ
  3054      314135       Jaime, Daniel                  Bailey Cowan Heckaman PLLC                               7:21-cv-32344-MCR-GRJ
  3055      314136       James, Brandon                 Bailey Cowan Heckaman PLLC                               7:21-cv-32345-MCR-GRJ
  3056      314140       Jarrett, Carl                  Bailey Cowan Heckaman PLLC    7:21-cv-32349-MCR-GRJ
  3057      314141       Jarrett, Quincy                Bailey Cowan Heckaman PLLC                               7:21-cv-32350-MCR-GRJ
  3058      314142       Jeffers, Chad                  Bailey Cowan Heckaman PLLC                               7:21-cv-32351-MCR-GRJ
  3059      314143       Jefferson, Philip              Bailey Cowan Heckaman PLLC    7:21-cv-32352-MCR-GRJ
  3060      314144       Jensen, Chad                   Bailey Cowan Heckaman PLLC    7:21-cv-32353-MCR-GRJ
  3061      314145       Jettinghoff, Erik              Bailey Cowan Heckaman PLLC    7:21-cv-32354-MCR-GRJ
  3062      314150       Johanson, Kyle                 Bailey Cowan Heckaman PLLC    7:21-cv-32359-MCR-GRJ
  3063      314151       Johns, Johnathan               Bailey Cowan Heckaman PLLC                               7:21-cv-32360-MCR-GRJ
  3064      314154       Johnson, Christopher           Bailey Cowan Heckaman PLLC    7:21-cv-32363-MCR-GRJ
  3065      314155       Johnson, Dakota                Bailey Cowan Heckaman PLLC    7:21-cv-32364-MCR-GRJ
  3066      314156       JOHNSON, DAVID                 Bailey Cowan Heckaman PLLC    7:21-cv-32365-MCR-GRJ
  3067      314157       Johnson, Jonathan              Bailey Cowan Heckaman PLLC    7:21-cv-32366-MCR-GRJ
  3068      314158       JOHNSON, JOSEPH                Bailey Cowan Heckaman PLLC    7:21-cv-32367-MCR-GRJ
  3069      314159       Johnson, Kevin                 Bailey Cowan Heckaman PLLC                               7:21-cv-32368-MCR-GRJ
  3070      314160       JOHNSON, MARK                  Bailey Cowan Heckaman PLLC    7:21-cv-32369-MCR-GRJ
  3071      314161       Johnson, Matt                  Bailey Cowan Heckaman PLLC                               7:21-cv-32370-MCR-GRJ
  3072      314162       JOHNSON, MICHAEL               Bailey Cowan Heckaman PLLC    7:21-cv-32371-MCR-GRJ
  3073      314165       Johnston, Richard              Bailey Cowan Heckaman PLLC                               7:21-cv-32374-MCR-GRJ
  3074      314166       Johnston, William              Bailey Cowan Heckaman PLLC    7:21-cv-32375-MCR-GRJ
  3075      314167       Jolin, Sean                    Bailey Cowan Heckaman PLLC                               7:21-cv-32376-MCR-GRJ
  3076      314169       JONES, BRANDON                 Bailey Cowan Heckaman PLLC    7:21-cv-32378-MCR-GRJ
  3077      314172       Jones, Darcy                   Bailey Cowan Heckaman PLLC                               7:21-cv-32381-MCR-GRJ
  3078      314173       Jones, Henry                   Bailey Cowan Heckaman PLLC    7:21-cv-32382-MCR-GRJ




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  Row     Plaintiff ID                 Plaintiff Name           Law Firm Name        Admin Docket Case Number   Active Docket Case Number
  3079      314174       Jones, James                   Bailey Cowan Heckaman PLLC                               7:21-cv-32383-MCR-GRJ
  3080      314175       Jones, James                   Bailey Cowan Heckaman PLLC    7:21-cv-32384-MCR-GRJ
  3081      314178       Jones, Jonathon                Bailey Cowan Heckaman PLLC    7:21-cv-32387-MCR-GRJ
  3082      314179       Jones, Joshua                  Bailey Cowan Heckaman PLLC                               7:21-cv-32388-MCR-GRJ
  3083      314181       Jones, Matt                    Bailey Cowan Heckaman PLLC                               7:21-cv-32390-MCR-GRJ
  3084      314182       Jones, Nick                    Bailey Cowan Heckaman PLLC                               7:21-cv-32391-MCR-GRJ
  3085      314185       Jones, Tristan                 Bailey Cowan Heckaman PLLC    7:21-cv-32394-MCR-GRJ
  3086      314186       JONES, WILLIAM                 Bailey Cowan Heckaman PLLC                               7:21-cv-32395-MCR-GRJ
  3087      314187       Jordan, Larry                  Bailey Cowan Heckaman PLLC    7:21-cv-32396-MCR-GRJ
  3088      314189       Jordan, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-32398-MCR-GRJ
  3089      314190       Jordan, Virgil                 Bailey Cowan Heckaman PLLC                               7:21-cv-32399-MCR-GRJ
  3090      314191       Jordan, Jerrold                Bailey Cowan Heckaman PLLC    7:21-cv-32400-MCR-GRJ
  3091      314192       Jorgensen, Dane                Bailey Cowan Heckaman PLLC    7:21-cv-32401-MCR-GRJ
  3092      314193       Joyce, Andrew                  Bailey Cowan Heckaman PLLC    7:21-cv-32402-MCR-GRJ
  3093      314196       Judy, Jonathan                 Bailey Cowan Heckaman PLLC                               7:21-cv-32405-MCR-GRJ
  3094      314197       Julun, Anthony                 Bailey Cowan Heckaman PLLC    7:21-cv-32406-MCR-GRJ
  3095      314198       Jungkuntz, Scottie             Bailey Cowan Heckaman PLLC                               7:21-cv-32407-MCR-GRJ
  3096      314199       Kahl, Timothy                  Bailey Cowan Heckaman PLLC    7:21-cv-32408-MCR-GRJ
  3097      314200       Kaiser, Reed                   Bailey Cowan Heckaman PLLC                               7:21-cv-32409-MCR-GRJ
  3098      314205       Kaye, Steven                   Bailey Cowan Heckaman PLLC    7:21-cv-32414-MCR-GRJ
  3099      314206       Keck, Daniel                   Bailey Cowan Heckaman PLLC    7:21-cv-32415-MCR-GRJ
  3100      314207       Keene, Aaron                   Bailey Cowan Heckaman PLLC    7:21-cv-32416-MCR-GRJ
  3101      314208       Keesler, Jared                 Bailey Cowan Heckaman PLLC    7:21-cv-32417-MCR-GRJ
  3102      314209       Keller, Josh                   Bailey Cowan Heckaman PLLC    7:21-cv-32418-MCR-GRJ
  3103      314210       Kelley, Benjamin               Bailey Cowan Heckaman PLLC    7:21-cv-32419-MCR-GRJ
  3104      314213       Kelsch, Jesse                  Bailey Cowan Heckaman PLLC    7:21-cv-32422-MCR-GRJ
  3105      314214       Kelsey, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-32423-MCR-GRJ
  3106      314216       Kenneavy, Stephan              Bailey Cowan Heckaman PLLC    7:21-cv-32425-MCR-GRJ
  3107      314219       Kennedy, Reginald              Bailey Cowan Heckaman PLLC                               7:21-cv-32428-MCR-GRJ
  3108      314223       Kerley, Royce                  Bailey Cowan Heckaman PLLC    7:21-cv-32432-MCR-GRJ
  3109      314224       Kernaghan, Ian                 Bailey Cowan Heckaman PLLC                               7:21-cv-32433-MCR-GRJ
  3110      314226       Kerr, David                    Bailey Cowan Heckaman PLLC    7:21-cv-32435-MCR-GRJ
  3111      314227       Kessel, Ian                    Bailey Cowan Heckaman PLLC    7:21-cv-32436-MCR-GRJ
  3112      314228       Kessler, Richard               Bailey Cowan Heckaman PLLC                               7:21-cv-32437-MCR-GRJ
  3113      314229       Khadaran, Richard              Bailey Cowan Heckaman PLLC                               7:21-cv-32438-MCR-GRJ
  3114      314230       Kiddle, Andrew                 Bailey Cowan Heckaman PLLC                               7:21-cv-32439-MCR-GRJ
  3115      314232       Kiesling, Michael              Bailey Cowan Heckaman PLLC    7:21-cv-32441-MCR-GRJ
  3116      314233       Kilgore, James                 Bailey Cowan Heckaman PLLC                               7:21-cv-32442-MCR-GRJ
  3117      314234       Kimble, Broderick              Bailey Cowan Heckaman PLLC    7:21-cv-32443-MCR-GRJ
  3118      314236       King, Cody                     Bailey Cowan Heckaman PLLC    7:21-cv-32445-MCR-GRJ
  3119      314237       King, Corey                    Bailey Cowan Heckaman PLLC    7:21-cv-32446-MCR-GRJ
  3120      314238       King, Jamar                    Bailey Cowan Heckaman PLLC                               7:21-cv-32447-MCR-GRJ
  3121      314240       KING, MICHAEL                  Bailey Cowan Heckaman PLLC    7:21-cv-32449-MCR-GRJ
  3122      314241       KING, MICHAEL                  Bailey Cowan Heckaman PLLC    7:21-cv-32450-MCR-GRJ
  3123      314245       Kirby, Justin                  Bailey Cowan Heckaman PLLC                               7:21-cv-32454-MCR-GRJ
  3124      314246       Kirven, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-32455-MCR-GRJ
  3125      314248       Klimes, John                   Bailey Cowan Heckaman PLLC                               7:21-cv-32457-MCR-GRJ
  3126      314250       Klumpe, Steven                 Bailey Cowan Heckaman PLLC    7:21-cv-32459-MCR-GRJ
  3127      314251       Knebl, Kyle                    Bailey Cowan Heckaman PLLC                               7:21-cv-32460-MCR-GRJ
  3128      314252       Knerl, Robert                  Bailey Cowan Heckaman PLLC    7:21-cv-32461-MCR-GRJ
  3129      314253       Knight, Ian                    Bailey Cowan Heckaman PLLC    7:21-cv-32462-MCR-GRJ
  3130      314255       Knisley, Kenneth               Bailey Cowan Heckaman PLLC    7:21-cv-32464-MCR-GRJ
  3131      314256       Knouse, Todd                   Bailey Cowan Heckaman PLLC                               7:21-cv-32465-MCR-GRJ
  3132      314257       Knowlton, Travis               Bailey Cowan Heckaman PLLC                               7:21-cv-32466-MCR-GRJ




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  3133      314259       Kohler, Kenneth                Bailey Cowan Heckaman PLLC    7:21-cv-32468-MCR-GRJ
  3134      314260       Kohlwes, Jeremy                Bailey Cowan Heckaman PLLC    7:21-cv-32469-MCR-GRJ
  3135      314262       Kolowajtis, Zachary            Bailey Cowan Heckaman PLLC                               7:21-cv-32471-MCR-GRJ
  3136      314263       Konkrasang, Misty              Bailey Cowan Heckaman PLLC    7:21-cv-32472-MCR-GRJ
  3137      314264       Kontis, Philip                 Bailey Cowan Heckaman PLLC    7:21-cv-32473-MCR-GRJ
  3138      314265       Koons, Lonny                   Bailey Cowan Heckaman PLLC    7:21-cv-32474-MCR-GRJ
  3139      314267       Kozlowski, Brian               Bailey Cowan Heckaman PLLC    7:21-cv-32476-MCR-GRJ
  3140      314268       Kramme, Cody                   Bailey Cowan Heckaman PLLC                               7:21-cv-32477-MCR-GRJ
  3141      314272       Krogmann, Michael              Bailey Cowan Heckaman PLLC                               7:21-cv-32481-MCR-GRJ
  3142      314274       Krug, Michael                  Bailey Cowan Heckaman PLLC    7:21-cv-32483-MCR-GRJ
  3143      314275       Kruse, Clayton                 Bailey Cowan Heckaman PLLC    7:21-cv-32484-MCR-GRJ
  3144      314277       Kuhn, Jeffrey                  Bailey Cowan Heckaman PLLC    7:21-cv-32486-MCR-GRJ
  3145      314278       Kuhn, William                  Bailey Cowan Heckaman PLLC                               7:21-cv-32487-MCR-GRJ
  3146      314280       Kurzeja, Tom                   Bailey Cowan Heckaman PLLC                               7:21-cv-32489-MCR-GRJ
  3147      314282       Kyander, Matthew               Bailey Cowan Heckaman PLLC    7:21-cv-32491-MCR-GRJ
  3148      314284       Kyllo, Jaecob                  Bailey Cowan Heckaman PLLC    7:21-cv-32493-MCR-GRJ
  3149      314287       Labbaika, Mohammed             Bailey Cowan Heckaman PLLC    7:21-cv-32496-MCR-GRJ
  3150      314289       Lake, Bryan                    Bailey Cowan Heckaman PLLC    7:21-cv-32498-MCR-GRJ
  3151      314290       Lake, Eric                     Bailey Cowan Heckaman PLLC    7:21-cv-32499-MCR-GRJ
  3152      314292       Lambert, Luke                  Bailey Cowan Heckaman PLLC    7:21-cv-32501-MCR-GRJ
  3153      314293       Lambott, Michael               Bailey Cowan Heckaman PLLC    7:21-cv-32502-MCR-GRJ
  3154      314295       Landry, Ben                    Bailey Cowan Heckaman PLLC                               7:21-cv-32504-MCR-GRJ
  3155      314296       Lane, Erik                     Bailey Cowan Heckaman PLLC    7:21-cv-32505-MCR-GRJ
  3156      314298       Lane, Spencer                  Bailey Cowan Heckaman PLLC                               7:21-cv-32507-MCR-GRJ
  3157      314299       Laney, James                   Bailey Cowan Heckaman PLLC                               7:21-cv-32508-MCR-GRJ
  3158      314300       Langdon, Matthew               Bailey Cowan Heckaman PLLC                               7:21-cv-32509-MCR-GRJ
  3159      314301       Langley, Chad                  Bailey Cowan Heckaman PLLC    7:21-cv-32510-MCR-GRJ
  3160      314304       Lantz, Brandon                 Bailey Cowan Heckaman PLLC                               7:21-cv-32513-MCR-GRJ
  3161      314307       Larkin, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-32516-MCR-GRJ
  3162      314308       Larned, Geoffrey               Bailey Cowan Heckaman PLLC    7:21-cv-32517-MCR-GRJ
  3163      314309       Larson, Johnathan              Bailey Cowan Heckaman PLLC    7:21-cv-32518-MCR-GRJ
  3164      314310       LARSON, MATTHEW                Bailey Cowan Heckaman PLLC    7:21-cv-32519-MCR-GRJ
  3165      314311       Larson, Thomas                 Bailey Cowan Heckaman PLLC    7:21-cv-32520-MCR-GRJ
  3166      314315       Lauder, Shane                  Bailey Cowan Heckaman PLLC    7:21-cv-32524-MCR-GRJ
  3167      314317       Law, Carl                      Bailey Cowan Heckaman PLLC                               7:21-cv-32526-MCR-GRJ
  3168      314318       Lawrance, Derek                Bailey Cowan Heckaman PLLC    7:21-cv-32527-MCR-GRJ
  3169      314320       Lawson, Kyle                   Bailey Cowan Heckaman PLLC                               7:21-cv-32529-MCR-GRJ
  3170      314321       Lawson, Shawn                  Bailey Cowan Heckaman PLLC                               7:21-cv-32530-MCR-GRJ
  3171      314323       Lazaro, Leal                   Bailey Cowan Heckaman PLLC                               7:21-cv-32532-MCR-GRJ
  3172      314328       Leavines, Tommy                Bailey Cowan Heckaman PLLC    7:21-cv-32537-MCR-GRJ
  3173      314329       Lebo, David                    Bailey Cowan Heckaman PLLC                               7:21-cv-32538-MCR-GRJ
  3174      314330       Lecuyer, Michael               Bailey Cowan Heckaman PLLC    7:21-cv-32539-MCR-GRJ
  3175      314333       Lee, Jayson                    Bailey Cowan Heckaman PLLC    7:21-cv-32542-MCR-GRJ
  3176      314334       Lee, Justin                    Bailey Cowan Heckaman PLLC                               7:21-cv-32543-MCR-GRJ
  3177      314335       Lee, Justin                    Bailey Cowan Heckaman PLLC                               7:21-cv-32544-MCR-GRJ
  3178      314337       Lefan, James                   Bailey Cowan Heckaman PLLC    7:21-cv-32546-MCR-GRJ
  3179      314338       Leffel, James                  Bailey Cowan Heckaman PLLC                               7:21-cv-32547-MCR-GRJ
  3180      314340       Lehman, Daniel                 Bailey Cowan Heckaman PLLC    7:21-cv-32549-MCR-GRJ
  3181      314342       Leitzen, Patrick               Bailey Cowan Heckaman PLLC    7:21-cv-32551-MCR-GRJ
  3182      314345       Lenz, Hal                      Bailey Cowan Heckaman PLLC    7:21-cv-32554-MCR-GRJ
  3183      314346       Lesser, Robert                 Bailey Cowan Heckaman PLLC    7:21-cv-32555-MCR-GRJ
  3184      314347       Leuenhagen, Jeremiah           Bailey Cowan Heckaman PLLC    7:21-cv-32556-MCR-GRJ
  3185      314348       Levenhagen, Jeremy             Bailey Cowan Heckaman PLLC    7:21-cv-32557-MCR-GRJ
  3186      314351       Lewis, Anthony                 Bailey Cowan Heckaman PLLC                               7:21-cv-32560-MCR-GRJ




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  3187      314352       Lewis, Derick                   Bailey Cowan Heckaman PLLC                               7:21-cv-32561-MCR-GRJ
  3188      314354       Lewis, Jody                     Bailey Cowan Heckaman PLLC                               7:21-cv-32563-MCR-GRJ
  3189      314359       Liebel, Tyrell                  Bailey Cowan Heckaman PLLC                               7:21-cv-32568-MCR-GRJ
  3190      314360       Lillard, Andrew                 Bailey Cowan Heckaman PLLC    7:21-cv-32569-MCR-GRJ
  3191      314361       Linder, Joshua                  Bailey Cowan Heckaman PLLC    7:21-cv-32570-MCR-GRJ
  3192      314366       Lineback, Bryan                 Bailey Cowan Heckaman PLLC                               7:21-cv-32575-MCR-GRJ
  3193      314367       Link, Erik                      Bailey Cowan Heckaman PLLC    7:21-cv-32576-MCR-GRJ
  3194      314368       Link, Justin                    Bailey Cowan Heckaman PLLC    7:21-cv-32577-MCR-GRJ
  3195      314369       Linsenbach, Richard             Bailey Cowan Heckaman PLLC    7:21-cv-32578-MCR-GRJ
  3196      314371       Litteken, Christopher           Bailey Cowan Heckaman PLLC    7:21-cv-32580-MCR-GRJ
  3197      314372       Little, Hank                    Bailey Cowan Heckaman PLLC    7:21-cv-32581-MCR-GRJ
  3198      314373       Litts, George                   Bailey Cowan Heckaman PLLC    7:21-cv-32582-MCR-GRJ
  3199      314375       Livingston, Larry               Bailey Cowan Heckaman PLLC    7:21-cv-32584-MCR-GRJ
  3200      314377       Lockett, Jaunci                 Bailey Cowan Heckaman PLLC    7:21-cv-32586-MCR-GRJ
  3201      314378       Locklear, Helsup                Bailey Cowan Heckaman PLLC    7:21-cv-32587-MCR-GRJ
  3202      314380       Lollis, James                   Bailey Cowan Heckaman PLLC    7:21-cv-32589-MCR-GRJ
  3203      314385       Lopez, Michael                  Bailey Cowan Heckaman PLLC    7:21-cv-32594-MCR-GRJ
  3204      314386       Lopez, Ramon                    Bailey Cowan Heckaman PLLC    7:21-cv-32595-MCR-GRJ
  3205      314387       Loudin, David                   Bailey Cowan Heckaman PLLC                               7:21-cv-32596-MCR-GRJ
  3206      314388       Louis, Christopher              Bailey Cowan Heckaman PLLC    7:21-cv-32597-MCR-GRJ
  3207      314389       Lowe, Matthew                   Bailey Cowan Heckaman PLLC    7:21-cv-32598-MCR-GRJ
  3208      314391       LOWERY, JOHN                    Bailey Cowan Heckaman PLLC    7:21-cv-32600-MCR-GRJ
  3209      314392       Lowery, Leland                  Bailey Cowan Heckaman PLLC                               7:21-cv-32601-MCR-GRJ
  3210      314393       Luc, Zacherie                   Bailey Cowan Heckaman PLLC    7:21-cv-32602-MCR-GRJ
  3211      314394       Lucario, Vincent                Bailey Cowan Heckaman PLLC                               7:21-cv-32603-MCR-GRJ
  3212      314396       Lucero, Marshall                Bailey Cowan Heckaman PLLC                               7:21-cv-32605-MCR-GRJ
  3213      314397       Lucius, Jonpaul                 Bailey Cowan Heckaman PLLC                               7:21-cv-32606-MCR-GRJ
  3214      314399       Luna, Alfred                    Bailey Cowan Heckaman PLLC                               7:21-cv-32608-MCR-GRJ
  3215      314400       Luna, Jason                     Bailey Cowan Heckaman PLLC    7:21-cv-32609-MCR-GRJ
  3216      314401       Luneke, Anthony                 Bailey Cowan Heckaman PLLC                               7:21-cv-32610-MCR-GRJ
  3217      314402       Lutz, Ross                      Bailey Cowan Heckaman PLLC    7:21-cv-32611-MCR-GRJ
  3218      314403       Luxton, Bryan                   Bailey Cowan Heckaman PLLC    7:21-cv-32612-MCR-GRJ
  3219      314404       Ly, Wilson                      Bailey Cowan Heckaman PLLC    7:21-cv-32613-MCR-GRJ
  3220      314405       Lycans, Vance                   Bailey Cowan Heckaman PLLC                               7:21-cv-32614-MCR-GRJ
  3221      314406       Lykins, Jason                   Bailey Cowan Heckaman PLLC    7:21-cv-32615-MCR-GRJ
  3222      314407       Lyman, Anthony                  Bailey Cowan Heckaman PLLC    7:21-cv-32616-MCR-GRJ
  3223      314408       Lyons, Jeffrey                  Bailey Cowan Heckaman PLLC    7:21-cv-32617-MCR-GRJ
  3224      314410       Macdonald, Tyler                Bailey Cowan Heckaman PLLC                               7:21-cv-32619-MCR-GRJ
  3225      314411       Maclean, Brian                  Bailey Cowan Heckaman PLLC    7:21-cv-32620-MCR-GRJ
  3226      314412       Macready, Christopher           Bailey Cowan Heckaman PLLC                               7:21-cv-32621-MCR-GRJ
  3227      314413       Madison, Mason                  Bailey Cowan Heckaman PLLC    7:21-cv-32622-MCR-GRJ
  3228      314414       Madrid, Christian               Bailey Cowan Heckaman PLLC    7:21-cv-32623-MCR-GRJ
  3229      314415       Maez, Manuel                    Bailey Cowan Heckaman PLLC    7:21-cv-32624-MCR-GRJ
  3230      314416       Magee, Robert                   Bailey Cowan Heckaman PLLC    7:21-cv-32625-MCR-GRJ
  3231      314420       Main, Brandon                   Bailey Cowan Heckaman PLLC                               7:21-cv-32629-MCR-GRJ
  3232      314421       Main, Herman                    Bailey Cowan Heckaman PLLC    7:21-cv-32630-MCR-GRJ
  3233      314423       Makuch, Josiah                  Bailey Cowan Heckaman PLLC    7:21-cv-32632-MCR-GRJ
  3234      314426       Mallonee, Mike                  Bailey Cowan Heckaman PLLC    7:21-cv-32635-MCR-GRJ
  3235      314427       Malone, Corey                   Bailey Cowan Heckaman PLLC                               7:21-cv-32636-MCR-GRJ
  3236      314428       Malone, Jared                   Bailey Cowan Heckaman PLLC    7:21-cv-32637-MCR-GRJ
  3237      314429       Malone, Joseph                  Bailey Cowan Heckaman PLLC    7:21-cv-32638-MCR-GRJ
  3238      314432       Mansell, Stuart                 Bailey Cowan Heckaman PLLC                               7:21-cv-32641-MCR-GRJ
  3239      314434       Margelofsky, Brock              Bailey Cowan Heckaman PLLC    7:21-cv-32643-MCR-GRJ
  3240      314435       Marhefka, Lawrence              Bailey Cowan Heckaman PLLC    7:21-cv-32644-MCR-GRJ




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  3241      314436       Markey, David               Bailey Cowan Heckaman PLLC                               7:21-cv-32645-MCR-GRJ
  3242      314438       Marks, Tyler                Bailey Cowan Heckaman PLLC                               7:21-cv-32647-MCR-GRJ
  3243      314440       Maroscher, Matt             Bailey Cowan Heckaman PLLC                               7:21-cv-32649-MCR-GRJ
  3244      314442       Marshall, Gavontae          Bailey Cowan Heckaman PLLC    7:21-cv-32651-MCR-GRJ
  3245      314444       Martin, Branson             Bailey Cowan Heckaman PLLC    7:21-cv-32653-MCR-GRJ
  3246      314445       Martin, Glenn               Bailey Cowan Heckaman PLLC    7:21-cv-32654-MCR-GRJ
  3247      314446       Martin, Keith               Bailey Cowan Heckaman PLLC    7:21-cv-32655-MCR-GRJ
  3248      314449       Martin, Stephen             Bailey Cowan Heckaman PLLC    7:21-cv-32658-MCR-GRJ
  3249      314450       Martinez, Ben               Bailey Cowan Heckaman PLLC    7:21-cv-32659-MCR-GRJ
  3250      314451       Martinez, Benjamin          Bailey Cowan Heckaman PLLC                               7:21-cv-32660-MCR-GRJ
  3251      314454       Martinez, Loren             Bailey Cowan Heckaman PLLC    7:21-cv-32663-MCR-GRJ
  3252      314455       Martinez, Michael           Bailey Cowan Heckaman PLLC    7:21-cv-32664-MCR-GRJ
  3253      314456       Martinez Estrada, Alfredo   Bailey Cowan Heckaman PLLC    7:21-cv-32665-MCR-GRJ
  3254      314458       Marzic, Christopher         Bailey Cowan Heckaman PLLC    7:21-cv-32667-MCR-GRJ
  3255      314461       Mathews, Dennis             Bailey Cowan Heckaman PLLC                               7:21-cv-32670-MCR-GRJ
  3256      314462       Mathias, Justin             Bailey Cowan Heckaman PLLC                               7:21-cv-32671-MCR-GRJ
  3257      314463       Mathieu, Corey              Bailey Cowan Heckaman PLLC                               7:21-cv-32672-MCR-GRJ
  3258      314464       Matthews, Charles           Bailey Cowan Heckaman PLLC    7:21-cv-32673-MCR-GRJ
  3259      314467       May, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-32676-MCR-GRJ
  3260      314468       Maynard, Jessy              Bailey Cowan Heckaman PLLC    7:21-cv-32677-MCR-GRJ
  3261      314469       Maza, Michael               Bailey Cowan Heckaman PLLC    7:21-cv-32678-MCR-GRJ
  3262      314470       Mazrim, Ryan                Bailey Cowan Heckaman PLLC                               7:21-cv-32679-MCR-GRJ
  3263      314474       Mccabe, John                Bailey Cowan Heckaman PLLC                               7:21-cv-32683-MCR-GRJ
  3264      314475       Mccaig, Kevin               Bailey Cowan Heckaman PLLC                               7:21-cv-32684-MCR-GRJ
  3265      314477       Mccallum, Christopher       Bailey Cowan Heckaman PLLC    7:21-cv-32686-MCR-GRJ
  3266      314481       Mccarver, Justin            Bailey Cowan Heckaman PLLC    7:21-cv-32690-MCR-GRJ
  3267      314485       Mccollough, Richard         Bailey Cowan Heckaman PLLC    7:21-cv-32694-MCR-GRJ
  3268      314487       Mccormick, Tom              Bailey Cowan Heckaman PLLC                               7:21-cv-32696-MCR-GRJ
  3269      314488       Mccoy, Holden               Bailey Cowan Heckaman PLLC    7:21-cv-32697-MCR-GRJ
  3270      314489       Mccoy, Kevin                Bailey Cowan Heckaman PLLC    7:21-cv-32698-MCR-GRJ
  3271      314490       Mccoy, Ronald               Bailey Cowan Heckaman PLLC    7:21-cv-32699-MCR-GRJ
  3272      314494       Mcdonald, Christopher       Bailey Cowan Heckaman PLLC    7:21-cv-32703-MCR-GRJ
  3273      314495       Mceuen, Joshua              Bailey Cowan Heckaman PLLC                               7:21-cv-32704-MCR-GRJ
  3274      314496       Mcginty, Eric               Bailey Cowan Heckaman PLLC                               7:21-cv-32705-MCR-GRJ
  3275      314498       Mcgreevey, Jacob            Bailey Cowan Heckaman PLLC    7:21-cv-32707-MCR-GRJ
  3276      314499       Mcgrew, Steven              Bailey Cowan Heckaman PLLC    7:21-cv-32708-MCR-GRJ
  3277      314500       Mcgrogan, Mike              Bailey Cowan Heckaman PLLC                               7:21-cv-32709-MCR-GRJ
  3278      314503       Mcintosh, David             Bailey Cowan Heckaman PLLC    7:21-cv-32712-MCR-GRJ
  3279      314504       Mckenney, Philip            Bailey Cowan Heckaman PLLC    7:21-cv-32713-MCR-GRJ
  3280      314508       Mclelland, Dexter           Bailey Cowan Heckaman PLLC    7:21-cv-32717-MCR-GRJ
  3281      314509       Mcmannen, Rashaad           Bailey Cowan Heckaman PLLC    7:21-cv-32718-MCR-GRJ
  3282      314510       Mcnabb, John                Bailey Cowan Heckaman PLLC    7:21-cv-32719-MCR-GRJ
  3283      314512       Mcphillips, Will            Bailey Cowan Heckaman PLLC                               7:21-cv-32721-MCR-GRJ
  3284      314514       Mead, Bobby                 Bailey Cowan Heckaman PLLC    7:21-cv-32723-MCR-GRJ
  3285      314515       Meador, Christian           Bailey Cowan Heckaman PLLC                               7:21-cv-32724-MCR-GRJ
  3286      314516       Medellin, Ivan              Bailey Cowan Heckaman PLLC    7:21-cv-32725-MCR-GRJ
  3287      314517       Medrano, Victor             Bailey Cowan Heckaman PLLC    7:21-cv-32726-MCR-GRJ
  3288      314518       Meek, Caleb                 Bailey Cowan Heckaman PLLC                               7:21-cv-32727-MCR-GRJ
  3289      314520       Meier, James                Bailey Cowan Heckaman PLLC    7:21-cv-32729-MCR-GRJ
  3290      314521       Melberg, Richard            Bailey Cowan Heckaman PLLC                               7:21-cv-32730-MCR-GRJ
  3291      314525       MENDOZA, JESUS              Bailey Cowan Heckaman PLLC    7:21-cv-32734-MCR-GRJ
  3292      314526       Menefee, Bryan              Bailey Cowan Heckaman PLLC    7:21-cv-32735-MCR-GRJ
  3293      314527       Menzies, Ryan               Bailey Cowan Heckaman PLLC                               7:21-cv-32736-MCR-GRJ
  3294      314528       Merryman, Michael           Bailey Cowan Heckaman PLLC    7:21-cv-32737-MCR-GRJ




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  3295      314530       Metheny, Grant                 Bailey Cowan Heckaman PLLC    7:21-cv-32739-MCR-GRJ
  3296      314531       Meuchel, Joshua                Bailey Cowan Heckaman PLLC    7:21-cv-32740-MCR-GRJ
  3297      314532       Meyer, John                    Bailey Cowan Heckaman PLLC    7:21-cv-32741-MCR-GRJ
  3298      314533       Meyer, Nathan                  Bailey Cowan Heckaman PLLC    7:21-cv-32742-MCR-GRJ
  3299      314534       Michulka, Brian                Bailey Cowan Heckaman PLLC    7:21-cv-32743-MCR-GRJ
  3300      314535       Miguel, Sean                   Bailey Cowan Heckaman PLLC    7:21-cv-32744-MCR-GRJ
  3301      314538       Miles, Clifford                Bailey Cowan Heckaman PLLC    7:21-cv-32747-MCR-GRJ
  3302      314539       Miller, Alexander              Bailey Cowan Heckaman PLLC                               7:21-cv-32748-MCR-GRJ
  3303      314541       Miller, Cortney                Bailey Cowan Heckaman PLLC                               7:21-cv-32750-MCR-GRJ
  3304      314543       Miller, Jay                    Bailey Cowan Heckaman PLLC                               7:21-cv-32752-MCR-GRJ
  3305      314544       Miller, Jeremy                 Bailey Cowan Heckaman PLLC    7:21-cv-32753-MCR-GRJ
  3306      314545       Miller, Justin                 Bailey Cowan Heckaman PLLC                               7:21-cv-32754-MCR-GRJ
  3307      314546       Miller, Kendal                 Bailey Cowan Heckaman PLLC                               7:21-cv-32755-MCR-GRJ
  3308      314549       Milligan, Henry                Bailey Cowan Heckaman PLLC    7:21-cv-32758-MCR-GRJ
  3309      314550       Mills, Gregory                 Bailey Cowan Heckaman PLLC                               7:21-cv-32759-MCR-GRJ
  3310      314551       Miner, Jeffrey                 Bailey Cowan Heckaman PLLC                               7:21-cv-32760-MCR-GRJ
  3311      314552       Mingo, Roshaun                 Bailey Cowan Heckaman PLLC                               7:21-cv-32761-MCR-GRJ
  3312      314553       Minjarez, Anthony              Bailey Cowan Heckaman PLLC                               7:21-cv-32762-MCR-GRJ
  3313      314554       Minner, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-32763-MCR-GRJ
  3314      314555       Miranda, Oscar                 Bailey Cowan Heckaman PLLC    7:21-cv-32764-MCR-GRJ
  3315      314556       Miranda, Reynaldo              Bailey Cowan Heckaman PLLC    7:21-cv-32765-MCR-GRJ
  3316      314557       Misenhelder, Jeremy            Bailey Cowan Heckaman PLLC    7:21-cv-32766-MCR-GRJ
  3317      314559       Mitchell, Donavan              Bailey Cowan Heckaman PLLC    7:21-cv-32768-MCR-GRJ
  3318      314561       Mitchell, Leston               Bailey Cowan Heckaman PLLC    7:21-cv-32770-MCR-GRJ
  3319      314562       Mitchell, Scott                Bailey Cowan Heckaman PLLC                               7:21-cv-32771-MCR-GRJ
  3320      314564       Mixon, Ryan                    Bailey Cowan Heckaman PLLC    7:21-cv-32773-MCR-GRJ
  3321      314565       Mobley, Ahmad                  Bailey Cowan Heckaman PLLC                               7:21-cv-32774-MCR-GRJ
  3322      314566       Mobley, Lance                  Bailey Cowan Heckaman PLLC    7:21-cv-32775-MCR-GRJ
  3323      314568       Molnar, Joseph                 Bailey Cowan Heckaman PLLC    7:21-cv-32777-MCR-GRJ
  3324      314570       Money, Michael                 Bailey Cowan Heckaman PLLC                               7:21-cv-32779-MCR-GRJ
  3325      314571       Montalvo, Derek                Bailey Cowan Heckaman PLLC    7:21-cv-32780-MCR-GRJ
  3326      314572       Monteagudo, Ramon              Bailey Cowan Heckaman PLLC    7:21-cv-32781-MCR-GRJ
  3327      314573       Mooney, Thomas                 Bailey Cowan Heckaman PLLC    7:21-cv-32782-MCR-GRJ
  3328      314574       Mooradian, James               Bailey Cowan Heckaman PLLC    7:21-cv-32783-MCR-GRJ
  3329      314575       Moore, Bradley                 Bailey Cowan Heckaman PLLC    7:21-cv-32784-MCR-GRJ
  3330      314576       MOORE, DANIEL                  Bailey Cowan Heckaman PLLC    7:21-cv-32785-MCR-GRJ
  3331      314578       Moore, Emmanuel                Bailey Cowan Heckaman PLLC    7:21-cv-32787-MCR-GRJ
  3332      314579       Moore, Eric                    Bailey Cowan Heckaman PLLC                               7:21-cv-32788-MCR-GRJ
  3333      314581       Moore, Griffith                Bailey Cowan Heckaman PLLC                               7:21-cv-32790-MCR-GRJ
  3334      314583       Moore, Martin                  Bailey Cowan Heckaman PLLC    7:21-cv-32792-MCR-GRJ
  3335      314584       Moore, Sean                    Bailey Cowan Heckaman PLLC                               7:21-cv-32793-MCR-GRJ
  3336      314586       Moore, Zackary                 Bailey Cowan Heckaman PLLC                               7:21-cv-32795-MCR-GRJ
  3337      314588       Moorman, Jason                 Bailey Cowan Heckaman PLLC    7:21-cv-32797-MCR-GRJ
  3338      314589       Moors, David                   Bailey Cowan Heckaman PLLC    7:21-cv-32798-MCR-GRJ
  3339      314590       Morell, Garrison               Bailey Cowan Heckaman PLLC                               7:21-cv-32799-MCR-GRJ
  3340      314592       Moreno, Asuncion               Bailey Cowan Heckaman PLLC    7:21-cv-32801-MCR-GRJ
  3341      314593       Moreta, Isaac                  Bailey Cowan Heckaman PLLC    7:21-cv-32802-MCR-GRJ
  3342      314594       Morgan, Charles                Bailey Cowan Heckaman PLLC    7:21-cv-32803-MCR-GRJ
  3343      314595       MORGAN, CHRISTOPHER            Bailey Cowan Heckaman PLLC                               7:21-cv-32804-MCR-GRJ
  3344      314597       Morgan, Scott                  Bailey Cowan Heckaman PLLC    7:21-cv-32806-MCR-GRJ
  3345      314598       Morin, Andrew                  Bailey Cowan Heckaman PLLC                               7:21-cv-32807-MCR-GRJ
  3346      314599       Morin, Jonathan                Bailey Cowan Heckaman PLLC    7:21-cv-32808-MCR-GRJ
  3347      314601       Morris, Brian                  Bailey Cowan Heckaman PLLC                               7:21-cv-32810-MCR-GRJ
  3348      314603       Morris, Thomas                 Bailey Cowan Heckaman PLLC    7:21-cv-32812-MCR-GRJ




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  3349      314604       Morrow, Billy                 Bailey Cowan Heckaman PLLC                               7:21-cv-32813-MCR-GRJ
  3350      314605       Morrow, Cameron               Bailey Cowan Heckaman PLLC                               7:21-cv-32814-MCR-GRJ
  3351      314609       Motes, Jason                  Bailey Cowan Heckaman PLLC    7:21-cv-32818-MCR-GRJ
  3352      314611       Moyer, Jonathan               Bailey Cowan Heckaman PLLC    7:21-cv-32820-MCR-GRJ
  3353      314612       Mueller, Tim                  Bailey Cowan Heckaman PLLC    7:21-cv-32821-MCR-GRJ
  3354      314613       Mueller, William              Bailey Cowan Heckaman PLLC    7:21-cv-32822-MCR-GRJ
  3355      314614       Muhle, Roger                  Bailey Cowan Heckaman PLLC    7:21-cv-32823-MCR-GRJ
  3356      314616       Munday, Phillip               Bailey Cowan Heckaman PLLC    7:21-cv-32825-MCR-GRJ
  3357      314617       Mundy, Richard                Bailey Cowan Heckaman PLLC    7:21-cv-32826-MCR-GRJ
  3358      314619       Munn, Ryan                    Bailey Cowan Heckaman PLLC    7:21-cv-32828-MCR-GRJ
  3359      314620       Munoz, Francisco              Bailey Cowan Heckaman PLLC    7:21-cv-32829-MCR-GRJ
  3360      314621       Murillo, Isaac                Bailey Cowan Heckaman PLLC    7:21-cv-32830-MCR-GRJ
  3361      314622       Murphy, Brian                 Bailey Cowan Heckaman PLLC    7:21-cv-32831-MCR-GRJ
  3362      314623       Murphy, Matthew               Bailey Cowan Heckaman PLLC    7:21-cv-32832-MCR-GRJ
  3363      314624       MURPHY, MICHAEL               Bailey Cowan Heckaman PLLC    7:21-cv-32833-MCR-GRJ
  3364      314628       Myers, James                  Bailey Cowan Heckaman PLLC    7:21-cv-32837-MCR-GRJ
  3365      314629       Myers, Mark                   Bailey Cowan Heckaman PLLC    7:21-cv-32838-MCR-GRJ
  3366      314631       Nacianceno, Cesar             Bailey Cowan Heckaman PLLC    7:21-cv-32840-MCR-GRJ
  3367      314632       Nacin, Jesse                  Bailey Cowan Heckaman PLLC    7:21-cv-32841-MCR-GRJ
  3368      314634       Naillon, Julie                Bailey Cowan Heckaman PLLC                               7:21-cv-32843-MCR-GRJ
  3369      314636       Naramore, Justin              Bailey Cowan Heckaman PLLC                               7:21-cv-32845-MCR-GRJ
  3370      314638       Natalia, Jacob                Bailey Cowan Heckaman PLLC                               7:21-cv-32847-MCR-GRJ
  3371      314641       Navarro, Steven               Bailey Cowan Heckaman PLLC    7:21-cv-32850-MCR-GRJ
  3372      314642       Nee, Paul                     Bailey Cowan Heckaman PLLC    7:21-cv-32851-MCR-GRJ
  3373      314643       Negron, Antonio               Bailey Cowan Heckaman PLLC    7:21-cv-32873-MCR-GRJ
  3374      314645       Nelsob, William               Bailey Cowan Heckaman PLLC    7:21-cv-32877-MCR-GRJ
  3375      314646       Nelson, Albert                Bailey Cowan Heckaman PLLC    7:21-cv-32879-MCR-GRJ
  3376      314647       Nelson, Jason                 Bailey Cowan Heckaman PLLC    7:21-cv-32881-MCR-GRJ
  3377      314648       Nelson, John                  Bailey Cowan Heckaman PLLC                               7:21-cv-32882-MCR-GRJ
  3378      314650       Nelson, Ricky                 Bailey Cowan Heckaman PLLC    7:21-cv-32886-MCR-GRJ
  3379      314651       Nero, Lawrence                Bailey Cowan Heckaman PLLC                               7:21-cv-32888-MCR-GRJ
  3380      314654       Newton, Shayne                Bailey Cowan Heckaman PLLC                               7:21-cv-32894-MCR-GRJ
  3381      314656       Nichols, Shae                 Bailey Cowan Heckaman PLLC                               7:21-cv-32897-MCR-GRJ
  3382      314657       Nicosia, Jonathan             Bailey Cowan Heckaman PLLC                               7:21-cv-32899-MCR-GRJ
  3383      314660       Nielsen, Jedediah             Bailey Cowan Heckaman PLLC    7:21-cv-32905-MCR-GRJ
  3384      314661       Niemeyer, Michael             Bailey Cowan Heckaman PLLC    7:21-cv-32907-MCR-GRJ
  3385      314662       Nieto, Francisco              Bailey Cowan Heckaman PLLC    7:21-cv-32908-MCR-GRJ
  3386      314663       Niles, Frank                  Bailey Cowan Heckaman PLLC    7:21-cv-32910-MCR-GRJ
  3387      314664       Nimmons, Ryan                 Bailey Cowan Heckaman PLLC                               7:21-cv-32912-MCR-GRJ
  3388      314665       Noble, Codie                  Bailey Cowan Heckaman PLLC    7:21-cv-32914-MCR-GRJ
  3389      314667       Noonan, William               Bailey Cowan Heckaman PLLC                               7:21-cv-32917-MCR-GRJ
  3390      314670       Norton, Jamie                 Bailey Cowan Heckaman PLLC    7:21-cv-32922-MCR-GRJ
  3391      314671       Nowlin, Joshua                Bailey Cowan Heckaman PLLC                               7:21-cv-32923-MCR-GRJ
  3392      314673       O’rourke, Sean                Bailey Cowan Heckaman PLLC    7:21-cv-33401-MCR-GRJ
  3393      314674       Oakley, Jacob                 Bailey Cowan Heckaman PLLC    7:21-cv-32925-MCR-GRJ
  3394      314676       Obrien, Ed                    Bailey Cowan Heckaman PLLC    7:21-cv-32927-MCR-GRJ
  3395      314677       Oconnor, Leonard              Bailey Cowan Heckaman PLLC    7:21-cv-32928-MCR-GRJ
  3396      314679       Odom, Matthew                 Bailey Cowan Heckaman PLLC    7:21-cv-32930-MCR-GRJ
  3397      314680       Odonnell, Kevin               Bailey Cowan Heckaman PLLC    7:21-cv-32931-MCR-GRJ
  3398      314681       O'donnell, Jonathan           Bailey Cowan Heckaman PLLC    7:21-cv-32933-MCR-GRJ
  3399      314682       Offenbacker, Jacob            Bailey Cowan Heckaman PLLC    7:21-cv-32935-MCR-GRJ
  3400      314684       Ogaldez, Leighton             Bailey Cowan Heckaman PLLC    7:21-cv-32939-MCR-GRJ
  3401      314685       Ogari, Geoffrey               Bailey Cowan Heckaman PLLC    7:21-cv-32940-MCR-GRJ
  3402      314688       Ohlendorf, John               Bailey Cowan Heckaman PLLC                               7:21-cv-32946-MCR-GRJ




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  3403      314691       Oliver, Chadwick                Bailey Cowan Heckaman PLLC    7:21-cv-32952-MCR-GRJ
  3404      314692       Olney, Shane                    Bailey Cowan Heckaman PLLC    7:21-cv-32953-MCR-GRJ
  3405      314694       Oney, Jeremy                    Bailey Cowan Heckaman PLLC                               7:21-cv-32957-MCR-GRJ
  3406      314698       ORTIZ, DAVID L                  Bailey Cowan Heckaman PLLC                               7:21-cv-32965-MCR-GRJ
  3407      314699       Osborne, Ryan                   Bailey Cowan Heckaman PLLC    7:21-cv-32966-MCR-GRJ
  3408      314701       Osmunson, Richard               Bailey Cowan Heckaman PLLC    7:21-cv-32970-MCR-GRJ
  3409      314707       Owens, Robert                   Bailey Cowan Heckaman PLLC                               7:21-cv-32981-MCR-GRJ
  3410      314709       PACE, JONATHAN                  Bailey Cowan Heckaman PLLC                               7:21-cv-32985-MCR-GRJ
  3411      314710       Paciorkowski, Walter            Bailey Cowan Heckaman PLLC                               7:21-cv-32987-MCR-GRJ
  3412      314713       Palazzo, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-32993-MCR-GRJ
  3413      314717       Pangan, Elvin                   Bailey Cowan Heckaman PLLC                               7:21-cv-33000-MCR-GRJ
  3414      314719       Paredes Collado, Josue          Bailey Cowan Heckaman PLLC    7:21-cv-33004-MCR-GRJ
  3415      314721       Parker, Andrew                  Bailey Cowan Heckaman PLLC                               7:21-cv-33008-MCR-GRJ
  3416      314722       Parker, Dustin                  Bailey Cowan Heckaman PLLC    7:21-cv-33010-MCR-GRJ
  3417      314723       Parker, Ronnie                  Bailey Cowan Heckaman PLLC                               7:21-cv-33011-MCR-GRJ
  3418      314726       Parrish, Jeremy                 Bailey Cowan Heckaman PLLC    7:21-cv-33017-MCR-GRJ
  3419      314728       Partsch, Erich                  Bailey Cowan Heckaman PLLC    7:21-cv-33021-MCR-GRJ
  3420      314729       Paschal, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-33022-MCR-GRJ
  3421      314730       Pastis, Jack                    Bailey Cowan Heckaman PLLC    7:21-cv-33024-MCR-GRJ
  3422      314733       Patterson, Joey                 Bailey Cowan Heckaman PLLC    7:21-cv-33030-MCR-GRJ
  3423      314737       Pauly, James                    Bailey Cowan Heckaman PLLC                               7:21-cv-33037-MCR-GRJ
  3424      314738       Pavan, Zachary                  Bailey Cowan Heckaman PLLC    7:21-cv-33039-MCR-GRJ
  3425      314739       Paxton, Jacob                   Bailey Cowan Heckaman PLLC                               7:21-cv-33041-MCR-GRJ
  3426      314741       Payne, Sean                     Bailey Cowan Heckaman PLLC                               7:21-cv-33045-MCR-GRJ
  3427      314743       Pearson, Joseph                 Bailey Cowan Heckaman PLLC    7:21-cv-33048-MCR-GRJ
  3428      314744       Pearson, Steven                 Bailey Cowan Heckaman PLLC                               7:21-cv-33050-MCR-GRJ
  3429      314745       Pecha, Chad                     Bailey Cowan Heckaman PLLC    7:21-cv-33052-MCR-GRJ
  3430      314746       Pederson, Aaron                 Bailey Cowan Heckaman PLLC    7:21-cv-33054-MCR-GRJ
  3431      314747       Pedraza, Emanuel                Bailey Cowan Heckaman PLLC    7:21-cv-33056-MCR-GRJ
  3432      314749       Peers, Thomas                   Bailey Cowan Heckaman PLLC                               7:21-cv-33060-MCR-GRJ
  3433      314755       Perez, Jesus                    Bailey Cowan Heckaman PLLC    7:21-cv-33071-MCR-GRJ
  3434      314756       Perez, Matthew                  Bailey Cowan Heckaman PLLC    7:21-cv-33073-MCR-GRJ
  3435      314758       Perlacia-monzon, Victor         Bailey Cowan Heckaman PLLC    7:21-cv-33077-MCR-GRJ
  3436      314761       Perry, Matthew                  Bailey Cowan Heckaman PLLC    7:21-cv-33082-MCR-GRJ
  3437      314763       Petarra, Timothy                Bailey Cowan Heckaman PLLC    7:21-cv-33086-MCR-GRJ
  3438      314764       Peterman, Anthony               Bailey Cowan Heckaman PLLC                               7:21-cv-33088-MCR-GRJ
  3439      314765       Peters, Mark                    Bailey Cowan Heckaman PLLC                               7:21-cv-33090-MCR-GRJ
  3440      314766       Peters, Thomas                  Bailey Cowan Heckaman PLLC    7:21-cv-33092-MCR-GRJ
  3441      314768       Peterson, Matthew               Bailey Cowan Heckaman PLLC    7:21-cv-33095-MCR-GRJ
  3442      314769       Peterson, William               Bailey Cowan Heckaman PLLC                               7:21-cv-33097-MCR-GRJ
  3443      314771       Pfaff, Anthony                  Bailey Cowan Heckaman PLLC    7:21-cv-33101-MCR-GRJ
  3444      314772       Pfeifer, Darren                 Bailey Cowan Heckaman PLLC    7:21-cv-33103-MCR-GRJ
  3445      314773       Pfrank, Andrew                  Bailey Cowan Heckaman PLLC                               7:21-cv-33105-MCR-GRJ
  3446      314777       Phillips, Charles               Bailey Cowan Heckaman PLLC                               7:21-cv-33112-MCR-GRJ
  3447      314780       Phillips, Randy                 Bailey Cowan Heckaman PLLC                               7:21-cv-33118-MCR-GRJ
  3448      314781       Phillips, Steven                Bailey Cowan Heckaman PLLC    7:21-cv-33119-MCR-GRJ
  3449      314782       Pichaj, Justin                  Bailey Cowan Heckaman PLLC                               7:21-cv-33121-MCR-GRJ
  3450      314783       Pickens, Willie                 Bailey Cowan Heckaman PLLC    7:21-cv-33123-MCR-GRJ
  3451      314784       Pickering, Andrew               Bailey Cowan Heckaman PLLC    7:21-cv-33125-MCR-GRJ
  3452      314788       Pikus, Matthew                  Bailey Cowan Heckaman PLLC                               7:21-cv-33132-MCR-GRJ
  3453      314792       Plowman, Jonathan               Bailey Cowan Heckaman PLLC    7:21-cv-33140-MCR-GRJ
  3454      314793       Podish, Zachary                 Bailey Cowan Heckaman PLLC                               7:21-cv-33142-MCR-GRJ
  3455      314794       Poff, Justin                    Bailey Cowan Heckaman PLLC    7:21-cv-33144-MCR-GRJ
  3456      314795       Poiroux, Charles                Bailey Cowan Heckaman PLLC                               7:21-cv-33146-MCR-GRJ




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  3457      314797       Pollick, Jacob                 Bailey Cowan Heckaman PLLC    7:21-cv-33149-MCR-GRJ
  3458      314799       Porter, Charles                Bailey Cowan Heckaman PLLC    7:21-cv-33153-MCR-GRJ
  3459      314800       Porter, Clarence               Bailey Cowan Heckaman PLLC    7:21-cv-33155-MCR-GRJ
  3460      314803       Porter, Joseph                 Bailey Cowan Heckaman PLLC    7:21-cv-33161-MCR-GRJ
  3461      314808       Pounders, Dennis               Bailey Cowan Heckaman PLLC                               7:21-cv-33170-MCR-GRJ
  3462      314810       Powell, Cody                   Bailey Cowan Heckaman PLLC    7:21-cv-33174-MCR-GRJ
  3463      314811       Powell, David                  Bailey Cowan Heckaman PLLC                               7:21-cv-33176-MCR-GRJ
  3464      314812       Powell, Jeremy                 Bailey Cowan Heckaman PLLC    7:21-cv-33177-MCR-GRJ
  3465      314813       Powell, Kyle                   Bailey Cowan Heckaman PLLC                               7:21-cv-33179-MCR-GRJ
  3466      314816       PRESCOTT, RYAN                 Bailey Cowan Heckaman PLLC                               7:21-cv-33185-MCR-GRJ
  3467      314817       Press, Cody                    Bailey Cowan Heckaman PLLC    7:21-cv-33187-MCR-GRJ
  3468      314818       Price, Christopher             Bailey Cowan Heckaman PLLC    7:21-cv-33188-MCR-GRJ
  3469      314819       Price, David                   Bailey Cowan Heckaman PLLC    7:21-cv-33190-MCR-GRJ
  3470      314820       Price, Kyle                    Bailey Cowan Heckaman PLLC    7:21-cv-33192-MCR-GRJ
  3471      314821       Price-picon, Jeremiah          Bailey Cowan Heckaman PLLC    7:21-cv-33194-MCR-GRJ
  3472      314822       Pridemore, Brandon             Bailey Cowan Heckaman PLLC    7:21-cv-33196-MCR-GRJ
  3473      314824       Pries, Chad                    Bailey Cowan Heckaman PLLC    7:21-cv-33199-MCR-GRJ
  3474      314825       Prince, Cameron                Bailey Cowan Heckaman PLLC                               7:21-cv-33201-MCR-GRJ
  3475      314826       Prine, Matthew                 Bailey Cowan Heckaman PLLC                               7:21-cv-33203-MCR-GRJ
  3476      314827       Pritchett, Travis              Bailey Cowan Heckaman PLLC    7:21-cv-33205-MCR-GRJ
  3477      314830       Prokup, Steven                 Bailey Cowan Heckaman PLLC                               7:21-cv-33211-MCR-GRJ
  3478      314831       Propst, Chris                  Bailey Cowan Heckaman PLLC    7:21-cv-33213-MCR-GRJ
  3479      314832       Pulido, Jesus                  Bailey Cowan Heckaman PLLC    7:21-cv-33215-MCR-GRJ
  3480      314833       Pullum, Terry                  Bailey Cowan Heckaman PLLC    7:21-cv-33216-MCR-GRJ
  3481      314834       Purdy, Kyle                    Bailey Cowan Heckaman PLLC                               7:21-cv-33218-MCR-GRJ
  3482      314835       Purser, Justin                 Bailey Cowan Heckaman PLLC                               7:21-cv-33220-MCR-GRJ
  3483      314837       Putman, Christopher            Bailey Cowan Heckaman PLLC    7:21-cv-33224-MCR-GRJ
  3484      314838       Pylant, Michael                Bailey Cowan Heckaman PLLC                               7:21-cv-33226-MCR-GRJ
  3485      314839       Pyles, Jeremy                  Bailey Cowan Heckaman PLLC    7:21-cv-33228-MCR-GRJ
  3486      314840       Quesada, Rafael                Bailey Cowan Heckaman PLLC    7:21-cv-33230-MCR-GRJ
  3487      314841       Quilty, William                Bailey Cowan Heckaman PLLC                               7:21-cv-33231-MCR-GRJ
  3488      314844       Quinn, Jonathan                Bailey Cowan Heckaman PLLC    7:21-cv-33237-MCR-GRJ
  3489      314845       Quinton, Damon                 Bailey Cowan Heckaman PLLC    7:21-cv-33239-MCR-GRJ
  3490      314847       Quitlong, Florenz              Bailey Cowan Heckaman PLLC    7:21-cv-33243-MCR-GRJ
  3491      314848       Raboin, Travis                 Bailey Cowan Heckaman PLLC    7:21-cv-33246-MCR-GRJ
  3492      314850       Radford, Willard               Bailey Cowan Heckaman PLLC    7:21-cv-33251-MCR-GRJ
  3493      314851       Radici, Breno                  Bailey Cowan Heckaman PLLC    7:21-cv-33253-MCR-GRJ
  3494      314852       Ragland, Demarco               Bailey Cowan Heckaman PLLC    7:21-cv-33256-MCR-GRJ
  3495      314853       Rahming, Cedric                Bailey Cowan Heckaman PLLC    7:21-cv-33259-MCR-GRJ
  3496      314854       Rainey, Tristan                Bailey Cowan Heckaman PLLC                               7:21-cv-33261-MCR-GRJ
  3497      314855       Rakes, Dustin                  Bailey Cowan Heckaman PLLC    7:21-cv-33263-MCR-GRJ
  3498      314858       Ramirez, Perry                 Bailey Cowan Heckaman PLLC                               7:21-cv-33268-MCR-GRJ
  3499      314859       Ramos, Daniel                  Bailey Cowan Heckaman PLLC    7:21-cv-33270-MCR-GRJ
  3500      314861       Randol, Zachery Jacob          Bailey Cowan Heckaman PLLC    7:21-cv-33273-MCR-GRJ
  3501      314863       Raper, Kris                    Bailey Cowan Heckaman PLLC    7:21-cv-33277-MCR-GRJ
  3502      314864       Rapier, Joshua                 Bailey Cowan Heckaman PLLC    7:21-cv-33279-MCR-GRJ
  3503      314866       Rasler, Micheal                Bailey Cowan Heckaman PLLC                               7:21-cv-33283-MCR-GRJ
  3504      314867       Ray, Dennis                    Bailey Cowan Heckaman PLLC    7:21-cv-33285-MCR-GRJ
  3505      314873       Reed, Cody                     Bailey Cowan Heckaman PLLC    7:21-cv-33296-MCR-GRJ
  3506      314874       Reed, Sean                     Bailey Cowan Heckaman PLLC    7:21-cv-33298-MCR-GRJ
  3507      314875       Reese, David                   Bailey Cowan Heckaman PLLC    7:21-cv-33300-MCR-GRJ
  3508      314876       Reese, William                 Bailey Cowan Heckaman PLLC    7:21-cv-33302-MCR-GRJ
  3509      314879       Reid, Gerald                   Bailey Cowan Heckaman PLLC                               7:21-cv-33307-MCR-GRJ
  3510      314880       Reischman, Michael             Bailey Cowan Heckaman PLLC    7:21-cv-33309-MCR-GRJ




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  3511      314881       Rembacki, Nathan                Bailey Cowan Heckaman PLLC    7:21-cv-33311-MCR-GRJ
  3512      314885       Reseburg, Shaun                 Bailey Cowan Heckaman PLLC    7:21-cv-33318-MCR-GRJ
  3513      314888       Reynolds, Phillip               Bailey Cowan Heckaman PLLC    7:21-cv-33324-MCR-GRJ
  3514      314889       Reynolds, Shayne                Bailey Cowan Heckaman PLLC                               7:21-cv-33326-MCR-GRJ
  3515      314890       Reynoso, Vincent                Bailey Cowan Heckaman PLLC    7:21-cv-33328-MCR-GRJ
  3516      314891       Rhodes, Jonathan                Bailey Cowan Heckaman PLLC    7:21-cv-33329-MCR-GRJ
  3517      314892       Rhodes, Zackery                 Bailey Cowan Heckaman PLLC                               7:21-cv-33331-MCR-GRJ
  3518      314895       Rice, Jeremy                    Bailey Cowan Heckaman PLLC                               7:21-cv-33337-MCR-GRJ
  3519      314897       Richardson, Brandon             Bailey Cowan Heckaman PLLC    7:21-cv-33341-MCR-GRJ
  3520      314899       Richardson, Daniel              Bailey Cowan Heckaman PLLC    7:21-cv-33344-MCR-GRJ
  3521      314900       Richins, Jake                   Bailey Cowan Heckaman PLLC    7:21-cv-33346-MCR-GRJ
  3522      314904       Riddle, Matthew                 Bailey Cowan Heckaman PLLC    7:21-cv-33354-MCR-GRJ
  3523      314905       Riech, Theodore                 Bailey Cowan Heckaman PLLC    7:21-cv-33355-MCR-GRJ
  3524      314907       Rife, Aaron                     Bailey Cowan Heckaman PLLC    7:21-cv-33359-MCR-GRJ
  3525      314909       Riha, Matthew                   Bailey Cowan Heckaman PLLC    7:21-cv-33363-MCR-GRJ
  3526      314913       Rios, Eduardo                   Bailey Cowan Heckaman PLLC    7:21-cv-33370-MCR-GRJ
  3527      314914       Rios, Israel                    Bailey Cowan Heckaman PLLC    7:21-cv-33372-MCR-GRJ
  3528      314915       Rios, Justin                    Bailey Cowan Heckaman PLLC    7:21-cv-33373-MCR-GRJ
  3529      314917       Rios, Samuel                    Bailey Cowan Heckaman PLLC    7:21-cv-33375-MCR-GRJ
  3530      314918       Ripley, Damion                  Bailey Cowan Heckaman PLLC    7:21-cv-33376-MCR-GRJ
  3531      314920       Rivera, Enrique                 Bailey Cowan Heckaman PLLC    7:21-cv-33378-MCR-GRJ
  3532      314921       Roach, George                   Bailey Cowan Heckaman PLLC    7:21-cv-33379-MCR-GRJ
  3533      314923       Roan, Joseph                    Bailey Cowan Heckaman PLLC    7:21-cv-33381-MCR-GRJ
  3534      314927       Roberts, Ryan                   Bailey Cowan Heckaman PLLC                               7:21-cv-33385-MCR-GRJ
  3535      314929       Roberts, Terry                  Bailey Cowan Heckaman PLLC    7:21-cv-33387-MCR-GRJ
  3536      314930       Robertson, Colby                Bailey Cowan Heckaman PLLC                               7:21-cv-33388-MCR-GRJ
  3537      314932       Robinson, Christopher           Bailey Cowan Heckaman PLLC                               7:21-cv-33390-MCR-GRJ
  3538      314933       Robinson, Josh                  Bailey Cowan Heckaman PLLC    7:21-cv-33391-MCR-GRJ
  3539      314934       Robinson, Kenwaski              Bailey Cowan Heckaman PLLC                               7:21-cv-33392-MCR-GRJ
  3540      314937       Rodewald, Matthew               Bailey Cowan Heckaman PLLC    7:21-cv-33395-MCR-GRJ
  3541      314939       Rodgers, Joel                   Bailey Cowan Heckaman PLLC                               7:21-cv-33397-MCR-GRJ
  3542      314940       Rodgers, John                   Bailey Cowan Heckaman PLLC                               7:21-cv-33398-MCR-GRJ
  3543      314943       Rodriguez, Allain               Bailey Cowan Heckaman PLLC                               7:21-cv-33600-MCR-GRJ
  3544      314945       Rodriguez, Erick                Bailey Cowan Heckaman PLLC    7:21-cv-33602-MCR-GRJ
  3545      314946       Rodriguez, Felix                Bailey Cowan Heckaman PLLC                               7:21-cv-33603-MCR-GRJ
  3546      314949       Rodriguez, Raymond              Bailey Cowan Heckaman PLLC    7:21-cv-33606-MCR-GRJ
  3547      314952       Rogers, Alex                    Bailey Cowan Heckaman PLLC    7:21-cv-33609-MCR-GRJ
  3548      314953       Rogers, Bradley                 Bailey Cowan Heckaman PLLC    7:21-cv-33610-MCR-GRJ
  3549      314961       Romano, Robert                  Bailey Cowan Heckaman PLLC    7:21-cv-33618-MCR-GRJ
  3550      314962       Romero, William                 Bailey Cowan Heckaman PLLC                               7:21-cv-33619-MCR-GRJ
  3551      314963       Roper, Ethan                    Bailey Cowan Heckaman PLLC    7:21-cv-33620-MCR-GRJ
  3552      314964       Rosales, Marcus                 Bailey Cowan Heckaman PLLC    7:21-cv-33621-MCR-GRJ
  3553      314965       Ross, Jason                     Bailey Cowan Heckaman PLLC    7:21-cv-33622-MCR-GRJ
  3554      314966       Ross, Gary                      Bailey Cowan Heckaman PLLC    7:21-cv-33623-MCR-GRJ
  3555      314968       Rosskilley, Cody                Bailey Cowan Heckaman PLLC    7:21-cv-33625-MCR-GRJ
  3556      314969       Rotzien, Roderick               Bailey Cowan Heckaman PLLC    7:21-cv-33626-MCR-GRJ
  3557      314971       Rowe, Spencer                   Bailey Cowan Heckaman PLLC                               7:21-cv-33628-MCR-GRJ
  3558      314976       Runyan, Tyler                   Bailey Cowan Heckaman PLLC    7:21-cv-33633-MCR-GRJ
  3559      314977       Ruppelt, Jerald                 Bailey Cowan Heckaman PLLC    7:21-cv-33634-MCR-GRJ
  3560      314979       Rusiecki, Ryan                  Bailey Cowan Heckaman PLLC                               7:21-cv-33636-MCR-GRJ
  3561      314980       Russell, John                   Bailey Cowan Heckaman PLLC    7:21-cv-33637-MCR-GRJ
  3562      314981       Russell, Timothy                Bailey Cowan Heckaman PLLC    7:21-cv-33638-MCR-GRJ
  3563      314983       Rust, Nathan                    Bailey Cowan Heckaman PLLC    7:21-cv-33640-MCR-GRJ
  3564      314984       Rustin, Jawan                   Bailey Cowan Heckaman PLLC                               7:21-cv-33641-MCR-GRJ




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  3565      314985       Rutledge, Terence            Bailey Cowan Heckaman PLLC    7:21-cv-33642-MCR-GRJ
  3566      314986       Ryals, Darrell               Bailey Cowan Heckaman PLLC    7:21-cv-33643-MCR-GRJ
  3567      314988       Sabatino, Nicholas           Bailey Cowan Heckaman PLLC    7:21-cv-33645-MCR-GRJ
  3568      314989       Sakamoto, Wesley             Bailey Cowan Heckaman PLLC    7:21-cv-33646-MCR-GRJ
  3569      314991       Salazar, Brandon             Bailey Cowan Heckaman PLLC    7:21-cv-33648-MCR-GRJ
  3570      314992       Salsbury, Kevin              Bailey Cowan Heckaman PLLC    7:21-cv-33649-MCR-GRJ
  3571      314994       Samuelson, Robert            Bailey Cowan Heckaman PLLC    7:21-cv-33651-MCR-GRJ
  3572      314997       Sanchez, Ruben               Bailey Cowan Heckaman PLLC                               7:21-cv-33654-MCR-GRJ
  3573      314998       Sanders, David               Bailey Cowan Heckaman PLLC                               7:21-cv-33655-MCR-GRJ
  3574      314999       Sanders, Kyle                Bailey Cowan Heckaman PLLC    7:21-cv-33656-MCR-GRJ
  3575      315000       Sanders, Terence             Bailey Cowan Heckaman PLLC                               7:21-cv-33657-MCR-GRJ
  3576      315001       Sanford, Jonathan            Bailey Cowan Heckaman PLLC    7:21-cv-33658-MCR-GRJ
  3577      315002       Santiago, Christopher        Bailey Cowan Heckaman PLLC    7:21-cv-33659-MCR-GRJ
  3578      315003       Santiago, Nelson             Bailey Cowan Heckaman PLLC                               7:21-cv-33660-MCR-GRJ
  3579      315004       Santiagorivas, Francisco J   Bailey Cowan Heckaman PLLC    7:21-cv-33661-MCR-GRJ
  3580      315005       Sarver, Patrick              Bailey Cowan Heckaman PLLC    7:21-cv-33662-MCR-GRJ
  3581      315007       Schaeffer, Rowdy             Bailey Cowan Heckaman PLLC    7:21-cv-33664-MCR-GRJ
  3582      315008       Schafer, David               Bailey Cowan Heckaman PLLC                               7:21-cv-33665-MCR-GRJ
  3583      315009       Schessl, Brandon             Bailey Cowan Heckaman PLLC    7:21-cv-33666-MCR-GRJ
  3584      315011       Schimmel, Alfred             Bailey Cowan Heckaman PLLC    7:21-cv-33668-MCR-GRJ
  3585      315012       Schlueter, Eli               Bailey Cowan Heckaman PLLC    7:21-cv-33669-MCR-GRJ
  3586      315014       Schnaidt, John               Bailey Cowan Heckaman PLLC    7:21-cv-33671-MCR-GRJ
  3587      315017       Schott, Jeffrey              Bailey Cowan Heckaman PLLC    7:21-cv-33674-MCR-GRJ
  3588      315020       Schuler, Shane               Bailey Cowan Heckaman PLLC                               7:21-cv-33677-MCR-GRJ
  3589      315021       Schultz, Douglas             Bailey Cowan Heckaman PLLC    7:21-cv-33678-MCR-GRJ
  3590      315022       Schuster, Ryan               Bailey Cowan Heckaman PLLC    7:21-cv-33679-MCR-GRJ
  3591      315023       Schwark, Kyle                Bailey Cowan Heckaman PLLC    7:21-cv-33680-MCR-GRJ
  3592      315025       Schwettman, Will             Bailey Cowan Heckaman PLLC                               7:21-cv-33682-MCR-GRJ
  3593      315027       Scott, Robert                Bailey Cowan Heckaman PLLC    7:21-cv-33684-MCR-GRJ
  3594      315028       Scroggins, Daniel            Bailey Cowan Heckaman PLLC    7:21-cv-33685-MCR-GRJ
  3595      315030       Seabrooks, Justin            Bailey Cowan Heckaman PLLC    7:21-cv-33687-MCR-GRJ
  3596      315031       Seamans, Steven              Bailey Cowan Heckaman PLLC                               7:21-cv-33688-MCR-GRJ
  3597      315033       Searcy, Brian                Bailey Cowan Heckaman PLLC    7:21-cv-33690-MCR-GRJ
  3598      315034       Searles, Tyler               Bailey Cowan Heckaman PLLC    7:21-cv-33691-MCR-GRJ
  3599      315038       Segal, Tyler                 Bailey Cowan Heckaman PLLC    7:21-cv-33695-MCR-GRJ
  3600      315039       Seguritan, Nathan            Bailey Cowan Heckaman PLLC    7:21-cv-33696-MCR-GRJ
  3601      315040       Sellmeyer, Michael           Bailey Cowan Heckaman PLLC    7:21-cv-33697-MCR-GRJ
  3602      315041       Senneway, Gregory            Bailey Cowan Heckaman PLLC    7:21-cv-33698-MCR-GRJ
  3603      315042       Sermersky, Johnny            Bailey Cowan Heckaman PLLC    7:21-cv-33699-MCR-GRJ
  3604      315043       Sewell, Jeremiah             Bailey Cowan Heckaman PLLC    7:21-cv-33700-MCR-GRJ
  3605      315044       Sexton, Lloyd                Bailey Cowan Heckaman PLLC                               7:21-cv-33701-MCR-GRJ
  3606      315049       Sharpes, Tye                 Bailey Cowan Heckaman PLLC    7:21-cv-33706-MCR-GRJ
  3607      315050       Shaw, Clayton                Bailey Cowan Heckaman PLLC                               7:21-cv-33707-MCR-GRJ
  3608      315054       Sheets, Blayne               Bailey Cowan Heckaman PLLC                               7:21-cv-33711-MCR-GRJ
  3609      315055       Shelton, Samuel              Bailey Cowan Heckaman PLLC                               7:21-cv-33712-MCR-GRJ
  3610      315056       Shepard, Joshua              Bailey Cowan Heckaman PLLC    7:21-cv-33713-MCR-GRJ
  3611      315058       Shepherd, Joseph             Bailey Cowan Heckaman PLLC    7:21-cv-33715-MCR-GRJ
  3612      315059       Shepherd, William            Bailey Cowan Heckaman PLLC                               7:21-cv-33716-MCR-GRJ
  3613      315060       Sherrard, Tyler              Bailey Cowan Heckaman PLLC    7:21-cv-33717-MCR-GRJ
  3614      315061       Sherwood, Franklin           Bailey Cowan Heckaman PLLC                               7:21-cv-33718-MCR-GRJ
  3615      315062       Shields, Tyler               Bailey Cowan Heckaman PLLC                               7:21-cv-33719-MCR-GRJ
  3616      315064       Shirey, Eric                 Bailey Cowan Heckaman PLLC    7:21-cv-33721-MCR-GRJ
  3617      315066       Shoffner, Darrell            Bailey Cowan Heckaman PLLC                               7:21-cv-33723-MCR-GRJ
  3618      315069       Short, Trenten               Bailey Cowan Heckaman PLLC    7:21-cv-33726-MCR-GRJ




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  3619      315070       Shoup, Abel                     Bailey Cowan Heckaman PLLC                               7:21-cv-33727-MCR-GRJ
  3620      315071       Shubert, Jeffrey                Bailey Cowan Heckaman PLLC    7:21-cv-33728-MCR-GRJ
  3621      315072       Shubert, Robert                 Bailey Cowan Heckaman PLLC    7:21-cv-33729-MCR-GRJ
  3622      315073       Sickels, Nathaniel              Bailey Cowan Heckaman PLLC                               7:21-cv-33730-MCR-GRJ
  3623      315074       Sickle, Matthew                 Bailey Cowan Heckaman PLLC    7:21-cv-33731-MCR-GRJ
  3624      315079       Sierra-osorio, Kevin            Bailey Cowan Heckaman PLLC                               7:21-cv-33736-MCR-GRJ
  3625      315081       Siler, Daniel                   Bailey Cowan Heckaman PLLC    7:21-cv-33738-MCR-GRJ
  3626      315083       Simmons, John                   Bailey Cowan Heckaman PLLC                               7:21-cv-33740-MCR-GRJ
  3627      315084       Simmons, Nathan                 Bailey Cowan Heckaman PLLC    7:21-cv-33741-MCR-GRJ
  3628      315085       Simon, Clayton                  Bailey Cowan Heckaman PLLC    7:21-cv-33742-MCR-GRJ
  3629      315086       Simon, Francis                  Bailey Cowan Heckaman PLLC    7:21-cv-33743-MCR-GRJ
  3630      315087       Simonton, Jeffrey               Bailey Cowan Heckaman PLLC    7:21-cv-33744-MCR-GRJ
  3631      315088       SIMPSON, MICHAEL                Bailey Cowan Heckaman PLLC    7:21-cv-33745-MCR-GRJ
  3632      315089       Simpson, Nicholas               Bailey Cowan Heckaman PLLC    7:21-cv-33746-MCR-GRJ
  3633      315091       Sinigiani, Michael              Bailey Cowan Heckaman PLLC    7:21-cv-33748-MCR-GRJ
  3634      315093       Sipley, Joshua                  Bailey Cowan Heckaman PLLC                               7:21-cv-33750-MCR-GRJ
  3635      315094       Sisk, Robert                    Bailey Cowan Heckaman PLLC    7:21-cv-33751-MCR-GRJ
  3636      315095       Sisler, Chet                    Bailey Cowan Heckaman PLLC    7:21-cv-33752-MCR-GRJ
  3637      315097       Sites, John                     Bailey Cowan Heckaman PLLC    7:21-cv-33754-MCR-GRJ
  3638      315098       Skelley, William                Bailey Cowan Heckaman PLLC                               7:21-cv-33755-MCR-GRJ
  3639      315099       Skerik, Robert                  Bailey Cowan Heckaman PLLC    7:21-cv-33756-MCR-GRJ
  3640      315101       Skondin, Timothy                Bailey Cowan Heckaman PLLC                               7:21-cv-33758-MCR-GRJ
  3641      315102       Skrinjorich, Joseph             Bailey Cowan Heckaman PLLC    7:21-cv-33759-MCR-GRJ
  3642      315103       Slayton, Kenneth                Bailey Cowan Heckaman PLLC                               7:21-cv-33760-MCR-GRJ
  3643      315104       Slomiak, Jason                  Bailey Cowan Heckaman PLLC    7:21-cv-33761-MCR-GRJ
  3644      315106       Smarr, Matthew                  Bailey Cowan Heckaman PLLC    7:21-cv-33763-MCR-GRJ
  3645      315107       Smiley, Carlos                  Bailey Cowan Heckaman PLLC    7:21-cv-33764-MCR-GRJ
  3646      315108       SMITH, BENJAMIN                 Bailey Cowan Heckaman PLLC    7:21-cv-33765-MCR-GRJ
  3647      315110       Smith, Bryatt                   Bailey Cowan Heckaman PLLC                               7:21-cv-33767-MCR-GRJ
  3648      315111       Smith, Christopher              Bailey Cowan Heckaman PLLC                               7:21-cv-33768-MCR-GRJ
  3649      315112       Smith, David                    Bailey Cowan Heckaman PLLC    7:21-cv-33769-MCR-GRJ
  3650      315114       Smith, Desmoine                 Bailey Cowan Heckaman PLLC    7:21-cv-33771-MCR-GRJ
  3651      315115       Smith, Ethan                    Bailey Cowan Heckaman PLLC    7:21-cv-33772-MCR-GRJ
  3652      315117       Smith, Howard                   Bailey Cowan Heckaman PLLC    7:21-cv-33774-MCR-GRJ
  3653      315120       Smith, James                    Bailey Cowan Heckaman PLLC                               7:21-cv-33777-MCR-GRJ
  3654      315123       Smith, John                     Bailey Cowan Heckaman PLLC    7:21-cv-33780-MCR-GRJ
  3655      315125       Smith, Josh                     Bailey Cowan Heckaman PLLC    7:21-cv-33782-MCR-GRJ
  3656      315126       Smith, Korie                    Bailey Cowan Heckaman PLLC    7:21-cv-33783-MCR-GRJ
  3657      315129       Smith, Myles                    Bailey Cowan Heckaman PLLC    7:21-cv-33786-MCR-GRJ
  3658      315135       Smith, William                  Bailey Cowan Heckaman PLLC    7:21-cv-33792-MCR-GRJ
  3659      315136       SMITH, ZACHARY                  Bailey Cowan Heckaman PLLC    7:21-cv-33793-MCR-GRJ
  3660      315139       Sneed, Wilburn                  Bailey Cowan Heckaman PLLC                               7:21-cv-33796-MCR-GRJ
  3661      315140       Snell, William                  Bailey Cowan Heckaman PLLC                               7:21-cv-33797-MCR-GRJ
  3662      315141       Sneyd, Dustin                   Bailey Cowan Heckaman PLLC                               7:21-cv-33798-MCR-GRJ
  3663      315142       Snider, Patrick                 Bailey Cowan Heckaman PLLC                               7:21-cv-33799-MCR-GRJ
  3664      315143       Snodgrass, Anthony              Bailey Cowan Heckaman PLLC                               7:21-cv-33800-MCR-GRJ
  3665      315147       Snowden, Andrew                 Bailey Cowan Heckaman PLLC    7:21-cv-33804-MCR-GRJ
  3666      315150       Soloski, Jacob                  Bailey Cowan Heckaman PLLC    7:21-cv-33807-MCR-GRJ
  3667      315151       Somers, Matthew                 Bailey Cowan Heckaman PLLC                               7:21-cv-33808-MCR-GRJ
  3668      315152       Sorel, Joseph                   Bailey Cowan Heckaman PLLC                               7:21-cv-33809-MCR-GRJ
  3669      315154       Sorrells, Duston                Bailey Cowan Heckaman PLLC                               7:21-cv-33811-MCR-GRJ
  3670      315156       Soto, Gilberto                  Bailey Cowan Heckaman PLLC    7:21-cv-33813-MCR-GRJ
  3671      315157       Sotomayor, Thomas               Bailey Cowan Heckaman PLLC    7:21-cv-33814-MCR-GRJ
  3672      315160       Southern, Billy J               Bailey Cowan Heckaman PLLC                               7:21-cv-33817-MCR-GRJ




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  Row     Plaintiff ID                  Plaintiff Name           Law Firm Name        Admin Docket Case Number   Active Docket Case Number
  3673      315162       Spangler, Lonnie                Bailey Cowan Heckaman PLLC                               7:21-cv-33819-MCR-GRJ
  3674      315163       Sparks, Chris                   Bailey Cowan Heckaman PLLC    7:21-cv-33820-MCR-GRJ
  3675      315166       Speer, Zackery                  Bailey Cowan Heckaman PLLC    7:21-cv-33823-MCR-GRJ
  3676      315168       Spinetta, Jose                  Bailey Cowan Heckaman PLLC                               7:21-cv-33825-MCR-GRJ
  3677      315170       Spirtos, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-33827-MCR-GRJ
  3678      315171       Sprague, Freeman                Bailey Cowan Heckaman PLLC    7:21-cv-33828-MCR-GRJ
  3679      315172       St Peter, Travis                Bailey Cowan Heckaman PLLC                               7:21-cv-33829-MCR-GRJ
  3680      315178       Stamey, James                   Bailey Cowan Heckaman PLLC                               7:21-cv-33835-MCR-GRJ
  3681      315182       Staples, David                  Bailey Cowan Heckaman PLLC    7:21-cv-33839-MCR-GRJ
  3682      315185       Starwalt, Chris                 Bailey Cowan Heckaman PLLC    7:21-cv-33842-MCR-GRJ
  3683      315186       Steely, Timothy                 Bailey Cowan Heckaman PLLC                               7:21-cv-33843-MCR-GRJ
  3684      315187       Stegbauer, William              Bailey Cowan Heckaman PLLC    7:21-cv-33844-MCR-GRJ
  3685      315189       Steinhauer, Trevor              Bailey Cowan Heckaman PLLC                               7:21-cv-33846-MCR-GRJ
  3686      315190       Steinmeyer, Nick                Bailey Cowan Heckaman PLLC    7:21-cv-33847-MCR-GRJ
  3687      315191       Stenzel, Marcus                 Bailey Cowan Heckaman PLLC                               7:21-cv-33848-MCR-GRJ
  3688      315194       Stephenson, Anthony             Bailey Cowan Heckaman PLLC    7:21-cv-33851-MCR-GRJ
  3689      315195       Stephenson, Kerstin             Bailey Cowan Heckaman PLLC    7:21-cv-33852-MCR-GRJ
  3690      315196       Sterba, Tyler                   Bailey Cowan Heckaman PLLC    7:21-cv-33853-MCR-GRJ
  3691      315197       Stevens, Arthur                 Bailey Cowan Heckaman PLLC    7:21-cv-33854-MCR-GRJ
  3692      315201       Stevenson, Joshua               Bailey Cowan Heckaman PLLC                               7:21-cv-33858-MCR-GRJ
  3693      315202       Stevenson, Joshua               Bailey Cowan Heckaman PLLC                               7:21-cv-33859-MCR-GRJ
  3694      315204       Stevenson, Stanley              Bailey Cowan Heckaman PLLC    7:21-cv-33861-MCR-GRJ
  3695      315205       Stewart, Adam                   Bailey Cowan Heckaman PLLC    7:21-cv-33862-MCR-GRJ
  3696      315206       Stewart, Jonathan               Bailey Cowan Heckaman PLLC    7:21-cv-33863-MCR-GRJ
  3697      315207       Stewart, Kevin                  Bailey Cowan Heckaman PLLC    7:21-cv-33864-MCR-GRJ
  3698      315208       Stewart, Rodney                 Bailey Cowan Heckaman PLLC                               7:21-cv-33865-MCR-GRJ
  3699      315209       Stivers, Cody                   Bailey Cowan Heckaman PLLC    7:21-cv-33866-MCR-GRJ
  3700      315212       Stoilov, Dimitar                Bailey Cowan Heckaman PLLC    7:21-cv-33869-MCR-GRJ
  3701      315213       Stokes, Tyler                   Bailey Cowan Heckaman PLLC                               7:21-cv-33870-MCR-GRJ
  3702      315217       Stout, Jason                    Bailey Cowan Heckaman PLLC                               7:21-cv-33874-MCR-GRJ
  3703      315219       Stover, Scott                   Bailey Cowan Heckaman PLLC    7:21-cv-33876-MCR-GRJ
  3704      315221       Strayer, Jeremy                 Bailey Cowan Heckaman PLLC    7:21-cv-33878-MCR-GRJ
  3705      315223       Stremberg, Leif                 Bailey Cowan Heckaman PLLC    7:21-cv-33880-MCR-GRJ
  3706      315224       Strick, Adam                    Bailey Cowan Heckaman PLLC                               7:21-cv-33881-MCR-GRJ
  3707      315225       Strickland, Joshua              Bailey Cowan Heckaman PLLC    7:21-cv-33882-MCR-GRJ
  3708      315226       Strimbeck, Ian                  Bailey Cowan Heckaman PLLC                               7:21-cv-33883-MCR-GRJ
  3709      315227       Strohbusch, Justin              Bailey Cowan Heckaman PLLC    7:21-cv-33884-MCR-GRJ
  3710      315229       Stroud, Austin                  Bailey Cowan Heckaman PLLC                               7:21-cv-33886-MCR-GRJ
  3711      315230       Stuart, Jeremy                  Bailey Cowan Heckaman PLLC    7:21-cv-33887-MCR-GRJ
  3712      315231       Stucke, Carl                    Bailey Cowan Heckaman PLLC    7:21-cv-33888-MCR-GRJ
  3713      315232       Stull, John                     Bailey Cowan Heckaman PLLC    7:21-cv-33889-MCR-GRJ
  3714      315233       Stull, Percy                    Bailey Cowan Heckaman PLLC                               7:21-cv-33890-MCR-GRJ
  3715      315235       Sturkie, Brian                  Bailey Cowan Heckaman PLLC    7:21-cv-33892-MCR-GRJ
  3716      315236       Suchland, Ryan                  Bailey Cowan Heckaman PLLC    7:21-cv-33893-MCR-GRJ
  3717      315239       Sullivan, Charles               Bailey Cowan Heckaman PLLC                               7:21-cv-33896-MCR-GRJ
  3718      315240       Sullivan, Robert                Bailey Cowan Heckaman PLLC                               7:21-cv-33897-MCR-GRJ
  3719      315241       Sullivan, Ryan                  Bailey Cowan Heckaman PLLC    7:21-cv-33898-MCR-GRJ
  3720      315243       Summers, Robert                 Bailey Cowan Heckaman PLLC                               7:21-cv-33971-MCR-GRJ
  3721      315244       Sumpter, Jimmie                 Bailey Cowan Heckaman PLLC    7:21-cv-33973-MCR-GRJ
  3722      315245       Sun, Yichun                     Bailey Cowan Heckaman PLLC    7:21-cv-33975-MCR-GRJ
  3723      315246       Sund, Jefferson                 Bailey Cowan Heckaman PLLC    7:21-cv-33977-MCR-GRJ
  3724      315248       Svoboda, Aron                   Bailey Cowan Heckaman PLLC    7:21-cv-33980-MCR-GRJ
  3725      315249       Swagel, James                   Bailey Cowan Heckaman PLLC                               7:21-cv-33982-MCR-GRJ
  3726      315250       Swarts, Clayton                 Bailey Cowan Heckaman PLLC                               7:21-cv-33984-MCR-GRJ




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  3727      315251       Sweeney, Larry                 Bailey Cowan Heckaman PLLC                               7:21-cv-33986-MCR-GRJ
  3728      315252       Sweeney, Vanessa               Bailey Cowan Heckaman PLLC    7:21-cv-33988-MCR-GRJ
  3729      315253       Sweeter, Brian                 Bailey Cowan Heckaman PLLC                               7:21-cv-33990-MCR-GRJ
  3730      315254       Sweeton, Issac                 Bailey Cowan Heckaman PLLC                               7:21-cv-33991-MCR-GRJ
  3731      315257       Swift, Sean                    Bailey Cowan Heckaman PLLC                               7:21-cv-33997-MCR-GRJ
  3732      315258       Swihart, Jace                  Bailey Cowan Heckaman PLLC                               7:21-cv-33999-MCR-GRJ
  3733      315262       Switzer, Joseph                Bailey Cowan Heckaman PLLC    7:21-cv-34006-MCR-GRJ
  3734      315264       Tafoya, Santana                Bailey Cowan Heckaman PLLC    7:21-cv-34009-MCR-GRJ
  3735      315266       Takacs, Dennis                 Bailey Cowan Heckaman PLLC                               7:21-cv-34013-MCR-GRJ
  3736      315267       Tallant, Joshua                Bailey Cowan Heckaman PLLC                               7:21-cv-34015-MCR-GRJ
  3737      315269       Tannehill, Andrew              Bailey Cowan Heckaman PLLC    7:21-cv-34019-MCR-GRJ
  3738      315275       TAYLOR, BRANDON                Bailey Cowan Heckaman PLLC    7:21-cv-34030-MCR-GRJ
  3739      315276       Taylor, Edward                 Bailey Cowan Heckaman PLLC                               7:21-cv-34032-MCR-GRJ
  3740      315277       Taylor, Eugene                 Bailey Cowan Heckaman PLLC    7:21-cv-34034-MCR-GRJ
  3741      315280       Taylor, Leon                   Bailey Cowan Heckaman PLLC    7:21-cv-34039-MCR-GRJ
  3742      315284       Tedrick, Winston               Bailey Cowan Heckaman PLLC    7:21-cv-34047-MCR-GRJ
  3743      315286       Teetzel, George                Bailey Cowan Heckaman PLLC    7:21-cv-34051-MCR-GRJ
  3744      315287       Templet, Aaron                 Bailey Cowan Heckaman PLLC    7:21-cv-34053-MCR-GRJ
  3745      315288       Terry, Stephen                 Bailey Cowan Heckaman PLLC    7:21-cv-34054-MCR-GRJ
  3746      315290       Thacker, Devin                 Bailey Cowan Heckaman PLLC    7:21-cv-34058-MCR-GRJ
  3747      315293       Thomas, Hunter                 Bailey Cowan Heckaman PLLC    7:21-cv-34064-MCR-GRJ
  3748      315294       Thomas, Robert                 Bailey Cowan Heckaman PLLC    7:21-cv-34066-MCR-GRJ
  3749      315297       Thompson, Amanda               Bailey Cowan Heckaman PLLC    7:21-cv-34071-MCR-GRJ
  3750      315298       Thompson, Andrew               Bailey Cowan Heckaman PLLC                               7:21-cv-34073-MCR-GRJ
  3751      315300       Thompson, Dustin               Bailey Cowan Heckaman PLLC                               7:21-cv-34077-MCR-GRJ
  3752      315302       Thompson, Jerrod               Bailey Cowan Heckaman PLLC    7:21-cv-34080-MCR-GRJ
  3753      315304       Thompson, Malcolm              Bailey Cowan Heckaman PLLC    7:21-cv-34084-MCR-GRJ
  3754      315305       Thompson, Mark                 Bailey Cowan Heckaman PLLC    7:21-cv-34086-MCR-GRJ
  3755      315307       Thompson, Steveland            Bailey Cowan Heckaman PLLC                               7:21-cv-34089-MCR-GRJ
  3756      315308       Thomson, Jeremy                Bailey Cowan Heckaman PLLC    7:21-cv-34091-MCR-GRJ
  3757      315310       Thornbrough, Harold            Bailey Cowan Heckaman PLLC    7:21-cv-34095-MCR-GRJ
  3758      315311       Thornton, Dresden              Bailey Cowan Heckaman PLLC    7:21-cv-34097-MCR-GRJ
  3759      315312       Thornton, Jason                Bailey Cowan Heckaman PLLC    7:21-cv-34099-MCR-GRJ
  3760      315313       Thrall, Loren                  Bailey Cowan Heckaman PLLC                               7:21-cv-34101-MCR-GRJ
  3761      315315       Thurow, David                  Bailey Cowan Heckaman PLLC    7:21-cv-34104-MCR-GRJ
  3762      315319       Timmerman, Jeffrey             Bailey Cowan Heckaman PLLC    7:21-cv-34112-MCR-GRJ
  3763      315320       Tingler, Stuart                Bailey Cowan Heckaman PLLC    7:21-cv-34114-MCR-GRJ
  3764      315323       Torres, Ernest                 Bailey Cowan Heckaman PLLC                               7:21-cv-34120-MCR-GRJ
  3765      315324       Torres, Kelly                  Bailey Cowan Heckaman PLLC    7:21-cv-34121-MCR-GRJ
  3766      315325       Torres, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-34123-MCR-GRJ
  3767      315326       Tortorici, Jon                 Bailey Cowan Heckaman PLLC                               7:21-cv-34125-MCR-GRJ
  3768      315329       Townsend, Jay                  Bailey Cowan Heckaman PLLC                               7:21-cv-34131-MCR-GRJ
  3769      315330       TOWNSEND, MARK                 Bailey Cowan Heckaman PLLC                               7:21-cv-34133-MCR-GRJ
  3770      315331       Tracy, James                   Bailey Cowan Heckaman PLLC    7:21-cv-34135-MCR-GRJ
  3771      315332       Travis, Jacob                  Bailey Cowan Heckaman PLLC    7:21-cv-34136-MCR-GRJ
  3772      315333       Travis, Terrance               Bailey Cowan Heckaman PLLC    7:21-cv-34138-MCR-GRJ
  3773      315335       Trent, Jason                   Bailey Cowan Heckaman PLLC    7:21-cv-34142-MCR-GRJ
  3774      315336       Treptow, Eric                  Bailey Cowan Heckaman PLLC    7:21-cv-34144-MCR-GRJ
  3775      315337       Trevino, Enrique               Bailey Cowan Heckaman PLLC    7:21-cv-34146-MCR-GRJ
  3776      315338       Trinidad, Antonio              Bailey Cowan Heckaman PLLC                               7:21-cv-34148-MCR-GRJ
  3777      315339       Tristan, Luis                  Bailey Cowan Heckaman PLLC    7:21-cv-34150-MCR-GRJ
  3778      315340       Trotter, Detrick               Bailey Cowan Heckaman PLLC                               7:21-cv-34152-MCR-GRJ
  3779      315341       Truax, Matthew                 Bailey Cowan Heckaman PLLC    7:21-cv-34154-MCR-GRJ
  3780      315346       Turner, Cody                   Bailey Cowan Heckaman PLLC                               7:21-cv-34163-MCR-GRJ




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  3781      315348       Turner, Scott                Bailey Cowan Heckaman PLLC    7:21-cv-34167-MCR-GRJ
  3782      315349       TURNER, TIMOTHY              Bailey Cowan Heckaman PLLC    7:21-cv-34169-MCR-GRJ
  3783      315351       Tuttle, Larry                Bailey Cowan Heckaman PLLC                               7:21-cv-34172-MCR-GRJ
  3784      315352       Twombly, Frederick           Bailey Cowan Heckaman PLLC    7:21-cv-34174-MCR-GRJ
  3785      315358       Umphenour, William           Bailey Cowan Heckaman PLLC                               7:21-cv-34186-MCR-GRJ
  3786      315359       Underhill, Scott             Bailey Cowan Heckaman PLLC                               7:21-cv-34187-MCR-GRJ
  3787      315360       Underwood, Marcus            Bailey Cowan Heckaman PLLC                               7:21-cv-34189-MCR-GRJ
  3788      315361       Underwood, Russell           Bailey Cowan Heckaman PLLC    7:21-cv-34191-MCR-GRJ
  3789      315362       Unger, Tyler                 Bailey Cowan Heckaman PLLC                               7:21-cv-34193-MCR-GRJ
  3790      315364       Urban, William               Bailey Cowan Heckaman PLLC    7:21-cv-34197-MCR-GRJ
  3791      315367       Valasek, Kevin               Bailey Cowan Heckaman PLLC    7:21-cv-34203-MCR-GRJ
  3792      315368       Valderrama, Christian        Bailey Cowan Heckaman PLLC    7:21-cv-34205-MCR-GRJ
  3793      315369       Valdes, Sam                  Bailey Cowan Heckaman PLLC    7:21-cv-34206-MCR-GRJ
  3794      315370       Valdez, Jhonny               Bailey Cowan Heckaman PLLC    7:21-cv-34208-MCR-GRJ
  3795      315371       Valenti, Raymond             Bailey Cowan Heckaman PLLC                               7:21-cv-34210-MCR-GRJ
  3796      315372       Valenzuela, Alfredo          Bailey Cowan Heckaman PLLC                               7:21-cv-34212-MCR-GRJ
  3797      315373       Vallejo, Marcus              Bailey Cowan Heckaman PLLC    7:21-cv-34214-MCR-GRJ
  3798      315374       Vallette, Steven             Bailey Cowan Heckaman PLLC    7:21-cv-34216-MCR-GRJ
  3799      315375       Vallortigara, Jerry          Bailey Cowan Heckaman PLLC    7:21-cv-34218-MCR-GRJ
  3800      315376       Van Bremen, Jeremy           Bailey Cowan Heckaman PLLC    7:21-cv-34220-MCR-GRJ
  3801      315377       Van Fleet, Brian             Bailey Cowan Heckaman PLLC    7:21-cv-34221-MCR-GRJ
  3802      315378       Vance, Jacob                 Bailey Cowan Heckaman PLLC    7:21-cv-34223-MCR-GRJ
  3803      315380       Vanderhoff, Justin           Bailey Cowan Heckaman PLLC    7:21-cv-34227-MCR-GRJ
  3804      315382       Vanlangen, Shawn             Bailey Cowan Heckaman PLLC    7:21-cv-34231-MCR-GRJ
  3805      315383       Vanloon, Samuel              Bailey Cowan Heckaman PLLC                               7:21-cv-34233-MCR-GRJ
  3806      315387       VASQUEZ, LUIS                Bailey Cowan Heckaman PLLC    7:21-cv-34240-MCR-GRJ
  3807      315388       Vaughan, Jacob               Bailey Cowan Heckaman PLLC    7:21-cv-34242-MCR-GRJ
  3808      315389       Vega, Efrain                 Bailey Cowan Heckaman PLLC    7:21-cv-34244-MCR-GRJ
  3809      315390       Vega, Javier                 Bailey Cowan Heckaman PLLC    7:21-cv-34246-MCR-GRJ
  3810      315391       Vess, Michael                Bailey Cowan Heckaman PLLC    7:21-cv-34248-MCR-GRJ
  3811      315393       Vickers, Dustin              Bailey Cowan Heckaman PLLC                               7:21-cv-34251-MCR-GRJ
  3812      315394       Viig, Michael                Bailey Cowan Heckaman PLLC                               7:21-cv-34253-MCR-GRJ
  3813      315395       Villanueva, Don Francis      Bailey Cowan Heckaman PLLC    7:21-cv-34255-MCR-GRJ
  3814      315396       Vincent, James               Bailey Cowan Heckaman PLLC    7:21-cv-34257-MCR-GRJ
  3815      315397       Vo, Thang                    Bailey Cowan Heckaman PLLC                               7:21-cv-34259-MCR-GRJ
  3816      315398       Vogel, Jeremy                Bailey Cowan Heckaman PLLC                               7:21-cv-34260-MCR-GRJ
  3817      315399       Vogeler, Erick               Bailey Cowan Heckaman PLLC                               7:21-cv-34262-MCR-GRJ
  3818      315402       Vose, Jonlawrence            Bailey Cowan Heckaman PLLC    7:21-cv-34268-MCR-GRJ
  3819      315407       Wade, Roman                  Bailey Cowan Heckaman PLLC                               7:21-cv-34278-MCR-GRJ
  3820      315410       Wagner, Daniel               Bailey Cowan Heckaman PLLC    7:21-cv-34283-MCR-GRJ
  3821      315411       Wagnon, Jon                  Bailey Cowan Heckaman PLLC                               7:21-cv-34285-MCR-GRJ
  3822      315412       Walden, Tim                  Bailey Cowan Heckaman PLLC    7:21-cv-34287-MCR-GRJ
  3823      315414       Walker, Cody                 Bailey Cowan Heckaman PLLC    7:21-cv-34291-MCR-GRJ
  3824      315416       Walker, Max                  Bailey Cowan Heckaman PLLC    7:21-cv-34294-MCR-GRJ
  3825      315417       Wallace, Wesley              Bailey Cowan Heckaman PLLC                               7:21-cv-34296-MCR-GRJ
  3826      315418       Waller, Aaron                Bailey Cowan Heckaman PLLC    7:21-cv-34298-MCR-GRJ
  3827      315420       Walter, Steven               Bailey Cowan Heckaman PLLC    7:21-cv-34302-MCR-GRJ
  3828      315421       Walters, Donald              Bailey Cowan Heckaman PLLC    7:21-cv-34304-MCR-GRJ
  3829      315422       Wantz, Keith                 Bailey Cowan Heckaman PLLC    7:21-cv-34305-MCR-GRJ
  3830      315424       Ward, Tyler                  Bailey Cowan Heckaman PLLC    7:21-cv-34309-MCR-GRJ
  3831      315426       Warner, Ryan                 Bailey Cowan Heckaman PLLC    7:21-cv-34313-MCR-GRJ
  3832      315427       Warren, Curtis               Bailey Cowan Heckaman PLLC    7:21-cv-34315-MCR-GRJ
  3833      315428       Warren, John                 Bailey Cowan Heckaman PLLC    7:21-cv-34317-MCR-GRJ
  3834      315429       Watkins, Donald              Bailey Cowan Heckaman PLLC    7:21-cv-34318-MCR-GRJ




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  3835      315431       Watson, Donald               Bailey Cowan Heckaman PLLC    7:21-cv-34323-MCR-GRJ
  3836      315432       Watson, James                Bailey Cowan Heckaman PLLC    7:21-cv-34325-MCR-GRJ
  3837      315435       Watts, Jasen                 Bailey Cowan Heckaman PLLC    7:21-cv-34333-MCR-GRJ
  3838      315438       Weast, Brandon               Bailey Cowan Heckaman PLLC    7:21-cv-34339-MCR-GRJ
  3839      315444       Weber, Michael               Bailey Cowan Heckaman PLLC                               7:21-cv-34350-MCR-GRJ
  3840      315445       Weddington, Matthew          Bailey Cowan Heckaman PLLC    7:21-cv-34352-MCR-GRJ
  3841      315447       Wehrman, Eric                Bailey Cowan Heckaman PLLC    7:21-cv-34356-MCR-GRJ
  3842      315448       Weisbrod, Philip             Bailey Cowan Heckaman PLLC                               7:21-cv-34358-MCR-GRJ
  3843      315449       Welch, Christopher           Bailey Cowan Heckaman PLLC    7:21-cv-34359-MCR-GRJ
  3844      315452       Wells, Andrew                Bailey Cowan Heckaman PLLC    7:21-cv-34365-MCR-GRJ
  3845      315453       Wells, Jeremy                Bailey Cowan Heckaman PLLC                               7:21-cv-34367-MCR-GRJ
  3846      315454       Wells, Robert                Bailey Cowan Heckaman PLLC                               7:21-cv-34369-MCR-GRJ
  3847      315455       Wells, Ryan                  Bailey Cowan Heckaman PLLC                               7:21-cv-34371-MCR-GRJ
  3848      315456       Welsheimer, Benjamin         Bailey Cowan Heckaman PLLC    7:21-cv-34372-MCR-GRJ
  3849      315457       Wentworth, Christopher       Bailey Cowan Heckaman PLLC    7:21-cv-34374-MCR-GRJ
  3850      315459       Werner, Steven               Bailey Cowan Heckaman PLLC    7:21-cv-34378-MCR-GRJ
  3851      315460       Werth, Robert                Bailey Cowan Heckaman PLLC    7:21-cv-34380-MCR-GRJ
  3852      315461       Wescott, Chad                Bailey Cowan Heckaman PLLC    7:21-cv-34382-MCR-GRJ
  3853      315463       West, Brandon                Bailey Cowan Heckaman PLLC    7:21-cv-34385-MCR-GRJ
  3854      315464       West, Buddy                  Bailey Cowan Heckaman PLLC                               7:21-cv-34387-MCR-GRJ
  3855      315465       Westbrook, Billy             Bailey Cowan Heckaman PLLC    7:21-cv-34389-MCR-GRJ
  3856      315467       Whidden, Paul                Bailey Cowan Heckaman PLLC    7:21-cv-34393-MCR-GRJ
  3857      315468       Whitaker, Josh               Bailey Cowan Heckaman PLLC                               7:21-cv-34395-MCR-GRJ
  3858      315469       Whitaker, Timothy            Bailey Cowan Heckaman PLLC    7:21-cv-34397-MCR-GRJ
  3859      315470       White, Clinton               Bailey Cowan Heckaman PLLC    7:21-cv-34399-MCR-GRJ
  3860      315471       WHITE, JAMES                 Bailey Cowan Heckaman PLLC                               7:21-cv-34400-MCR-GRJ
  3861      315472       White, Jason                 Bailey Cowan Heckaman PLLC    7:21-cv-34402-MCR-GRJ
  3862      315474       White, Paul                  Bailey Cowan Heckaman PLLC                               7:21-cv-34406-MCR-GRJ
  3863      315475       White, Robert                Bailey Cowan Heckaman PLLC    7:21-cv-34408-MCR-GRJ
  3864      315476       White, Wes                   Bailey Cowan Heckaman PLLC    7:21-cv-34410-MCR-GRJ
  3865      315478       Whiteside, Joey              Bailey Cowan Heckaman PLLC    7:21-cv-34413-MCR-GRJ
  3866      315479       Whitfield, Nathan            Bailey Cowan Heckaman PLLC    7:21-cv-34415-MCR-GRJ
  3867      315480       Whitfield, Robert            Bailey Cowan Heckaman PLLC                               7:21-cv-34417-MCR-GRJ
  3868      315481       Whitworth, Joshua            Bailey Cowan Heckaman PLLC                               7:21-cv-34419-MCR-GRJ
  3869      315482       Whorton, Frank               Bailey Cowan Heckaman PLLC                               7:21-cv-34421-MCR-GRJ
  3870      315483       Wick, Ben                    Bailey Cowan Heckaman PLLC    7:21-cv-34423-MCR-GRJ
  3871      315486       Wickline, Tony               Bailey Cowan Heckaman PLLC    7:21-cv-34428-MCR-GRJ
  3872      315490       Wilkinson, Steven            Bailey Cowan Heckaman PLLC    7:21-cv-34436-MCR-GRJ
  3873      315491       Willey, Brian                Bailey Cowan Heckaman PLLC    7:21-cv-34438-MCR-GRJ
  3874      315492       Willey, Jacob                Bailey Cowan Heckaman PLLC    7:21-cv-34440-MCR-GRJ
  3875      315494       Williams, Benjamin           Bailey Cowan Heckaman PLLC    7:21-cv-34444-MCR-GRJ
  3876      315495       WILLIAMS, GARY               Bailey Cowan Heckaman PLLC                               7:21-cv-34446-MCR-GRJ
  3877      315497       WILLIAMS, JAMES              Bailey Cowan Heckaman PLLC    7:21-cv-34449-MCR-GRJ
  3878      315498       Williams, Jason              Bailey Cowan Heckaman PLLC                               7:21-cv-34451-MCR-GRJ
  3879      315500       Williams, Malcom             Bailey Cowan Heckaman PLLC                               7:21-cv-34455-MCR-GRJ
  3880      315502       Williams, Richard            Bailey Cowan Heckaman PLLC    7:21-cv-34459-MCR-GRJ
  3881      315503       WILLIAMS, TERRY              Bailey Cowan Heckaman PLLC                               7:21-cv-34461-MCR-GRJ
  3882      315505       WILLIAMS, TYLER              Bailey Cowan Heckaman PLLC                               7:21-cv-34465-MCR-GRJ
  3883      315506       Williams, Waylon             Bailey Cowan Heckaman PLLC    7:21-cv-34467-MCR-GRJ
  3884      315507       Willimott, Anthony           Bailey Cowan Heckaman PLLC                               7:21-cv-34468-MCR-GRJ
  3885      315509       Willis, Kasey                Bailey Cowan Heckaman PLLC    7:21-cv-34472-MCR-GRJ
  3886      315510       Wilmott, Kyle                Bailey Cowan Heckaman PLLC    7:21-cv-34474-MCR-GRJ
  3887      315511       wilson, Charles              Bailey Cowan Heckaman PLLC    7:21-cv-34476-MCR-GRJ
  3888      315515       Wilson, Justin               Bailey Cowan Heckaman PLLC                               7:21-cv-34484-MCR-GRJ




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  3889      315516       WILSON, PAUL                Bailey Cowan Heckaman PLLC    7:21-cv-34486-MCR-GRJ
  3890      315524       Wixon, Derek                Bailey Cowan Heckaman PLLC                               7:21-cv-34501-MCR-GRJ
  3891      315525       Wolfe, Guy                  Bailey Cowan Heckaman PLLC    7:21-cv-34502-MCR-GRJ
  3892      315526       Wollin, Brandon             Bailey Cowan Heckaman PLLC    7:21-cv-34504-MCR-GRJ
  3893      315527       Wood, Joshua                Bailey Cowan Heckaman PLLC    7:21-cv-34506-MCR-GRJ
  3894      315528       Woodley, Antwann            Bailey Cowan Heckaman PLLC    7:21-cv-34508-MCR-GRJ
  3895      315529       Woodrow, Kyle               Bailey Cowan Heckaman PLLC                               7:21-cv-34510-MCR-GRJ
  3896      315530       Woolett, Patrick            Bailey Cowan Heckaman PLLC    7:21-cv-34512-MCR-GRJ
  3897      315531       Wooster, Timothy            Bailey Cowan Heckaman PLLC    7:21-cv-34514-MCR-GRJ
  3898      315532       Wooten, Christopher         Bailey Cowan Heckaman PLLC                               7:21-cv-34515-MCR-GRJ
  3899      315536       Wright, Spencet             Bailey Cowan Heckaman PLLC                               7:21-cv-34523-MCR-GRJ
  3900      315539       Yates, John                 Bailey Cowan Heckaman PLLC                               7:21-cv-34528-MCR-GRJ
  3901      315543       York, Adam                  Bailey Cowan Heckaman PLLC                               7:21-cv-34536-MCR-GRJ
  3902      315545       Yost, Kenneth               Bailey Cowan Heckaman PLLC    7:21-cv-34540-MCR-GRJ
  3903      315546       Young, Christopher          Bailey Cowan Heckaman PLLC                               7:21-cv-34541-MCR-GRJ
  3904      315547       Young, Eric                 Bailey Cowan Heckaman PLLC    7:21-cv-34543-MCR-GRJ
  3905      315549       Young, Joseph               Bailey Cowan Heckaman PLLC    7:21-cv-34547-MCR-GRJ
  3906      315550       Young, Justin               Bailey Cowan Heckaman PLLC    7:21-cv-34549-MCR-GRJ
  3907      315553       Young, Paul                 Bailey Cowan Heckaman PLLC    7:21-cv-34555-MCR-GRJ
  3908      315554       Young, Travis               Bailey Cowan Heckaman PLLC    7:21-cv-34557-MCR-GRJ
  3909      315555       Young, Tulafono             Bailey Cowan Heckaman PLLC    7:21-cv-34558-MCR-GRJ
  3910      315556       Yundt, Charles              Bailey Cowan Heckaman PLLC    7:21-cv-34560-MCR-GRJ
  3911      315557       Zadroga, Michael            Bailey Cowan Heckaman PLLC                               7:21-cv-34562-MCR-GRJ
  3912      315559       Zamacona, Andrew            Bailey Cowan Heckaman PLLC                               7:21-cv-34566-MCR-GRJ
  3913      315560       Zbiegien, Darren            Bailey Cowan Heckaman PLLC    7:21-cv-34568-MCR-GRJ
  3914      315561       Zeiders, Shaun              Bailey Cowan Heckaman PLLC    7:21-cv-34570-MCR-GRJ
  3915      315562       Zeitner, Shane              Bailey Cowan Heckaman PLLC                               7:21-cv-34571-MCR-GRJ
  3916      315563       Zell, Matthew               Bailey Cowan Heckaman PLLC    7:21-cv-34573-MCR-GRJ
  3917      315566       Zhu, Andrew                 Bailey Cowan Heckaman PLLC    7:21-cv-34579-MCR-GRJ
  3918      315567       Ziegler, Matthew            Bailey Cowan Heckaman PLLC                               7:21-cv-34581-MCR-GRJ
  3919      315568       Ziglar, Joshua              Bailey Cowan Heckaman PLLC    7:21-cv-34583-MCR-GRJ




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